Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24   Page 1 of 74 PageID 25




                         Exhibit 1
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 2 of 74 PageID 26
                                              14938            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              SECURITIES AND EXCHANGE                                    b. Registered Investment Companies,                  electronic trading across securities
                                              COMMISSION                                                    Private Funds, and Registered                     markets have led to the emergence of
                                                                                                            Investment Advisers                               certain market participants that play an
                                              17 CFR Part 240                                            c. Official Sector Exclusions
                                                                                                                                                              increasingly significant liquidity-
                                                                                                         d. Other Requests for Exclusions
                                              [Release No. 34–99477; File No. S7–12–22]                  4. Definitions and Anti-Evasion                      providing role in overall trading and
                                                                                                         5. No Presumption                                    market activity—a role that has
                                              RIN 3235–AN10                                              B. Compliance Date                                   traditionally been performed by entities
                                                                                                      III. Economic Analysis                                  regulated as dealers.2 However, some of
                                              Further Definition of ‘‘As a Part of a                     A. Introduction                                      these market participants—despite
                                              Regular Business’’ in the Definition of                    B. Baseline                                          engaging in liquidity-providing
                                              Dealer and Government Securities                           1. Rules and Regulations That Apply to               activities similar to those traditionally
                                              Dealer in Connection With Certain                             Registered Dealers                                performed by either ‘‘dealers’’ or
                                              Liquidity Providers                                        2. Affected Parties
                                                                                                                                                              ‘‘government securities dealers’’ as
                                                                                                         a. Principal Traders
                                              AGENCY: Securities and Exchange                            b. Private Funds and Advisers                        defined under sections 3(a)(5) and
                                              Commission.                                                c. Number of Affected Parties                        3(a)(44) of the Exchange Act,
                                              ACTION: Final rule.                                        3. Competition Among Significant                     respectively, and despite their
                                                                                                            Liquidity Providers                               significant share of market volume—are
                                              SUMMARY: The Securities and Exchange                       4. Externalities                                     not registered with the Commission as
                                              Commission (‘‘SEC’’ or ‘‘Commission’’)                     C. Economic Effects, Including Impact on             either dealers or government securities
                                              is adopting new rules to further define                       Efficiency, Competition, and Capital              dealers under sections 15 and 15C of the
                                              the phrase ‘‘as a part of a regular                           Formation                                         Exchange Act, respectively. The
                                                                                                         1. Benefits
                                              business’’ as used in the statutory                        a. Regulatory Consistency and Competition
                                                                                                                                                              identification, registration, and
                                              definitions of ‘‘dealer’’ and ‘‘government                 b. Regulations on Financial and                      regulation of these market participants
                                              securities dealer’’ under sections 3(a)(5)                    Operational Risk-Taking                           as dealers will provide regulators with
                                              and 3(a)(44), respectively, of the                         c. Regulations on Reporting                          a more comprehensive view of the
                                              Securities Exchange Act of 1934                            d. Regulations on Deceptive Practices                markets through regulatory oversight
                                              (‘‘Exchange Act’’).                                        e. Regulations Related to Examinations               and will support market stability and
                                              DATES:                                                     2. Costs                                             resiliency and protect investors by
                                                 Effective date: April 29, 2024.                         a. Compliance Costs                                  promoting the financial responsibility
                                                                                                         b. Costs Associated With the Net Capital
                                                 Compliance date: The compliance                                                                              and operational integrity of market
                                                                                                            Rule
                                              date is discussed in section II.B of this                  c. Potential Implications for Private Funds          participants that are acting as dealers.3
                                              release.                                                      and Advisers                                      Further, the final rules will promote
                                              FOR FURTHER INFORMATION CONTACT:                           d. Effects on Market Liquidity                       competition among entities that
                                              Emily Westerberg Russell, Chief                            3. Effects on Efficiency, Competition, and           regularly provide significant liquidity
                                              Counsel; John Fahey, Deputy Chief                             Capital Formation                                 by applying consistent regulation to
                                              Counsel; Joanne Rutkowski, Assistant                       a. Effects on Efficiency                             these entities, thus leveling the
                                                                                                         b. Effects on Competition                            competitive playing field between
                                              Chief Counsel; Bonnie Gauch, Senior
                                                                                                         c. Effects on Capital Formation
                                              Special Counsel; Shauna Sappington                         D. Reasonable Alternatives
                                                                                                                                                              liquidity provision conducted by
                                              Vlosich, Senior Special Counsel; Geeta                     1. Retain the Quantitative Standard                  entities that are currently registered as
                                              Dhingra, Branch Chief; Katherine                           2. Retain the First Qualitative Standard             dealers and government securities
                                              Lesker, Special Counsel; and Carl                             (e.g., ‘‘Routinely Making Roughly                 dealers and by entities that are not.
                                              Emigholz, Special Counsel at 202–551–                         Comparable Purchases and Sales of the                The Federal securities laws provide a
                                              5550 in the Office of Chief Counsel,                          Same or Substantially Similar Securities          comprehensive system of regulation of
                                              Division of Trading and Markets,                              [or Government Securities] in a Day’’)            securities activity, and the definition of
                                                                                                         3. Remove the Exclusion for Registered               ‘‘dealer’’ is one of the Exchange Act’s
                                              Securities and Exchange Commission,
                                                                                                            Investment Companies                              most important definitions, as it sets
                                              100 F Street NE, Washington, DC                            4. Exclude Registered Investment Advisers
                                              20549–7010.                                                   and Private Funds
                                                                                                                                                              forth certain activities that cause
                                              SUPPLEMENTARY INFORMATION: The                             5. Require Registered Investment Advisers            persons to fall within the Commission’s
                                              Commission is adopting the following                          and Private Funds To Report to TRACE              regulatory ambit.4 Section 3(a)(5) of the
                                              new rules under the Exchange Act: (1)                      6. Carve Out or Narrow Application to                Exchange Act defines the term ‘‘dealer’’
                                              17 CFR 240.3a5–4 (‘‘Rule 3a5–4’’), and                        Crypto Asset Securities                           to mean ‘‘any person engaged in the
                                                                                                      IV. Paperwork Reduction Act
                                              (2) 17 CFR 240.3a44–2 (‘‘Rule 3a44–2’’)
                                                                                                      V. Regulatory Flexibility Act                           that some discipline may be exercised over those
                                              (collectively, ‘‘final rules’’).                        VI. Other Matters                                       who may engage in the securities business and by
                                              Table of Contents                                       Statutory Authority                                     which necessary standards may be established with
                                                                                                                                                              respect to training, experience, and records.’’); see
                                              I. Introduction                                         I. Introduction                                         also section 2 of the Exchange Act, 15 U.S.C. 78b
                                                 A. Background                                           The dealer regulatory regime is a                    (stating that ‘‘transactions in securities as
                                                 B. Overview of the Final Rules and                                                                           commonly conducted upon securities exchanges
                                                    Modifications to the Proposal
                                                                                                      cornerstone of the U.S. Federal                         and over-the-counter markets are effected with a
                                              II. Discussion of Final Rules                           securities laws and helps to promote the                national public interest which makes it necessary
                                                                                                      Commission’s longstanding mission to                    to provide for regulation and control of such
                                                 A. Component Parts
                                                                                                                                                              transactions and of practices and matters related
                                                 1. Qualitative Standard                              protect investors, maintain fair, orderly,
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                              thereto’’).
                                                 a. Elimination of the Proposed First                 and efficient markets, and facilitate                      2 See Further Definition of ‘‘As a Part of a Regular
                                                    Qualitative Factor                                capital formation.1 Advancements in                     Business’’ in the Definition of Dealer and
                                                 b. Expressing Trading Interest Factor                                                                        Government Securities Dealer, Exchange Act
                                                 c. Primary Revenue Factor                              1 See, e.g., Eastside Church of Christ v. National    Release No. 94524 (Mar. 28, 2022), 87 FR 23054
                                                 2. Quantitative Standard                             Plan, Inc., 391 F.2d 357 (5th Cir. 1968) (‘‘The         (Apr. 18, 2022) (‘‘Proposing Release’’).
                                                 3. Exclusions                                        requirement that brokers and dealers register is of        3 See section III.

                                                 a. Person That Has or Controls Assets of             the utmost importance in effecting the purposes of         4 See supra note 1; see also Roth v. SEC, 22 F.3d

                                                    Less Than $50 Million                             the Act. It is through the registration requirement     1108, 1109 (D.C. Cir. 1994).



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                           Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                     Page 3 of 74 PageID 27
                                                                Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                     14939

                                              business of buying and selling securities                 which have been modified to narrow the                   Exchange Act defines the term ‘‘dealer’’
                                              . . . for such person’s own account                       scope of the proposed rules and                          to mean ‘‘any person engaged in the
                                              through a broker or otherwise,’’ but                      carefully tailored in response to                        business of buying and selling securities
                                              excludes ‘‘a person that buys or sells                    commenter concerns, will help to                         . . . for such person’s own account
                                              securities . . . for such person’s own                    ensure that market participants that take                through a broker or otherwise,’’ but
                                              account, either individually or in a                      on significant liquidity-providing roles                 excludes ‘‘a person that buys or sells
                                              fiduciary capacity, but not as a part of                  are appropriately registered and                         securities . . . for such person’s own
                                              a regular business.’’ Similarly, section                  regulated as dealers and government                      account, either individually or in a
                                              3(a)(44) of the Exchange Act provides,                    securities dealers. As discussed further                 fiduciary capacity, but not as a part of
                                              in relevant part, that the term                           below, the final rules are one way to                    a regular business.’’ 11 This statutory
                                              ‘‘government securities dealer’’ means                    establish that a person is a dealer or
                                                                                                                                                                 exclusion from the definition of
                                              ‘‘any person engaged in the business of                   government securities dealer; otherwise
                                              buying and selling government                                                                                      ‘‘dealer’’ is often referred to as the
                                                                                                        applicable court precedent and
                                              securities for his own account, through                   Commission interpretations will                          ‘‘trader’’ exception.12 Absent an
                                              a broker or otherwise,’’ but ‘‘does not                   continue to apply.9                                      exception or an exemption, section
                                              include any person insofar as he buys or                     Registration will enable more                         15(a)(1) of the Exchange Act makes it
                                              sells such securities for his own                         comprehensive regulatory oversight of                    unlawful for a ‘‘dealer’’ to effect any
                                              account, either individually or in some                   securities markets and those                             transactions in, or to induce or attempt
                                              fiduciary capacity, but not as part of a                  participants that take on significant                    to induce the purchase or sale of, any
                                              regular business.’’ These statutory                       liquidity-providing roles. The final rules               security unless registered with the
                                              definitions of ‘‘dealer’’ and ‘‘government                will support market stability and                        Commission in accordance with section
                                              securities dealer,’’ and the                              resiliency and protect investors by                      15(b) of the Exchange Act.13 Similarly,
                                              accompanying registration requirements                    promoting the financial responsibility                   section 3(a)(44) of the Exchange Act
                                              of the Exchange Act, were drawn                           and operational integrity of significant                 provides, in relevant part, that the term
                                              broadly by Congress to encompass a                        liquidity providers that are acting as                   ‘‘government securities dealer’’ means
                                              wide range of activities involving the                    dealers in the securities markets.10                     ‘‘any person engaged in the business of
                                              securities markets and their                                                                                       buying and selling government
                                                                                                        A. Background
                                              participants.5 Market participants that                                                                            securities for his own account, through
                                              meet these statutory definitions are                        The statutory definition of ‘‘dealer’’ in              a broker or otherwise,’’ but ‘‘does not
                                              required to register with the                             section 3(a)(5) and the accompanying
                                                                                                                                                                 include any person insofar as he buys or
                                              Commission and are subject to a                           registration requirements of the
                                                                                                                                                                 sells such securities for his own
                                              panoply of regulatory obligations and                     Exchange Act were drawn broadly by
                                                                                                        Congress in 1934 to encompass a wide                     account, either individually or in some
                                              supervisory oversight, unless an                                                                                   fiduciary capacity, but not as part of a
                                              exemption or exception applies.6                          range of activities involving the
                                                 Under the Exchange Act, the SEC has                    securities markets and their
                                                                                                                                                                    11 See sections 3(a)(5)(A) and (B) of the Exchange
                                              the authority to define the terms used in                 participants. Section 3(a)(5) of the
                                                                                                                                                                 Act, 15 U.S.C. 78c(a)(5)(A) and (B). The definition
                                              the statutory definitions of ‘‘dealer’’ and                                                                        of ‘‘dealer’’ in the Exchange Act is largely
                                              ‘‘government securities dealer,’’ and to                  define ‘‘as a part of a regular business’’ as that       unchanged from its enactment in 1934. Until the
                                                                                                        phrase is used in the statutory definitions of           Gramm-Leach-Bliley Act (‘‘GLBA’’) was enacted in
                                              oversee and regulate registered dealers.7                 ‘‘dealer’’ and ‘‘government securities dealer.’’ See     1999, banks were excluded from the definition of
                                              The Commission is adopting new Rules                      Proposing Release. The release was posted on the         ‘‘dealer.’’ The GLBA added section 3(a)(5)(C) of the
                                              3a5–4 and 3a44–2 under the Exchange                       Commission website that day, and comment letters         Exchange Act to create a series of functional
                                              Act to further define what it means to                    were received beginning that same date. The              exemptions from the statutory definition of dealer.
                                                                                                        comment period closed on May 27, 2022.
                                              be engaged in the business of buying                      Comments are available here: https://www.sec.gov/
                                                                                                                                                                 The Dodd-Frank Wall Street Reform and Consumer
                                              and selling securities ‘‘as a part of a                                                                            Protection Act of 2010 (‘‘Dodd-Frank Act’’) further
                                                                                                        comments/s7-12-22/s71222.htm. We have
                                                                                                                                                                 amended section 3(a)(5)(A) of the Exchange Act to
                                              regular business’’ within the definitions                 considered all comments received since Mar. 28,
                                                                                                                                                                 exclude from the dealer definition persons engaged
                                              of ‘‘dealer’’ and ‘‘government securities                 2022.
                                                                                                           9 See 17 CFR 240.3a5–4(c) (‘‘Rule 3a5–4(c)’’) and
                                                                                                                                                                 in the business of buying and selling security-based
                                              dealer,’’ respectively.8 The final rules,                                                                          swaps, other than security-based swaps with or for
                                                                                                        240.3a44–2(c) (‘‘Rule 3a44–2(c)’’) (providing that no    persons that are not eligible contract participants.
                                                                                                        presumption shall arise that a person is not a dealer
                                                 5 Unless otherwise indicated, references to                                                                     The Dodd-Frank Act established a statutory
                                                                                                        or government securities dealer solely because that
                                              ‘‘dealer’’ activity apply both with respect to                                                                     framework for regulating security-based swaps that
                                                                                                        person does not satisfy the standards of the final
                                              ‘‘dealers’’ and ‘‘government securities dealers’’                                                                  includes the registration and regulation of security-
                                                                                                        rules). As discussed in the Proposing Release and
                                              under sections 3(a)(5) and 3(a)(44) of the Exchange                                                                based swap dealers.
                                                                                                        below, the courts and the Commission look to an
                                                                                                                                                                    12 See 2002 Release (explaining that ‘‘a person
                                              Act, respectively; and references to ‘‘security’’         array of factors in determining whether someone is
                                              apply both with respect to ‘‘security’’ and               a ‘‘dealer’’ within the meaning of the statute. See,     that is buying securities for its own account may
                                              ‘‘government security’’ under sections 3(a)(10) and       e.g., Definition of Terms in and Specific Exemption      still not be a ‘dealer’ because it is not ‘engaged in
                                              3(a)(42) of the Exchange Act, respectively. See           for Banks, Savings Associations, and Savings Banks       the business’ of buying and selling securities for its
                                              Proposing Release at 23057 (Congress defined              Under Sections 3(a)(4) and 3(a)(5) of the Securities     own account as part of a regular business,’’ and that
                                              ‘‘dealer’’ broadly ‘‘to encompass a wide range of         Exchange Act of 1934, Exchange Act Release No.           ‘‘[t]his exclusion is often referred to as the dealer/
                                              activities involving investors and securities             46745 (Oct. 30, 2002), 67 FR 67496, 67498–67500          trader distinction’’).
                                              markets.’’); Registration Requirements for Foreign        (Nov. 5, 2002) (‘‘2002 Release’’); see also section         13 A bank engaged in these activities with respect
                                              Broker Dealers, Exchange Act Release No. 27017            II.A.5 (explaining that otherwise applicable             to government securities would not register with
                                              (July 11, 1989), 54 FR 30013, 30015 (July 18, 1989)       interpretations and precedent continue to apply to       the Commission as a dealer. See Exchange Act
                                              (‘‘Foreign Broker Dealer Adopting Release’’).             determine whether a person is acting as a dealer,        section 3(a)(5)(C)(i)(II) (providing an exception from
                                                 6 See Proposing Release at 23057; Foreign Broker
                                                                                                        even when that person does not fall within the           dealer status when a bank buys or sells exempted
khammond on DSKJM1Z7X2PROD with RULES2




                                              Dealer Adopting Release at 30015.                         requirements of the new rules); section II.A.3           securities, which are defined in Exchange Act
                                                 7 See, e.g., Exchange Act section 3(b) (authorizes     (explaining that the $50 million threshold is not an     section 3(a)(12)(A) to include government
                                              the SEC to define terms used in the Exchange Act,         exclusion from the ‘‘dealer’’ definition for all         securities); see also Exchange Act section 3(a)(6)
                                              consistent with the provisions and purposes of the        purposes, but only for purposes of the new rules).       (definition of ‘‘bank’’). A bank may nonetheless be
                                              Exchange Act. 15 U.S.C. 78c(b)).                             10 Section III below describes the estimated          a government securities dealer under section
                                                 8 On Mar. 28, 2022, the Commission voted to            benefits and costs associated with registering as a      3(a)(44). As such, it would not register with the
                                              issue the proposed 17 CFR 240.3a5–4 (‘‘proposed           dealer or government securities dealer for those         Commission but instead would provide written
                                              Rule 3a5–4’’) and 240.3a44–2 (‘‘proposed Rule             persons who meet the qualitative standard of the         notice of its government securities dealer status
                                              3a44–2’’) (collectively, ‘‘proposed rules’’) to further   final rules.                                             with the appropriate Federal banking regulator.



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                           Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                      Page 4 of 74 PageID 28
                                              14940             Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              regular business.’’ 14 Read together,                          The Commission has long identified                   Commission recognizes that, depending
                                              these provisions identify a ‘‘government                    factors that would be informative for                   on their business models, PTFs may not
                                              securities dealer’’ as a person engaged in                  determining whether a person is a                       engage in certain types of dealer
                                              the business of buying and selling                          dealer. For example, the Commission’s                   activities. Some may not, for example,
                                              government securities for its own                           2002 Release states that ‘‘[a] person                   underwrite securities, solicit clients,
                                              account as part of a regular business.                      generally may satisfy the definition, and               provide investment advice, carry
                                              Section 15C of the Exchange Act makes                       therefore, be acting as a dealer in the                 accounts for others, or extend credit,
                                              it unlawful for a ‘‘government securities                   securities markets by conducting                        and so may not implicate principle (1),
                                              dealer’’ (other than a registered broker-                   various activities: (1) underwriting; (2)               (2), or (4) as discussed in the 2002
                                              dealer or financial institution) to induce                  acting as a market maker or specialist on               Release. The Commission is concerned,
                                              or attempt to induce the purchase or                        an organized exchange or trading                        however, that some PTFs act as de facto
                                              sale of any government security unless                      system; (3) acting as a de facto market                 market makers but do so without
                                              such government securities dealer is                        maker whereby market professionals or                   registration.20 Such a regulatory gap
                                              registered in accordance with section                       the public look to the firm for liquidity;              results in inconsistent oversight of
                                              15C(a)(2).15                                                or (4) buying and selling directly to                   market participants performing similar
                                                                                                          securities customers together with                      functions (whether in the same market
                                                 14 15 U.S.C. 78c(a)(44). Congress added the              conducting any of an assortment of                      or across asset classes). This limited
                                              definition of ‘‘government securities dealer’’ to the       professional market activities such as                  regulatory oversight of significant
                                              Exchange Act in the Government Securities Act of            providing investment advice, extending                  liquidity providers increases the
                                              1986 (‘‘GSA’’). Public Law 99–571, 100 Stat. 3208
                                              (Oct. 28, 1986). In addition to otherwise applicable        credit and lending securities in                        difficulty and complexity for regulators
                                              regulations, government securities dealers must             connection with transactions in                         to investigate, understand, and address
                                              comply with rules adopted by the Treasury. See              securities, and carrying a securities                   significant market events.21 As a result,
                                              regulations under section 15C of the Securities             account.16 These principles demonstrate
                                              Exchange Act of 1934, 17 CFR 400.1(b), available
                                              at https://www.govinfo.gov/content/pkg/CFR-2018-            that the analysis of whether a person                   report.pdf. The 2015 Joint Staff Report is a report
                                                                                                          meets the definition of a dealer depends                of the Inter-Agency Working Group for Treasury
                                              title17-vol4/pdf/CFR-2018-title17-vol4.pdf. These
                                                                                                                                                                  Market Surveillance (‘‘IAWG’’). In contrast, many
                                              regulations address financial responsibility,               upon all of the relevant facts and                      equity market participants may already be
                                              protection of customer securities and funds,                circumstances.’’ 17                                     registered in order to take advantage of certain
                                              recordkeeping, and financial reporting and audits.
                                              Also included are rules concerning custodial
                                                                                                             In recent years, market participants                 incentives offered only to exchange members. See
                                                                                                          regularly engaging in significant                       Exchange Act section 6(c)(1) (requiring a national
                                              holdings of government securities by depository
                                                                                                                                                                  securities exchange to deny membership to any
                                              institutions. The Commission retains broad                  liquidity provision have not registered,                person that is not a registered broker or dealer or,
                                              antifraud authority over banks that are government          either as ‘‘dealers’’ under section 15 of               if a natural person, associated with a registered
                                              securities dealers. Soon after enactment of the GSA,        the Exchange Act or ‘‘government                        broker or dealer).
                                              the staff issued a series of no-action letters to
                                              persons seeking assurances that the staff would not         securities dealers’’ under section 15C of                  20 The significant role played by market

                                                                                                          the Exchange Act.18 This is particularly                participants not registered as dealers distinguishes
                                              recommend enforcement action if they did not
                                                                                                                                                                  the Treasury market from other markets where these
                                              register as government securities dealers. See, e.g.,       true in the U.S. Treasury market where                  types of participants are more typically registered
                                              Bankers Guarantee Title & Trust Co., SEC No-Action          certain market participants, particularly               as dealers. One commenter stated that it understood
                                              Letter (Jan. 22, 1991); Bank of America, Canada,
                                              SEC No-Action Letter (May 1, 1988); Citicorp                those commonly known as proprietary                     ‘‘from its member firms that one of the effects of the
                                                                                                          or principal trading firms (‘‘PTFs’’),                  Market Access Rule is that many previously
                                              Homeowners, Inc., SEC No-Action Letter (Oct. 7,
                                                                                                                                                                  unregistered PTFs operating in the equity and
                                              1987); Fairfield Trading Corp., SEC No-Action               account for about half of the daily                     options markets became registered as broker-dealers
                                              Letter (Dec. 10, 1987); Louis Dreyfus Corp., SEC No-        volume in the interdealer market and                    due to their business need to submit their orders
                                              Action Letter (July 23, 1987); United Savings
                                              Association of Texas, SEC No-Action Letter (Apr. 2,
                                                                                                          yet are not registered as dealers—                      directly into the market without having to first run
                                                                                                          despite performing critical market                      them through the risk controls of other broker-
                                              1987); Continental Grain Co., SEC No-Action Letter                                                                  dealers,’’ and that the Proposing Release did not
                                              (Nov. 28, 1987). Staff reports, Investor Bulletins,         functions, in particular liquidity                      address this market development. See Comment
                                              and other staff documents (including those cited            provision, that historically have been                  Letter of Securities Industry and Financial Markets
                                              herein) represent the views of Commission staff and
                                              are not a rule, regulation, or statement of the
                                                                                                          performed by dealers.19 The                             Association (May 27, 2022) (‘‘SIFMA Comment
                                                                                                                                                                  Letter I’’); see also 17 CFR 240.15c3–5 (‘‘Rule 15c3–
                                              Commission. The Commission has neither                                                                              5’’ or ‘‘Market Access Rule’’) (requiring broker-
                                              approved nor disapproved the content of these staff         deposits of which are insured by the Federal            dealers with market access to establish, document,
                                              documents and, like all staff statements, they have         Deposit Insurance Corporation). See 15 U.S.C.           and maintain a system of risk management controls
                                              no legal force or effect, do not alter or amend             78c(a)(46)(A) through (C).                              and supervisory procedures reasonably designed to
                                              applicable law, and create no new or additional                16 2002 Release at 67498–67500.
                                                                                                                                                                  manage financial, regulatory, and other risks of this
                                              obligations for any person. Staff in the Division of           17 See id.; see also Proposing Release at 23058–
                                                                                                                                                                  business activity). As explained in the Proposing
                                              Trading and Markets is reviewing its no-action              59.                                                     Release, it is the Commission’s understanding that
                                              letters and other staff statements that address the            18 See Proposing Release at 23081.                   in the equity markets, because PTF trading
                                              Exchange Act’s definition of ‘‘dealer’’ or                     19 Nellie Liang and Pat Parkinson, Hutchins          strategies typically depend on latency and cost
                                              ‘‘government securities dealer’’ to determine which         Center Working Paper #72, Enhancing Liquidity of        advantages made possible by trading directly (via
                                              letters and other staff statements, or portions             the U.S. Treasury Market Under Stress (Dec. 16,         membership) on a national securities exchange, and
                                              thereof, should be withdrawn in connection with             2020), at 6. The term ‘‘PTF’’ is not defined in the     the Exchange Act limits exchange membership to
                                              the adoption of the final rules. Some of these letters      securities laws. PTFs trade as principals, buying       registered broker-dealers, there is incentive for
                                              and staff statements, or portions thereof, may be           and selling for their own accounts, and often           many PTFs to register as broker-dealers to gain
                                              moot, superseded, or otherwise inconsistent with            employ automated, algorithmic trading strategies        these advantages. In the U.S. Treasury market,
                                              the final rules, and, therefore, may be withdrawn           (including passive market making, arbitrage, and        however, where trading occurs on alternative
                                              by the staff. A list of the letters to be withdrawn         structural and directional trading) that rely on        trading systems (‘‘ATSs’’) and other non-exchange
                                              will be available on the Commission’s website.              speed, which allows them to quickly execute trades,     venues, PTFs lack this incentive to register. See
                                                 15 A government securities dealer that is a
                                                                                                          or cancel or modify quotes in response to perceived     Proposing Release at 23072–73. See also Exchange
                                              registered dealer or a financial institution must file      market events. See Proposing Release at 23055. See      Act section 6(c)(1) (‘‘A national securities exchange
khammond on DSKJM1Z7X2PROD with RULES2




                                              notice with the appropriate regulatory agency that          also Joint Staff Report: The U.S. Treasury Market on    shall deny membership to (A) any person, other
                                              it is a government securities dealer. See 15 U.S.C.         Oct. 15, 2014 (July 13, 2015) (‘‘2015 Joint Staff       than a natural person, which is not a registered
                                              78o–5(a). Exchange Act section 3(a)(46) defines the         Report’’), prepared by staff of the U.S. Department     broker or dealer or (B) any natural person who is
                                              term ‘‘financial institution’’ to include: (i) a bank (as   of the Treasury, Board of Governors of the Federal      not, or is not associated with, a registered broker or
                                              that term is defined in Exchange Act section 3(a)(6)        Reserve System, Federal Reserve Bank of New York,       dealer.’’).
                                              (15 U.S.C. 38c(a)(6)); (ii) a foreign bank (as that term    U.S. Securities and Exchange Commission, and U.S.          21 See, e.g., Inter-Agency Working Group for

                                              is used in the International Banking Act of 1978);          Commodity Futures Trading Commission, available         Treasury Market Surveillance Joint Staff Report,
                                              and (iii) a savings association (as defined in section      at https://www.sec.gov/reportspubs/specialstudies/      Recent Disruptions and Potential Reforms in the
                                              3(b) of the Federal Deposit Insurance Act, the              treasury-market-volatility-10-14-2014-joint-            U.S. Treasury Market: A Staff Progress Report



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024    Jkt 262001   PO 00000    Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                           Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                        Page 5 of 74 PageID 29
                                                                Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                        14941

                                              investors and the markets currently lack                   Commission and SRO rules, including                        help to enhance market stability by
                                              important protections.                                     certain financial responsibility and risk                  giving regulators increased insight into
                                                 Courts have repeatedly recognized the                   management rules,24 transaction and                        firm-level and aggregate trading activity
                                              requirement that dealers register as                       other reporting requirements,25                            and so help regulators to evaluate,
                                              being ‘‘of the utmost importance in                        operational integrity rules,26 and books                   assess, and address market risks. In
                                              effecting the purposes of the Exchange                     and records requirements,27 all of which                   addition, registered dealers and
                                              Act.’’ 22 Dealers generally must register                                                                             government securities dealers are
                                              with the Commission and become                                24 See, e.g., 17 CFR 240.15c3–1 (‘‘Rule 15c3–1’’ or     required to comply with all applicable
                                              members of a self-regulatory                               ‘‘Net Capital Rule’’); Financial Responsibility Rules      securities laws, including not only
                                              organization (‘‘SRO’’); 23 comply with                     for Broker-Dealers, Exchange Act Release No. 70072
                                                                                                         (July 30, 2013), 78 FR 51823 at 51849 (Aug. 21,
                                                                                                                                                                    section 17(a) of the Securities Act of
                                                                                                         2013) (‘‘The capital standard in Rule 15c3–1 is a net      1933 (‘‘Securities Act’’) and section
                                              prepared by U.S. Department of the Treasury, Board         liquid assets test. This standard is designed to allow     10(b) of the Exchange Act but also
                                              of Governors of the Federal Reserve System, Federal        a broker-dealer the flexibility to engage in activities    specialized anti-manipulative and other
                                              Reserve Bank of New York, U.S. Securities and              that are part of conducting a securities business
                                              Exchange Commission, U.S. Commodity Futures                (e.g., taking securities into inventory) but in a
                                                                                                                                                                    antifraud rules promulgated pursuant to
                                              Trading Commission (Nov. 8, 2021) (‘‘2021 IAWG             manner that places the firm in the position of             section 15(c) of the Exchange Act.28
                                              Joint Staff Report’’) (describing Mar. 2020 COVID–         holding at all times more than one dollar of highly        These regulatory requirements provide
                                              19 and Oct. 15, 2014, flash rally disruptions to the       liquid assets for each dollar of unsubordinated
                                              Treasury market). See also supra note 18 and
                                                                                                                                                                    fundamental protections that contribute
                                                                                                         liabilities (e.g., money owed to customers,                to fair and orderly markets. Firms that
                                              accompanying text.                                         counterparties, and creditors)’’). The rule imposes
                                                 22 Proposing Release at 23060–61; see also SEC v.
                                                                                                         a ‘‘moment to moment’’ net capital requirement in          are government securities dealers
                                              Benger, 697 F. Supp. 2d 932, 944 (N.D. Ill. 2010)          that broker-dealers must maintain an amount of net         (including registered broker-dealers
                                              (quoting Celsion Corp. v. Stearns Mgmt. Corp., 157         capital that meets or exceeds their minimal net            trading government securities) must also
                                              F. Supp. 2d 942, 947 (N.D. Ill. 2001) (section 15(a)’s     capital requirement at all times.
                                              registration requirement is ‘‘of the utmost                   25 See, e.g., FINRA Rule 6730(a)(1) (requiring
                                                                                                                                                                    comply with rules adopted by the U.S.
                                              importance in effecting the purposes of the Act’’
                                                                                                         FINRA members to report transactions in TRACE-
                                                                                                                                                                    Treasury, including rules relating to
                                              because it enables the SEC ‘‘to exercise discipline                                                                   financial responsibility, recordkeeping,
                                                                                                         Eligible Securities, including Treasury securities,
                                              over those who may engage in the securities
                                              business and it establishes necessary standards with       which promotes transparency to the securities              financial condition reporting, and risk
                                              respect to training, experience, and records.’’); Roth     markets, including the Treasury market, by                 oversight.29 Importantly, dealers are
                                              v. SEC, 22 F.3d 1108, 1109 (D.C. Cir. 1994) (‘‘The         providing market participants with comprehensive
                                              broker-dealer registration requirement serves as the       access to transaction data); FINRA Rule 7200 (Trade
                                                                                                         Reporting Facilities); FINRA Rule 4530 (Reporting          rules, among other rules, as well as assess whether
                                              keystone of the entire system of broker-dealer                                                                        and how a firm’s participation in the securities
                                              regulation.’’); Regional Properties, Inc. v. Financial     Requirements) which requires FINRA members to
                                                                                                         report among other things when the member or an            markets impacted a major market event. See Staff
                                              and Real Estate Consulting Co., 678 F.2d 552, 561                                                                     Study on Investment Advisers and Broker-Dealers
                                              (5th Cir. June 3, 1982); Eastside Church of Christ         associated person of the member has violated
                                                                                                         certain specified regulatory requirements, is subject      As Required by section 913 of the Dodd-Frank Wall
                                              v. National Plan, Inc., 391 F.2d 357, 361 (5th Cir.                                                                   Street Reform and Consumer Protection Act (Jan.
                                              Mar. 12, 1968).                                            to written customer complaints, and is denied
                                                                                                                                                                    2011) at 72. See also Recordkeeping and Reporting
                                                 23 See sections 15(b)(8), 15C(e)(1), and 17(b) of the   registration or is expelled, enjoined, directed to
                                                                                                                                                                    Requirements for Security-Based Swap Dealers,
                                              Exchange Act, 15 U.S.C. 78o(b)(8), 15 U.S.C. 78o–          cease and desist, suspended or disciplined by a
                                                                                                                                                                    Major Security-Based Swap Participants, and
                                              5(e)(1), and 15 U.S.C. 78q(b), respectively. Section       specified regulatory body. The provision at 17 CFR
                                                                                                                                                                    Broker-Dealers; Capital Rule for Certain Security-
                                              15(b)(8) of the Exchange Act makes it unlawful for         240.17a–5(d)(1)(i)(A) (‘‘Rule 17a–5(d)(1)(i)(A)’’)
                                                                                                                                                                    Based Swaps Dealers, Exchange Act Release No.
                                              any registered broker or dealer to effect any              requires broker-dealers, subject to limited
                                                                                                                                                                    71958 (Apr. 17, 2014), 79 FR 25194, 25199 (May 2,
                                              transaction in securities (with certain exceptions)        exceptions, to file annual reports, including
                                                                                                                                                                    2014) (‘‘The requirements are an integral part of the
                                              unless the broker or dealer is a member of a               financial statements and supporting schedules that
                                                                                                                                                                    investor protection function of the Commission,
                                              registered securities association or effects               generally must be audited by a Public Company
                                                                                                                                                                    and other securities regulators, in that the preserved
                                              transactions in securities solely on a national            Accounting Oversight Board (‘‘PCAOB’’) registered
                                                                                                                                                                    records are the primary means of monitoring
                                              securities exchange of which it is a member.               independent public accountant in accordance with           compliance with applicable securities laws,
                                              Section 15C(e)(1) of the Exchange Act requires that        PCAOB standards. See also Consolidated Audit               including antifraud provisions and financial
                                              a registered government securities broker-dealer           Trail, Exchange Act Release No. 62174 (May 26,             responsibility standards.’’).
                                              become a member of a registered national securities        2010), 75 FR 32556 (June 8, 2010); Joint Industry             28 See, e.g., sections 15(c)(1) and (2) of the
                                              exchange or registered national securities                 Plan; Order Approving the National Market System
                                                                                                                                                                    Exchange Act, 15 U.S.C. 78o(c)(1) and (2), and rules
                                              association. Because government securities are not         Plan Governing the Consolidated Audit Trail,
                                                                                                                                                                    promulgated thereunder. Section 15(c) of the
                                              traded on registered national securities exchanges,        Exchange Act Release No. 79318 (Nov. 15, 2016),
                                              a person that registers as a government securities                                                                    Exchange Act prohibits broker-dealers from
                                                                                                         81 FR 84696 (Nov. 23, 2016) (‘‘CAT Approval
                                              dealer under section 15C to trade only government                                                                     effecting any transaction in securities by means of
                                                                                                         Order’’); Joint Industry Plan; Notice of Filing of a
                                              securities would generally need to become a                                                                           any manipulative, deceptive, or other fraudulent
                                                                                                         National Market System Plan Regarding                      device or contrivance.
                                              member of a registered national securities                 Consolidated Equity Market Data, Exchange Act                 29 Under Title I of the GSA, all government
                                              association (FINRA is the only registered national         Release No. 77724 (Apr. 27, 2016), 81 FR 30614
                                              securities association). The Commission recently                                                                      securities brokers and government securities dealers
                                                                                                         (May 17, 2016) (‘‘CAT Notice’’).
                                              adopted amendments to 17 CFR 240.15b9–1 (‘‘Rule               26 See, e.g., Market Access Rule (promotes market
                                                                                                                                                                    are required to comply with the requirements in
                                              15b9–1’’) to replace rule provisions that provide an                                                                  Treasury’s GSA regulations that are set out in 17
                                                                                                         integrity by reducing risks associated with market         CFR parts 400 through 449, as well as all other
                                              exemption for proprietary trading with narrower            access by requiring financial and regulatory risk
                                              exemptions from national securities association                                                                       applicable requirements. For the most part,
                                                                                                         management controls reasonably designed to limit           Treasury’s GSA regulations incorporate with some
                                              membership for any registered broker or dealer that
                                                                                                         financial exposures and ensure compliance with             modifications: (1) Commission rules for non-
                                              is a member of a national securities exchange,
                                                                                                         applicable regulatory requirements).                       financial institution government securities brokers
                                              carries no customer accounts, and effects                     27 See, e.g., section 17(a) of the Exchange Act and
                                              transactions in securities otherwise than on a                                                                        and government securities dealers; and (2) the
                                              national securities exchange of which it is a              17 CFR 240.17a–3 (‘‘Rule 17a–3’’) and 240.17a–4            appropriate regulatory agency rules for financial
                                              member. See 17 CFR 240.15b9–1; Exemption for               (‘‘Rule 17a–4’’); see also, e.g., FINRA Rules 2268,        institutions that are required to file notice as
                                              Certain Exchange Members, Exchange Act Release             4510, 4511, 4512, 4513, 4514, 4515, 5340, and              government securities brokers and government
                                              No. 98202, Aug. 23, 2023), 88 FR 61850 (Sept. 7,           7440(a)(4) (requiring member firms to make and             securities dealers. See, e.g., 17 CFR part 400, Rules
                                              2023) (‘‘Amended Rule 15b9–1 Adopting Release’’).          preserve certain books and records to show                 of general application; 17 CFR part 401,
                                              Section 17(b) of the Exchange Act provides, among          compliance with applicable securities laws, rules,         Exemptions; 17 CFR part 402, Financial
                                              other things, that all records of a broker-dealer are      and regulations and enable Commission and FINRA            responsibility; 17 CFR part 403, Protection of
khammond on DSKJM1Z7X2PROD with RULES2




                                              subject at any time, or from time to time, to such         staffs to conduct effective examinations); NYSE            customer securities and balances; 17 CFR part 404,
                                              reasonable, periodic, special, or other examinations       Rule 440 (Books and Records); CBOE Exchange                Recordkeeping and preservation of records; 17 CFR
                                              by representatives of the Commission and the               Rule 7.1 (Maintenance, Retention and Furnishing of         part 405, Reports and audit; and 17 CFR part 449,
                                              appropriate regulatory agency of the broker-dealer         Books, Records and Other Information). Among               Forms, section 15C of the Exchange Act. The GSA
                                              as the Commission or the appropriate regulatory            other things, Commission and SRO books and                 regulations also include requirements for custodial
                                              agency deems necessary or appropriate in the               records rules help to ensure that regulators can           holdings by depository institutions at 17 CFR part
                                              public interest, for the protection of investors, or       access information to evaluate the financial and           450, which were issued under Title II of the GSA.
                                              otherwise in furtherance of the purposes of the            operational condition of the firm, including               The Treasury GSA regulations provide in many
                                              Exchange Act.                                              examining compliance with financial responsibility                                                     Continued




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000    Frm 00005    Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM       29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                      Page 6 of 74 PageID 30
                                              14942            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              subject to Commission and SRO                           participants.32 The comments addressed                     some commenters thought that the
                                              examination and enforcement for                         all aspects of the proposal.                               proposed first qualitative factor was
                                              compliance with applicable Federal                         Commenters in support of the                            overinclusive and would capture
                                              securities laws and SRO rules.30                        proposal shared the Commission’s                           activity that was not dealing.37
                                                                                                      concerns regarding the significant role                    Commenters also raised concerns about
                                                 On March 28, 2022, the Commission                    of unregistered entities that act as                       certain terms used in the proposed first
                                              proposed Rules 3a5–4 and 3a44–2 to                      liquidity providers and emphasized the                     qualitative factor, the manner in which
                                              identify certain activities that would                  benefits of registration and regulation.33                 they would be interpreted, and the
                                              constitute a ‘‘regular business’’ requiring             These commenters discussed specific                        compliance challenges that they might
                                              a person engaged in certain liquidity-                  benefits, in particular transparency,                      present.38 While the Commission is
                                              providing activities to register as a                   market integrity and investor protection,                  generally retaining the overall structure
                                              ‘‘dealer’’ or a ‘‘government securities                 as well as appropriate Commission and                      of the proposed rules, the Commission
                                              dealer,’’ absent an exception or                        SRO oversight of entities registered as                    is making certain modifications to the
                                              exemption.31 Proposed Rules 3a5–4 and                   dealers and government securities                          text of the rules and also is providing
                                              3a44–2 were designed to define the                      dealers.34                                                 guidance to address concerns raised
                                              types of activities that would cause a                     Some commenters stated that they                        during the public comment process.
                                              person to be regarded as a de facto                     supported the Commission’s policy                             Many commenters also questioned
                                              market maker and therefore subject to                   goals but expressed concerns regarding                     whether the quantitative standard
                                              registration as a dealer under sections                 whether the proposed rules would                           exceeds the Commission’s authority
                                              15 and 15C of the Exchange Act.                         achieve those goals.35 As discussed                        under the Exchange Act and is
                                              Specifically, the proposed rules would                  more fully below, these and other                          consistent with historical Commission
                                              have established three qualitative                      commenters raised certain common                           interpretations and guidance and
                                              factors, as well as a quantitative                      themes, which generally reflected                          Federal case law.39 As discussed above,
                                                                                                      concerns regarding the breadth of the                      the SEC has the authority to define the
                                              standard applicable only with respect to
                                                                                                      proposed rules and that the proposed                       terms used in the statutory definition of
                                              government securities. The proposed
                                                                                                      rules would inappropriately apply to                       ‘‘dealer’’ and oversee and regulate
                                              rules also further defined the types of                                                                            registered dealers. Further, the statutory
                                                                                                      persons not engaging in dealer activity.
                                              entities that would be included in and                  Specifically, many commenters stated                       definitions of ‘‘dealer’’ in section 3(a)(5)
                                              excluded from the ambit of the rules.                   that some of the terms used in the                         and ‘‘government securities dealer’’ in
                                              The proposed rules focused only on the                  proposed qualitative factors were vague                    section 3(a)(44), and the accompanying
                                              de facto market maker test, as                          and overly broad.36 As discussed below,                    registration requirements of the
                                              emphasized through the inclusion of the                                                                            Exchange Act, were drawn broadly by
                                              ‘‘no presumption’’ language, which                         32 Comments received in response to the                 Congress to encompass a wide range of
                                              provided that the further definition of                 Proposing Release are available at: https://               activities involving the securities
                                                                                                      www.sec.gov/comments/s7-12-22/s71222.htm.
                                              ‘‘regular business,’’ if adopted, would                    33 See, e.g., Comment Letter of The Financial
                                                                                                                                                                 markets and their participants. PTFs
                                              not seek to address all persons that may                Industry Regulatory Authority, Inc. (June 23, 2022)        and other market participants that
                                              be acting as dealers under otherwise                    (‘‘FINRA Comment Letter’’); Comment Letter of              engage in dealer activity in the U.S.
                                              applicable interpretations and                          Better Markets (May 27, 2022) (‘‘Better Markets            Treasury market should be subject to the
                                                                                                      Comment Letter’’).                                         same regulatory requirements as other
                                              precedent.                                                 34 Id.

                                                 The Commission received comment                         35 See, e.g., SIFMA Comment Letter I (‘‘We
                                                                                                                                                                 dealers.
                                                                                                      support the policy goal of proposed Rule 3a44–2 to            In addition, commenters, many of
                                              letters from a variety of commenters
                                                                                                      require PTFs in the government securities market to        which were in the asset management
                                              including investment advisers, PTFs,                    register as government securities dealers, but             industry, stated that the proposed
                                              private fund advisers, crypto asset                     believe that the Commission can adequately capture         definition of ‘‘own account’’ would
                                              related entities and industry groups,                   trading activity by unregistered PTFs by adopting
                                                                                                      solely the qualitative standards set forth Rule 3a44–
                                              insurance industry groups, industry                     2(a)(1)(ii) and (iii), without the need to adopt the       7, 2022) (‘‘Citadel Comment Letter’’); Comment
                                              associations, advisory groups, retail                   standard in Rule 3a44–2(a)(1)(i).’’); Comment Letter       Letter of Morgan, Lewis & Bockius LLP (June 8,
                                              investors, and other market                             of Modern Markets Initiative (May 27, 2022) (‘‘MMI         2022) (‘‘Morgan Lewis Comment Letter’’); Comment
                                                                                                      Comment Letter’’) (‘‘MMI appreciates the SEC’s             Letter of T. Rowe Price (June 8, 2022) (‘‘T. Rowe
                                                                                                      intent in the Proposal to further support                  Price Comment Letter’’); Comment Letter of
                                              instances that a registered dealer can comply with      transparency, market integrity, and resiliency across      Investment Company Institute (May 27, 2022) (‘‘ICI
                                              a Commission rule to establish compliance with the      the U.S. Treasury market and other securities              Comment Letter’’); SIFMA Comment Letter I;
                                              comparable Treasury requirement. See, e.g., 17 CFR      markets, as it relates to ensuring that proprietary (or    SIFMA AMG Comment Letter; Comment Letter of
                                              402.1(b) (‘‘This part does not apply to a registered    principal) trading firms and other market                  Alternative Investment Management Association
                                              broker or dealer . . . that is subject to [Rule 15c3–   participants who are acting as dealers be, in fact,        (May 27, 2022) (‘‘AIMA Comment Letter II’’);
                                              1].’’); 17 CFR 403.1 (regarding application to          registered as ‘dealers.’ MMI agrees it is important        Comment Letter of Managed Funds Association
                                              registered brokers or dealers); 17 CFR 404.1 and 17     that dealers or those who engage in buying and             (May 27, 2022) (‘‘MFA Comment Letter I’’);
                                              CFR 405.1(a) (same).                                    selling of government securities as registered             Comment Letter of McIntyre & Lemon, PLLC (May
                                                30 See Exchange Act section 15(b) (regarding
                                                                                                      dealers should become members of a self-regulatory         31, 2022) (‘‘McIntyre Comment Letter II’’);
                                              Commission authority to sanction brokers and            organization, and receive the benefits and                 Comment Letter of FIA Principal Traders Group
                                              dealers); section 15C(c) (regarding Commission          obligations under the existing framework of Federal        (May 27, 2022) (‘‘FIA PTG Comment Letter I’’);
                                              authority to sanction government securities dealers     securities laws.’’); Comment Letter of Asset               Comment Letter of Managed Funds Association
                                              that are registered with it); section 15C(d)            Management Group of Securities Industry and                (Dec. 19, 2023) (‘‘MFA Comment Letter V’’). See
                                              (authorizing the Commission to examine books and        Financial Markets Association (May 27, 2022)               also section II.A.1.
                                                                                                                                                                    37 See, e.g., AIMA Comment Letter II; MFA
                                              records of government securities dealers registered     (‘‘SIFMA AMG Comment Letter’’) (‘‘While SIFMA
khammond on DSKJM1Z7X2PROD with RULES2




                                              with it); and section 17(b) (broker-dealer              AMG can appreciate the Commission’s efforts to             Comment Letter I; Comment Letter of Element
                                              recordkeeping and examination). See also section        protect investors and further the public interest, we      Capital Management LLC (May 27, 2022) (‘‘Element
                                              15C(g) (restricting the authority of the Commission     do not believe that the Proposal will achieve those        Comment Letter’’); SIFMA Comment Letter II; MFA
                                              with respect to government securities dealers that      goals with respect to money managers.’’); Comment          Comment Letter V.
                                              are not registered with the Commission).                Letter of FIA Principal Traders Group (Dec. 12,               38 See, e.g., MFA Comment Letter I; SIFMA AMG
                                                31 See Proposing Release; see also Exchange Act       2023) (‘‘FIA PTG Comment Letter II’’).                     Comment Letter; T. Rowe Price Comment Letter.
                                              section 15 (regarding registration of dealers) and         36 See, e.g., Comment Letter of Association of             39 See, e.g., SIFMA AMG Comment Letter;

                                              section 15C (regarding registration of government       Digital Asset Markets (May 27, 2022) (‘‘ADAM               Comment Letter of Two Sigma (May 27, 2022)
                                              securities dealers).                                    Comment Letter’’); Comment Letter of Citadel (June         (‘‘Two Sigma Comment Letter I’’).



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                    Page 7 of 74 PageID 31
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                    14943

                                              inappropriately apply the dealer regime                 and that the proposed rules could have                   statutory language of the Exchange Act
                                              to private funds and registered                         a negative effect on liquidity.44                        by referring to ‘‘regular’’ rather than the
                                              investment advisers, and that the                                                                                proposed ‘‘routine’’ patterns of behavior
                                                                                                      B. Overview of the Final Rules and
                                              proposed exclusion for registered                                                                                that have the effect of providing
                                                                                                      Modifications to the Proposal
                                              investment companies should be                                                                                   liquidity to other market participants;
                                              expanded to registered investment                         After careful review of comments                       and (3) add the phrase ‘‘for the same
                                                                                                      received and upon further                                security’’ to the factor relating to the
                                              advisers and to private funds managed
                                                                                                      consideration, the Commission is                         expression of trading interests to clarify
                                              by registered investment advisers.40
                                                                                                      adopting Rules 3a5–4 and 3a44–2 as                       that it will apply only when a person is
                                              Commenters in the crypto asset industry                 revised. As discussed below, while the                   on both sides of the market for the same
                                              also opposed the proposal, stating that                 Commission is generally retaining the                    security. While the proposed first
                                              the dealer framework should not apply                   overall structure of the proposed rules,                 qualitative factor was intended to
                                              to entities that transact in crypto assets              we are making certain modifications to                   capture persons whose pattern of
                                              that are securities.41                                  the text of the rules and also are                       trading indicates that their liquidity
                                                 Further, many commenters believed                    providing guidance to address concerns                   provision forms a part of a regular
                                              that the economic analysis did not                      raised during the comment process. In                    business and to distinguish them from
                                              adequately address economic                             particular, the modifications we have                    persons engaging in isolated or sporadic
                                              implications of the proposed rules.42                   made to more appropriately tailor the                    securities transactions (and therefore
                                              Commenters also stated that the                         scope of the final rules will address                    not engaging in such a regularity of
                                              proposed rules were largely unnecessary                 various concerns raised by commenters                    participation), commenters raised a
                                              because of existing regulatory                          and appropriately require only entities                  number of concerns with this factor, in
                                              obligations, stating that the Commission                engaging in de facto market making                       particular that it was overinclusive and
                                              has other tools to accomplish its stated                activity to register as dealers.45 Overall,              would capture activity that was not
                                                                                                      the final rules will achieve the                         dealing, but rather investing in the
                                              goals of improving transparency
                                                                                                      Commission’s important goals of                          ordinary course. After consideration of
                                              including, for example, the
                                                                                                      protecting investors and supporting fair,                comments, the Commission has decided
                                              Consolidated Audit Trail (‘‘CAT’’), the                 orderly, and efficient markets.
                                              Trade Reporting and Compliance Engine                                                                            to eliminate this factor from the final
                                                                                                        An overview of the changes from the                    rules. As discussed below, the
                                              (‘‘TRACE’’) and large trader reporting,43               proposal follows:                                        qualitative factors as modified, together
                                                                                                        Modification and Streamlining of the                   with the statutory definition and related
                                                 40 See, e.g., Comment Letter of National
                                                                                                      Qualitative Standard—The Commission                      precedent and interpretations,
                                              Association of Private Fund Managers (May 27,           has modified the proposed qualitative
                                              2022) (‘‘NAPFM Comment Letter’’); MFA Comment                                                                    appropriately describe the
                                              Letter I; AIMA Comment Letter II. See also section      factors to: (1) eliminate the proposed                   circumstances in which a person would
                                              II.A.3.                                                 qualitative factor that would have                       be deemed to engage in a ‘‘regular’’
                                                 41 The Proposing Release used the phrase ‘‘digital   captured persons engaging in liquidity                   pattern of buying and selling securities
                                              asset that is a security.’’ See Proposing Release at    provision by routinely making roughly
                                              23057 n.36. For purposes of this Adopting Release,                                                               that has the effect of providing liquidity
                                                                                                      comparable purchases and sales of the                    to other market participants, including
                                              the Commission does not distinguish between the
                                              terms ‘‘digital asset securities’’ and ‘‘crypto asset   same or substantially similar securities                 in the U.S. Treasury market.
                                              securities.’’                                           in a day (‘‘proposed first qualitative                      Deletion of the Quantitative
                                                 42 See, e.g., Comment Letter of Andreessen           factor’’); (2) more closely track the                    Standard—The Commission proposed a
                                              Horowitz (May 27, 2022) (‘‘Andreessen Horowitz
                                              Comment Letter’’); AIMA Comment Letter II;                 44 See, e.g., AIMA Comment Letter II; FIA PTG
                                                                                                                                                               bright line test under which persons
                                              ADAM Comment Letter; MFA Comment Letter I;              Comment Letter I; Virtu Comment Letter; McIntyre
                                                                                                                                                               engaged in certain levels of activity in
                                              Comment Letter of Blockchain Association (May 27,       Comment Letter II; Alphaworks Comment Letter;            the U.S. Treasury market would be
                                              2022) (‘‘Blockchain Association Comment Letter’’);
                                              Comment letter of U.S. Representatives Patrick
                                                                                                      MMI Comment Letter; Schulte Roth Comment                 defined to be buying and selling
                                                                                                      Letter; IDTA Comment Letter; NAPFM Comment               securities ‘‘as part of a regular
                                              McHenry and Bill Huizenga (Apr. 18, 2022) (‘‘U.S.       Letter; Comment Letter of Federal Regulation of
                                              Reps Comment Letter’’); Comment Letter of Virtu         Securities Committee of the Business Law Section         business,’’ regardless of whether they
                                              Financial (May 27, 2022) (‘‘Virtu Comment Letter’’);    of the American Bar Association (May 27, 2022)           meet any of the qualitative factors. The
                                              Comment Letter of Alphaworks Capital
                                              Management (May 27, 2022) (‘‘Alphaworks
                                                                                                      (‘‘ABA Comment Letter’’); Fried Frank Comment            quantitative standard was intended as a
                                                                                                      Letter; MFA Comment Letter I; Element Comment            backstop to the qualitative factors to
                                              Comment Letter’’); Two Sigma Comment Letter I;          Letter; Citadel Comment Letter; Morgan Lewis
                                              FIA PTG Comment Letter I; Comment Letter of             Comment Letter; DeFi Fund Comment Letter; Scott          capture the most significant Treasury
                                              Independent Dealer and Trader Association (May          Comment Letter.                                          market participants.46 While the
                                              27, 2022) (‘‘IDTA Comment Letter’’); NAPFM
                                              Comment Letter; Comment Letter of Schulte Roth
                                                                                                         45 With respect to the Commission’s authority to
                                                                                                                                                               proposed trading volume threshold was
                                                                                                      adopt the final rules, some commenters asserted          intended to provide an easily
                                              & Zabel LLP (May 27, 2022) (‘‘Schulte Roth              that the major questions doctrine is implicated. See,
                                              Comment Letter’’); SIFMA Comment Letter I;              e.g., Comment Letter of Consensys Software Inc.          measurable and non-discretionary
                                              Comment Letter of James Overdahl (May 27, 2022)         (May 26, 2022) (‘‘Consensys Comment Letter’’);           standard, commenters raised concerns
                                              (‘‘Overdahl Comment Letter’’); Comment Letter of
                                              Fried, Frank, Harris, Shriver, & Jacobson LLP (May
                                                                                                      Comment Letter of American Investment Council            regarding the application of this
                                                                                                      (Aug. 8, 2023) (‘‘AIC Comment Letter’’). In further      standard, in particular with respect to
                                              27, 2022) (‘‘Fried Frank Comment Letter’’); Element     defining what it means to be engaged in the
                                              Comment Letter; Comment Letter of Chamber of            business of buying and selling securities ‘‘as a part    investment activities that might trigger
                                              Digital Commerce (June 13, 2022) (Chamber of            of a regular business’’ within the definitions of        the quantitative threshold. After
                                              Digital Commerce Comment Letter’’); Morgan Lewis
                                              Comment Letter; Comment Letter of DeFi Education
                                                                                                      ‘‘dealer’’ and ‘‘government securities dealer’’ under    consideration of these comments, the
                                                                                                      the Exchange Act, the Commission did not claim an
                                              Fund (May 27, 2022) (‘‘DeFi Fund Comment                ‘‘[e]xtraordinary grant[ ] of regulatory authority’’
                                                                                                                                                               Commission has decided to eliminate
khammond on DSKJM1Z7X2PROD with RULES2




                                              Letter’’); Comment Letter of Ranking Member, Tim        based on ‘‘vague,’’ ‘‘cryptic,’’ ‘‘ancillary,’’ or
                                              Scott, U.S. Senator (Dec. 14, 2023) (‘‘Scott Comment    ‘‘modest’’ statutory language. West Virginia v. EPA,        46 See Proposing Release at 23072 (stating that the
                                              Letter’’).                                              142 S. Ct. 2587, 2608–10 (2022) (quotation omitted).     quantitative standard was ‘‘designed to make clear
                                                 43 See, e.g., MMI Comment Letter; Virtu Comment                                                               the Commission’s view that a person engaged in
                                                                                                      Nor did it assert authority that falls outside its
                                              Letter; AIMA Comment Letter II; ADAM Comment            ‘‘particular domain.’’ Alabama Ass’n of Realtors v.      this regular volume of buying and selling activity
                                              Letter; SIFMA AMG Comment Letter; SIFMA                 HHS, 141 S. Ct. 2485, 2489 (2021) (per curiam).          is engaged in the buying and selling of government
                                              Comment Letter I; Fried Frank Comment Letter;           Congress granted the SEC authority to oversee and        securities for its own account as part of a regular
                                              Element Comment Letter; T. Rowe Price Comment           regulate dealers, and the Exchange Act empowers          business, and therefore, should be subject to the
                                              Letter.                                                 the SEC with authority to define statutory terms.        same regulatory requirements as other dealers’’).



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                            Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                        Page 8 of 74 PageID 32
                                              14944              Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              the quantitative standard from the final                         However, with a view to deterring the                 section 3(a)(44) of the Exchange Act.
                                              rules. As discussed below, the                                establishment of multiple legal entities                 The dealer framework is a functional
                                              qualitative factors as modified, and                          or accounts to evade appropriate                         analysis based on the securities trading
                                              otherwise applicable court precedent                          regulation, the final rules include an                   activities undertaken by a person, not
                                              and Commission interpretations,                               anti-evasion provision that prohibits                    the type of security being traded.
                                              appropriately describe the                                    persons from evading the registration                    Accordingly, the final rules will apply
                                              circumstances in which a person would                         requirements by: (1) engaging in                         with respect to any crypto asset that is
                                              be deemed to engage in a ‘‘regular’’                          activities indirectly that would satisfy                 a ‘‘security’’ or ‘‘government security’’
                                              pattern of buying and selling securities                      the qualitative factors; or (2)                          within the meaning of the Exchange
                                              that has the effect of providing liquidity                    disaggregating accounts. The changes                     Act.
                                              to other market participants, including                       from the proposed rules address                             Further, the Commission disagrees
                                              in the U.S. Treasury market.                                  concerns about the scope of the                          with the argument that certain market
                                                 As a result of these modifications, the                    proposed rules as raised by commenters                   participants, including PTFs, are not
                                              final rules establish two non-exclusive                       while enhancing the Commission’s                         dealers because they do not have
                                              ways in which a person will be                                current ability to prevent and address                   customers.55 There is no requirement in
                                              determined to be engaged in a regular                         potentially evasive behavior.51                          the statutory text of either section 3(a)(5)
                                              pattern of providing liquidity to other                          Exclusions—The Commission is                          or section 3(a)(44) that dealers have
                                              market participants ‘‘as part of a regular                    providing an exclusion for ‘‘central                     customers. In comparison, the Exchange
                                              business’’:                                                   banks,’’ ‘‘sovereign entities,’’ and                     Act’s definition of ‘‘broker’’ is ‘‘any
                                                 • Regularly expressing trading                             ‘‘international financial institutions,’’ all            person in the business of effecting
                                              interest that is at or near the best                          as defined in the final rules. The                       transactions in securities for the account
                                              available prices on both sides of the                         exclusion is appropriate in view of the                  of others,’’ which includes (but is not
                                              market for the same security, and that is                     unique roles played by these entities.                   limited to) customers.56 The dealer
                                              communicated and represented in a way                         The Commission also is adopting as                       definition includes no such limiting
                                              that makes it accessible to other market                      proposed the exclusions from the final                   language and, since its enactment, the
                                              participants (‘‘expressing trading                            rules for registered investment                          dealer definition was understood to
                                              interest factor’’); 47 or                                     companies and persons that have or                       cover ‘‘the operations of a trader . . .
                                                                                                            control less than $50 million in total                   who has no customers but merely trades
                                                 • Earning revenue primarily from
                                                                                                            assets.52                                                for his own account through a broker’’
                                              capturing bid-ask spreads, by buying at
                                                                                                               The Commission is not adopting                        so long as those operations ‘‘are
                                              the bid and selling at the offer, or from
                                                                                                            certain commenters’ suggestions for                      sufficiently extensive to be regarded as
                                              capturing any incentives offered by
                                                                                                            additional exclusions. Among other                       a regular business . . . .’’ 57 Likewise,
                                              trading venues to liquidity-supplying
                                                                                                            things, as discussed more fully below,                   many of the factors that the Commission
                                              trading interest (‘‘primary revenue
                                                                                                            the Commission is not excluding private                  identified in its 2002 Release do not
                                              factor’’).48                                                                                                           presume a dealer is acting for a
                                                 Revision of ‘‘Own Account’’ Definition                     funds or registered investment advisers
                                                                                                            from the final rules because an                          customer.58 Indeed, a number of
                                              and Addition of Anti-Evasion                                                                                           Exchange Act rules applicable to dealers
                                              Provision—The Commission had                                  investment adviser or private fund
                                                                                                            could be acting as a dealer depending                    presuppose that there are dealers
                                              proposed to define ‘‘own account’’ to                                                                                  without customers and are tailored for
                                              include accounts ‘‘held in the name of                        upon the particular activities in which
                                                                                                            it is engaged. The final rules do,                       that business model.59
                                              a person over whom that person                                                                                            Further, a helpful analogy can be
                                              exercises control or with whom that                           however, include several modifications
                                                                                                            and clarifications to address many of the                drawn to the Commission’s rulemaking
                                              person is under common control’’ (‘‘the                                                                                further defining who is a ‘‘security-
                                              aggregation provision’’).49 Upon                              compliance and other concerns raised
                                                                                                            by certain commenters, including those                   based swap dealer’’—a definition that
                                              consideration of the comments, the                                                                                     closely parallels the statutory definition
                                              Commission has revised the definition                         raised by private funds and registered
                                                                                                            investment advisers.53                                   of ‘‘dealer,’’ particularly with respect to
                                              so that the final rules define ‘‘own                                                                                   the exclusion of activities that are not
                                              account’’ to mean an account: (i) held in                        In addition, as discussed in more
                                                                                                            detail below, the Commission is not                      part of a regular business.60 In that
                                              the name of that person; or (ii) held for
                                              the benefit of that person. The rules as                      excluding certain types of securities,                      55 See Eastside Church of Christ v. National Plan,

                                              adopted thus are consistent with the                          specifically crypto asset securities, from               Inc., 391 F.2d 357 (5th Cir. 1968).
                                              Commission’s historical ‘‘entity’’                            the application of the final rules.54 As                    56 15 U.S.C. 78c(a)(4)(A).


                                              approach to broker-dealer regulation.50                       stated in the Proposing Release, the                        57 Charles H. Meyer, Securities Exchange Act of

                                                                                                            proposed rules would apply to any                        1934 Analyzed and Explained 33–34 (1934)
                                                                                                            ‘‘security’’ as defined in section 3(a)(10)              (emphasis added).
                                                 47 The proposed second qualitative factor has                                                                          58 See 2002 Release at 67498–67500.
                                              been modified to change the term ‘‘trading                    or ‘‘government security’’ as defined in                    59 See, e.g., 17 CFR 240.15c3–1(a)(6) (‘‘Rule 15c3–
                                              interests’’ to ‘‘trading interest’’ and the words ‘‘are’’                                                              1(a)(6)’’) (requiring firms relying on this provision
                                              to ‘‘is’’ and ‘‘they’’ to ‘‘it.’’ This is a non-substantive     51 See section II.A.4.
                                                                                                                                                                     to transact only with other brokers and dealers and
                                              modification to align the term with common usage.               52 See section II.A.3. As discussed further below,
                                                                                                                                                                     prohibiting such firms from carrying customer
                                                 48 The proposed third qualitative factor has been          the less than $50 million exclusion is not an            accounts); Rule 15b9–1 (exempting brokers-dealers
                                              modified to change the term ‘‘trading interests’’ to          exclusion from the ‘‘dealer’’ definition for all         from becoming members of a national securities
                                              ‘‘trading interest.’’ This is a non-substantive               purposes, but only for purposes of the final rules       association if they are a member of an exchange, do
                                              modification to align the term with common usage.             that focus on de facto market making. Outside of         not carry customer accounts, and any securities
khammond on DSKJM1Z7X2PROD with RULES2




                                                 49 See infra note 297 and accompanying text.               this context, the question of whether any person,        transactions that they effect elsewhere than an
                                              Further, the Commission is removing the                       including a person that has or controls less than $50    exchange of which they are a member meet certain
                                              definitions of ‘‘control’’ and ‘‘parallel account             million in total assets, is acting as a dealer, as       exceptions).
                                              structure.’’                                                  opposed to a trader, will remain a facts and                60 See Further Definition of ‘‘Swap Dealer,’’
                                                 50 See, e.g., Foreign Broker-Dealer Adopting               circumstances determination.                             ‘‘Security-Based Swap Dealer,’’ ‘‘Major Swap
                                                                                                              53 See section II.A.3.b.
                                              Release at 30017 (‘‘the Commission uses an entity                                                                      Participant,’’ ‘‘Major Security-Based Swap
                                              approach with respect to registered broker-                     54 Comments requesting that the proposed rules         Participant’’ and ‘‘Eligible Contract Participant,’’
                                              dealers’’). See infra note 326 and accompanying               not apply specifically to crypto asset securities are    Exchange Act Release No. 66868 (Apr. 27, 2012), 77
                                              text.                                                         discussed further in section II.A.3.                     FR 30596, (May 23, 2012) (‘‘Entities Release’’)



                                         VerDate Sep<11>2014     17:22 Feb 28, 2024     Jkt 262001    PO 00000   Frm 00008    Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                    Page 9 of 74 PageID 33
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                14945

                                              matter, in comparing ‘‘counterparties’’                 various modifications to appropriately                      The final rules, as modified,
                                              with ‘‘customers,’’ the Commission                      tailor the scope of the final rules to                   appropriately balance the concerns of
                                              stated that ‘‘any interpretation of the                 address concerns raised by commenters                    the various commenters in a way that
                                              ‘security-based swap dealer’ definition                 about effects on liquidity. The                          will best achieve the Commission’s
                                              that is predicated on the existence of a                Commission has crafted the final rules                   important goals to protect investors and
                                              customer relationship may lead to an                    to draw upon established concepts and                    support fair, orderly, and resilient
                                              overly narrow construction of the                       to expand upon prior Commission                          markets through the complete and
                                              definition.’’ 61 Accordingly, in this                   statements to identify more specifically                 consistent application of dealer
                                              regard, these commenters have read a                    the activities of certain market                         regulations. Further, the modifications
                                              limitation into the statute where none                  participants who act as dealers by                       we have made to tailor the scope of the
                                              exists.                                                 ‘‘providing liquidity’’ to other market                  final rules, including the persons
                                                 As stated above, some commenters                     participants, and to establish a more                    scoped into the final rules, will address
                                              suggested that the final rules are                      level regulatory playing field for these                 various concerns raised by commenters
                                              unnecessary because the SEC has other                   types of significant liquidity providers.                and appropriately require only entities
                                              tools to accomplish the goals of the                    The test established in the Exchange Act                 engaging in dealing activity to register
                                              rulemaking, including large trader                      to determine if a person is a dealer is                  as dealers.
                                              reporting, TRACE, and CAT. Certain                      whether the person is engaged in the
                                              commenters urged the Commission to                                                                               II. Discussion of Final Rules
                                                                                                      business of buying and selling securities
                                              take additional or different regulatory                 for its own account ‘‘as part of a regular               A. Component Parts
                                              actions for entities covered by the                     business.’’ 63 The final rules are thus
                                              Investment Advisers Act of 1940                                                                                  1. Qualitative Standard
                                                                                                      intended to reflect the longstanding                        The qualitative standard in the
                                              (‘‘Advisers Act’’) than the approach we
                                                                                                      distinction between so-called                            proposed rules was intended to build on
                                              have adopted, including leveraging
                                                                                                      ‘‘traders’’—whose liquidity provision is                 existing statements by the Commission
                                              existing data from Form PF filings or
                                                                                                      only incidental to their trading                         and the courts regarding ‘‘dealer’’
                                              making amendments to the existing
                                                                                                      activities—and persons who are ‘‘in the                  activity to further define certain factors
                                              regulatory regime under the Advisers
                                                                                                      business’’ of providing liquidity as part                for determining when a person is
                                              Act. However, as discussed below,
                                                                                                      of a ‘‘regular business,’’ and so are                    engaged in buying and selling securities
                                              dealer registration is tailored to provide
                                                                                                      ‘‘dealers’’ and ‘‘government securities                  for its own account ‘‘as part of a regular
                                              specific protections to address potential
                                                                                                      dealers’’ under the Exchange Act. Under                  business’’ as that phrase is used in
                                              risks associated with dealer activity, and
                                                                                                      the final rules, a person is deemed to be                sections 3(a)(5) and 3(a)(44) of the
                                              the aforementioned tools do not provide
                                              sufficient regulatory oversight and                     engaged in buying and selling securities                 Exchange Act. Under paragraph (a)(1) of
                                              transparency into the trading activity of               for its own account as part of a regular                 the proposed rules, a person would be
                                              entities that are not otherwise registered              business—and therefore within the                        engaged in buying and selling securities
                                              as dealers.                                             definition of ‘‘dealer’’ or ‘‘government                 for its own account ‘‘as a part of a
                                                 Commenters expressed the view that                   securities dealer’’—if that person is                    regular business’’ and so would be a
                                              the proposed rules could have a                         engaged in a ‘‘regular pattern of buying                 dealer or a government securities dealer,
                                              negative impact on liquidity or may                     and selling securities that has the effect               if that person engages in a routine
                                              cause many market participants to                       of providing liquidity to other market                   pattern of buying and selling securities
                                              cease, modify, or curtail their trading                 participants.’’                                          (or government securities) that has the
                                              activity to avoid being required to                        The final rules are not the exclusive                 effect of providing liquidity to other
                                              register as a dealer.62 However, as                     means of establishing that a person is a                 market participants. Under this
                                              discussed further below, we have made                   dealer or government securities dealer;                  standard, as supplemented by the
                                                                                                      otherwise applicable Commission                          qualitative factors, when the frequency
                                              (‘‘Although commenters have expressed the view          interpretations and precedent will                       and nature of a person’s securities
                                              that a person that engaged in security-based swap       continue to apply.64 In other words,                     trading is such that the person assumes
                                              activities on an organized market should not be
                                              deemed to be a dealer unless it engaged in those        these rules address one way in which a                   a role—whether described as market-
                                              activities with customers, we do not agree.’’).         person can be engaged in the regular                     making, de facto market-making, or
                                                 61 Id. at n.282.
                                                                                                      business of buying and selling securities                liquidity-providing—similar to the role
                                                 62 See ABA Comment Letter at 9–12; ADAM
                                                                                                      for its own account, but these rules do                  that historically has been performed by
                                              Comment Letter at 16; AIMA Comment Letter II at                                                                  a registered dealer, that person would be
                                              11–13; Comment Letter of Alternative Investment         not displace, modify, or substitute for
                                              Management Association (Nov. 17, 2022) (‘‘AIMA          otherwise applicable Commission                          deemed to be a dealer or government
                                              Comment Letter III’’) at 3 and 8; Alphaworks            interpretations and court precedent. A                   securities dealer.66 The proposed rules
                                              Comment Letter at 6; Andreessen Horowitz                person engaging in other activities that                 would have further defined three types
                                              Comment Letter at 10 and 13; Blockchain                                                                          of activities that would be considered to
                                              Association Comment Letter at 7; Citadel Comment        satisfy the definition of dealer under
                                              Letter at 7–8; Comment Letter of Committee on           otherwise applicable interpretations and                 have the effect of providing liquidity to
                                              Capital Markets (Oct. 19, 2022) (‘‘Committee on         precedent, such as underwriting, will                    other market participants: (i) routinely
                                              Capital Markets Comment Letter’’) at 3; DeFi Fund
                                                                                                      still be a dealer even though those                      making roughly comparable purchases
                                              Comment Letter at 14; Element Comment Letter at                                                                  and sales of the same or substantially
                                              5; FIA PTG Comment Letter I at 2–10; Fried Frank        activities are not addressed by the two
                                              Comment Letter at 8–11; Comment Letter of Gretz         qualitative factors.65                                   similar securities (or government
                                              Consilium LLC (May 26, 2022) (‘‘Gretz Comment                                                                    securities) in a day; or (ii) routinely
                                              Letter’’) at 18; ICI Comment Letter at 7–8; McIntyre                                                             expressing trading interests that are at or
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                        63 See sections 3(a)(5)(A) and (B) of the Exchange
                                              Comment Letter II at 2; MFA Comment Letter I at
                                              12; Comment Letter of Managed Funds Association         Act, 15 U.S.C. 78c(a)(5)(A) and (B); section 3(a)(44)    near the best available prices on both
                                              (Dec. 5, 2022) (‘‘Lewis Study’’) at 2; Morgan Lewis     of the Exchange Act, 15 U.S.C. 78c(a)(44).               sides of the market and that are
                                                                                                        64 See Rules 3a5–4(c) and 3a44–2(c) (providing
                                              Comment Letter at 2 and 14; NAPFM Comment                                                                        communicated and represented in a way
                                              Letter at 5; Overdahl Comment Letter at 16–23;          that no presumption shall arise that a person is not
                                                                                                      a dealer or government securities dealer solely
                                                                                                                                                               that makes them accessible to other
                                              Schulte Roth Comment Letter at 2; SIFMA
                                              Comment Letter I at 8; SIFMA AMG Comment                because that person does not satisfy the standards       market participants; or (iii) earning
                                              Letter at 16–17; Two Sigma Comment Letter at 2          of the final rules). See also section II.A.5.
                                              and 9; Virtu Comment Letter at 3–4.                       65 See supra note 16.                                   66 See, e.g., 2002 Release at 67499.




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                 Page 10 of 74 PageID 34
                                              14946            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              revenue primarily from capturing bid-                   trading venues to liquidity-supplying                   manner in which they would be
                                              ask spreads, by buying at the bid and                   trading interest.                                       interpreted, and the compliance
                                              selling at the offer, or from capturing                                                                         challenges that they might present,
                                                                                                      a. Elimination of the Proposed First
                                              any incentives offered by trading venues                                                                        focusing in particular on the use of the
                                                                                                      Qualitative Factor
                                              to liquidity-supplying trading interests.                                                                       terms ‘‘routinely,’’ ‘‘substantially
                                                 Commenters stated that the terms                        As discussed in the Proposing                        similar,’’ ‘‘roughly comparable,’’ and ‘‘in
                                              ‘‘routine’’ and ‘‘routinely’’ in the                    Release, the proposed first qualitative                 a day.’’ 75 As a result of these concerns,
                                              proposed rules were unclear and would                   factor was intended to capture a                        some commenters stated that the
                                              lead to inconsistent interpretations.67 In              person’s pattern of trading, the                        Commission should remove the first
                                              response to the comments and upon                       consistency and regularity of which                     proposed qualitative factor.76
                                              further consideration, the Commission                   indicate that its liquidity provision                      After further consideration and in
                                              has replaced the term ‘‘routine’’ with                  forms a part of a regular business.70                   light of commenters’ concerns, the
                                              ‘‘regular’’ in 17 CFR 240.3a5–4(a)(1) and               Specifically, under proposed 17 CFR                     Commission has decided to eliminate
                                              240.3a44–2(a)(1) so that a person will be               240.3a5–1(a)(1)(i) and 240.3a44–                        the proposed first qualitative factor. The
                                              engaged in buying and selling securities                2(a)(1)(i), a person that, trading for its              Commission agrees with commenters
                                              for its own account ‘‘as a part of a                    own account, ‘‘routinely mak[es]                        that the proposed first qualitative factor
                                                                                                      roughly comparable purchases and sales                  could capture more than dealing activity
                                              regular business’’—and so be a dealer or
                                                                                                      of the same or substantially similar                    intended to be captured by the rule.
                                              a government securities dealer—if that
                                                                                                      securities in a day’’ would be engaged                  Accordingly, the Commission is not
                                              person engages in a regular pattern of
                                                                                                      in a pattern of trading that ‘‘has the                  adopting the first factor.
                                              buying and selling securities (or
                                                                                                      effect of providing liquidity to other                     The Commission emphasizes that the
                                              government securities) that has the
                                                                                                      market participants,’’ and therefore                    elimination of this factor does not mean
                                              effect of providing liquidity to other
                                                                                                      engaged in buying and selling securities                that the conduct that would have been
                                              market participants. As discussed more
                                                                                                      or government securities ‘‘as part of a                 captured by the proposed factor is not
                                              fully below, ‘‘regular’’ participation in
                                                                                                      regular business’’ as a dealer or                       dealing activity. This conduct may be de
                                              the securities markets is part of the
                                                                                                      government securities dealer.71 The                     facto market making under the other
                                              statutory definition of ‘‘dealer’’ in the               proposed first qualitative factor was                   two qualitative factors or dealer activity
                                              Exchange Act and therefore is a concept                 intended to separate persons engaging                   under otherwise applicable precedent.
                                              that should be familiar to market                       in isolated or sporadic securities                      In this regard, as discussed in section
                                              participants.68                                         transactions from persons whose                         II.A.5, no presumption shall arise that a
                                                 In addition, as discussed below, after               regularity of participation in securities               person is not a dealer or government
                                              further consideration, the Commission                   transactions demonstrates that they are                 securities dealer as defined by the
                                              has revised the qualitative standard by                 acting as dealers.                                      Exchange Act solely because that person
                                              eliminating the proposed first                             Commenters raised a number of                        does not satisfy the standard set forth in
                                              qualitative factor and modifying the                    concerns about the proposed first                       the final rules.
                                              remaining two qualitative factors. These                qualitative factor.72 As a general matter,
                                              changes are designed to more                            commenters contended that the                           b. Expressing Trading Interest Factor
                                              appropriately tailor the rule to the                    proposed first qualitative factor would                    The Commission proposed a second
                                              nature of dealing in today’s securities                 capture activity that was not dealing,                  qualitative factor to identify activity that
                                              markets.69 As a result of these                         but rather investing in the ordinary                    ‘‘has the effect of providing liquidity to
                                              modifications, the final rules establish                course.73 One commenter recommended                     other market participants’’ focused on
                                              two non-exclusive ways in which a                       that certain specific activities be                     the expression of trading interests.
                                              person will be deemed to be engaged in                  explicitly excluded from the rule,                      Specifically, under proposed 17 CFR
                                              providing liquidity as part of a regular                including asset liability management,                   240.3a5–4(a)(1)(ii) and 240.3a44–
                                              business:                                               liquidity and collateral management,                    2(a)(1)(ii), a person that, trading for its
                                                 • Regularly expressing trading                       and activities ancillary to exempt dealer               own account, ‘‘routinely express[es]
                                              interest that is at or near the best                    activity.74 As discussed further below,                 trading interests that are at or near the
                                              available prices on both sides of the                   commenters also expressed concerns                      best available prices on both sides of the
                                              market for the same security, and that is               about certain terms used in the                         market and that are communicated and
                                              communicated and represented in a way                   proposed first qualitative factor, the                  represented in a way that makes them
                                              that makes it accessible to other market
                                                                                                        70 See Proposing Release at 23066.
                                              participants; or                                                                                                   75 See, e.g., MFA Comment Letter I; SIFMA AMG
                                                                                                        71 See id.                                            Comment Letter; T. Rowe Price Comment Letter;
                                                 • Earning revenue primarily from                       72 See also supra notes 37–38 and accompanying        MFA Comment Letter V.
                                              capturing bid-ask spreads, by buying at                 text.                                                      76 MFA Comment Letter I (‘‘We have considered
                                              the bid and selling at the offer, or from                  73 See, e.g., AIMA Comment Letter II; MFA            this proposed test and strongly believe that it will
                                              capturing any incentives offered by                     Comment Letter I; Element Comment Letter; SIFMA         be unworkable for market participants—as
                                                                                                      Comment Letter II; FIA PTG Comment Letter II;           described in detail below—and we therefore urge
                                                                                                      MFA Comment Letter V. For example, one                  the Commission not to include Qualitative Test 1
                                                 67 See, e.g., ADAM Comment Letter; Element
                                                                                                      commenter stated that ‘‘[w]ithout revision to, and      in any final rule.’’). See also AIMA Comment Letter
                                              Comment Letter; Morgan Lewis Comment Letter;            clarification of, these vague terms, this Qualitative   II (‘‘We believe the Commission should limit its
                                              Consensys Comment Letter; MFA Comment Letter            Standard will clearly capture many short-term           qualitative standards to only Qualitative Standard
                                              I; NAPFM Comment Letter; SIFMA AMG Comment              investment strategies engaged in by traders that are    3.’’). In addition, one commenter suggested that the
                                              Letter.                                                 not indicative of dealer functions.’’ Element           Commission replace the first and second proposed
khammond on DSKJM1Z7X2PROD with RULES2




                                                 68 See 15 U.S.C. 78c(a)(5) and 78c(a)(44).
                                                                                                      Comment Letter. Another stated that ‘‘Qualitative       qualitative factors with a test defining a person
                                                 69 As discussed below, the Commission is adding      Standard 1 would capture many common hedge              acting as a bona fide market maker under
                                              the phrase ‘‘for the same security’’ so that the        fund strategies that have never been, and should not    Regulation SHO as a dealer. See MFA Comment
                                              proposed second qualitative factor applies to           now be, considered dealing, including fixed-income      Letter I. As discussed below, the Commission is
                                              expressing trading interest on both sides of the        arbitrage, convertible bond arbitrage and capital       removing the proposed first qualitative standard
                                              market for the same security. The Commission has        structure arbitrage, as well as a number of relative    and declines to replace the proposed second
                                              also modified, as appropriate, the remaining            value or quantitative strategies.’’ AIMA Comment        qualitative factor with a test defining a person
                                              qualitative factors to replace the term ‘‘routinely’’   Letter II.                                              acting as a bona fide market maker under
                                              with ‘‘regularly.’’                                        74 SIFMA Comment Letter II.                          Regulation SHO. See section II.A.1.b.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000     Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                               Page 11 of 74 PageID 35
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                14947

                                              accessible to other market participants’’                continue to perform important dealer                 that the liquidity providers that would
                                              would be engaging in a routine pattern                   functions as providers of liquidity to               be covered by the proposed second
                                              of trading that has the effect of                        other market participants by expressing              qualitative factor are very active in the
                                              providing liquidity to other market                      trading interest on both sides of the                markets—their participation is very
                                              participants, and as a result, would be                  market for a security to other market                routine—as demonstrated by the ‘‘key
                                              a dealer under the proposed rules.77 As                  participants. The expressing trading                 role’’ they play ‘‘in price discovery and
                                              the Commission stated in the Proposing                   interest factor takes these changes into             the provision of market liquidity’’ in
                                              Release, this factor ‘‘would update the                  account, while also allowing for                     both the interdealer U.S. Treasury
                                              longstanding understanding that regular                  flexibility in its application in the                market and the equity markets.88
                                              or continuous quotation is a hallmark of                 markets for different securities, based on
                                              market making or de facto market                         the wide variance in liquidity, depth, or               A number of commenters expressed
                                              making (and, hence, dealer) activity, to                 other traits.                                        concerns related to the use of the term
                                              reflect technological changes to the                        In adopting the proposed second                   ‘‘routinely.’’ 89 Several commenters
                                              ways in which buyers and sellers of                      qualitative factor as the expressing                 stated that the term ‘‘routinely’’ was
                                              securities are brought together.’’ 78                    trading interest factor, the Commission              unclear, which would make it difficult
                                                 The Commission explained in the                       is replacing the term ‘‘routinely’’ with             or impossible for market participants to
                                              Proposing Release the meanings of                        ‘‘regularly.’’ The Commission is also                determine whether their activities
                                              certain key terms used in the proposed                   revising the rule text to explicitly                 would be captured by the proposed
                                              second qualitative factor.79 Specifically,               provide that the test applies with                   second qualitative factor.90 For
                                              as discussed in more detail below, the                   respect to the expression of trading                 example, one commenter stated that the
                                              Commission explained the terms                           interest in the ‘‘same’’ security. Other             term ‘‘routinely’’ is ‘‘unclear, defined
                                              ‘‘routinely,’’ ‘‘trading interests’’ and                 than these changes, and certain non-                 with reference to another undefined
                                              ‘‘best available prices on both sides of                 substantive changes, for the reasons set             concept (‘occasional’) and distinguished
                                              the market.’’ 80                                         forth below, the Commission is adopting              from a concept (‘continuous’) that
                                                 The Commission received a range of                    this factor as proposed. Accordingly,                market participants actually understand
                                              comments on the proposed second                          under the expressing trading interest                and have experience applying.’’ 91 As a
                                              qualitative factor. One commenter                        factor, a person ‘‘regularly expressing              result, the commenter stated this factor
                                              explicitly supported the proposed                        trading interest that is at or near the best         ‘‘would ultimately be unworkable for
                                              second qualitative factor, voicing                       available prices on both sides of the                market participants who will have to
                                              support for the policy goal of requiring                 market for the same security and that is             make subjective determinations, on at
                                              PTFs in the government securities                        communicated and represented in a way                least a daily basis, about whether they
                                              market to register as government                         that makes it accessible to other market             are ‘routinely’ engaging in the activity
                                              securities dealers.81 The commenter                      participants’’ is engaged in buying and              described in [the proposed rules].’’ 92
                                              stated that it believed that the second                  selling securities for its own account ‘‘as          Another commenter asserted that use of
                                              qualitative factor would achieve this                    a part of a regular business’’ as the                the term ‘‘routinely’’ ‘‘will lead to
                                              goal.82 As discussed below, a number of                  phrase is used in sections 3(a)(5)(B) and            inconsistent application across market
                                              commenters opposed the proposed                          3(a)(44)(A) of the Exchange Act. The                 participants.’’ 93 Commenters also raised
                                              second qualitative factor, contending                    expressing trading interest factor will              questions about the Proposing Release’s
                                              that the factor would capture activity                   appropriately capture those market                   analogy to the approach in the
                                              that was not dealing,83 and expressing                   participants who are engaging in                     Commission’s joint rulemaking with the
                                              concerns about certain terms used in                     liquidity-providing activities similar to            Commodity Futures Trading
                                              this factor (i.e., ‘‘routinely,’’ ‘‘trading              those traditionally performed by dealers             Commission regarding, among other
                                              interests,’’ ‘‘both sides of the market,’’               or government securities dealers as                  things, the definitions of ‘‘swap dealer’’
                                              ‘‘accessible to other market                             defined under sections 3(a)(5) and                   and ‘‘security-based swap dealer.’’ 94 In
                                              participants’’), as well as addressing                   3(a)(44) of the Exchange Act.85                      particular, commenters stated that the
                                              other issues.84
                                                                                                       Regularly                                            reference was inappropriate because of
                                                 Advancements in the securities
                                                                                                          The Proposing Release stated that the             the different nature of the markets for
                                              markets have altered the way in which
                                              market participants interact with the                    term ‘‘routinely’’ as used in the
                                                                                                                                                              88 Id.
                                              markets. Certain market participants                     proposed second qualitative factor
                                                                                                                                                               89 See, e.g., MFA Comment Letter I; McIntyre
                                                                                                       meant that a person must express                     Comment Letter II; Consensys Comment Letter;
                                                77 As discussed below, the Commission is adding        trading interests more frequently than               Gretz Comment Letter; FIA PTG Comment Letter I;
                                              the phrase ‘‘for the same security’’ to the expressing   occasionally, but not necessarily                    Blockchain Comment Letter; NAPFM Comment
                                              trading interest factor to specify that this factor                                                           Letter; ADAM Comment Letter; SIFMA AMG
                                              applies to expressing trading interest on both sides
                                                                                                       continuously, both intraday and across
                                                                                                                                                            Comment Letter; MFA Comment Letter II; Element
                                              of the market for the same security.                     time.86 The use of the term ‘‘routinely’’            Comment Letter; Morgan Lewis Comment Letter;
                                                 78 Proposing Release at 23068.                        in the proposed second qualitative                   ABA Comment Letter.
                                                 79 Id.                                                factor was thus intended to capture                     90 See, e.g., MFA Comment Letter I; Element
                                                 80 Id.
                                                                                                       significant liquidity providers who                  Comment Letter; ADAM Comment Letter; Morgan
                                                 81 SIFMA Comment Letter I.
                                                                                                       express trading interests at a high                  Lewis Comment Letter; SIFMA AMG Comment
                                                 82 Id.                                                                                                     Letter.
                                                                                                       enough frequency to play a significant                  91 MFA Comment Letter I.
                                                 83 See, e.g., MFA Comment Letter I; SIFMA AMG

                                              Comment Letter; AIMA Comment Letter II.
                                                                                                       role in price discovery and the                         92 Id. See also Element Comment Letter
khammond on DSKJM1Z7X2PROD with RULES2




                                                 84 See, e.g., MFA Comment Letter I; McIntyre          provision of market liquidity, even if               (‘‘‘routine’ trading can indicate market making,
                                              Comment Letter II; Consensys Comment Letter;             their liquidity provision may not be                 which implies a dealer function, but can also
                                              Gretz Comment Letter; FIA PTG Comment Letter I;          continuous like that of some traditional             indicate the day-to-day activity of a private fund’s
                                              Blockchain Comment Letter; NAPFM Comment                                                                      trading desk.’’).
                                                                                                       dealers.87 The Proposing Release stated                 93 ADAM Comment Letter. See also SIFMA AMG
                                              Letter; ADAM Comment Letter; SIFMA AMG
                                              Comment Letter; Comment Letter of Managed                                                                     Comment Letter.
                                                                                                        85 See 15 U.S.C. 78c(a)(5) and 78c(a)(44).
                                              Funds Association (July 21, 2023) (‘‘MFA Comment                                                                 94 See, e.g., ADAM Comment Letter; Morgan
                                                                                                        86 Proposing Release at 23068.
                                              Letter II’’); Element Comment Letter; Morgan Lewis                                                            Lewis Comment Letter; SIFMA AMG Comment
                                              Comment Letter; ABA Comment Letter.                       87 Id.                                              Letter; see also Proposing Release at n.132.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 12 of 74 PageID 36
                                              14948            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              cash securities and security-based                       ‘‘continuous’’ expression of trading                     security, the term ‘‘regular’’ would
                                              swaps.95                                                 interest would be indicative of dealer                   account for the possibility of more
                                                 As an alternative to ‘‘routinely,’’ some              activity, a continuous standard would                    interruptions or wider spreads for the
                                              commenters suggested using a different                   not be appropriate because it would be                   best available prices.
                                              term, with most such commenters                          too limited in markets for securities that                  The expressing trading interest factor
                                              suggesting ‘‘continuous.’’ 96 Some                       exhibit varying degrees of depth and                     captures the hallmark de facto market
                                              commenters asked whether the                             liquidity.102                                            making activity in which dealers make
                                              Commission had considered using                             Whether a person’s activity is                        a market in a security, standing ready to
                                              ‘‘regularly,’’ stating that the statute uses             ‘‘regular’’ will depend on the liquidity                 trade on both sides of the market on the
                                              the term ‘‘regular.’’ 97                                 and depth of the relevant market for the                 same security on a regular ongoing
                                                 After further consideration, the                      security. For example, in markets that                   basis.105 Those market participants that
                                              Commission has replaced the term                         have significant liquidity and market                    have established themselves as
                                              ‘‘routinely’’ with ‘‘regularly.’’ As with                depth, and have experienced                              significant market intermediaries—and
                                              the term ‘‘routinely’’ in the Proposing                  advancements in technology and                           critical sources of liquidity—in a market
                                              Release, the term ‘‘regularly’’ in the final             electronic trading, like the U.S. Treasury               by employing automated, algorithmic
                                              rules will apply to a person’s expression                market,103 expressing trading interest on                trading strategies that rely on high
                                              of trading interest both within a trading                both sides of the market for the same                    frequency trading strategies to generate
                                              day and over time.98 This requirement                    security as part of an investment                        a large volume of orders and
                                              distinguishes persons engaging in                        strategy on a one-off basis would not be                 transactions would be captured by the
                                              isolated or sporadic expressions of                      sufficiently regular to be caught by the                 expressing trading interest factor.106
                                              trading interest from persons whose                      expressing trading interest factor.                      This would include market participants
                                              regularity of expression of trading                      Rather, ‘‘regular’’ in the most liquid                   that, for example, employ passive
                                              interest demonstrates that they are                      markets would mean more frequent                         market making strategies involving the
                                              acting as dealers. As some commenters                    periods of expressing trading interest on                submission of non-marketable resting
                                              expressly stated,99 the term ‘‘regular’’ is              both sides of the market both intraday                   orders (bids and offers) that provide
                                              part of the statutory definition of                      and across days given the efficiency in                  liquidity to the marketplace at specified
                                              ‘‘dealer’’ in the Exchange Act.100 The                   which securities can be bought and sold                  prices.107 Accordingly, the term
                                              term ‘‘regular’’ captures persons                        and the market’s ability to absorb orders                ‘‘regularly’’ will capture those market
                                              operating as dealers through their                       without significantly impacting the                      participants that engage in the activity
                                              expression of trading interest on both                   price of the security.104 In contrast, if                described in the expressing trading
                                              sides of the market for the same security                the market for a security is less liquid,                interest factor on a frequent enough
                                              in a manner consistent with this                         and it is difficult to execute orders in                 basis (both within a trading day and
                                              statutory text.                                          that security or large orders can                        over time) that they do so as part of a
                                                 A market participant does not need to                 dramatically affect the price of the                     regular business.
                                              be continuously expressing trading
                                              interest to be engaging in a ‘‘regular’’                 2019) (quoting Merriam-Webster, https://www.             Trading Interest
                                              business. The Exchange Act’s                             merriam-webster.com/dictionary/continuous (Aug.             The proposed second qualitative
                                                                                                       22, 2019)); see also Axia Inc. v. Jarke Corp., No. 87
                                              definitions of ‘‘dealer’’ and ‘‘government               C 8024, 1989 WL 39722, at *3 (N.D. Ill. Apr. 20,         factor in the proposed rules would have
                                              securities dealer’’ do not include a                     1989) (explaining that ‘‘continuous’’ is commonly        applied to ‘‘trading interests.’’ The
                                              requirement of continuous                                understood as ‘‘uninterrupted’’ in the context of an     Proposing Release stated that the use of
                                              participation. The ordinary meaning of                   interpretation of a patent claim).
                                                                                                          102 See Remarks of Lorie K. Logan, Executive Vice
                                                                                                                                                                the broader term ‘‘trading interests’’ in
                                              ‘‘continuous’’ is ‘‘characterized by                     President of the Federal Reserve Bank of New York,       the proposed second qualitative factor,
                                              continuity; extending in space without                   at the Brookings-Chicago Booth Task Force on             rather than the term ‘‘quotations,’’
                                              interruption of substance; having not                    Financial Stability, available at https://www.           would reflect the prevalence of non-firm
                                              interstices or breaks; having its parts in               newyorkfed.org/newsevents/speeches/2020/
                                                                                                       log201023; Remarks of Deputy Secretary Justin
                                                                                                                                                                trading interest offered by marketplaces
                                              immediate connection; connected,                         Muzinich at the 2020 U.S. Treasury Market                today, and account for the varied ways
                                              unbroken’’ and ‘‘marked by                               Conference | U.S. Department of the Treasury; see        in which developing technologies
                                              uninterrupted extension in space, time,                  also Treasury Market Liquidity during the COVID–         permit market participants to hold
                                              or sequence,’’ as defined by the Oxford                  19 Crisis—Liberty Street Economics
                                                                                                       (newyorkfed.org). See also 2015 IAWG Report
                                                                                                                                                                themselves out as willing to buy or sell
                                              English and the Merriam-Webster                          (when conducting an algorithm-level analysis from        securities, or otherwise communicate
                                              dictionaries, respectively.101 While such                the event window on Oct. 15, 2014, the IAWG              their willingness to trade, and to
                                                                                                       found ‘‘the analysis suggests that multiple types of     effectively make markets.108 As
                                                 95 See, e.g., ADAM Comment Letter; Morgan             trading strategies were deployed by PTFs during the
                                                                                                       event window. Some PTF algorithms appear to              explained in the Proposing Release, the
                                              Lewis Comment Letter; SIFMA AMG Comment
                                              Letter.                                                  explain the considerable amount of net passive           broader term was intended to capture
                                                 96 SIFMA AMG Comment Letter; Comment Letter           market making activity that was witnessed across         the traditional quoting engaged in by
                                              of BlackRock (Mar. 16, 2023) (‘‘BlackRock Comment        cash and futures over the event window and likely        dealer liquidity providers, new and
                                              Letter’’).                                               was an important contributing factor to the absence
                                                                                                       of price gapping despite the unprecedented large         developing quoting equivalents, and the
                                                 97 MFA Comment Letter I (‘‘. . .but query, was
                                                                                                       price swings. Another, and equally significant,          orders that actually result in the
                                              ‘nearly continuous’ considered? Or ‘regular’?’’);
                                              McIntyre Comment Letter II (stating that the
                                                                                                       group of PTF strategies appears to have aggressively     provision of liquidity.109 In other words,
                                                                                                       traded in the direction of price moves during the
                                              Proposed Rule ‘‘replaces the statutory text of           event window, accounting for the bulk of the
                                              ‘‘regular’’ and ‘‘continuous’’ with an amorphous         overall aggressive trading imbalance observed.’’).
                                                                                                                                                                   105 See Concept Release on Equity Market
khammond on DSKJM1Z7X2PROD with RULES2




                                              notion of ‘‘routine’’ patterns of providing                 103 See Proposing Release at 23055.                   Structure, Exchange Act Release No. 61358 (Jan. 14,
                                              liquidity.’’).                                              104 See Proposing Release at 23058 (stating ‘‘[t]he
                                                                                                                                                                2010), 75 FR 3594 (Jan. 21, 2010) (‘‘2010 Equity
                                                 98 As proposed, the term ‘‘routinely’’ would have                                                              Market Structure Concept Release’’) at 3607–08.
                                                                                                       ‘regularity’ of participation in securities
                                              meant both repeatedly within a day and repeatedly                                                                    106 See Amended Rule 15b9–1 Adopting Release
                                                                                                       transactions necessary to find that a person is a
                                              over time. See Proposing Release at 23068.               ‘dealer’ ’’ has not been quantified, but involves        at n.8.
                                                 99 See supra note 97.                                                                                             107 2010 Equity Market Structure Concept Release
                                                                                                       engaging in ‘more than a few isolated’ securities
                                                 100 15 U.S.C. 78c(a)(5).
                                                                                                       transactions.’’) (citing SEC v. Am. Inst. Counselors,    at 3607–08.
                                                 101 See, e.g., Iqbal v. United States Citizenship &                                                               108 Proposing Release at 23068.
                                                                                                       Inc., Fed. Sec. L. Rep. (CCH) ¶ 95388 (D.D.C. 1975));
                                              Immigr. Servs., 397 F. Supp. 3d 273, 283 (W.D.N.Y.       see also supra note 98.                                     109 Id.




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00012   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                 Page 13 of 74 PageID 37
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                   14949

                                              the proposed use of the term ‘‘trading                    potential dealer status simply for                     pool’s prevailing exchange rate, are
                                              interests’’ was intended to update the                    exercising their fiduciary duties.116 For              expressing a ‘‘trading interest.’’ 123
                                              Commission’s longstanding                                 example, one commenter stated that an                     After consideration of the comments,
                                              understanding that regular or                             investment adviser may have to submit                  the Commission has determined to
                                              continuous ‘‘quotation’’ is a hallmark of                 trading interests throughout a trading                 adopt the proposed second qualitative
                                              market making or de facto market                          day in order to obtain best execution                  factor with minor, non-substantive
                                              making (and, hence, dealer) activity, to                  and meet other fiduciary obligations                   modifications to the term ‘‘trading
                                              reflect the various and evolving ways in                  acting for their clients, or to use specific           interest.’’ The term ‘‘trading interest’’
                                              which buyers and sellers of securities                    trading protocols available in the                     means: (i) an ‘‘order’’ as the term is
                                              are brought together.110 Using the term                   market, such as the order book.117                     defined under 17 CFR 240.3b–16(c)
                                              ‘‘trading interests,’’ rather than                                                                               (‘‘Rule 3b–16(c)’’); 124 or (ii) any non-
                                              ‘‘quotations,’’ the Commission stated,                       Similarly, other commenters stated                  firm indication of a willingness to buy
                                              would also allow for clear and                            that the proposed second qualitative                   or sell a security that identifies the
                                              consistent application of the definition                  factor could require firms, including                  security and at least one of the
                                              of ‘‘dealer’’ and ‘‘government securities                 unregistered funds excluded from the                   following: quantity, direction (buy or
                                              dealer.’’ 111                                             Investment Company Act and registered                  sell), or price. A standard of ‘‘firm two-
                                                 A number of commenters objected to                     investment advisers, to register as                    sided quotations’’ expressed on a
                                              the use of the term ‘‘trading interests’’                 dealers for engaging in activity that has              ‘‘continuous or near continuous basis,’’
                                              on various grounds including, among                       not historically been considered to be                 while captured by the existing
                                              others, the difficulty in applying the                    dealer activity.118 One commenter, for                 understanding of ‘‘dealer’’ under
                                              term and the breadth of the term                          example, questioned whether portfolio                  Exchange Act section 3(a)(5), does not
                                              purportedly causing non-dealing trading                   managers, by taking long/short positions               account for the full range of liquidity-
                                              activity to be captured.112 One                           or seeking arbitrage opportunities,                    providing dealer activity undertaken in
                                              commenter explained that it would be                      would be required to register as dealers               today’s security markets.125 The term
                                              challenging for firms to assess whether                   under the proposed second qualitative                  ‘‘trading interest’’ accounts for the
                                              non-firm trading interest actually is at or               factor.119 Another commenter stated                    varied mechanisms that permit market
                                              near the best available price because                     that some asset managers have funds                    participants to effectively make markets.
                                              non-firm trading interest often is not                    with active fixed-income trading                       These include, but are not limited to,
                                              executed given that firms are not                         strategies involving indications of                    the use of streaming quotes, request for
                                              required to execute non-firm trading                      interest to trade bonds, as well as swaps,             quotes (‘‘RFQs’’), or order books. To be
                                              interest, even if matched.113 The                         on similar or even identical underlying                captured by the expressing trading
                                              commenter also stated that nearly any                     issuers in order to take advantage of                  interest factor depends less on the
                                              active investor or trader might express                   mispricing or to create a unique non-                  method used to communicate trading
                                              trading interests on both sides of the                    directional risk profile in a trade.120                interest, and more on whether the
                                              market to get best execution, and                         According to this commenter, although                  person is expressing trading interest on
                                              suggested limiting the factor instead to                  this activity entails communicating and                both sides of the market for the same
                                              ‘‘firm two-sided quotations’’ expressed                   indicating interest on such trades to a                security that has the effect of providing
                                              on a ‘‘continuous or near continuous                      number of counterparties, it has never                 liquidity in the same security to other
                                              basis.’’ 114 Another commenter similarly                  been considered dealing.121 Yet another                market participants.
                                              requested that the term ‘‘trading                         commenter stated that firms that, as a                    At the same time, expressing trading
                                              interest’’ be replaced with a quotation                   primary element of their trading                       interest is not, standing alone, enough to
                                              and order-based standard.115                              strategy, simultaneously and                           demonstrate engaging in a ‘‘regular
                                                 Two commenters stated that applying                    continuously post bids and offers in a                 pattern of buying and selling securities
                                              the proposed second qualitative factor                    specific instrument at or near the                     that has the effect of providing liquidity
                                              to investment advisers would                              national best bid and offer, have not                  to other market participants’’ under the
                                              inappropriately subject them to                           historically been treated as having                    final rules. Specifically, under the final
                                                                                                        engaged in dealer activity where the                   rules, a person will be engaged in
                                                 110 Id. The Commission has stated previously that
                                                                                                        firm posting quotes did not hold itself                activity as part of a regular business if
                                              a market maker engaged in bona-fide market making         out to customers.122 One commenter                     that person ‘‘[e]ngages in a regular
                                              is a ‘‘broker-dealer that deals on a regular basis with                                                          pattern of buying and selling securities
                                              other broker-dealers, actively buying and selling the     asked for clarity on how the proposed
                                                                                                                                                               that has the effect of providing liquidity
                                              subject security as well as regularly and                 second qualitative factor would apply in
                                              continuously placing quotations in a quotation                                                                   to other market participants by . . .
                                                                                                        the digital assets space, and in
                                              medium on both the bid and ask side of the                                                                       [r]egularly expressing trading interest
                                                                                                        particular whether participants in a
                                              market.’’ See, e.g., Exchange Act Release No. 32632                                                              that is at or near the best available
                                              (July 14, 1993), 58 FR 39072, 39074 (July 21, 1993).      digital asset liquidity pool, by leaving               prices on both sides of the market for
                                                 111 Proposing Release at 23068.                        their assets in the pool and thereby
                                                 112 See, e.g., MFA Comment Letter I; SIFMA AMG         exposing those assets to sale at the                     123 DeFi Fund Comment Letter.
                                              Comment Letter; AIMA Comment Letter II. A                                                                           124 Rule 3b–16(c) states that ‘‘the term order
                                              number of other commenters objected to the                  116 Id.; MFA Comment Letter I.                       means any firm indication of a willingness to buy
                                              Proposing Release’s use of the term ‘‘trading
                                                                                                          117 SIFMA AMG Comment Letter.                        or sell a security, as either principal or agent,
                                              interests’’ on the grounds that the term is the
                                                                                                          118 Id.; AIMA Comment Letter II.                     including any bid or offer quotation, market order,
                                              subject of another proposed rule. See, e.g., ABA
                                                                                                                                                               limit order, or other priced order.’’ The Proposing
                                              Comment Letter; SIFMA AMG Comment Letter;                   119 McIntyre Comment Letter II.
                                                                                                                                                               Release previously referenced the definition of
khammond on DSKJM1Z7X2PROD with RULES2




                                              SIFMA Comment Letter I; MFA Comment Letter I.                120 See AIMA Comment Letter II (explaining, for
                                                                                                                                                               ‘‘order’’ under 17 CFR 242.300. Proposing Release
                                              As discussed below, it is appropriate for the final       example, that some asset managers may have funds       at 23068. This release refers to Rule 3b–16(c), which
                                              rules to use the term ‘‘trading interest.’’ The           with active fixed-income strategies that may be        defines the term ‘‘order’’ identically and is further
                                              Commission is adopting the term ‘‘trading interest’’      captured by the proposed second qualitative factor).   discussed in the release adopting 17 CFR 242.300
                                              as explained herein for purposes of the final rules.         121 AIMA Comment Letter II.
                                                                                                                                                               through 242.304 (‘‘Regulation ATS’’). See
                                                 113 MFA Comment Letter I.                                 122 Fried Frank Comment Letter. As discussed        Regulation of Exchanges and Alternative Trading
                                                 114 MFA Comment Letter II; see also MFA                                                                       Systems, Exchange Act Release No. 40760 (Dec. 8,
                                                                                                        below, whether a person meets the definition of
                                              Comment Letter I.                                         ‘‘dealer’’ is not contingent upon whether that         1998), 63 FR 70844 (Dec. 22, 1998).
                                                 115 SIFMA AMG Comment Letter.                          person has customers.                                     125 See Proposing Release at 23068.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                      Page 14 of 74 PageID 38
                                              14950            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              the same security and that is                                One commenter questioned how to                          As discussed below, the final rules
                                              communicated and represented in a way                     apply the term ‘‘trading interest’’ to                      build off existing legal standards and, as
                                              that makes it accessible to other market                  certain types of products, structures, or                   discussed throughout this release, are
                                              participants (emphasis added).’’ 126 A                    activities in the so-called decentralized                   designed to address where market
                                              market participant seeking price                          finance (‘‘DeFi’’) market to provide                        participants are engaging in de facto
                                              information by requesting quotes on a                     crypto asset securities liquidity.131                       market making and required to register
                                              security, without including prices, on                    Whether a particular activity in the                        as dealers or government securities
                                              both sides of the market would                            crypto asset securities market, including                   dealers, regardless of which such
                                              generally not satisfy this qualitative                    in the so-called DeFi market, gives rise                    technology is used.135 As explained
                                              factor because that trading interest,                     to dealer activity requires an analysis of                  throughout this release, the application
                                              absent more, would not be ‘‘at or near                    the totality of the particular                              of the dealer regulatory regime to such
                                              the best available price.’’ With respect to               circumstances against all elements of                       persons will promote the Commission’s
                                              the commenter’s statement that                            the expressing trading interest factor.132                  longstanding mission.
                                              investment advisers’ fiduciary duties                     Commenters argued that crypto assets                        Both Sides of the Market
                                              may require them to submit ‘‘trading                      should not be covered by the final
                                              interests’’ throughout a trading day, the                 rules.133 However, the Commission is                           Under the proposed rules, in order to
                                              final rules have been modified so that                    not excluding any particular type of                        come within the proposed second
                                              the definition of ‘‘own account’’ applies                 securities, including crypto asset                          qualitative factor, the expression of
                                              to accounts in which the person holds                     securities, from the application of the                     trading interests would need to be ‘‘at or
                                              the account in its name or the account                    final rules. The dealer framework is a                      near the best available prices on both
                                              is held for the benefit of that person.127                functional analysis based on the                            sides of the market.’’ 136 As discussed in
                                              As such, the trading interest expressed                   securities trading activities undertaken                    the Proposing Release, the phrase ‘‘at or
                                              by investment advisers for purposes of                    by a person, not the type of security                       near the best available prices on both
                                              their fiduciary duty to their clients and                 being traded. Persons, including persons                    sides of the market’’ describes ‘‘the
                                              their clients’ accounts, such as when                     using so-called ‘‘automated market                          activity of liquidity-providing dealers,
                                              investment advisers place orders or                       makers,’’ that are engaged in buying and                    which help determine the spread
                                              request quotations on behalf of their                     selling securities for their own account                    between the best available bid price and
                                              clients, would not be activity captured                   must consider whether they are dealers                      the best available ask price for a given
                                              by the expressing trading interest factor,                under the final rules, and thus subject                     security.’’ 137 The Proposing Release
                                              unless the investment adviser itself is                                                                               further explained that, by competing to
                                                                                                        to dealer registration requirements.134
                                              the account holder or the account is                                                                                  both buy and sell at the best available
                                              held for the benefit of the investment                      131 DeFi Fund Comment Letter.                             prices, liquidity providers help to
                                              adviser.128 Moreover, as discussed                           132 A threshold question in determining the              narrow bid-ask spreads.138 The
                                              above, persons engaging in the activity                   applicability of the final rules is whether a person        Commission also stated that the
                                              described in the qualitative standard are                 engaging with products, structures, or activities in        proposed second qualitative factor
                                                                                                        the so-called DeFi market has or controls total             helped to emphasize that a liquidity
                                              acting as dealers regardless of whether                   assets of less than $50 million. See 17 CFR 240.3a5–
                                              the person engaging in such dealer                        4(a)(2)(i) (‘‘Rule 3a5–4(a)(2)(i)’’); 17 CFR 240.3a44–
                                              activity has or holds itself out to                       2(a)(2)(i) (‘‘Rule 3a44–2(a)(2)(i)’’); section II.A.3. If   was no genuine dispute that the elements of the
                                                                                                        so, that person would not be captured by the final          Howey test had been met)); SEC v. Kik Interactive
                                              customers.129 The statutory definitions                                                                               Inc., 492 F. Supp. 3d 169, 177–180 (S.D.N.Y. 2020)
                                                                                                        rules. See also 17 CFR 240.3a5–4(d); 17 CFR
                                              of ‘‘dealer’’ and ‘‘government securities                 240.3a44–2(d) (providing that a person not meeting          (applying Howey in granting the Commission’s
                                              dealer’’ distinguish between a dealer                     the conditions set forth in the final rules may             motion for summary judgment finding Kik’s sale of
                                              and a trader on the basis of whether a                    nonetheless be a dealer if it otherwise engages in          Kin tokens to the public was a sale of a security and
                                                                                                        a regular business of buying and selling securities         required a registration statement); SEC v. LBRY, No.
                                              person is in the ‘‘regular business’’ of                                                                              21–CV–260–PB, 2022 WL 16744741 (D.N.H. Nov. 7,
                                                                                                        for its own account); infra note 284 and
                                              buying and selling securities for one’s                   accompanying text (citing examples where persons            2022) (applying Howey in granting the
                                              own account—not whether the person is                     engaging in crypto asset securities transactions are        Commission’s motion for summary judgment
                                              doing so to effectuate customer                           operating as dealers as defined under section               finding ‘‘no reasonable trier of fact could reject the
                                                                                                        3(a)(5)). If this exclusion cannot be relied upon,          SEC’s contention that LBRY offered LBC [a crypto
                                              orders.130                                                                                                            asset] as a security.’’); Report of Investigation
                                                                                                        then the expressing trading interest factor could
                                                                                                        apply. Furthermore, as discussed in section II.A.3.a,       Pursuant to Section 21(a) of the Securities Exchange
                                                126 See Rules 3a5–4(a)(1)(ii) and 3a44–2(a)(1)(ii).                                                                 Act of 1934: The DAO, Exchange Act Release No.
                                                                                                        the exclusion for persons having or controlling less
                                                 127 See SIFMA AMG Comment Letter. See also
                                                                                                        than $50 million in total assets applies to the final       81207 (July 25, 2017) (‘‘DAO 21(a) Report’’)
                                              section II.A.4.                                           rules and does not modify existing applicable court         (describing how DAO tokens were securities under
                                                 128 Furthermore, as discussed in section II.A.3,       precedent and Commission interpretations.                   Howey).
                                                                                                                                                                       135 See sections II.A.3, III.D.6; see also Policy
                                              the Commission declines to include an exclusion              133 See, e.g., ADAM Comment Letter (stating ‘‘the
                                              from the final rules for registered investment            blanket application of the dealer and government            Recommendations for Crypto and Digital Asset
                                              advisers and private funds and continues to believe       securities dealer regulatory framework to digital           Markets Final Report, Board of the International
                                              that when engaged in dealer activity, including by        assets would be premature and imprudent.’’); see            Organization of Securities Commissions (Nov. 2023)
                                              expressing trading interest as set forth in the factor,   also Consensys Comment Letter; DeFi Fund                    (stating that ‘‘the regulatory frameworks (existing or
                                              registered investment advisers and private funds          Comment Letter; Chamber of Digital Commerce                 new) should seek to achieve regulatory outcomes
                                              should be subject to the dealer regulatory regime,        Comment Letter; Blockchain Association Comment              for investor protection and market integrity that are
                                              which includes not only registration obligations,         Letter.                                                     the same as, or consistent with, those required in
                                              but also comprehensive regulatory requirements               134 The application of the final rules turns on          traditional financial markets in order to facilitate a
                                              and oversight that broadly focus on market                whether a particular crypto asset is a security, as         level-playing field between crypto-assets and
                                              functionality—that is, the impact of dealing activity     defined under the U.S. Federal securities laws. The         traditional financial markets and help reduce the
                                              on the market as a whole.                                 term ‘‘security’’ includes an ‘‘investment contract,’’      risk of regulatory arbitrage’’), https://www.iosco.org/
khammond on DSKJM1Z7X2PROD with RULES2




                                                 129 See supra notes 55–59 and accompanying text.
                                                                                                        as well as other instruments. To the extent there is        library/pubdocs/pdf/IOSCOPD747.pdf; Final Report
                                                 130 See id.; 15 U.S.C. 78c(a)(5); 15 U.S.C.            a question as to whether a particular crypto asset          with Policy Recommendations for Decentralized
                                              78c(a)(44)(A). In fact, the definition of ‘‘broker’’      is an investment contract that is a security, the           Finance (DeFi), Board of the International
                                              presumes that a person is effectuating securities         analysis is governed by the test first articulated by       Organization of Securities Commissions (Dec.
                                              transactions on behalf of customers. See 15 U.S.C.        the Supreme Court in SEC v. W.J. Howey Co., 328             2023), https://www.iosco.org/library/pubdocs/pdf/
                                              78c(a)(4) (stating that a broker means ‘‘any person       U.S. 293, 301 (1946). See, e.g., SEC v. Terraform           IOSCOPD754.pdf.
                                                                                                                                                                       136 Proposing Release at 23068.
                                              engaged in the business of effecting transactions in      Labs PTE, Ltd., No. 23–cv–1346, 2023 WL 8944860
                                                                                                                                                                       137 Id. (emphasis added).
                                              securities for the account of others’’) (emphasis         (S.D.N.Y. Dec. 28, 2023 (stating that Howey was and
                                              added).                                                   remains a binding statement of law and that there              138 Id.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00014    Fmt 4701    Sfmt 4700   E:\FR\FM\29FER2.SGM       29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 15 of 74 PageID 39
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                    14951

                                              provider, to come within the rules, must                   The Commission is not adopting a                       prices.148 For example, market
                                              both buy and sell securities.139                        requirement that the trading interest be                  participants can use similar information
                                                 Several commenters requested                         expressed simultaneously on both sides                    to that used by registered broker-dealers
                                              clarification as to how to apply the                    of the market. Limiting the expressing                    to assess whether a customer order was
                                              phrase ‘‘on both sides of the market,’’                 trading interest factor to the                            executed at the best available price.149
                                              particularly, with regard to what period                simultaneous expression of trading                           Finally, as discussed above in
                                              of time to use when evaluating orders                   interests could exclude other regular                     connection with the term ‘‘trading
                                              placed on both sides of the market, and                 expressions of trading interest that                      interest,’’ to come within this factor, a
                                              as to whether the phrase applies to the                 constitute dealer activity by providing                   person expressing trading interest
                                              market for a single security or related                 liquidity to other market participants.                   (including through a CLOB) must be
                                              instruments.140 Some commenters                         While simultaneously expressing                           buying and selling securities, and it
                                              asserted that the absence of a time                     trading interest on both sides of the                     must engage in such activity
                                              limitation could prevent market                         market in the same security is indicative                 ‘‘regularly.’’
                                              participants from using all available                   of dealer activity, market participants
                                                                                                                                                                Accessible to Other Market Participants
                                              trading strategies in a market, including               also can be acting as dealers by regularly
                                              active trading strategies where a person                providing liquidity even where the                           Under the proposed rules, market
                                              would post resting offers and bids on a                 expressions of trading interest on both                   participants would have had to
                                              central limit order book (‘‘CLOB’’),                    sides of the market for the same security                 routinely express trading interests
                                              without registering as a dealer.141 Two                 are not simultaneous, particularly                        accessible to other market participants
                                              of these commenters urged the                           because the markets for different                         to be considered to have engaged in a
                                              Commission to modify the proposed                       securities have varying structures,                       routine pattern of trading that has the
                                              second qualitative factor to clarify that               trading volume, and liquidity.147                         effect of providing liquidity to other
                                              the trading interest must be expressed                  Further, adding a simultaneity                            market participants.150 In the Proposing
                                              on both sides of the market                             condition could lead to behavior where                    Release, the Commission explained that
                                              simultaneously.142 According to one                     a dealer might, for example, express                      the proposed second qualitative factor
                                              commenter, if the proposed second                       trading interest to buy and sell in                       would apply only when the expressed
                                              qualitative factor does not require that                alternate moments in time to evade the                    trading interests that are at or near the
                                              the trading interest be expressed on both               requirement to register. Accordingly, the                 best available prices on both sides of the
                                              sides of the market simultaneously, it                  Commission is not conditioning the                        market are ‘‘communicated and
                                              ‘‘would result in this test capturing                   application of the expressing trading                     represented in a way that makes them
                                              trading that is not consistent with dealer              interest factor on trading interests being                accessible to other market
                                              activity.’’ 143 Commenters also urged the               expressed simultaneously. Due to the                      participants.’’ 151
                                              Commission to clarify that the phrase                   differences between markets,                                 One commenter objected to the
                                              ‘‘both sides of the market’’ applied to                 participants will need to assess the                      proposed second qualitative factor’s
                                              the same security.144 One commenter                     totality of their trading activity to                     phrase ‘‘communicated and represented
                                              suggested that the Commission modify                    determine if they are expressing trading                  in a way that makes them accessible to
                                              the proposed second qualitative factor                  interests on both sides of the market for                 other market participants,’’ stating that
                                              to add the phrase ‘‘for the same                        the same security sufficiently close in                   the Proposing Release does not make
                                              security.’’ 145                                         time to have the effect of providing                      clear whether trading interests made
                                                 Consistent with the Proposing Release                liquidity in the same security to other                   available to a limited group of
                                              which explained that the proposed                       market participants.                                      participants via a RFQ would trigger the
                                              second qualitative factor applies to                       The Commission recognizes that non-                    factor, versus trading interests
                                              persons expressing trading interests on                 firm trading interest (and firm                           published on a broadly accessible order
                                              both sides of the market in a given                     quotations for that matter) need not be                   book. The commenter stated further that
                                              security, the Commission is modifying                   executed, even if matched. Nonetheless,                   the vagueness of the standard would
                                              the rule text to add the phrase ‘‘for the               it will be possible to assess whether a                   prevent market participants from
                                              same security’’ to the second qualitative               non-firm trading interest is actually ‘‘at                applying it with confidence and might
                                              factor.146                                              or near the best available price,’’ using                 encourage market participants to choose
                                                                                                      the similar information that market                       execution venues and order types that
                                                139 Id.
                                                                                                      participants use to make bids and offers,                 are not transparent or accessible.152 This
                                                140 See, e.g., SIFMA AMG Comment Letter; AIMA
                                                                                                      including recently completed purchases                    commenter recommended adopting a
                                              Comment Letter II; MFA Comment Letter I; Citadel                                                                  test defining a person acting as a bona
                                              Comment Letter.                                         and sales and the totality of indications
                                                141 Id. For instance, according to one commenter,     of willingness to buy or sell at specified                fide market maker under 17 CFR
                                              there are examples of where market participants                                                                   242.200 through 242.204 (‘‘Regulation
                                              using a CLOB routinely express trading interests on                                                               SHO’’) as a dealer, in lieu of the first and
                                                                                                      price and the best available ask price for a given
                                              both sides of the market in various instruments over
                                                                                                      security’’) (emphasis added). The phrase ‘‘same           second proposed qualitative factors.153
                                              the course of a trading day, and CLOBs can benefit                                                                   The phrase ‘‘accessible to other
                                                                                                      security’’ is to be interpreted as that phrase is used
                                              both market liquidity and competition. See Citadel
                                              Comment Letter.
                                                                                                      in the Proposing Release. See Proposing Release at        market participants’’ reflects the plain
                                                142 See MFA Comment Letter I; Citadel Comment
                                                                                                      23067 (stating ‘‘ ‘the same’ securities means that the
                                                                                                      securities bought and sold are securities of the same        148 See, e.g., Disclosure of Order Execution and
                                              Letter.                                                 class and having the same terms, conditions, and
                                                143 MFA Comment Letter I.                                                                                       Routing Practices, Exchange Act Release No. 43590
                                                                                                      rights [, and] securities bearing the same Committee
khammond on DSKJM1Z7X2PROD with RULES2




                                                144 See, e.g., Citadel Comment Letter; Lewis                                                                    (Nov. 17, 2000), 65 FR 75414, 75418 (Dec. 1, 2000)
                                                                                                      on Uniform Securities Identification Procedures
                                              Study; MFA Comment Letter I; MFA Comment                                                                          (stating that quotation information contained in the
                                                                                                      (‘CUSIP’) number, for example, would be
                                              Letter II.                                                                                                        public quotation system must be considered in
                                                                                                      considered ‘the same.’ ’’).
                                                145 MFA Comment Letter II.                               147 See 2010 Equity Market Structure Concept
                                                                                                                                                                seeking best execution of customer orders).
                                                                                                                                                                   149 Id.
                                                146 Proposing Release at 23068 (stating ‘‘[t]he       Release at 3608 (stating that ‘‘proprietary traders are      150 Proposing Release at 23068.
                                              phrase ‘best available prices on both sides of the      analogous to OTC [over-the-counter] market makers
                                                                                                                                                                   151 Id.
                                              market’ more specifically and clearly describes the     in that they have considerable flexibility in trading
                                                                                                                                                                   152 MFA Comment Letter I.
                                              activity of liquidity-providing dealers, which help     without significant negative or affirmative
                                              determine the spread between the best available bid     obligations for overall market quality’’).                   153 Id.




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 16 of 74 PageID 40
                                              14952            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              meaning that a person expresses trading                   exclude persons engaged in other                      liquidity incentives is their primary
                                              interests to more than one market                         liquidity-providing dealer activity.                  source of revenue.161
                                              participant. For example, where a                            One commenter stated that the                         The proposed third qualitative factor
                                              person makes a trading interest                           proposed second qualitative factor                    accounted for both forms of revenue. As
                                              available (such as streaming two-way                      would impact the Commission’s Order                   to the first—capturing bid-ask spreads—
                                              indicative quotes) to more than one                       Competition Rule proposal.157 On                      the Commission stated that when a
                                              market participant, even if the person                    December 14, 2022, the Commission                     liquidity provider routinely buys and
                                              made that trading interest available                      proposed a rule that would require                    sells securities in a manner designed to
                                              through individual communications,                        certain orders of individual investors to             capture a spread with such frequency
                                              that person would be expressing trading                   be exposed to competition in fair and                 and consistency that its revenue is made
                                              interest accessible to other market                       open auctions before such orders could                up primarily of this form of
                                              participants.154 Again, the expressing                    be executed internally by any trading                 compensation, it would be considered
                                              trading interest factor does not hinge on                 center that restricts order-by-order                  to be engaged in a routine pattern of
                                              any particular method of                                  competition.158 As discussed below, the               providing liquidity as a service and
                                                                                                        Commission has considered the current                 would fall within the scope of the
                                              communication and representation (e.g.,
                                                                                                        regulatory landscape in presenting the                rules.162 As to the second, the
                                              RFQ, indications of interest, or
                                                                                                        baseline. To the extent the proposed                  Commission stated that when a liquidity
                                              streaming quotes); it depends on the
                                                                                                        Order Competition Rule is adopted, the                provider, as a result of its routine
                                              totality of the trading activity to
                                                                                                        baseline in that rulemaking will reflect              purchases and sales of securities,
                                              determine if the person is expressing
                                                                                                        the regulatory landscape that is current              captures ‘‘incentives offered by trading
                                              trading interests on both sides of the                    at that time.159                                      venues to liquidity-supplying trading
                                              market for the same security to have the                     In sum, the Commission has                         interests’’ with such frequency and
                                              effect of providing liquidity in the same                 determined to replace the term                        consistency that its revenue is made up
                                              security to other market participants.                    ‘‘routinely’’ with ‘‘regularly,’’ add the             primarily of this form of compensation,
                                                 The Commission is not adopting the                     phrase ‘‘for the same security,’’ and                 it would be considered to be engaged in
                                              suggestion to replace this factor with a                  make non-substantive modifications to                 a routine pattern of providing liquidity
                                              test defining a dealer as a person                        this factor, but otherwise is adopting                as a service and generally standing
                                              engaging in bona fide market making                       this factor as proposed.                              ready to buy or sell securities, and so
                                              activities under Regulation SHO. The                      c. Primary Revenue Factor                             would fall within the scope of the
                                              bona fide market making exception                                                                               proposed rules.163
                                              under Regulation SHO applies to a                            Finally, the Commission proposed a                    In the Proposing Release, the
                                              specific subset of dealer activity. As the                third qualitative factor encompassing                 Commission explained the meaning of
                                              Commission previously stated when                         activity that ‘‘has the effect of providing           certain key terms in the proposed third
                                              proposing Regulation SHO, ‘‘a narrow                      liquidity to other market participants.’’             qualitative factor. The Commission
                                              exception for market makers and                           Specifically, under proposed 17 CFR                   stated that the factor used the phrase
                                              specialists engaged in bona fide market                   240.3a5–4(a)(1)(iii) and 240.3a44–                    ‘‘earn revenue’’—rather than, for
                                              making activities is necessary because                    2(a)(1)(iii), a person that, trading for its          example, ‘‘profit from’’—to make clear
                                                                                                        own account, ‘‘earn[ed] revenue                       that a person’s trading strategies would
                                              they may need to facilitate customer
                                                                                                        primarily from capturing bid-ask                      not need to be profitable to bring them
                                              orders in a fast moving market without
                                                                                                        spreads, by buying at the bid and selling             within the rule.164 Dealer activity is
                                              possible delays associated with
                                                                                                        at the offer, or from capturing any                   dealer activity regardless of whether it
                                              complying with the proposed ‘locate’
                                                                                                        incentives offered by trading venues to               is profitable. With respect to the term
                                              rule.’’ 155 For example, a broker-dealer
                                                                                                        liquidity-supplying trading interests,’’              ‘‘primarily,’’ the Commission further
                                              must claim the bona fide market making                    would have been engaging in a routine
                                              exception from the locate requirement                                                                           stated that, generally speaking, although
                                                                                                        pattern of trading that has the effect of             the Commission has not established a
                                              of Regulation SHO at the time of the                      providing liquidity to other market
                                              short sale in a particular security.156                                                                         bright-line test, if a person derives the
                                                                                                        participants, and as a result, would have             majority of its revenue from either of the
                                              Accordingly, limiting the applicability                   been a dealer under the proposed rules.
                                              of the final rules to those persons                                                                             sources described in the proposed third
                                                                                                           The Commission explained in the                    qualitative standard, it would likely be
                                              eligible for Regulation SHO’s bona-fide                   Proposing Release that one fundamental
                                              market-making exception would                                                                                   in a regular business of buying and
                                                                                                        characteristic typical of market makers               selling securities or government
                                                                                                        and liquidity providers—and one that                  securities for its own account.165
                                                 154 On the other hand, when an investor seeking
                                                                                                        has historically been viewed as dealer                   Finally, with respect to the term
                                              liquidity sends a single, one-sided RFQ to a number
                                              of potential liquidity providers, this action by itself
                                                                                                        activity—is trading in a manner                       ‘‘trading venues,’’ the Commission
                                              does not generally trigger the expressing trading         designed to profit from bid-ask spreads               stated that market evolution has given
                                              interest factor because it is on one side of the          or liquidity incentives rather than with              rise to a variety of venues in which
                                              market in an isolated instance.                           a view toward appreciation in value.160
                                                 155 Short Sales, Exchange Act Release No. 48709
                                                                                                                                                              liquidity providers can express trading
                                                                                                        We stated that persons engaged in such                interests, and the term ‘‘trading venues’’
                                              (Oct. 28, 2003), 68 FR 62972, 62977 (Nov. 6, 2003);
                                              see also Short Position and Short Activity Reporting      activity are ‘‘in the business’’ of                   is designed to capture the breadth of
                                              by Institutional Investment Managers, Exchange Act        providing liquidity because (1) they                  these different venues.166 In explaining
                                              Release No. 98738 (Oct. 13, 2023), 88 FR 75100,           routinely supply it and (2) the revenue
                                              75136 (Nov. 1, 2023) (stating ‘‘a market maker must       they earn through bid-ask spreads or
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                                161 Id.
                                              also be a market maker in the security being sold,                                                                162 Id.
                                              and must be engaged in bona-fide market making
                                                                                                          157 Comment Letter of Two Sigma (Mar. 31, 2023)       163 Id.
                                              in that security at the time of the short sale.’’).
                                                 156 The determination of eligibility for the bona-     (‘‘Two Sigma Comment Letter II’’).                      164 Id.
                                                                                                           158 Order Competition Rule, Exchange Act             165 Id.
                                              fide market-making exceptions in Regulation SHO
                                              is distinct from the determination of whether the         Release No. 96495 (Dec. 14, 2022), 88 FR 128 (Jan.      166 Id. at 23069–70. As discussed in the Proposing

                                              effect of a person’s trading activity indicates that      3, 2023).                                             Release, the term ‘‘trading venue’’ was designed to
                                                                                                           159 See section III.B.
                                              such person is acting as a dealer. Proposing Release                                                            capture the variety and breadth of different venues
                                              at n.131.                                                    160 Proposing Release at 23069.                    resulting from market evolution. Id. To the extent



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM       29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 17 of 74 PageID 41
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                      14953

                                              the term ‘‘trading venue’’ the Proposing                modifications.172 First, the commenter                   would avoid difficult and unworkable
                                              Release referenced a definition of                      stated that the proposed third                           line-drawing questions, such as when
                                              ‘‘trading venue’’ that described it to                  qualitative factor should turn on                        pricing offered by an OTC market maker
                                              mean ‘‘a national securities exchange or                ‘‘profit,’’ rather than ‘‘revenue.’’ 173 In              to its customer would constitute an
                                              national securities association that                    the commenter’s view, because dealers                    ‘‘incentive’’ captured by the rule.178
                                              operates an SRO trading facility, an                    are in the business of profiting from                       Some commenters objected to the
                                              ATS, an exchange market maker, an                       their market-making activities, they are                 proposed third qualitative factor,179
                                              OTC market maker, a futures or options                  unlikely to be (or stay) engaged in                      expressing concerns about the lack of
                                              market, or any other broker- or dealer-                 markets if they are not profiting from                   clarity as to, and breadth of, its
                                              operated platform for executing trading                 their dealer activities.174 As a result, the             application.180 One of these commenters
                                              interest internally by trading as                       commenter believed that a person                         stated that the term ‘‘primarily’’ is
                                              principal or crossing orders as                         otherwise meeting the factor but failing                 potentially vague because a person
                                              agent.’’ 167 The Commission further                     to earn profits in doing so is better                    might earn more revenue from
                                              stated that the third proposed                          viewed as a trader than a dealer.175                     appreciation in the value of its
                                              qualitative standard was designed to                    Second, the commenter stated that the                    inventory of securities than from
                                              capture dealer activity wherever that                   proposed third qualitative factor should                 capturing bid-ask spreads or trading
                                              activity occurs, ‘‘whether on a national                be limited to ‘‘national securities                      incentives.181 Another commenter
                                              securities exchange, an ATS . . . or                    exchanges and ATSs,’’ rather than                        explained that certain portfolio
                                              another form of trading venue.’’ 168 The                ‘‘trading venues.’’ 176 In the                           management and trading strategies, like
                                              Commission also stated that for                         commenter’s view, to reduce the                          hedging and arbitrage strategies, among
                                              purposes of the proposed rules, the                     compliance burdens on market                             other things, seek to derive value,
                                              particular venue mattered less than the                 participants while capturing the most                    positive fund performance, and
                                              fact that a market participant provides                 significant trading activity, the rule                   portfolio-trading revenues by taking
                                              liquidity on it.169                                     should be limited to the most liquid                     advantage of pricing differentials in bid-
                                                                                                      trading venues, including those where                    ask spreads.182 The commenter stated
                                                 Of the three proposed qualitative
                                                                                                      liquidity incentives are most likely to be               that such strategies have not
                                              factors, this factor received the fewest
                                                                                                      offered and where trading to profit from                 traditionally been viewed as dealer
                                              comments. Two commenters supported
                                                                                                      the spread occurs most often.177 The                     activity and questioned whether they
                                              the third qualitative factor as
                                                                                                      commenter stated that this change                        would be captured by the proposed
                                              proposed.170 According to one of the                                                                             third qualitative factor.183 Another
                                              commenters, capturing bid-ask spreads                                                                            commenter stated that trading
                                                                                                         172 See MFA Comment Letter I; see also MFA
                                              or earning revenue from liquidity                                                                                incentives are often organized in a
                                                                                                      Comment Letter II. Another commenter stated it
                                              incentives have traditionally been                      shared many of the comments raised by MFA with           manner that allows traders or their
                                              indicative of dealing activity and the                  respect to the proposed third qualitative test. See      investment advisers to reduce overall
                                              proposed third qualitative standard                     BlackRock Comment Letter. See also ICI Comment
                                                                                                                                                               commissions and fees paid by directing
                                              would be less likely to capture certain                 Letter (stating ‘‘[t]o avoid unintentionally capturing
                                                                                                      ordinary investment and trading strategies, the          liquidity-providing trades to specific
                                              funds, advisers, and trading strategies                 Commission should limit the qualitative test to          venues.184 In the commenter’s view, the
                                              that the commenter believed would be                    capture persons trading only in the same                 ‘‘optimization of commission costs by
                                              inappropriately captured by the first                   securities—where this purpose is clear—rather than
                                                                                                                                                               an investment adviser on behalf of
                                              and second qualitative factors.171                      trading in merely similar securities.’’).
                                                                                                         173 See MFA Comment Letter I.                         investors, or by a trader acting on his or
                                                 Another commenter stated the                            174 See id.                                           her own behalf, should not by itself
                                              proposed third qualitative factor was                      175 See id.                                           require registration as a dealer for a
                                              ‘‘workable,’’ assuming two                                 176 Id. See also ABA Comment Letter (‘‘the            person who is otherwise a trader.’’ 185
                                                                                                      proposed tests for the definition of ‘‘dealer’’          Finally, some commenters objected that
                                                                                                      requires interpreting terms that are not yet settled
                                              new systems develop as a result of technological
                                                                                                      because they are concurrently being commented on
                                                                                                                                                               the proposed third qualitative factor’s
                                              advancements that offer market participants the                                                                  application in the crypto asset securities
                                                                                                      in a proposed form.’’); DeFi Fund Comment Letter
                                              ability to provide liquidity in a security for other
                                              market participants, the term ‘‘trading venue’’
                                                                                                      (stating ‘‘whether a DeFi protocol constitutes a         market may not be clear, including how
                                                                                                      ‘trading venue’ is likely to turn on the outcome of      the factor applies to so-called DeFi
                                              would apply to such systems. Id.
                                                                                                      the Commission’s pending proposal to expand its
                                                 167 Id. Whether an entity is or is not registered
                                                                                                      ‘exchange’ definition, which we strongly oppose.’’).
                                                                                                                                                               market products, structures, and
                                              with the Commission does not affect the                 As discussed below, the Commission believes it is        activities such as so-called
                                              determination of whether that entity is a trading       appropriate for the final rules to use the term          decentralized exchange (‘‘DEX’’) and
                                              venue for purposes of the final rules. For example,     ‘‘trading venues.’’ The Commission has proposed an
                                              a person operating a platform for executing trading                                                              ‘‘automated market maker’’ activities, as
                                                                                                      amendment to Form ATS–N to change the term
                                              interest internally would likely be operating as a      ‘‘Trading Centers’’ to ‘‘trading venue’’ and has
                                                                                                                                                               well as activities related to blockchain
                                              broker or dealer, regardless of whether that person     proposed the term to mean a national securities          consensus and validation.186
                                              is registered as such, and the receipt of incentives    exchange or national securities association that
                                              from that person could be captured by the factor.       operates an SRO trading facility, an ATS, an               178 Id.
                                              See 15 U.S.C. 78o(a)(1) (absent an exemption,           exchange market maker, an OTC market maker, a              179 See, e.g., FIA PTG Comment Letter II.
                                              persons meeting the definition of broker or dealer      futures or options market, or any other broker- or          180 See, e.g., Gretz Comment Letter; McIntyre
                                              must register with the Commission).                     dealer-operated platform for executing trading
                                                 168 Proposing Release at 23070 (emphasis added).                                                              Comment Letter II; Element Comment Letter;
                                                                                                      interest internally by trading as principal or           SIFMA AMG Comment Letter; ICI Comment Letter;
                                                 169 Id.
                                                                                                      crossing orders as agent. See Amendments                 MFA Comment Letter I.
                                                 170 SIFMA Comment Letter I (stating that             regarding the Definition of ‘‘Exchange’’ and                181 Gretz Comment Letter.
                                              ‘‘[s]ubject to our additional comments on the           Alternative Trading Systems (ATSs) that Trade U.S.
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                                  182 McIntyre Comment Letter II.
                                              application of the proposed rules to bank holding       Treasury and Agency Securities, National Market
                                                                                                                                                                  183 Id.
                                              companies, we believe that the qualitative standard     System (NMS) Stocks, and Other Securities,
                                                                                                                                                                  184 Element Comment Letter.
                                              in proposed . . . Rule 3a44–2(iii) [is] generally a     Exchange Act Release No. 94062 (Jan. 26, 2022), 87
                                              good step forward to address this long-standing         FR 15496, 15539–40 (Mar. 18, 2022). Although the            185 Id.

                                              asymmetric regulatory treatment for similar             term ‘‘trading venue’’ is used in the final rules and       186 See, e.g., ADAM Comment Letter (stating that
                                              [dealing] activities.’’); see also AIMA Comment         the proposed amendment to Form ATS–N, the                ‘‘the third qualitative factor does not account for
                                              Letter II (requesting the Commission to limit the       adoption of the term as discussed above is               ‘staking’ and the way in which some blockchains
                                              qualitative standard to the third factor alone).        appropriate for the final rules.                         use the proof-of-stake consensus mechanism to
                                                 171 AIMA Comment Letter II.                             177 MFA Comment Letter I.                                                                           Continued




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00017   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM         29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 18 of 74 PageID 42
                                              14954            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                                 After consideration of the comments,                  Proposing Release stated that if a person                a pattern of trading for their own
                                              the Commission has determined to                         derives the majority of its revenue from                 account having the effect of providing
                                              adopt, as the primary revenue factor, the                the sources described in paragraph                       liquidity to other market participants
                                              third qualitative factor as proposed,                    (a)(3)(iii), it would likely be in a regular             should be subject to the dealer
                                              with a non-substantive change. The                       business of buying and selling securities                regulatory regime, even if they are also
                                              final rules continue to use the phrase                   or government securities for its own                     registered investment advisers or private
                                              ‘‘earn revenue’’ rather than ‘‘earn                      account.191 Further, in response to one                  funds. As discussed below, the
                                              profit.’’ While the Commission                           commenter’s example,192 while the                        important protections provided by the
                                              acknowledges the possibility that                        analysis of this specific scenario would                 dealer regulatory framework differ from
                                              persons whose liquidity provision fails                  depend on the totality of circumstances,                 those under the private fund and private
                                              to turn a profit may ultimately seek out                 as a general matter, it is unlikely that a               fund advisers regulatory scheme
                                              more profitable lines of business, dealer                person who regularly earns more                          established by the Advisers Act.196 The
                                              status requires only that a person be ‘‘in               revenue from an appreciation in the                      primary revenue factor, as with the
                                              the business,’’ not that that business be                value of its inventory of securities than                expressing trading interest standard,
                                              profitable.187                                           from capturing bid-ask spreads or                        focuses on activity rather than label or
                                                 The term ‘‘trading venues’’ is                        incentive payment for liquidity                          status. Market participants will need to
                                              intended to accommodate the variety of                   provision, would be considered to earn
                                              venues in which market participants                                                                               determine, based on their trading
                                                                                                       revenue ‘‘primarily’’ from capturing bid-
                                              today engage in liquidity-providing                                                                               activities, whether their portfolio
                                                                                                       ask spreads or trading incentives.
                                              dealer activity. In addition, the use of                    A commenter stated that the                           management and trading strategies meet
                                              this term is intended to capture venues                  Proposing Release did not account for                    this standard.
                                              as they evolve, wherever that activity                   how the primary revenue factor would                        To summarize, one fundamental and
                                              occurs, whether on a national securities                 apply to market participants transacting                 historically recognized view of dealer
                                              exchange, an ATS, any other broker- or                   in the crypto asset securities market; as                activity is trading in a manner designed
                                              dealer-operated platform for executing                   commenters have pointed out, the                         to profit from spreads or liquidity
                                              trading interest internally by trading as                crypto asset securities market has                       incentives.197 Under the final rules,
                                              principal or crossing orders as agent, or                structures, products and activities that                 persons providing liquidity because
                                              any other platform performing a similar                  may implicate dealer registration.193                    they regularly supply it and the revenue
                                              function.188 The particular venue                        Whether a particular activity in the                     they earn as a result through bid-ask
                                              matters less than the fact that a market                 crypto asset securities market, including                spreads or liquidity incentives as their
                                              participant provides liquidity on it.189                 in the so-called DeFi market, gives rise                 primary source of revenue are ‘‘in the
                                              As discussed in the Proposing Release,                   to dealer activity will require an                       business’’ of dealing, and such persons
                                              there have been notable technological                    analysis of the totality of the particular               regularly undertaking this liquidity-
                                              enhancements affecting securities                        facts and circumstances. As discussed                    providing role for their own account in
                                              trading across markets and asset                         above, any person engaged in buying                      overall trading and market activity must
                                              classes.190 Accordingly, the term                        and selling securities for its own                       register as dealers and be subject to the
                                              ‘‘trading venues’’ is designed to capture                account must consider whether it is a                    dealer regulatory regime.
                                              current trading venues that use a variety                dealer, including under the final rules,
                                              of technologies, as well as trading                      and so subject to dealer registration                    2. Quantitative Standard
                                              venues that use technologies and venues                  requirements.194 Accordingly, the
                                              that may develop over time. The term                     primary revenue factor will capture                         The Commission proposed a
                                              ‘‘trading venues’’ is designed to help                   market participants that are primarily                   quantitative standard that would
                                              ensure that, as innovation and                           earning revenue from capturing spreads                   establish a bright-line test under which
                                              technology used by such venues evolve,                   or liquidity incentives offered by trading               persons engaging in certain specified
                                              the final rules remain effective at                      venues, including trading venues that                    levels of activity in the U.S. Treasury
                                              supporting market stability and                          support transacting in crypto asset                      market would be defined to be buying
                                              resiliency, protecting investors, and                    securities.195                                           and selling government securities ‘‘as a
                                              promoting competition across the U.S.                       With respect to portfolio management                  part of a regular business,’’ regardless of
                                              Treasury and other securities markets.                   and trading strategies that for varying                  whether they meet any of the qualitative
                                              For these reasons, the Commission                        reasons may seek to take advantage of                    factors.198 Specifically, proposed 17
                                              declines to limit the scope of this factor               pricing differentials in bid-ask spreads,                CFR 240.3a44–2(a)(2) (proposed ‘‘Rule
                                              to trading venues that are national                      as stated above, persons who engage in                   3a44–2(a)(2)’’) provided that a person
                                              securities exchanges or ATSs.                                                                                     engaged in buying and selling
                                                 Regarding the term ‘‘primarily’’ as                     191 Proposing Release at 23069.
                                                                                                                                                                government securities for its own
                                                                                                         192 See Gretz Comment Letter (stating ‘‘ ‘Primarily’
                                              used in the primary revenue factor, the                                                                           account would be engaged in such
                                                                                                       might be a bit vague. Technically, an entity could
                                                                                                       earn more revenues by price increases on the
                                                                                                                                                                activity ‘‘as a part of a regular business’’
                                              validate transactions, leaving unclear whether           securities being held in stock for trading than by       if that person in each of four out of the
                                              certain ‘validators’ might be captured by the third      catching bid-ask spreads.’’).                            last six calendar months, engaged in
                                              qualitative factor.’’); DeFi Fund Comment Letter           193 See DeFi Fund Comment Letter; ADAM
                                                                                                                                                                buying and selling more than $25
                                              (questioning if the ‘‘liquidity provider tokens’’        Comment Letter. A commenter explained that ‘‘a
                                              participants in digital asset liquidity pools receive                                                             billion of trading volume in government
                                                                                                       blockchain utilizing proof-of-stake validation lets
                                              in proportion to the amount of liquidity they            users participate in verifying the blockchain by
khammond on DSKJM1Z7X2PROD with RULES2




                                              contribute to the pool constitute an ‘‘incentive . . .   staking the native token, providing a reward if they       196 See section II.A.3.
                                              for liquidity-supplying trading interests’’).            propose and approve valid smart contracts.’’ ADAM           197 Proposing Release at 23069. The Commission
                                                187 See Proposing Release at 23069.
                                                                                                       Comment Letter.                                          has previously identified a person’s seeking,
                                                188 Whether a particular structure or activity in        194 See section II.A.1.b.                              through its presence in the market, compensation
                                              the crypto asset securities market, including the so-      195 As discussed above, a threshold question is        through spreads or fees, or other compensation not
                                              called DeFi market, involves a trading venue is a        whether the person has or controls total assets of       attributable to changes in the value of the security
                                              facts and circumstances determination.                   less than $50 million, and if so, the person would       traded, as a factor indicating dealer activity. See
                                                189 See Proposing Release at 23069.                                                                             Entities Release at 30609.
                                                                                                       not be captured by the final rules. See supra note
                                                190 See Proposing Release at 23055.                    132 and accompanying text.                                  198 See Proposing Release at 23071, n.165.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 19 of 74 PageID 43
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                      14955

                                              securities as defined in section                           After consideration of the comments,                   a. Person That Has or Controls Assets of
                                              3(a)(42)(A) of the Exchange Act.199                     the Commission has decided to                             Less Than $50 Million
                                                 Some commenters generally                            eliminate the quantitative standard from                     In the Proposing Release, the
                                              supported inclusion of the quantitative                 the final rules. While a trading volume                   Commission proposed to exclude from
                                              standard.200 One commenter stated that                  threshold could provide a bright-line                     the proposed rules ‘‘[a] person 208 that
                                              ‘‘quantitative standard[ ] build[s] upon                test under which persons engaging in                      has or controls total assets of less than
                                              and [is] consistent with past                           certain specified levels of activity in the               $50 million.’’ The Commission stated
                                              Commission regulations and case law                     U.S. Treasury market would be defined                     that providing an exception was
                                              for defining a dealer.’’ 201 The majority               to be buying and selling securities ‘‘as                  appropriate because, even though a
                                              of commenters, however, urged that the                  a part of a regular business,’’ the                       person that has or controls less than $50
                                              Commission remove the quantitative                      Commission has concluded such a                           million in assets may be engaged in the
                                              standard, raising various issues and                    bright-line test is unnecessary. The                      activities identified in the qualitative
                                              concerns with establishing a test based                 modified qualitative factors and                          standard, the frequency and nature of
                                              solely on trading volume.202                            otherwise applicable court precedent                      such a person’s securities trading are
                                                 Many commenters maintained that                      and Commission interpretations will                       less likely to pose the types of financial
                                              the quantitative standard was arbitrary                 appropriately address when market                         and operational risks to the market that
                                              and overly broad, and opined that a                     participants are acting as government                     may be associated with the significant
                                              volume standard alone could not                         securities dealers in the U.S. Treasury                   dealer activity that the rules were
                                              distinguish between a dealer and a                      market by engaging in a ‘‘regular’’                       designed to address.209
                                              trader.203 Several commenters stated                    pattern of buying and selling securities                     Commenters that addressed this
                                              that the quantitative standard would                    that has the effect of providing liquidity                exclusion raised a number of
                                              capture persons engaging in non-dealing                 to other market participants. Therefore,                  concerns.210 Some commenters stated
                                              trading activity.204 Some commenters                    the Commission has decided to delete                      that it was arbitrary or inconsistent with
                                              also stated that the trading volume                     the quantitative standard from the final                  the plain reading of the ‘‘dealer’’
                                              threshold was too low in light of the                   rules.                                                    definition.211 A few commenters stated
                                              size of the U.S. Treasury market and                       In addition, as discussed in section                   that the threshold was too low.212
                                              that the Proposing Release failed to                    II.A.5, no presumption shall arise that a                 However, one of those commenters also
                                              provide sufficient detail on how the                    person is not a government securities                     said that the threshold could be too high
                                              proposed trading volume would be                        dealer as defined by the Exchange Act                     for some securities.213
                                              measured and implemented.205                            solely because that person does not                          After consideration of comments, the
                                                                                                      satisfy Rule 3a44–2(a).206 Thus, market                   Commission is adopting this exclusion
                                                 199 Proposed Rule 3a44–2(a)(2); Proposing
                                                                                                      participants acting similarly to                          as proposed. While we appreciate
                                              Release at 23071.
                                                 200 See Better Markets Comment Letter (stating       traditional dealers that are buying and                   commenters’ concerns, as indicated in
                                              that the ‘‘quantitative standards for government        selling U.S. Treasuries as part of a                      the Proposing Release, the final rules are
                                              securities markets, coupled with the proposed           regular business may still meet the                       intended to capture market participants
                                              qualitative standards, will help to capture the high-   definition of government securities                       not registered as dealers that serve a
                                              frequency trading firms trading in significant
                                              volumes of U.S. Treasury bonds that are not             dealer even absent the activity                           critical dealer role in the securities and
                                              currently registered with the Commission.’’); see       identified in the qualitative standard.                   government securities markets through
                                              also FINRA Comment Letter.                                                                                        their liquidity provision or significant
                                                 201 Better Markets Comment Letter.                   3. Exclusions
                                                 202 See, e.g., Element Comment Letter; MMI
                                                                                                                                                                and regular trading activity in the
                                                                                                         The proposed rules provided                            market. These smaller market
                                              Comment Letter; Two Sigma Comment Letter I; FIA
                                              PTG Comment Letter I; NAPFM Comment Letter;
                                                                                                      exclusions for certain market                             participants are unlikely to engage in
                                              AIMA Comment Letter II; ADAM Comment Letter;            participants that the Commission                          the significant liquidity provision that is
                                              SIFMA AMG Comment Letter; McIntyre Comment              determined do not provide liquidity to
                                              Letter II; SIFMA Comment Letter I; Overdahl             the markets in a manner requiring                         rules are designed to address, the Commission is
                                              Comment Letter; Fried Frank Comment Letter; MFA
                                              Comment Letter I; ICI Comment Letter; Morgan            dealer registration or are subject to a                   not adding these categorical exclusions. Rather, as
                                                                                                      comparable regulatory structure which                     with any other securities activities, whether these
                                              Lewis Comment Letter; T. Rowe Price Comment
                                                                                                                                                                specific securities activities result in triggering the
                                              Letter; Citadel Comment Letter; DeFi Fund               addresses the types of concerns that the
                                              Comment Letter; Comment Letter of Investment                                                                      provisions of the final rules requires a facts and
                                              Advisers Association (June 6, 2022) (‘‘IAA
                                                                                                      proposed rules were intended to                           circumstances analysis of the totality of a person’s
                                              Comment Letter I’’); BlackRock Comment Letter;          address. The Commission is adopting                       activities. The Commission, however, has
                                                                                                                                                                significantly refined its proposal (including,
                                              FIA PTG Comment Letter II; Comment Letter of            these exclusions as proposed. In                          notably, the aggregation provision) so that persons
                                              Darrell Duffie (Jan. 10, 2024) (‘‘Duffie Comment        addition, the Commission is adding
                                              Letter’’).                                                                                                        whose securities activities may have been captured
                                                 203 See, e.g., AIMA Comment Letter II; ICI           exclusions for central banks, sovereign                   may no longer be within the scope of the rules as
                                                                                                      entities, and international financial                     adopted.
                                              Comment Letter; T. Rowe Price Comment Letter.                                                                       208 As noted below, the term ‘‘person’’ has the
                                                 204 See, e.g., FIA PTG Comment Letter I; SIFMA       institutions, as defined in the final
                                                                                                                                                                same meaning as prescribed in section 3(a)(9) of the
                                              AMG Comment Letter; Morgan Lewis Comment                rules. Each of these exclusions is                        Exchange Act: ‘‘a natural person, company,
                                              Letter; MMI Comment Letter; Two Sigma Comment
                                              Letter I; NAPFM Comment Letter; AIMA Comment
                                                                                                      discussed in more detail below.207                        government, or political subdivision, agency, or
                                                                                                                                                                instrumentality of a government.’’
                                              Letter II; MFA Comment Letter I; McIntyre                                                                           209 Proposing Release at 23062.
                                                                                                        206 See section II.A.5.
                                              Comment Letter II; Element Comment Letter; ICI
                                                                                                        207 The Commission has determined to create               210 One commenter also raised practical issues
                                              Comment Letter; Citadel Comment Letter; T. Rowe
                                              Price Comment Letter; Fried Frank Comment Letter;       bright-line exclusions for certain persons from the       about how the exclusion would operate in
                                              Consensys Comment Letter; ADAM Comment                  scope of the final rules for policy reasons specific      connection with the proposed aggregation
khammond on DSKJM1Z7X2PROD with RULES2




                                              Letter; SIFMA Comment Letter I; Overdahl                to these types of persons as further defined below.       provision; however, these concerns have been
                                              Comment Letter.                                         This is in contrast to various exclusions requested       mooted with the removal of the aggregation
                                                 205 See, e.g., Two Sigma Comment Letter I; FIA       by commenters related to, among other things,             provision. See ICI Comment Letter.
                                                                                                                                                                  211 See, e.g., MMI Comment Letter; SIFMA AMG
                                              PTG Comment Letter I; Element Comment Letter;           specific securities activities that market participants
                                              MFA Comment Letter II. One commenter agreed             may engage in (such as certain trading strategies or      Comment Letter; Consensys Comment Letter.
                                                                                                                                                                  212 See Defi Fund Comment Letter; Element
                                              that repurchase and reverse repurchase transactions     asset classes). Because these specific securities
                                              should be excluded from counting towards the            activities and specific types of securities cannot be     Comment Letter; Gretz Comment Letter; Consensys
                                              quantitative standard threshold. See ACLI Comment       viewed in isolation, and could constitute in whole        Comment Letter. See also section III.B.2.
                                              Letter.                                                 or in part liquidity-providing activity that these          213 See Gretz Comment Letter.




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 20 of 74 PageID 44
                                              14956            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              the focus of the final rules.214                         b. Registered Investment Companies,                    cited to the regulatory regime under the
                                              Importantly, we disagree that the $50                    Private Funds, and Registered                          Advisers Act.225 Some commenters
                                              million threshold is arbitrary or too low                Investment Advisers                                    stated that some of the reasons
                                              or too high because, as stated in the                       The Commission also proposed to                     supporting an exclusion for registered
                                              Proposing Release, this exception                        exclude registered investment                          investment companies also would
                                              parallels an established and well                        companies registered under the                         support an exclusion for registered
                                              understood standard for distinguishing                   Investment Company Act from the                        advisers,226 or an exclusion for private
                                              between ‘‘retail’’ and ‘‘institutional’’                 application of the rules.217 In proposing              funds.227
                                                                                                       the exclusion, the Commission cited to                    In addition, many commenters stated
                                              accounts for purposes of broker-dealer
                                                                                                       the comprehensive regulatory                           that imposing dealer requirements—and
                                              regulation.215 In the context of the final
                                                                                                       framework under the Investment                         in particular net capital
                                              rules, persons that have or control assets                                                                      requirements 228—on private funds
                                              of $50 million or more—so-called                         Company Act and its extensive
                                                                                                       oversight and broad insight into the                   would be inappropriate and
                                              ‘‘institutional’’ accounts—are more                                                                             untenable,229 and could in turn
                                              likely to have a significant impact on                   operations and activities of registered
                                                                                                       investment companies.218 In contrast,                  significantly and negatively affect
                                              the market as opposed to ‘‘retail’’                                                                             liquidity if private funds were to modify
                                              accounts of smaller market participants                  the proposed rules did not exclude
                                                                                                       private funds, instead discussing                      or cease their trading activity.230 As
                                              who are less likely to pose financial and                                                                       support for an exclusion for private
                                                                                                       differences between the regulatory
                                              operational risks to the markets.                                                                               funds, many commenters cited to Form
                                                                                                       regime that applies to registered
                                              Further, in response to the commenter                    advisers to private funds, and the one                 PF, which requires certain registered
                                              who raised practical issues about how                    that applies to dealers, including                     advisers that have at least $150 million
                                              the exclusion would operate in                           leverage constraints and reporting.219 As              in private fund assets under
                                              connection with investment advisers’                     explained in the Proposing Release,
                                              separately managed accounts, as                                                                                 exempt or excluded from registration other than as
                                                                                                       private funds are not subject to the                   a family office), as well as any private fund client
                                              discussed in more detail below, the                      extensive regulatory framework of the                  of such adviser (and any affiliated general partner,
                                              Commission has removed the                               Investment Company Act.220 Further,                    managing member, or similar control person of the
                                              aggregation provision, which should                      the Commission did not propose to                      private fund client), with respect to trading done by
                                                                                                                                                              the person with or through a registered broker-
                                              address those concerns.216 Finally, we                   create a blanket exclusion for registered              dealer’’); Element Comment Letter; McIntyre
                                              reiterate that this is not an exclusion                  investment advisers because a registered               Comment Letter II; IAA Comment Letter I; T. Rowe
                                              from the ‘‘dealer’’ definition for all                   investment adviser trading for its ‘‘own               Price Comment Letter; IAA Comment Letter II.
                                              purposes, but only for purposes of the                   account’’ could nevertheless meet the                     225 See, e.g., MFA Comment Letter I (‘‘Advisers

                                                                                                       definition of a ‘‘dealer’’ and therefore               and the private funds they manage are already
                                              final rules, which focus on de facto                                                                            subject, directly or indirectly, to comprehensive
                                              market making. Outside of the context                    should be required to register.221                     regulation, which is sufficient to address the
                                              of these rules, the question of whether                     Many commenters agreed with the                     objectives of the Proposal without subjecting them
                                              any person, including a person that has                  proposed exclusion for registered                      to dealer registration.’’).
                                                                                                       investment companies.222 However,                         226 See, e.g., T. Rowe Price Comment Letter (‘‘It
                                              or controls less than $50 million in total                                                                      appears the SEC’s rationale for excluding registered
                                                                                                       most of these commenters also stated
                                              assets, is acting as a dealer, as opposed                                                                       investment companies is that they are subject to
                                                                                                       that the exclusion should be expanded                  various requirements, including those related to
                                              to a trader, will remain a facts and                     to registered investment advisers 223 and              custody, conflicts of interest, books and records,
                                              circumstances determination. For                         private funds managed by registered                    policies and procedures, and designation of a chief
                                              example, an underwriter with assets                      investment advisers.224 Commenters                     compliance officer. RIAs should also be excluded
                                              below $50 million could still be                                                                                as they are subject to similar requirements, as well
                                                                                                                                                              as a robust registration regime, and must act in
                                              required to register as a dealer.                           217 See proposed 17 CFR 240.3a5–4(a)(2)(ii) and
                                                                                                                                                              accordance with their fiduciary duties.’’); McIntyre
                                                                                                       240.3a44–2(a)(3)(ii).                                  Comment Letter II (‘‘[T]he Commission notes that
                                                                                                          218 Registered investment companies are subject
                                                214 See Proposing Release at 23062.
                                                                                                                                                              the ‘regulatory framework’ to which registered
                                                                                                       to a regulatory framework under the Investment         investment companies are subject justifies the
                                                 215 Under FINRA rules, a ‘‘retail’’ account is        Company Act and rules thereunder, which imposes        exclusion of these entities. However, [we believe]
                                              distinguished from an ‘‘institutional’’ account that     requirements regarding capital structure, custody of   that the current regulatory environment and
                                              is defined, in part, as belonging to ‘‘a person          assets, investment activities, transactions with       framework for registered investment advisers is also
                                              (whether a natural person, corporation, partnership,     affiliates and other conflicts of interest, and the    very robust. . .’’). See also Scott Comment Letter.
                                                                                                       duties and independence of boards of directors,           227 See, e.g., Citadel Comment Letter (‘‘The
                                              trust, or otherwise) with total assets of at least $50
                                                                                                       among other things. Moreover, registered               disparate treatment of private funds and mutual
                                              million.’’ FINRA Rule 4512(c)(3); see also Business      investment companies are subject to statutory limits
                                              Conduct Standards for Security-Based Swap Dealers                                                               funds . . . further highlights the lack of justification
                                                                                                       on indebtedness and rules that limit leverage risk.    for requiring private funds to register as dealers . . .
                                              and Major Security-Based Swap Participants,              In addition, registered investment companies must      Moreover, the Commission’s logic for exempting
                                              Exchange Act Release No. 77617 (Apr. 14, 2016), 81       adopt, implement, and review at least annually         RICs equally applies to private funds.’’).
                                              FR 29959, 29995 n.462 (May 13, 2016) (adopting a         written policies and procedures reasonably                228 See, e.g., MFA Comment Letter I (stating that
                                              similar threshold in connection with security-based      designed to prevent violations of the Federal
                                                                                                                                                              the Net Capital Rule functions more like a
                                              swap dealers, for purposes of 17 CFR 240.15Fh–           securities laws by the fund. Proposing Release at
                                                                                                                                                              restriction on the types of investments and trading
                                              3(f)(4). The Commission considered but is not using      23063.
                                                                                                          219 Proposing Release at 23083.
                                                                                                                                                              a firm can engage in than a restriction on leverage
                                              the definition of ‘‘retail customer’’ adopted as part                                                           and that the requirements would impede investors’
                                                                                                          220 Id.
                                              of Regulation Best Interest, as the policy                                                                      highly negotiated liquidity rights); Citadel
                                                                                                          221 Proposing Release at 23073–74.
                                              considerations behind that definition are different                                                             Comment Letter (stating that the Net Capital Rules
                                                                                                          222 See, e.g., ICI Comment Letter; MFA Comment      would impose substantial costs and finding ‘‘the
                                              than those presented here: the focus of Regulation
                                              Best Interest is the regulatory protections provided     Letter II; Element Comment Letter; McIntyre            absurdity of applying these rules to private funds,
khammond on DSKJM1Z7X2PROD with RULES2




                                              to customers who receive recommendations from            Comment Letter II; IAA Comment Letter I.               which do not hold customer securities’’). See also
                                                                                                          223 See, e.g., SIFMA Comment Letter I; SIFMA        AIMA Comment Letter II; Morgan Lewis Comment
                                              broker-dealers, whereas the focus of this rulemaking
                                                                                                       AMG Comment Letter; IAA Comment Letter I;              Letter; Fried Frank Comment Letter; T. Rowe Price
                                              is the regulation of persons engaging in certain                                                                Comment Letter; IAA Comment Letter I; Element
                                                                                                       Comment Letter of Investment Adviser Association
                                              dealer-like activities. See Regulation Best Interest:    (Oct. 17, 2023) (‘‘IAA Comment Letter II’’).           Comment Letter.
                                              The Broker-Dealer Standard of Conduct, Exchange             224 See, e.g., MFA Comment Letter I                    229 See, e.g., Two Sigma Comment Letter I; MFA
                                              Act Release No. 86031 (June 5, 2019), 84 FR 33318        (recommending that the exclusion for registered        Comment Letter I; NAPFM Comment Letter; AIMA
                                              (July 12, 2019).                                         investment companies be expanded ‘‘to cover any        Comment Letter II.
                                                 216 See supra note 254 and accompanying text.         person registered as an investment adviser (or            230 See, e.g., Schulte Roth Comment Letter.




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                        Page 21 of 74 PageID 45
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                        14957

                                              management to report certain                              proposed rules would produce negative                      the Commission expand the scope of the
                                              confidential information about their                      outcomes with respect to PTFs,238 with                     exclusions to include registered
                                              private funds.231                                         one of these commenters citing to                          investment advisers and private funds.
                                                Some commenters described potential                     ‘‘leverage constraints and reporting’’ as                     The Commission, however, is not
                                              practical difficulties with applying the                  the ‘‘only two differences’’ between the                   including an express exclusion for
                                              dealer regulatory framework to private                    private funds and dealer regulatory                        private funds or registered investment
                                              fund advisers and private funds 232 and                   framework as noted in the Proposing                        advisers. Depending on the totality of
                                              with having a managed account register                    Release.239 Another commenter                              the facts, a private fund may be engaged
                                              as a dealer.233 One comment letter                        identified possible exceptions from the                    in the business of buying and selling
                                              suggested that if a fund or separately                    application of certain SEC and FINRA                       securities for its own account.244
                                              managed account was required to                           rules that may be necessary if registered                  Similarly, a registered investment
                                              register as a dealer, a conflict could arise              investment advisers and/or the private                     adviser that is trading for its ‘‘own
                                              between the fund’s or separately                          funds they advise were required to                         account’’ could implicate dealer
                                              managed account’s adviser’s fiduciary                     register as dealers.240 Some commenters                    registration requirements. Further, as
                                              duty to achieve best execution and a                      identified issues with imposing a dealer                   stated in the Proposing Release, market
                                              best execution obligation to a                            regulatory framework on investment                         actors that are engaged in dealing
                                              counterparty ‘‘when participating in all-                 advisers,241 with one commenter stating                    activity should be subject to the dealer
                                              to-all trading protocols where they may                   that the ‘‘unsuitability of the dealer                     regulatory regime, which includes not
                                              match with another end-user.’’ 234 We                     regime for advisers is highlighted by the                  only registration obligations, but also
                                              do not believe that such a conflict                       inconsistency of an adviser needing to                     regulatory requirements specific to
                                              would arise in this scenario.235                          stand ready as a dealer to provide                         dealer activity and oversight that
                                                As support for such potential                           liquidity to, i.e., trade as principal with,               broadly focus on the dealer market
                                              practical difficulties, some commenters                   the market, potentially through its                        functionality—that is, the impact of
                                              stated that private funds are merely                      clients’ accounts, while being                             dealing activity on the market as a
                                              pools of assets that rely on fund                         prohibited from acting in that capacity                    whole.245
                                              managers for all functions and therefore                  with its clients.’’ 242                                       Entities engaging in dealing activity
                                              do not have personnel or infrastructure                      After consideration of the comments                     that meet the qualitative standard are
                                              to meet the dealer regulatory                             and for the reasons stated here and in                     required to register as dealers and
                                              requirements.236 A few commenters                         the Proposing Release,243 the                              comply with regulatory requirements
                                              questioned the Commission’s                               Commission is adopting the exclusion                       that are applicable to dealer activity.
                                              concern 237 that exempting private funds                  for registered investment companies as                     Dealer regulatory requirements address
                                              and private fund advisers from the                        proposed. As stated above, many                            related but distinct concerns from
                                                                                                        commenters generally supported the                         investment adviser regulation. In
                                                 231 See, e.g., MFA Comment Letter I; T. Rowe
                                                                                                        exclusion and did not suggest specific                     addition, dealer registration enhances
                                              Price Comment Letter; AIMA Comment Letter II; see         changes for registered investment                          regulatory oversight 246 of market
                                              also 17 CFR 279.9.
                                                 232 See, e.g., AIMA Comment Letter II; see also        companies but instead requested that                       participants’ trading activities and
                                              ABA Comment Letter.                                                                                                  interactions with the market overall. In
                                                 233 See, e.g., ICI Comment Letter; SIFMA AMG             238 See AIMA Comment Letter II; MFA Comment              this regard, dealer regulatory
                                              Comment Letter (‘‘In addition, the Proposal fails to      Letter I; IAA Comment Letter I; see also T. Rowe           requirements focus broadly on market
                                              consider how the principal trading prohibitions in        Price Comment Letter.
                                                                                                          239 See AIMA Comment Letter II (‘‘Indeed, the
                                                                                                                                                                   functionality (along with protecting
                                              the Advisers Act would impact an investment
                                              adviser that comes within the meaning of the term         Commission’s view expressed in the Proposal is             investors under principles of fair
                                              dealer solely because of its managed accounts.’’).        that the only differences between the regulatory           dealing between parties).247
                                                 234 See BlackRock Comment Letter.                      regime for private fund advisers and securities               However, the Commission is mindful
                                                 235 Rather than ‘‘counterparty,’’ FINRA Rule 5310      dealers are leverage constraints and reporting, yet        of concerns raised by commenters
                                              applies to ‘‘any transaction for or with a customer       the Commission has chosen to include both private
                                                                                                        funds and their advisers within the scope of the
                                                                                                                                                                   regarding the application of the dealer
                                              or a customer of another broker-dealer’’ (emphases
                                              added). The commenter did not specify what would          Proposal.’’).                                              regime to registered investment advisers
                                              constitute an ‘‘all-to-all trading protocol.’’ However,     240 See Element Comment Letter (identifying, in          and private funds and as such has made
                                              a dealer simply posting an order on a fully               part, licensing of personnel who structure private         significant changes to the definition of
                                              anonymous platform or providing a price in                placements on behalf of Required Registrants with
                                                                                                        the Series 79 license; application of Reg NMS Rule
                                                                                                                                                                   ‘‘own account’’ to remove the
                                              response to a bid request or bid list presented to the
                                              dealer or other competitive bidding process would         611 to cross-trades effected on behalf of a Required
                                                                                                                                                                      244 See, e.g., In the Matter of Murchinson Ltd.,
                                              likely not be subject to a best execution obligation      Registrant by its investment adviser; application of
                                              since the dealer has not accepted a customer order        the Net Capital Rule to Required Registrants; and          Marc Bistricer, and Paul Zogala, Exchange Act
                                              for the purpose of facilitating the handling and          application of the possession and control                  Release No. 92684 (Aug. 17, 2021) (settled matter).
                                              execution of such order; this situation is analogous      requirements of the customer protection rule, 17           In Murchinson, the Commission charged the
                                              to Supplementary Material .04 to FINRA Rule 5310          CFR 240.15c3–3 (‘‘Rule 15c3–3’’), in situations            principals of a hedge fund with causing dealer
                                              which draws a distinction between those situations        where hypothecation of securities may be in the            violations under section 15(a).
                                              in which a firm acts solely as the buyer or seller        best interests of an investment advisory client).             245 Proposing Release at 23078–79.

                                              in connection with an order presented against the           241 See, e.g., IAA Comment Letter I (‘‘Unlike               246 Dealers and government securities dealers are
                                              firm’s quote as opposed to accepting an order for         brokers or dealers, advisers are prohibited from           subject to extensive regulation and oversight and
                                              handling and execution. See FINRA Regulatory              holding client assets or from taking client assets         generally must: (i) register with the Commission
                                              Notice 15–46. See also infra notes 599–601 and            onto their balance sheets. To the extent that              and become members of an SRO; and (ii) comply
                                              accompanying text.                                        advisers trade securities, they do so through a            with Commission and SRO rules, including certain
                                                 236 See, e.g., ABA Comment Letter; MFA                 broker or dealer intermediary, generally on behalf         financial responsibility and risk management rules,
                                              Comment Letter I; AIMA Comment Letter II.                 of and for the benefit of their clients’’); see also T.    transaction and other reporting requirements,
khammond on DSKJM1Z7X2PROD with RULES2




                                                 237 Proposing Release at 23096 (‘‘Excluding these      Rowe Price Comment Letter (‘‘We also are                   operational integrity rules, and books and records
                                              funds would guarantee that the dealer regime              concerned that the SEC has not adequately assessed         requirements, all of which help to enhance market
                                              would fail to capture this type of securities dealing     the feasibility and impact of an RIA being regulated       stability by giving regulators increased insight into
                                              activity. Furthermore, a blanket exclusion for hedge      as a dealer while also being subject to the [Advisers      firm-level and aggregate trading activity. See section
                                              funds may provide an opportunity for regulatory           Act] for the same activities, nor does the Proposal        I.A.
                                              arbitrage. For example, PTFs may seek to                  detail how an entity could practically comply with            247 Proposing Release at 23056. See also id. at

                                              restructure themselves as private funds, thus             both regimes.’’).                                          23078–79 (describing the regulatory requirements of
                                                                                                          242 See IAA Comment Letter I.
                                              preempting the intended benefits of the proposed                                                                     registered dealers and government securities
                                              rules.’’).                                                  243 See supra note 218 and accompanying text.            dealers).



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00021    Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM       29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 22 of 74 PageID 46
                                              14958            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              aggregation standard in order to                        differences’’ between the dealer and                       referred to as the ‘‘Official Sector
                                              appropriately tailor the scope of persons               private fund regulatory regimes, the                       Exclusions.’’
                                              captured by the final rules.                            examples provided in the Proposing                            The Official Sector Exclusions are
                                                 Further, there are material differences              Release (i.e., leverage constraints and                    designed to permit central banks,
                                              between the private fund and dealer                     reporting requirements) were non-                          sovereign entities, and international
                                              regulatory frameworks, and dealer                       exhaustive examples.252 As discussed in                    financial institutions to continue to
                                              registration offers important benefits                  the Proposing Release, registered                          pursue important policy goals, and to be
                                              and regulatory protections to address                   dealers’ leverage is limited by net                        consistent with principles of
                                              the risks related to dealing activities.248             capital requirements, which must be                        international comity and the privileges
                                              As explained in the Proposing Release,                  maintained at all times, while private                     and immunities granted to foreign
                                              registered private fund advisers are                    funds have no formal leverage                              central banks, foreign sovereigns and
                                              regulated under the Advisers Act and                    constraints.253 Further, in response to                    sovereign entities, and certain
                                              information on private fund activities is               commenters who raised concerns about                       international financial institutions
                                              reported by registered private fund                     the application of certain SEC and                         under U.S. Federal law.255
                                              advisers on Form PF. The information                    FINRA rules or stated that certain dealer                     For purposes of the Official Sector
                                              the Commission obtains on certain                       requirements were untenable or                             Exclusion, the final rules define a
                                              private funds through its regulation of                 inappropriate, while the Commission                        ‘‘central bank’’ as a reserve bank or
                                              registered investment advisers,                         acknowledges that complying with a                         monetary authority of a central
                                              however, differs from that the                          new rule set may require market                            government (including the Board of
                                              Commission collects for the purposes of                 participants to revise their business                      Governors of the Federal Reserve
                                              dealer regulation.249 Private funds also                models, as discussed further in the                        System or any of the Federal Reserve
                                              do not have the same level of reporting                 economic analysis, appropriate                             Banks). This definition also includes the
                                              of their securities transactions. For                   regulation of dealer activities, and the                   Bank for International Settlements
                                              example, fixed income transactions                      benefits associated with enhancements                      (‘‘BIS’’). The BIS is owned by central
                                              between private funds are not directly                  to investor protection and orderly                         banks,256 so it is appropriate to include
                                              reported in TRACE. If their fixed-                      markets, justifies these associated costs                  the BIS in the final rules’ definition of
                                              income trade is with a broker-dealer and                and difficulties associated with                           central bank. The final rules define a
                                              reported by the broker-dealer, private                  registration.254                                           ‘‘sovereign entity’’ as a central
                                              funds appear anonymously in                                Finally, while not excluding                            government (including the U.S.
                                              TRACE.250                                               registered investment advisers and                         Government), or an agency, department,
                                                 Although, as commenters noted, the                   private funds, the Commission is,                          or ministry of a central government.
                                              Commission collects some information                    however, modifying the definition of                       Finally, the final rules define an
                                              about certain private funds through                     ‘‘own account’’ to mean an account held                    ‘‘international financial institution’’ by
                                              Form PF, this reporting alone is not a                  in the name of, or for the benefit of, that                identifying specific entities and
                                              sufficient substitute for the                           person and removing the proposed first                     providing that an ‘‘international
                                              comprehensive dealer requirements                       qualitative factor. These changes will                     financial institution’’ also includes any
                                              because the dealer requirements are                     respond to concerns related to                             other entity that provides financing for
                                              specific to dealer activity. For example,               separately managed accounts and                            national or regional development in
                                              Form PF only requires reporting related                 investment advisers trading on behalf of                   which the United States government is
                                              to a subset of the private fund industry                their clients, including those exercising                  a shareholder or contributing
                                              and does not include individual trade                   discretion; these investment advisers                      member.257 The following entities are
                                              reporting details, which would give                     generally will not be captured by the                      specifically identified as an
                                              regulators greater insight into securities              final rules because they would not be                      ‘‘international financial institution’’
                                              trading patterns, including the ability to              buying and selling for their ‘‘own                         under the final rule: (1) African
                                              more efficiently match trades to market                 account.’’ Private funds that are buying                   Development Bank; (2) African
                                              participants.251                                        and selling for their ‘‘own account’’ in                   Development Fund; (3) Asian
                                                 In response to commenters who stated                 a way that meets the qualitative                           Development Bank; (4) Banco
                                              that private funds are merely pools of                  standard could be captured by the final                    Centroamericano de Integración
                                              assets that rely on fund managers for all               rules. To the extent that private funds or                 Económica; (5) Bank for Economic
                                              functions and therefore do not have                     investment advisers trigger application
                                              personnel or infrastructure to meet the                                                                            Cooperation and Development in the
                                                                                                      of the final rules, they would need to                     Middle East and North Africa; (6)
                                              dealer regulatory requirements, to the                  comply with the dealer registration
                                              extent that a private fund engages in                                                                              Caribbean Development Bank; (7)
                                                                                                      requirements or cease engaging in dealer                   Corporación Andina de Fomento; (8)
                                              activities that trigger dealer registration             activity.
                                              under the final rules, such private funds                                                                          Council of Europe Development Bank;
                                              would need similarly to establish                       c. Official Sector Exclusions                              (9) European Bank for Reconstruction
                                              means, whether by contract or                              The Commission is adopting express                         255 See, e.g., Standards for Covered Clearing
                                              otherwise, of complying with the                        exclusions for central banks, sovereign                    Agencies for U.S. Treasury Securities and
                                              obligations for registered dealers, just as             entities, and international financial                      Application of the Broker-Dealer Customer
                                              the fund must do to comply with any                     institutions, as defined in the final                      Protection Rule With Respect to U.S. Treasury
                                              other regulatory obligation.                                                                                       Securities, Exchange Act Release No. 99149 (Dec.
                                                                                                      rules. Together, these exclusions are                      13, 2023).
                                                 In response to the commenter who
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                                    256 See BIS, About BIS—Overview, https://
                                              suggested there were ‘‘only two                            252 See section I.A (citing to the benefits of dealer
                                                                                                                                                                 www.bis.org/about/index.htm (noting that ‘‘the BIS
                                                                                                      registration).                                             is owned by 63 central banks, representing
                                                248 Proposing Release at 23083.                          253 Proposing Release at 23083. See also section        countries from around the world that together
                                                249 Id.                                               III.B.2.b (stating that private funds and investment       account for about 95% of world GDP.’’).
                                                250 Id.                                               advisers do not have to comply with the Net Capital           257 Cf. 17 CFR 50.76(b) (the Commodity Futures
                                                251 17 CFR 279.9. See section III.C.1.c for a         Rule or with any other direct, regulatory constraint       Trading Commission (‘‘CFTC’’) definition of
                                              discussion of the benefits of additional regulatory     on leverage).                                              international financial institution for purposes of
                                              reporting.                                                 254 See section III.C.                                  exemptions from swap clearing requirement).



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00022   Fmt 4701    Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 23 of 74 PageID 47
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                   14959

                                              and Development; (10) European                          conducted by the Federal Reserve Bank                     law,266 and thus in these circumstances
                                              Investment Bank; (11) European                          of New York in the monetary policy of                     the Commission is not including these
                                              Investment Fund; (12) European                          the United States, an exemption from                      entities in the final rules.
                                              Stability Mechanism; (13) Inter-                        the final rules is appropriate for the
                                                                                                                                                                d. Other Requests for Exclusions
                                              American Development Bank; (14) Inter-                  Federal Reserve System.262
                                              American Investment Corporation; (15)                      With respect to central banks                             The Commission received a number
                                              International Bank for Reconstruction                   generally, central banks are typically                    of comments about how the proposed
                                              and Development; (16) International                     created by statute and are part of, or                    rules would apply to crypto assets. In
                                              Development Association; (17)                           aligned with, a central government.263                    the Proposing Release, the Commission
                                              International Finance Corporation; (18)                 Further, as with the Federal Reserve                      explained that the definition of ‘‘dealer’’
                                              International Monetary Fund; (19)                       System in the United States, the                          and the accompanying registration
                                              Islamic Development Bank; (20)                          purpose of a central bank is generally to                 requirements of the Exchange Act were
                                              Multilateral Investment Guarantee                       effectuate monetary policy for its                        drawn broadly by Congress to
                                              Agency; (21) Nordic Investment Bank;                    respective nation.264 In light of ongoing                 encompass a wide range of activities
                                              (22) North American Development                         expectations that Federal Reserve Banks                   involving securities markets and
                                              Bank.                                                   and agencies of the Federal government                    participants in those markets.267 The
                                                 The exclusion is appropriate for the                 would not be subject to foreign                           Commission further stated that
                                              Federal Reserve System—the central                      regulatory requirements in their                          proposed Rules 3a5–4 and 3a44–2
                                              bank of the United States—both because                  transactions in the sovereign debt of                     would apply to any crypto asset that is
                                              excluding the Federal Reserve System                    other nations, the principles of                          a ‘‘security’’ as defined by section
                                              will not contravene any of the                          international comity counsel in favor of                  3(a)(10) of the Exchange Act or a
                                              Commission’s goals in adopting the                      exempting foreign central banks—as                        ‘‘government security’’ as defined by
                                              final rules and because of the Federal                  well as sovereign entities and                            section 3(a)(42) of the Exchange Act,
                                              Reserve System’s unique role in the U.S.                international financial institutions.265                  respectively.268
                                              Treasury market and the U.S. economy.                                                                                The Commission received several
                                                                                                         Finally, Congress has granted foreign
                                              Entities that constitute part of the                                                                              comments concerning the application of
                                                                                                      central banks, other foreign sovereign
                                              Federal Reserve System should be                                                                                  the proposed rules to crypto assets that
                                                                                                      entities, and certain international
                                              excluded from dealer registration                                                                                 are securities that trade through
                                                                                                      financial institutions special privileges
                                              because requiring them to register as                                                                             centralized trading platforms or trade in
                                                                                                      and immunities under U.S. Federal
                                              dealers would not address the primary                                                                             the so-called DeFi market, and to
                                              concerns animating the final rules.258                     262 See Order Exempting the Federal Reserve
                                                                                                                                                                persons who trade crypto asset
                                              Moreover, transactions in U.S. Treasury                 Bank of New York, Maiden Lane LLC, Exchange Act
                                                                                                                                                                securities. Many opposed applying the
                                              securities are an important tool in the                 Release No. 61884 (Apr. 9, 2010) (granting                proposed rules to persons transacting in
                                              fiscal and monetary policy of the United                exemptions to the Federal Reserve Bank of New             crypto asset securities.269 Commenters
                                                                                                      York, Maiden Lane LLC and the Maiden Lane
                                              States.259 In particular, cash and repo                 Commercial Mortgage Backed Securities Trust                  266 The United States has taken actions to
                                              transactions in U.S. Treasury securities                2008–1 in connection with restructuring of debt           implement international obligations with respect to
                                              are one of the primary tools used by the                instruments acquired by the Federal Reserve Bank          such immunities and privileges. See, e.g.,
                                              Federal Reserve Bank of New York to                     of New York when it facilitated the acquisition of        International Bank for Reconstruction and
                                                                                                      the Bear Stearns Companies Inc. by JP Morgan              Development (‘‘World Bank’’) and International
                                              conduct open market transactions at the                 Chase & Co., including permitting receipt of              Monetary Fund (22 U.S.C. 286g and 22 U.S.C.
                                              direction of the Federal Open Market                    compensation that is calculated by reference to           286h), the European Bank for Reconstruction and
                                              Committee.260 The System Open Market                    underwriting fees received by other parties to the        Development (22 U.S.C. 290l–6), the Multilateral
                                              Account, which is managed by the                        restructuring). Congress similarly exempted               Investment Guarantee Agency (22 U.S.C. 290k–10),
                                                                                                      transactions in which one counterparty is a member        the Africa Development Bank (22 U.S.C. 290–8), the
                                              Federal Reserve Bank of New York’s                      of the Federal Reserve System from the regulation         African Development Fund (22 U.S.C. 290g–7), the
                                              System Open Market Trading Desk, is                     of swaps and security-based swaps in Title VII of         Asian Development Bank (22 U.S.C. 285g), the
                                              ‘‘the largest asset on the Federal                      the Dodd-Frank Act. See 15 U.S.C. 78c(a)(68)(A)           Inter-American Development Bank (22 U.S.C. 283g),
                                              Reserve’s balance sheet.’’ 261 In light of              (stating that a security-based swap is a swap, as         the Bank for Economic Cooperation and
                                                                                                      defined in 7 U.S.C. 1a(47), subject to certain other      Development in the Middle East and North Africa
                                              the key role of open market operations                  conditions); 7 U.S.C. 1a(47)(B)(ix) (excluding from       (22 U.S.C. 290o), and the Inter-American
                                                                                                      the definition of swap any transaction in which one       Investment Corporation (22 U.S.C. 283hh). See also
                                                 258 Regulators already have insight into the         counterparty ‘‘is a Federal Reserve bank, the             the International Organization and Immunities Act
                                              activities of the Federal Reserve System, and the       Federal Government, or a Federal agency that is           (22 U.S.C. 288) and the Foreign Sovereign
                                              Federal Reserve Banks already consider market           expressly backed by the full faith and credit of the      Immunities Act (28 U.S.C. 1602) (‘‘FSIA’’) (the FSIA
                                              integrity and resiliency issues. See, e.g., Enhancing   United States’’).                                         is an exception from the general principle of
                                              the Resilience of the U.S. Treasury Market 2022            263 The authorizing statutes generally provide that    sovereign immunity, which derives from customary
                                              Staff Progress Report (Nov. 10, 2022) at 1, available   the government owns all or part of the capital stock      international law).
                                              at https://home.treasury.gov/system/files/136/2022-     or equity interest of the central bank. See, e.g.,           267 See Proposing Release at 23057.
                                              IAWG-Treasury-Report.pdf (stating that the Inter-       Capital of the ECB Protocol on the Statute of the            268 See id. at n.36.
                                              Agency Working Group for Treasury Market                European System of Central Banks and of the                  269 See, e.g., Consensys Comment Letter; ADAM
                                              Surveillance ‘‘was formed by the Treasury               European Central Bank (‘‘ECB Protocol’’), Article         Comment Letter; Andreessen Horowitz Comment
                                              Department, SEC, and Federal Reserve Board in           28.2, available at https://www.ecb.europa.eu/ecb/         Letter; Blockchain Comment Letter; Comment Letter
                                              1992 to improve monitoring and surveillance and         legal/pdf/en_statute_2.pdf.                               of Global Digital Asset and Cryptocurrency
                                              strengthen interagency coordination with respect to        264 See, e.g., ECB Protocol, supra note 263, Article
                                                                                                                                                                Association (May 27, 2022) (‘‘GDCA Comment
                                              the Treasury markets . . .’’).                          3.1; Bank of Japan Act, Articles 1 and 2, available       Letter’’); U.S. Reps Comment Letter; Chamber of
                                                 259 12 U.S.C. 225a (defining goals of monetary
                                                                                                      at https://www.boj.or.jp/en/about/boj_law/                Digital Commerce Comment Letter; DeFi Fund
                                              policy); see also Federal Reserve Bank; Monetary        index.htm/#p01.                                           Comment Letter. In addition to the comments
khammond on DSKJM1Z7X2PROD with RULES2




                                              Policy: What Are Its Goals? How Does It Work?              265 For similar reasons, the CFTC has similarly        discussed in section II.A.1, many of the commenters
                                              available at https://www.federalreserve.gov/            determined to exempt swap transactions involving          that represent participants of the crypto asset
                                              monetarypolicy/monetary-policy-what-are-its-goals-      foreign central banks, sovereign entities, and            industry expressed concerns that mirror those of
                                              how-does-it-work.htm.                                   international financial institutions from the             other commenters. For example, compare GDCA
                                                 260 See Federal Reserve Bank; Monetary Policy
                                                                                                      statutory requirement that swap transactions be           Comment Letter (stating that the ‘‘the proposed one-
                                              Implementation, available at https://www.newyork        cleared with a Derivatives Clearing Organization.         year compliance period is wholly impractical’’)
                                              fed.org/markets/domestic-market-operations/             See 17 CFR 50.75, 50.76; Swap Clearing                    with MFA Comment Letter I. In these
                                              monetary-policy-implementation.                         Exemptions, 85 FR 76428, 76429–30, 76432 (Nov.            circumstances, those comments are addressed in
                                                 261 Id.                                              30, 2020).                                                                                           Continued




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                       Page 24 of 74 PageID 48
                                              14960            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              expressed their concern that they do not                commenter asserted that it is                                 The dealer framework is a functional
                                              understand which crypto assets are                      unreasonable for the proposed rules to                     analysis based on the securities trading
                                              securities under the Federal securities                 apply to so-called DeFi products,                          activities undertaken by a person, not
                                              laws and believe it would be                            structures and activities because they                     the type of security being traded. The
                                              inappropriate for the dealer regulatory                 assert that these do not have a central                    final rules apply to the buying and
                                              framework to apply to persons                           controlling body and are just software,                    selling of all securities, including crypto
                                              transacting in crypto assets that are                   and that they do not raise the concerns                    assets that are securities or government
                                              securities.270 In addition, certain of                  identified by Congress when enacting                       securities within the meaning of the
                                              these commenters expressed their view                   the Exchange Act.277 Other commenters                      Exchange Act. While some commenters
                                              that there were aspects of the dealer                   questioned whether the proposed rules                      stated that the proposed rules should
                                              regulatory framework, including                         would apply to participants in so-called                   not apply to so called DeFi, whether
                                              registration, that could substantially                  DeFi products, structures and activities,                  there is a dealer involved in any
                                              raise the costs, or would be unworkable,                including those involving the use of                       particular transaction or structure
                                              for crypto asset security participants,                 smart contracts, automated market                          (whether or not referred to as so-called
                                              and could hinder U.S. innovation in the                 makers, or other ‘‘all-to-all’’ or peer-to-                DeFi) is a facts and circumstances
                                              crypto asset market.271 For example,                    peer execution protocols.278                               analysis. There is nothing about the
                                              some commenters contended that the                      Commenters expressed concerns that                         technology used, including distributed
                                              Commission has provided no viable                       the uncertainty of whether the proposed                    ledger technology-based protocols using
                                              path forward by which a Commission-                     rules applied to such users or                             smart contracts, that would preclude
                                              registered broker-dealer can custody                    participants could lead to less liquidity                  crypto asset securities activities from
                                              digital assets.272 Commenters requested                 in the crypto asset markets.279                            falling within the scope of dealer
                                              that if the Commission were to move                     Commenters requested that the                              activity.283 Accordingly, certain persons
                                              forward with adopting the proposed                      Commission clarify that the adopted                        engaging in crypto asset securities
                                              rules, the Commission revise the final                  rules would not apply to so-called DeFi                    transactions may be operating as dealers
                                              rules to carve out or tailor the                        products, structures or activities, or                     as defined under the Exchange Act.284
                                              application to persons transacting in                   users or participants thereof.280 One                         Rules 3a5–4 and 3a44–2 apply to
                                              crypto assets that are securities.273                   commenter also asserted that crypto                        persons transacting in crypto assets that
                                                 One commenter supported applying                     assets were currency, and not securities,                  meet the definition of ‘‘securities’’ or
                                              the proposed rules to all securities,                   and asked that the Commission clarify                      ‘‘government securities’’ under the
                                              including crypto asset securities, and                  that the proposed rules would not apply                    Exchange Act. If a person’s trading
                                              asked the Commission to resist                          to ‘‘retailers’’ or ‘‘merchants’’ that accept              activities in crypto asset securities,
                                              suggestions from other commenters to                    payment for goods and services in                          including products, structures and
                                              carve out any types of assets that are                  crypto assets and exchange that crypto                     activities involved in the so-called DeFi
                                              securities from the ‘‘dealer’’                          asset for fiat currency.281                                market, meet the definition of ‘‘as part
                                              definition.274 The commenter urged that                                                                            of a regular business’’ as set forth in the
                                              the Commission apply securities                            As stated in the Proposing Release, as                  final rules (i.e., the person engages in a
                                              regulation ‘‘equally to all securities                  a threshold matter, the definitions of                     regular pattern of buying and selling
                                              regardless of how novel, ‘innovative,’                  ‘‘dealer’’ and ‘‘government securities                     crypto asset securities that has the effect
                                              popular, or profitable such offerings                   dealer’’ under sections 3(a)(5) and                        of providing liquidity to other market
                                              may be.’’ 275                                           3(a)(44) of the Exchange Act, and the                      participants as stated in the qualitative
                                                 The Commission also received                         requirement that dealers and                               standard), and no exception or
                                              comments about the application of the                   government securities dealers register                     exclusion applies, that person would be
                                              proposed rules to so-called DeFi                        with the Commission pursuant to                            required to register as a dealer or
                                              products, structures, and activities, and               sections 15 and 15C of the Exchange                        government securities dealer under the
                                              users and participants thereof.276 One                  Act, apply with respect to the buying                      Exchange Act and comply with the
                                                                                                      and selling of all securities or                           requirements applicable to dealers and
                                              their respective section in this Adopting Release.      government securities.282 Therefore,                       government securities dealers. Contrary
                                              See, e.g., section II.B.                                Rules 3a5–4 and 3a44–2 as adopted
                                                270 See, e.g., ADAM Comment Letter; Chamber
                                                                                                      apply to any person transacting in                           283 See supra note 135.
                                              Digital Commerce Comment Letter; Blockchain
                                              Comment Letter; Andreessen Horowitz Comment
                                                                                                      securities or government securities,                          284 See, e.g., SEC v. Beaxy Digital, Ltd., et al., No.

                                              Letter.                                                 regardless of where the security or                        23–cv–1962 (N.D. Ill. Mar. 29, 2023) (Docket Entries
                                                271 See, e.g., GDCA Comment Letter; ADAM              government security trades.                                1, 4) (final judgment entered on consent enjoining
                                                                                                                                                                 crypto asset trading platform from operating an
                                              Comment Letter; DeFi Fund Comment Letter;
                                                                                                                                                                 unregistered exchange, broker, dealer, and clearing
                                              Consensys Comment Letter; Blockchain Comment              277 See Consensys Comment Letter.                        agency). The President’s Executive Order on
                                              Letter; U.S. Reps Comment Letter; American
                                                                                                         278 See, e.g., DeFi Fund Comment Letter;                Ensuring Responsible Development of Digital
                                              Blockchain PAC Comment Letter; Andreessen
                                                                                                      Andreessen Horowitz Comment Letter.                        Assets recognized that ‘‘many activities involving
                                              Horowitz Comment Letter; ABA Comment Letter.
                                                272 See, e.g., GDCA Comment Letter; ABA                  279 See, e.g., DeFi Fund Comment Letter;                digital assets are within the scope of existing
                                                                                                                                                                 domestic laws and regulations’’ and ‘‘[d]igital asset
                                              Comment Letter.                                         Andreessen Horowitz Comment Letter.
                                                                                                         280 See, e.g., Consensys Comment Letter;
                                                                                                                                                                 . . . intermediaries whose activities may increase
                                                273 See, e.g., Andreessen Horowitz Comment
                                                                                                                                                                 risks to financial stability, should, as appropriate,
                                              Letter; DeFi Foundation Comment Letter; ADAM            Andreessen Horowitz Comment Letter.                        be subject to and in compliance with regulatory and
                                              Comment Letter. Similarly, one commenter                   281 See Consensys Comment Letter (stating that
                                                                                                                                                                 supervisory standards that govern traditional
                                              recommended that the application to businesses in       the rules might apply to ‘‘retailers’’ or ‘‘merchants’’    market infrastructures and financial firms.’’ See
                                              crypto assets be narrow. See also Gretz Comment         that accept crypto assets as payment for goods and         President’s Executive Order on Ensuring
khammond on DSKJM1Z7X2PROD with RULES2




                                              Letter (stating ‘‘based on the principle of ‘same       as an ancillary part of their business, exchange the       Responsible Development of Digital Assets, dated
                                              business, same risks, same rules’ we’d recommend        crypto assets for more traditional forms of                Mar. 9, 2022, available at https://www.whitehouse.
                                              to have the applicability on digital asset related      currency). The final rules apply only to trading           gov/briefing-room/presidential-actions/2022/03/09/
                                              businesses in narrow scope’’).                          activities involving crypto assets that are securities.    executive-order-on-ensuring-responsible-
                                                274 See Better Markets Comment Letter.
                                                                                                      As the rules apply only to crypto assets that are          development-of-digital-assets/. As discussed below,
                                                275 See id.                                           securities, commenter’s view as to the treatment of        these intermediaries perform a wide range of
                                                276 See, e.g., Andreessen Horowitz Comment            trading in crypto assets that are not securities are       functions, many of which may already qualify them
                                              Letter; DeFi Fund Comment Letter; Consensys             not relevant to the analysis.                              as dealers under the Exchange Act. See section
                                              Comment Letter.                                            282 Proposing Release at 23057, n.36.                   III.B.2.c.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM       29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 25 of 74 PageID 49
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                   14961

                                              to what some commenters have stated,                    each person must independently                           included definitions for the terms
                                              unless an exemption or exception                        consider its own trading activities to                   ‘‘person,’’ 296 ‘‘own account,’’ ‘‘control,’’
                                              applies, the Exchange Act requires the                  determine whether its activities require                 and ‘‘parallel account structure.’’
                                              Commission to register and regulate                     dealer registration.290 Accordingly, the                    The proposed rules would have
                                              persons acting as dealers in                            Commission is not excluding inter-                       broadly defined a person’s ‘‘own
                                              securities.285 Regardless of the                        affiliate transactions.291                               account’’ to mean any account that is:
                                              technology used to engage in crypto                        Further, some commenters requested                    ‘‘held in the name of that person,’’ or
                                              asset securities trading and transactions,              clarification that the proposed rules                    ‘‘held in the name of a person over
                                              if a person meets the qualitative                       would not apply to a governmental                        whom that person exercises control or
                                              standard in the final rule, or otherwise                plan, including public pensions, nor to                  with whom that person is under
                                              meets the definition of dealer under the                state administrators managing state                      common control,’’ 297 or ‘‘held for the
                                              Exchange Act, that person is subject to                 funds or to city administrators managing                 benefit of those persons,’’ subject to
                                              registration as a dealer, and the                       the city pension funds through an                        certain exclusions.298
                                              application of the dealer regulatory                    exclusion from the proposed rules.292                       The proposed rules would have
                                              regime to its activities.286                            One of these commenters specifically                     excluded from the definition of ‘‘own
                                                 In addition to the commenters                        raised concerns that the proposed                        account’’: (A) an account in the name of
                                              requesting additional exclusions for                    quantitative standard could subject state                a registered broker, dealer, or
                                              private funds and advisers and for                      boards and similar investment                            government securities dealer, or an
                                              market participants transacting in                      fiduciaries and/or administrators of                     investment company registered under
                                              crypto asset securities, a commenter                    state pension funds to the rules.293 The                 the Investment Company Act of
                                              stated that the Commission should                       Commission is not adding an exclusion                    1940; 299 (B) with respect to an
                                              exclude from the scope of the proposed                  for such arrangements because the rules                  investment adviser registered under the
                                              rules inter-affiliate transactions used by              have been significantly modified,                        Investment Advisers Act of 1940, an
                                              banking institutions to centrally manage                including by removal of the quantitative                 account held in the name of a client of
                                              cash or risk throughout their                           standard and the proposed first                          the adviser unless the adviser controlled
                                              organizations.287 In the context of                     qualitative standard, such that the final                the client as a result of the adviser’s
                                              discussing its concerns with the                        rules should not capture these                           right to vote or direct the vote of voting
                                              proposed aggregation provision, the                     arrangements.294                                         securities of the client, the adviser’s
                                              commenter stated that, consistent with                  4. Definitions and Anti-Evasion                          right to sell or direct the sale of voting
                                              exclusions for inter-affiliate transactions                                                                      securities of the client, or the adviser’s
                                              in the security-based swaps context, as                    As noted in the Proposing Release, the
                                                                                                                                                               capital contributions to or rights to
                                              well as with the language of the                        Exchange Act defines a ‘‘dealer’’ or
                                                                                                      ‘‘government securities dealer’’ as a                    amounts upon dissolution of the
                                              proposed rules, which focus on                                                                                   client; 300 and (C) with respect to any
                                              transactions that have ‘‘the effect of                  person engaged in the business of
                                                                                                      buying and selling securities for its                    person, an account in the name of
                                              providing liquidity to other market                                                                              another person that was under common
                                              participants,’’ inter-affiliate transactions            ‘‘own account.’’ 295 The proposed rules
                                                                                                                                                               control with that person solely because
                                              should be excluded.288                                     290 In addition, the Commission analyzes the          both persons are clients of an
                                                 The Commission is not adding an                                                                               investment adviser registered under the
                                                                                                      activities of each entity in determining broker-
                                              exclusion for inter-affiliate transactions              dealer registration status. See, e.g., Foreign Broker-   Advisers Act unless those accounts
                                              because the Commission is removing                      Dealer Adopting Release at 30017 (stating ‘‘the          constituted a parallel account
                                              the aggregation provision, and the final                Commission uses an entity approach with respect
                                                                                                                                                               structure.301
                                              rules have been modified to focus on the                to registered broker-dealers. Under this approach, if
                                                                                                      a foreign broker-dealer physically operates a branch
                                              trading activity of a person for an                     in the United States, and thus becomes subject to           296 Paragraph (b)(1) of the proposed rules

                                              account in the name of, or for the                      U.S. registration requirements, the registration         provided that the term ‘‘person’’ has the same
                                              benefit of, that person.289 In the context              requirements and the regulatory system governing         meaning as prescribed in section 3(a)(9) of the
                                                                                                      U.S. broker-dealers would apply to the entire            Exchange Act. Section 3(a)(9) of the Exchange Act
                                              of whether a person is acting as a dealer,              foreign broker-dealer entity.’’)                         defines a ‘‘person’’ as ‘‘a natural person, company,
                                              the Commission continues to believe                        291 Id.                                               government, or political subdivision, agency, or
                                                                                                         292 Comment Letter of Marcie Frost, Chief             instrumentality of a government.’’ See 15 U.S.C.
                                                 285 See 15 U.S.C. 78o(a); see generally DAO 21(a)
                                                                                                      Executive Officer, California Public Employees           78c(a)(9).
                                              Report, available at https://www.sec.gov/litigation/    Retirement System; Anastasia Titarchuk, Chief               297 When using the terms ‘‘aggregation provision’’

                                              investreport/34-81207.pdf (addressing the               Investment Officer and Deputy Comptroller for            and ‘‘aggregation,’’ the Commission is referring to
                                              obligation to comply with the registration              Pension Investment & Cash Management, New York           the following language in the definition of ‘‘own
                                              provisions of the Federal securities laws with          State Common Retirement Fund; Jase R. Auby,              account’’ that was included in the proposed rules:
                                              respect to products and platforms involving             Chief Investment Officer, Teacher Retirement             ‘‘held in the name of a person over whom that
                                              emerging technologies and new investor interfaces).     System of Texas; and Steven Meier, Chief                 person exercises control or with whom that person
                                                 286 See section III.C.1 (discussing benefits of      Investment Officer and Deputy Comptroller for            is under common control.’’ The removal of this
                                              dealer regulatory framework).                           Asset Management, Office of the Comptroller of the       provision eliminated the inclusion of entities under
                                                 287 See SIFMA Comment Letter I.                      City of New York (Nov. 3, 2023) (‘‘Public Pension        control or common control as set forth in the
                                                 288 Id. SIFMA suggested that the Commission          Fund Comment Letter’’); Comment Letter of Lamar          definition of ‘‘own account’’ under the proposed
                                              modify the text of the proposed second qualitative      Taylor, Interim Executive Director & CIO, State          rules.
                                                                                                      Board of Administration of Florida (Nov. 1, 2023)           298 Proposing Release at 23062. For purposes of
                                              factor to clarify the treatment of inter-affiliate
                                              transactions by adding that the relevant expressions    (‘‘Florida State Board Comment Letter’’).                paragraph (b)(2)(ii), the proposed rules incorporated
                                              of trading interests are those made to other market        293 Florida State Board Comment Letter.               the definition of ‘‘control’’ under 17 CFR 240.13h–
                                              participants ‘‘not controlling, controlled by or           294 See section I.B.                                  1 (‘‘Rule 13h–l’’).
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                                  299 Proposed 17 CFR 240.3a5–4(b)(2)(ii)(A) and
                                              under common control with the person.’’ See                295 15 U.S.C. 78c(a)(5) (‘‘The term ‘dealer’ means
                                              Comment Letter of Securities Industry and               any person engaged in the business of buying and         240.3a44–2(b)(2)(ii)(A).
                                              Financial Markets Association (Oct. 5, 2022)            selling securities . . . for such person’s own              300 Proposed 17 CFR 240.3a5–4(b)(2)(ii)(B) and

                                              (‘‘SIFMA Comment Letter III’’).                         account through a broker or otherwise.’’) (emphasis      240.3a44–2(b)(2)(ii)(B).
                                                 289 See section II.A.4 (discussing the deletion      added); 15 U.S.C. 78c(a)(44) (‘‘The term                    301 Proposed 17 CFR 240. 3a5–4(b)(2)(ii)(C) and

                                              from the definition of ‘‘own account’’ any accounts     ‘government securities dealer’ means any person          240.3a44–2(b)(2)(ii)(C). The Commission proposed
                                              held in the name of a person over whom that person      engaged in the business of buying and selling            to define parallel account structure to mean ‘‘a
                                              exercises control or with whom that person is under     government securities for his own account, through       structure in which one or more private funds (each
                                              common control and corresponding exclusions).           a broker or otherwise . . .’’) (emphasis added).                                                    Continued




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 26 of 74 PageID 50
                                              14962            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                                 The Proposing Release explained that                  approach to registration, focusing on                  would force market participants to
                                              the proposed definitions were intended                   activity on an entity-by-entity basis,307              constantly monitor their trading
                                              to avoid incentivizing market                            and suggested that instead of                          activities and their volume (for
                                              participants to change their corporate                   aggregating the trading activities of                  government securities) across all
                                              structures for the purpose of avoiding                   entities within a corporate structure, the             subsidiaries and clients to determine
                                              registration.302 The Proposing Release                   Commission should adopt an anti-                       whether either the qualitative or
                                              sought comment generally on this                         evasion standard.308 In particular, one                quantitative standards are triggered.312
                                              aspect of the proposed rules, and also                   commenter stated that the Commission                   One commenter questioned why the
                                              asked whether the Commission should                      should apply the principles of the entity              Commission’s aggregation approach
                                              include an anti-evasion provision                        approach to broker-dealer registration                 departs substantially from established
                                              similar to Rule 13h–1(c)(2) under the                    that it articulated in the adopting release            Commission precedent under
                                              Exchange Act.303                                         to 17 CFR 240. 15a–6 (‘‘Rule 15a–6’’)                  Regulation M and section 13 reporting
                                                 The Commission received extensive                     where registration activities are assessed             requirements.313
                                              comment on the definitions included in                   on an entity-by-entity basis, rather than                 One commenter stated that the
                                              the Proposing Release.304 Most                           across affiliated entities.309 Another                 Commission has not explained how
                                              commenters did not support the                           commenter also cited to Rule 15a–6,                    dealer registration would work if
                                              definitions, and in particular, suggested                stating that, in assessing whether a                   unrelated client accounts needed to be
                                              eliminating the aggregation provision                    person has to register as a government                 aggregated.314 One commenter
                                              set forth in the definitions of ‘‘own                    securities dealer, such commenter                      specifically raised concerns with the
                                              account’’ and ‘‘control.’’ 305 Commenters                believed that Congress intended that the               ‘‘common control’’ provision stating
                                              stated that the proposed rules                           Commission should focus on activity on                 that: ‘‘Combining the securities buying
                                              represented a departure from the                         an entity-by-entity basis rather than on               of one entity and the securities selling
                                              Commission’s historical ‘‘entity’’                       an aggregated basis.310                                of another entity when they are under
                                              approach to broker-dealer regulation.306                    Regarding the proposed aggregation                  common control is plainly not
                                                 Many commenters stated that the                       standard, many commenters raised                       indicative of dealing activity when it is
                                              Commission should maintain an entity                     concerns that trading activities of                    not coordinated or integrated.’’ 315
                                                                                                       entities, including banks and bank                        As noted above, many commenters
                                              a ‘parallel fund’), accounts, or other pools of assets   holding companies, that may be                         did not support the definitions,
                                              (each a ‘parallel managed account’) managed by the                                                              specifically the definition of ‘‘own
                                              same investment adviser pursue substantially the         excepted or exempted from dealer
                                              same investment objective and strategy and invest        registration would nonetheless need to                 account,’’ which they stated was
                                              side-by-side in substantially the same positions as      be aggregated with, and potentially                    overbroad.316 One of these commenters
                                              another parallel fund or parallel managed account.’’
                                                                                                       trigger registration of, commonly                      stated that there is no connection
                                              See Proposing Release at 23075.                                                                                 between controlling—but not owning—
                                                 302 Proposing Release at 23074.                       controlled persons under the proposed
                                                 303 17 CFR 240.13h–1(c)(2) (‘‘Rule 13h–1(c)(2)’’).    rules, contrary to policy decisions                    an account and that account being the
                                              Rule 13h–1(c)(2) provides that under no                  Congress and the Commission has made                   party’s ‘‘own account.’’ 317 Some
                                              circumstances shall a person disaggregate accounts       to not require these entities to register              commenters stated that all managed
                                              to avoid the identification requirements of the                                                                 accounts should be excluded from the
                                              section.                                                 as dealers.311 One commenter stated
                                                 304 While we received letters from a variety of       that the proposed aggregation provisions               definition.318
                                              commenters, these letters primarily represented the
                                                                                                                                                                 Similarly, many commenters also did
                                              asset management industry.                                  307 See, e.g., Morgan Lewis Comment Letter;         not support the definition of ‘‘control’’
                                                 305 See, e.g., SIFMA Comment Letter I; Fried
                                                                                                       ADAM Comment Letter; SIFMA AMG Comment
                                              Frank Comment Letter; Two Sigma Comment Letter           Letter.                                                  312 AIMA Comment Letter II.
                                              I; ICI Comment Letter; AIMA Comment Letter II;              308 See SIFMA Comment Letter I (‘‘Instead of the       313 See Comment Letter of Managed Funds
                                              ADAM Comment Letter; FIA PTG Comment Letter              Aggregation Rule, the Commission should adopt a        Association (Apr. 6, 2023) (‘‘MFA Comment Letter
                                              I; MFA Comment Letter I; T. Rowe Price Comment           targeted anti-evasion standard prohibiting a person    IV’’).
                                              Letter. See also IAA Comment Letter I; SIFMA AMG         from willfully evading dealer or government               314 See IAA Comment Letter I.
                                              Comment Letter; AIMA Comment Letter II (‘‘If the         securities dealer status (under the existing              315 See MFA Comment Letter IV.
                                              Commission is going to subject private funds and         definition and guidance) through coordinated              316 See, e.g., ADAM Comment Letter; Schulte
                                              private fund advisers to the Proposal, it should         trading activity across commonly controlled entities
                                              provide some clarity regarding its application and                                                              Roth Comment Letter; SIFMA AMG Comment
                                                                                                       over which the person exercises investment             Letter; McIntyre Comment Letter II; MFA Comment
                                              remove the aggregation requirements (including the       discretion.’’). See also ICI Comment Letter
                                              ‘under common control’ element)’’). While many                                                                  Letter I; Andreessen Horowitz Comment Letter;
                                                                                                       (‘‘[I]nstead of a blanket exclusion for parallel       Morgan Lewis Comment Letter; BlackRock
                                              commenters raised concerns with the definitions of
                                                                                                       account structures from the exception for              Comment Letter. See also IAA Comment Letter I
                                              ‘‘own account’’ and ‘‘control,’’ most commenters
                                                                                                       commonly managed accounts, we believe a general        (‘‘We are concerned that these overbroad provisions
                                              did not specifically address the definition of
                                                                                                       anti-evasion provision similar to Rule 13h–1(c)(2)     would sweep in separately-managed accounts and
                                              ‘‘person.’’ But see MFA Comment Letter I (‘‘The
                                                                                                       under the Exchange Act is more appropriate.’’); IAA    pooled investment vehicles managed in the
                                              Commission should define the term ‘person’ to
                                                                                                       Comment Letter I (‘‘The Commission should focus        ordinary course by the same adviser but that have
                                              recognize disaggregation by independent portfolio
                                                                                                       on general anti-evasion principles rather than         no relationship with one another other than having
                                              managers. The Proposal appears based on an
                                                                                                       imposing dealer regulation on advisers and their       the same adviser’’); McIntyre Comment Letter II
                                              assumption that all trading activity taking place
                                                                                                       clients out of concern that some persons could         (‘‘The proposals construct a complex regime of
                                              within a single legal entity or commonly controlled
                                              group of legal entities takes place on an integrated     theoretically evade regulation.’’); T. Rowe Price      aggregation and attribution principles in order to
                                              and coordinated basis. However, it is quite common       Comment Letter (‘‘A better way to address potential    address a manufactured concern of avoidance
                                              that a single entity (including a fund) or group of      abusive situations is to simply have an anti-evasion   structuring, which has the effect of casting a wide
                                              entities engage in trading through substantially (for    clause.’’); MFA Comment Letter I; Two Sigma            net to capture accounts at the ‘legal-entity level,’
                                              all relevant purposes) independent portfolio             Comment Letter I; IAA Comment Letter II.               presumably meaning accounts under common
                                                                                                          309 SIFMA AMG Comment Letter.                       control in a fund complex.’’).
                                              managers. . . . To avoid this issue, the
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                          310 Morgan Lewis Comment Letter.                       317 See Schulte Roth Comment Letter.
                                              Commission should adopt a definition of ‘person’
                                              that treats separately trading activity conducted by        311 See SIFMA Comment Letter I (‘‘In addition,         318 See SIFMA AMG Comment Letter; BlackRock

                                              separate decision-makers without coordination of         the Aggregation Rule would undermine statutory         Comment Letter (‘‘As discussed in SIFMA AMG’s
                                              trading or cooperation among or between them.            and regulatory limits on the scope of dealer and       and ICI’s respective comment letters, we are
                                              This treatment would be consistent with the              government securities dealer registration.’’);         concerned that the Proposal’s definition of ‘own
                                              treatment of truly separate accounts for other           Committee on Capital Markets Regulation Comment        account’ is overly broad and could require that
                                              securities law purposes.’’).                             Letter. See also ICI Comment Letter; SIFMA AMG         separately managed accounts (‘SMAs’) register as
                                                 306 See, e.g., ADAM Comment Letter; SIFMA             Comment Letter; Morgan Lewis Comment Letter;           dealers based on the activity of their unaffiliated
                                              AMG Comment Letter.                                      MFA Comment Letter I.                                  advisers acting as their agents.’’).



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                     Page 27 of 74 PageID 51
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                    14963

                                              because they believed the definition was                the same time, in order to prevent                       Commission nevertheless remains
                                              too broad by capturing too many types                   potentially evasive behavior and in                      concerned that some persons may seek
                                              of arrangements.319 One commenter                       response to comments, the Commission                     to structure their business for the
                                              stated that the Commission should make                  is adding an anti-evasion provision                      purpose of evading dealer registration.
                                              clear that advisers do not control their                providing that no person shall evade the                 Accordingly, the Commission is
                                              clients merely because they manage                      registration requirements of this section                adopting an anti-evasion provision in
                                              those clients’ accounts on a                            by: (1) engaging in activities indirectly                the final rules, consistent with
                                              discretionary or other basis.320 Many                   that would satisfy the qualitative                       suggestions from commenters. This anti-
                                              commenters also opposed the ‘‘parallel                  standard; or (2) disaggregating accounts.                evasion provision prohibits structuring
                                              account structure’’ definition, also                       Each of these changes is discussed in                 activities or disaggregating accounts for
                                              finding that it was overbroad and                       more detail below.                                       the purpose of evading the dealer
                                              impractical.321 While commenters                        Definition of ‘‘Person’’                                 registration requirements.327
                                              generally did not comment on the                                                                                 Specifically, the anti-evasion provision
                                              definition of ‘‘person,’’ one commenter                    The Commission is adopting the                        provides that ‘‘no person shall evade the
                                              suggested adopting a definition that                    definition of ‘‘person’’ as proposed.                    registration requirements of this section
                                              treats separately trading activity                      Removal of the aggregation provision                     by’’ either ‘‘engaging in activities
                                              conducted by separate decision-makers                   adequately addresses the comment                         indirectly that would satisfy paragraph
                                              without coordination of trading or                      mentioned above 324 suggesting                           (a) of this section’’ (‘‘first anti-evasion
                                              cooperation among or between them,                      adoption of a definition of ‘‘person’’ that              prong’’); or ‘‘disaggregating accounts’’
                                              stating that this treatment would be                    treats separately trading activity                       (‘‘second anti-evasion prong’’ and
                                              consistent with the treatment of separate               conducted by separate decision-makers                    together, the ‘‘anti-evasion provision’’).
                                              accounts for other securities law                       without coordination of trading or                          The first anti-evasion prong prohibits
                                              purposes.322                                            cooperation among or between them.                       a person from evading the registration
                                                 After careful review of these                        Further, the adopted definition of                       requirements by engaging indirectly in
                                              comments and upon further                               ‘‘person’’ is well-established and has the               activity that would meet the qualitative
                                              consideration, the Commission                           same meaning as prescribed in section                    standard. This prong makes clear that
                                              acknowledges the concerns raised by                     3(a)(9) of the Exchange Act and under                    persons are prohibited from evading the
                                              commenters and has determined that for                  applicable dealer precedent.325                          dealer registration requirements under
                                              the purpose of assessing dealer status                  Definition of ‘‘Own Account’’                            the final rules by, among other things,
                                              under the final rules, an anti-evasion                                                                           using another person or entity to
                                                                                                         As stated above, the Commission is                    indirectly engage in activity that would
                                              approach is appropriate. The
                                                                                                      adopting the definition of ‘‘own                         meet the qualitative standard.328
                                              Commission is revising the rule text to
                                                                                                      account’’ under paragraph (b)(2) to                         The final rules also include a second
                                              delete from the definition of ‘‘own
                                                                                                      mean any account: (i) held in the name                   anti-evasion prong. This prong, which is
                                              account’’ any accounts held in the name
                                                                                                      of that person; or (ii) held for the benefit             modeled on Rule 13h–1(c)(2),329 would
                                              of a person over whom that person
                                                                                                      of that person. Further, the Commission                  make it unlawful for a person to evade
                                              exercises control or with whom that
                                                                                                      is removing the definitions of ‘‘control’’               registration by disaggregating accounts.
                                              person is under common control and
                                                                                                      and ‘‘parallel account structure’’ as the                For purposes of this second anti-evasion
                                              corresponding exclusions. Accordingly,
                                                                                                      corresponding language in the                            prong, ‘‘disaggregate’’ means separating
                                              under the rules as adopted, ‘‘own
                                                                                                      aggregation provisions of the proposed                   or breaking up accounts for the purpose
                                              account’’ thus means any account: (a)
                                                                                                      rules has been removed, and the                          of evading the dealer registration
                                              held in the name of that person; or (b)
                                                                                                      definitions are no longer relevant.                      requirements. This prong is intended to
                                              held for the benefit of that person.323 At
                                                                                                         In response to concerns raised by                     address persons who seek to evade the
                                                 319 See, e.g., ADAM Comment Letter; Schulte
                                                                                                      commenters related to, among other                       requirements of this rule—not by
                                              Roth Comment Letter; T. Rowe Price Comment              things, the breadth of the proposed                      reducing or changing their activity to
                                              Letter; SIFMA Comment Letter I; MFA Comment             rule’s aggregation approach, the                         avoid triggering the rules—but by
                                              Letter I; AIMA Comment Letter II; McIntyre              Commission has determined to focus in
                                              Comment Letter II; IAA Comment Letter I. See also                                                                spreading the activity across entities or
                                              SIFMA AMG Comment Letter (‘‘The Commission’s
                                                                                                      the first instance on an analysis of                     accounts such that the level of activity
                                              definition of ‘own account,’ and the reference to the   activity on an entity-by-entity basis,                   is the same, with no real change with
                                              definition of ‘control’ in the large trader reporting   rather than aggregating accounts across                  respect to liquidity provision. The
                                              regime is inappropriate, exceedingly broad, and         entities that are controlled by or are
                                              will capture a number of accounts and                                                                            second anti-evasion prong thus is
                                              arrangements that were otherwise not contemplated
                                                                                                      under common control with an                             intended to address market participants
                                              as encompassing traditional dealer activity.’’).        entity.326                                               who disaggregate their existing business
                                                 320 See IAA Comment Letter I; IAA Comment
                                                                                                      Anti-Evasion Provision                                   for the purpose of evading the final
                                              Letter II.
                                                                                                                                                               rules, but not limit the ordinary course
                                                 321 See, e.g., ICI Comment Letter (‘‘The               Although the Commission has
                                              Commission’s proposed definition of a ‘parallel                                                                  business activities of persons who have
                                                                                                      determined to eliminate the proposed
                                              account structure’ in this context is overly broad                                                               no such intent or purpose. For instance,
                                                                                                      rule’s aggregation provision, the
                                              and would inappropriately result in aggregation                                                                  the Commission would generally
                                              among separately owned client accounts that follow                                                               consider management by a registered
                                              substantially the same investment objectives and        ‘‘control’’ and ‘‘parallel account structure’’ due to
                                              strategies but are managed by the same registered       deletion of the aggregation standard.                    investment adviser of separately owned
                                              investment adviser in the ordinary course of               324 See MFA Comment Letter I.
khammond on DSKJM1Z7X2PROD with RULES2




                                              business, rather than for purposes of evading dealer       325 Section 3(a)(9) of the Exchange Act defines a        327 The use of an anti-evasion approach was also

                                              registration requirements.’’). See also ABA             ‘‘person’’ as ‘‘a natural person, company,               suggested by commenters. See supra note 308 and
                                              Comment Letter; SIFMA AMG Comment Letter;               government, or political subdivision, agency, or         accompanying text.
                                              IAA Comment Letter I; T Rowe Price Comment              instrumentality of a government.’’ See 15 U.S.C.            328 Nothing in these final rules or this release
                                              Letter.                                                 78c(a)(9). Under section 3(a)(19) of the Exchange        affects the Commission’s ability to pursue unlawful
                                                 322 MFA Comment Letter I.                            Act, the term ‘‘company’’ has the same meaning as        unregistered dealer activity under any other
                                                 323 As discussed below, the Commission has not       in the Investment Company Act of 1940. See 15            applicable provision of the Federal securities laws.
                                              made changes to the definition of ‘‘person,’’ but has   U.S.C. 78c(a)(19).                                          329 See Proposing Release at 23078. See, e.g., ICI

                                              made conforming edits to delete the definitions of         326 See supra note 290.                               Comment Letter; T. Rowe Price Comment Letter.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 28 of 74 PageID 52
                                              14964            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              client accounts that follow substantially                  While the Commission has identified                 date.335 Some of the letters expressed
                                              the same investment objectives and                       a number of non-exhaustive examples of                concerns that the compliance period
                                              strategies to be ordinary course business                potentially evasive behavior and                      would not be long enough to allow for
                                              activities, and so would not impute the                  described factors that weigh against a                new dealers or government securities
                                              trading in the clients’ accounts to the                  conclusion that a person’s intent is                  dealers to prepare to register as well as
                                              adviser’s ‘‘own account,’’ absent intent                 evasive, it is important to recognize that            complete the SRO registration
                                              to evade the dealer registration                         whether a person has violated the anti-               process.336 One of the commenters
                                              requirements.                                            evasion provision will depend on an                   recommended that the Commission
                                                 The anti-evasion provision is                         evaluation of the totality of the facts and           provide the same transition period for
                                              intended to capture persons dividing or                  circumstances.                                        market participants whose activities
                                              structuring their activity to evade the                                                                        would require registration following the
                                                                                                       5. No Presumption                                     effective date.337 Another commenter,
                                              application of the final rules. Potentially
                                              evasive activity would include but is                       In the Proposing Release, the                      FINRA, commented that although the
                                              not limited to, coordinating and                         Commission proposed to include a ‘‘no                 current FINRA rule set currently
                                              integrating trading across commonly                      presumption’’ clause to clarify that a                provides for a 180-day review period for
                                              controlled groups of legal entities such                 person may be a dealer if it engages in               a new member application, FINRA has
                                              that it would not meet the qualitative                   a regular business of buying and selling              ‘‘ways to help expedite the processing of
                                              standard, including by switching which                   securities for its own account, even if it            applications for persons captured by the
                                              legal entity is engaged in trading to                    does not meet the conditions set forth in             [final rules] and is committed to
                                              evade the ‘‘regular’’ requirement of the                 the proposed rules. The Commission                    ensuring an application review process
                                              qualitative standard. Other specific                     explained that the proposed rules did                 that is thorough and efficient while
                                                                                                       not seek to address all persons that may              promoting investor protection.’’ 338
                                              examples of potentially evasive
                                                                                                       be acting as dealers under otherwise                     After further consideration, the
                                              behavior include: (i) a person that uses
                                                                                                       applicable interpretations and precedent              Commission is adopting a one-year
                                              two legal entities to separately purchase
                                              and sell securities; 330 or (ii) a person                (for example, by acting as an
                                                                                                                                                                335 GDCA Comment Letter at 3; MFA Comment
                                              that uses several legal entities to                      underwriter, regardless of whether such               Letter I at 33–34; FINRA Comment Letter
                                              purchase and sell securities, but                        person has or controls assets of less than            (explaining that ‘‘FINRA membership is key to
                                              ‘‘rotates’’ the activity across or among                 $50 million).333                                      facilitate effective oversight of such entities, and to
                                                                                                          No commenters suggested changes to                 provide for enhanced regulatory audit trails and
                                              entities in a way that none of the legal                                                                       market integrity, among other benefits. . .’’). In
                                              entities trades frequently enough to                     the proposed no presumption clause.                   addition, with respect to the compliance period,
                                              satisfy the ‘‘regular’’ test under either                For the reasons discussed in the                      several commenters requested the Commission to
                                                                                                       Proposing Release, we are adopting this               consider interactions between the proposed rule
                                              factor.                                                                                                        and other recent Commission rules. In determining
                                                 In determining whether or not a                       provision as proposed. We also reiterate,             compliance periods, the Commission considers the
                                              person is evading the dealer registration                consistent with our adoption of the no                benefits of the rules, as well as the costs of delayed
                                              requirements in violation of the anti-                   presumption clause, that the final rules              compliance dates and potential overlapping
                                                                                                       do not modify existing court precedent                compliance periods. For the reasons discussed
                                              evasion provision, the Commission may                                                                          throughout this release, to the extent that there are
                                              consider, for example, whether there                     and Commission interpretations, which                 costs from overlapping compliance periods, the
                                              are: (i) information barriers to prevent                 continue to apply to determine whether                benefits of the rules justify such costs. See infra
                                                                                                       a person is a dealer, even if such person             section III.C.2.a.vi for a discussion of the
                                              sharing of information or sufficiently                                                                         interactions of the final rule with certain other
                                              segregated trading,331 (ii) overlapping                  would not qualify as a dealer under the               Commission rules.
                                              personnel across accounts or entities, or                final rules.                                             336 See GDCA Comment Letter (‘‘If firms were

                                                                                                                                                             required to register, the proposed one year
                                              (iii) separate account statements for                    B. Compliance Date                                    compliance period is wholly impractical. In our
                                              each account. Other relevant factors                                                                           experience, for a firm that is not currently registered
                                              could include, for example, the                            In the Proposing Release, the                       to prepare to register as a broker-dealer, including
                                              identification of personnel with                         Commission proposed and sought                        implementing email, invoicing, and other
                                              oversight or managerial responsibility                   comment on a compliance date of one                   operations related technology, hiring appropriate
                                                                                                       year from the effective date of the                   personnel, and completing relevant examinations
                                              over multiple accounts in a single entity                                                                      takes at least six months. While FINRA is expected
                                              or affiliated entities, and account                      adoption of the final rules.334 The                   to approve registrations within six months, in the
                                              owners of multiple accounts, that do not                 Commission explained that the                         best circumstances that is often not the case. For
                                                                                                       compliance period was designed to                     firms with unusual or complex business plans, such
                                              have authority to execute trades or pre-                                                                       as digital asset focused firms, this process could
                                              approve trading decisions for accounts                   provide adequate time for persons                     take years.’’); MFA Comment Letter I (‘‘We strongly
                                              or entities; 332 or a business purpose that              captured by the proposed rules, if                    urge the Commission to extend the proposed one-
                                              demonstrates that there is no                            adopted, to apply for dealer registration,            year compliance period. The Proposal’s
                                                                                                       and for the relevant SROs to review new               requirements are complex and we understand that
                                              coordinated buying and selling between                                                                         firms will need to expend significant time,
                                              accounts or entities.                                    member applications, without                          resources, and effort to understand and apply them.
                                                                                                       disrupting the markets or the                         Firms that determine that registration is necessary
                                                                                                       participants’ existing market activities.             after an analysis of their trading activity will then
                                                 330 The separation of purchases and sales in
                                                                                                                                                             need additional time to prepare a Form BD and
                                              distinct legal entities could also indicate evasive      The Proposing Release explained that                  otherwise prepare to comply with the Commission’s
                                              behavior with respect to the expressing trading          the proposed compliance period would                  dealer regulations. We believe that a 36-month
                                              interest qualitative factor, which requires              not cover market participants whose                   transition period following the effectiveness of any
                                              expressing trading interest on both sides of the         activities following the effective date of            final rule would be more appropriate.’’).
khammond on DSKJM1Z7X2PROD with RULES2




                                              market.                                                                                                           337 See MFA Comment Letter I (noting that ‘‘[i]t
                                                 331 See Citadel Comment Letter (‘‘The                 the final rules would require registration
                                                                                                                                                             will be far easier and fairer to provide a common
                                              Commission should not aggregate trading activities       under those rules.                                    transition period for all market participants’’).
                                              across independent entities, portfolio managers, or        The Commission received a few                          338 FINRA Comment Letter (further stating that
                                              trading strategies when assessing whether the            comments relating to the compliance                   FINRA ‘‘looks forward to the opportunity to work
                                              proposed qualitative criteria are met, particularly if                                                         with the Commission and affected market
                                              there are information barriers in place.’’).                                                                   participants to facilitate a review process that can
                                                 332 See Exchange Act Release No. 56206 (Aug. 6,         333 See Proposing Release at 23077.
                                                                                                                                                             achieve this balance without disrupting the
                                              2007), 72 FR 45094 (Aug. 10, 2007).                        334 See Proposing Release at 23062.                 markets.’’).



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                 Page 29 of 74 PageID 53
                                                                Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                  14965

                                              compliance date from the effective date                  appropriate in furtherance of the                       interactions between the economic
                                              of the final rules for all persons who                   purposes of the Exchange Act.343                        effects of the proposed rules and other
                                              engage in activities that meet the dealer                   The final rules will promote                         recent Commission rules.345 The
                                              registration requirements under the final                competition among entities that                         Commission recently adopted seven of
                                              rules. In light of the significant benefits              regularly provide significant liquidity                 the rules mentioned as potentially
                                              afforded by dealer registration to                       by applying consistent regulation to                    impacting the economic effects of the
                                              investors and the markets, it is                         these entities, thus leveling the playing               final rules,346 namely the May 2023 SEC
                                              important for persons engaging in                        field between liquidity provision                       Form PF Amending Release,347 the
                                              activities that meet the dealer                          conducted by entities that are currently                Treasury Clearing Adopting Release,348
                                              registration requirements to register as                 registered as dealers and government
                                              soon as possible. Considering FINRA’s                    securities dealers and by entities that                    345 See, e.g., ICI Comment Letter (‘‘The

                                                                                                       are not. The final rules will also                      Commission has issued a wide range of
                                              expressed commitment to expedite the                                                                             interconnected rule proposals . . . [that] in the
                                              application process,339 a compliance                     promote the financial responsibility and                aggregate warrant further analysis by the
                                              date of one year from the effective date                 operational integrity of significant                    Commission. The Commission’s failure to consider
                                              of the final rules will provide a                        liquidity providers that are acting as                  the Interconnected Rules holistically is a
                                                                                                       dealers in securities markets by                        widespread concern among other market
                                              sufficient period of time for affected                                                                           participants.’’).
                                              market participants to comply with the                   subjecting them to the Net Capital Rule                    346 Short Position and Short Activity Reporting by

                                              final rules. However, the one-year                       and to other Commission and SRO rules                   Institutional Investment Managers, Exchange Act
                                              compliance period will be applicable to                  and oversight. The financial                            Release No. 94313 (Feb. 25, 2022), 87 FR 14950
                                                                                                       responsibility and operational integrity                (Mar. 16, 2022) (see, e.g., Overdahl Comment Letter
                                              all affected market participants, as we                                                                          at 24 n.113; MFA Comment Letter I at 15–16);
                                              agree that a common transition period                    of these significant liquidity providers,               Modernization of Beneficial Ownership Reporting,
                                              will be easier to administer and more                    in turn, will support the resilience of                 Securities Act Release No. 11030, Exchange Act
                                              equitable.340                                            securities markets. In addition, the final              Release No. 94211 (Feb. 10, 2022), 87 FR 13846
                                                                                                       rules will improve the Commission’s                     (Mar. 10, 2022) (see, e.g., Element Comment Letter
                                                 However, we emphasize that the one-                                                                           at 10; Overdahl Comment Letter at 24 n.113; MFA
                                              year compliance period only applies to                   ability to analyze market events and                    Comment Letter I at 14–16); Private Fund Advisers;
                                              market participants who are engaging in                  detect manipulation and fraud.                          Documentation of Registered Investment Adviser
                                              activities covered by the final rules prior              Although the final rules may have small                 Compliance Reviews, Investment Advisers Act
                                                                                                       negative effects on market liquidity and                Release No. 5955 (Feb. 9, 2022), 87 FR 16886 (Mar.
                                              to the compliance date, and does not                                                                             24, 2022) (see, e.g., MFA Comment Letter I at 20;
                                              apply to persons whose activities                        efficiency, due to increases in costs for               Element Comment Letter at 10; Overdahl Comment
                                              otherwise satisfy the definition of dealer               affected parties, the final rules may also              Letter at 24 n.113; AIC Comment Letter at 1 n.3, 8);
                                                                                                       promote liquidity and efficiency by                     Amendments to Form PF to Require Event
                                              under applicable Commission                                                                                      Reporting for Large Hedge Fund Advisers and
                                              interpretations and court precedent. It is               limiting the probability that significant               Private Equity Fund Advisers and to Amend
                                              incumbent here, as with questions of                     liquidity providers fail.                               Reporting Requirements for Large Private Equity
                                                                                                                                                               Fund Advisers, Investment Advisers Act Release
                                              ‘‘dealer’’ status generally, for market                  B. Baseline                                             No. 5950 (Jan. 26, 2022), 87 FR 9106 (Feb. 17, 2022)
                                              participants to analyze and monitor                        The baseline against which the costs,                 (see Overdahl Comment Letter at 24 n.113; AIC
                                              their trading activities to understand                   benefits, and the effects on efficiency,
                                                                                                                                                               Comment Letter at 1 n.3, 8; MFA Comment Letter
                                              their registration obligations.                                                                                  I at 20 n.21); Prohibition Against Conflicts of
                                                                                                       competition, and capital formation of                   Interest in Certain Securitizations, Securities Act
                                              III. Economic Analysis                                   the final rules are measured consists of                Release No. 11151 (Jan. 25, 2023), 88 FR 9678 (Feb.
                                                                                                       the current state of the securities                     14, 2023) (see MFA Comment Letter I at 21–22);
                                              A. Introduction                                                                                                  Reporting of Securities Loans, Exchange Act
                                                                                                       markets, current practice as it relates to              Release No. 93613 (Nov. 18, 2021), 86 FR 69802
                                                 The Commission is sensitive to the                    dealers and other significant liquidity                 (Dec. 8, 2021) (see, e.g., Overdahl Comment Letter
                                              economic effects of its rules, including                 providers in securities markets, and the                at 24 n.113); Standards for Covered Clearing
                                                                                                                                                               Agencies for U.S. Treasury Securities and
                                              the costs and benefits and effects on                    current regulatory framework. The                       Application of the Broker-Dealer Customer
                                              efficiency, competition, and capital                     economic analysis considers existing                    Protection Rule With Respect to U.S. Treasury
                                              formation. Section 3(f) of the Exchange                  regulatory requirements, including                      Securities, Exchange Act Release No. 95763 (Sept.
                                              Act requires the Commission, whenever                    recently adopted rules, as part of its                  14, 2022), 87 FR 64610 (Oct. 25, 2022) (see AIMA
                                                                                                                                                               Comment Letter III at 4; MFA Comment Letter II at
                                              it engages in rulemaking pursuant to the                 economic baseline against which the                     6 n.13).
                                              Exchange Act and is required to                          costs and benefits of the final rules are                  347 Form PF; Event Reporting for Large Hedge

                                              consider or determine whether an action                  measured.344 Several commenters                         Fund Advisers and Private Equity Fund Advisers;
                                              is necessary or appropriate in the public                requested the Commission to consider                    Requirements for Large Private Equity Fund
                                                                                                                                                               Adviser Reporting, Investment Advisers Act Release
                                              interest, to consider, in addition to the                                                                        No. 6297 (May 3, 2023), 88 FR 38146 (June 12,
                                                                                                         343 Id.
                                              protection of investors, whether the                                                                             2023) (‘‘May 2023 SEC Form PF Amending
                                                                                                          344 See, e.g., Nasdaq v. SEC, 34 F.4th 1105, 1111–
                                              action would promote efficiency,                                                                                 Release’’). The Form PF amendments adopted in
                                                                                                       15 (D.C. Cir. 2022). This approach also follows SEC     May 2023 require large hedge fund advisers and all
                                              competition, and capital formation.341                   staff guidance on economic analysis for rulemaking.     private equity fund advisers to file reports upon the
                                              In addition, section 23(a)(2) of the                     See Staff’s ‘‘Current Guidance on Economic              occurrence of certain reporting events. The May
                                              Exchange Act requires the Commission,                    Analysis in SEC Rulemaking’’ (Mar. 16, 2012),           2023 SEC Form PF Amending Release revised Form
                                                                                                       available at https://www.sec.gov/divisions/riskfin/     PF to (i) add new current reporting requirements for
                                              when making rules under the Exchange                     rsfi_guidance_econ_analy_secrulemaking.pdf (‘‘The       large hedge fund advisers to qualifying hedge funds
                                              Act, to consider the effect such rules                   economic consequences of proposed rules                 upon the occurrence of key events (new section 5);
                                              would have on competition.342                            (potential costs and benefits including effects on      (ii) add new quarterly reporting requirements for all
                                              Exchange Act section 23(a)(2) prohibits                  efficiency, competition, and capital formation)         private equity fund advisers upon the occurrence of
                                                                                                       should be measured against a baseline, which is the     key events (new section 6); and (iii) add and revise
khammond on DSKJM1Z7X2PROD with RULES2




                                              the Commission from adopting any rule                    best assessment of how the world would look in the      new regular reporting questions for large private
                                              that would impose a burden on                            absence of the proposed action.’’); id. at 7 (‘‘The     equity fund advisers. The compliance dates are Dec.
                                              competition not necessary or                             baseline includes both the economic attributes of       11, 2023, for the event reports in Form PF sections
                                                                                                       the relevant market and the existing regulatory         5 and 6, and June 11, 2024, for the remainder of
                                                                                                       structure.’’). The best assessment of how the world     the Form PF amendments in the May 2023 SEC
                                                339 FINRA Comment Letter.
                                                                                                       would look in the absence of the proposed or final      Form PF Amending Release.
                                                340 See MFA Comment Letter I.
                                                                                                       action typically does not include recently proposed        348 Standards for Covered Clearing Agencies for
                                                341 15 U.S.C. 78c(f).
                                                                                                       actions, because doing so would improperly assume       U.S. Treasury Securities and Application of the
                                                342 15 U.S.C. 78w(a)(2).                               the adoption of those proposed actions.                                                            Continued




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00029   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                    Page 30 of 74 PageID 54
                                              14966            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              the Private Fund Advisers Adopting                        Adopting Release,352 and the                              response to commenters, this economic
                                              Release,349 the Beneficial Ownership                      Securitizations Conflicts Adopting                        analysis considers potential economic
                                              Amending Release,350 the 17 CFR                           Release.353 These adopted rules were                      effects arising from any overlap between
                                              240.10c–1a (‘‘Rule 10c–1a’’) Adopting                     not included as part of the baseline in                   the compliance period for the final
                                              Release,351 the Short Position Reporting                  the Proposing Release because they                        amendments and each of these recently
                                                                                                        were not adopted at that time.354 In                      adopted rules.355
                                              Broker-Dealer Customer Protection Rule With                                                                            Dealers perform important market
                                              Respect to U.S. Treasury Securities, Exchange Act         (Nov. 3, 2023) (‘‘Rule 10c–1a Adopting Release’’).        functions, such as absorbing order
                                              Release No. 99149 (Dec. 13, 2023), 89 FR 2714 (Jan.       The securities loan reporting rule requires any
                                              16, 2024) (‘‘Treasury Clearing Adopting Release’’).
                                                                                                                                                                  imbalances and providing liquidity to
                                                                                                        person who loans a security on behalf of itself or        buyers and sellers who may not arrive
                                              Among other things, the Treasury Clearing                 another person to report information about
                                              Adopting Release requires covered clearing                securities loans to a registered national securities      at the same time, and a regulatory
                                              agencies for U.S. Treasury securities to have written     association (namely, FINRA) and requires FINRA to         regime exists to govern their
                                              policies and procedures reasonably designed to
                                              require that every direct participant of the covered
                                                                                                        make certain information it receives available to the     activities.356 However, market
                                                                                                        public. The covered persons will include market           participants that do not register as
                                              clearing agency submit for clearance and settlement       intermediaries, securities lenders, broker-dealers,
                                              all eligible secondary market transactions in U.S.        and reporting agents. The final rule’s compliance         dealers—and so do not comply with the
                                              Treasury securities to which it is a counterparty.        dates require that FINRA propose its rules within         dealer regulatory regime—increasingly
                                              The compliance dates are 60 days following Jan. 16,
                                              2024, for each covered clearing agency to file any
                                                                                                        four months of the effective date of final Rule 10c–      perform critical market functions that
                                                                                                        1a, or approximately May 2024, and finalize them          historically have been performed by
                                              proposed rule changes pursuant to 17 CFR                  no later than 12 months after the effective date of
                                              240.17ad–22(e)(6)(i) and (e)(18)(iv)(C) (‘‘final Rule     final Rule 10c–1a, or approximately Jan. 2025; that       dealers. This difference in regulatory
                                              17ad–22(e)(6)(i) and (e)(18)(iv)(C)’’) and final Rule     FINRA implement data retention and availability           treatment creates the potential for
                                              15c3–3, and the rule changes must be effective by
                                              Mar. 31, 2025. With respect to the changes to Rule
                                                                                                        requirements for reporting 24 months after the            negative externalities, as described
                                                                                                        effective date of final Rule 10c–1a, or approximately     below. Furthermore, the unevenness of
                                              17ad–22(e)(18)(iv)(A) and (B), each covered clearing
                                                                                                        Jan. 2026; that covered persons report Rule 10c–1a
                                              agency will be required to file any proposed rule
                                                                                                        information to FINRA starting on the first business
                                                                                                                                                                  regulation potentially gives less-
                                              changes regarding those amendments no later than                                                                    regulated entities an unfair advantage
                                                                                                        day thereafter; and that FINRA publicly report Rule
                                              150 days following Jan. 16, 2024, and the proposed
                                              rule changes must be effective by Dec. 31, 2025, for
                                                                                                        10c–1a information within 90 calendar days                over registered dealers that engage in
                                                                                                        thereafter, or approximately May 2026. See Rule           similar activities.
                                              cash market transactions encompassed by
                                                                                                        10c–1a Adopting Release, section VIII.
                                              paragraph (ii) of the definition of an eligible
                                              secondary market transaction, and by June 30, 2026,
                                                                                                           352 Short Position and Short Activity Reporting by     1. Rules and Regulations That Apply to
                                              for repo transactions encompassed by paragraph (i)        Institutional Investment Managers, Exchange Act           Registered Dealers
                                              of the definition of an eligible secondary market         Release No. 98738 (Oct. 13, 2023), 88 FR 75100
                                              transactions. Compliance by the direct participants       (Nov. 1, 2023) (‘‘Short Position Reporting Adopting          Persons engaged in the business of
                                              of a U.S. Treasury securities covered clearing            Release’’). The new rule and related form are             buying and selling securities for such
                                              agency with the requirement to clear eligible             designed to provide greater transparency through          person’s own account are generally
                                              secondary market transactions would not be                the publication of short sale-related data to
                                                                                                        investors and other market participants. Under the
                                                                                                                                                                  dealers pursuant to section 3(a)(5) of the
                                              required until Dec. 31, 2025, and June 30, 2026,
                                              respectively, for cash and repo transactions.             new rule, institutional investment managers that          Exchange Act and are required to
                                                 349 Private Fund Advisers; Documentation of            meet or exceed certain specified reporting                register as dealers with the Commission
                                              Registered Investment Adviser Compliance                  thresholds are required to report, on a monthly           in accordance with section 15(b) of the
                                              Reviews, Investment Advisers Act Release No. 6383         basis using the related form, specified short
                                                                                                        position data and short activity data for equity
                                                                                                                                                                  Exchange Act, become members of an
                                              (Aug. 23, 2023), 88 FR 63206 (Sept. 14, 2023)
                                              (‘‘Private Fund Advisers Adopting Release’’). The         securities. The compliance date for the rule is Jan.      SRO, and adhere to a comprehensive
                                              Commission adopted five new rules and two rule            2, 2025. In addition, the Short Position Reporting        regulatory regime, unless their activities
                                              amendments as part of the reforms. The compliance         Adopting Release amends the national market               fall within an exception,357 or unless
                                              date for the quarterly statement rule and the audit       system plan governing CAT to require the reporting
                                                                                                        of reliance on the bona-fide market-making
                                                                                                                                                                  they limit their dealing activity to
                                              rule is Mar. 14, 2025, for all advisers. For the
                                              adviser-led secondaries rule, the preferential            exception in the Commission’s short sale rules. The       excluded or exempted securities.
                                              treatment rule, and the restricted activities rule, the   compliance date for the CAT amendments is July               Dealers that are also government
                                              Commission adopted staggered compliance dates             2, 2025.                                                  securities dealers are further subject to
                                                                                                           353 Prohibition Against Conflicts of Interest in
                                              that provide for the following compliance periods:                                                                  rules issued by the Treasury that
                                              for advisers with $1.5 billion or more in private         Certain Securitizations, Securities Act Release No.       concern financial responsibility, capital
                                              funds assets under management, a 12-month                 11254 (Nov. 27, 2023), 88 FR 85396 (Dec. 7, 2023)
                                              compliance period (ending on Sept. 14, 2024) and          (‘‘Securitizations Conflicts Adopting Release’’). The     requirements, recordkeeping, and
                                              for advisers with less than $1.5 billion in private       new rule prohibits an underwriter, placement agent,
                                              funds assets, an 18-month compliance period               initial purchaser, or sponsor of an asset-backed          persons engaging in activities that meet the dealer
                                              (ending on Mar 14, 2025). The amended Advisers            security (including a synthetic asset-backed              registration requirements—and were expected to
                                              Act compliance provision for registered investment        security), or certain affiliates or subsidiaries of any   have minimal compliance costs because they solely
                                              advisers has a Nov. 13, 2023, compliance date. See        such entity, from engaging in any transaction that        identified prohibited actions.
                                              Private Fund Advisers Adopting Release, sections          would involve or result in certain material conflicts        355 In addition, commenters indicated there could
                                              IV, VI.C.1.                                               of interest. The compliance date for securitization       also be overlapping compliance costs between the
                                                 350 Modernization of Beneficial Ownership              participants to comply with the prohibition is June       final amendments and proposals that have not been
                                              Reporting, Securities Act Release No. 11253,              9, 2025.                                                  adopted. See, e.g., ICI Comment Letter; Overdahl
                                              Exchange Act Release No. 98704 (Oct. 10, 2023), 88           354 Since proposing these rules, the Commission        Comment Letter; MFA Comment Letter I; MFA
                                              FR 76896 (Nov. 7, 2023) (‘‘Beneficial Ownership           adopted rules to prohibit fraud and prevent undue         Comment Letter II; Element Comment Letter; AIC
                                              Amending Release’’). Among other things, the              influence over chief compliance officers in security-     Comment Letter; Consensys Comment Letter; AIMA
                                              amendments generally shorten the filing deadlines         based swaps entities that were proposed in another        Comment Letter II. To the extent those proposals
                                              for initial and amended beneficial ownership              proposal identified by a commenter, the Security-         are adopted, the baseline in those subsequent
                                              reports filed on Schedules 13D and 13G, and               Based Swaps Proposal. See Overdahl Comment                rulemakings will reflect the existing regulatory
                                              require that Schedules 13D and 13G filings be made        Letter; Prohibition Against Fraud, Manipulation, or       requirements at that time.
                                              using a structured, machine-readable data language.       Deception in Connection with Security-Based                  356 Order imbalances exist when a market
                                              The new disclosure requirements and filing                Swaps; Prohibition Against Undue Influence over           receives more buy orders than sell orders, or vice
khammond on DSKJM1Z7X2PROD with RULES2




                                              deadlines for Schedule 13D are effective on Feb. 5,       Chief Compliance Officers, Exchange Act Release           versa, at a point in time. Dealers may absorb these
                                              2024. The new filing deadline for Schedule 13G            No. 97656 (June 7, 2023), 88 FR 42546 (June 20,           imbalances by buying when there are more sell
                                              takes effect on Sept 30, 2024, and the rule’s             2023). However, the Commission believes that there        orders (and temporarily holding inventory) and by
                                              structured data requirements have a one-year              are no potential significant effects from overlapping     selling when there are more buy orders (by
                                              implementation period ending Dec. 18, 2024. See           requirements to comply with the final rules.              liquidating inventory). A dealer that absorbs
                                              Beneficial Ownership Amending Release, section            Specifically, the new security-based swaps rules          imbalances in this way can effectively facilitate a
                                              II.G.                                                     were effective Aug. 29, 2023—before the effective         transaction between a person who wishes to sell at
                                                 351 Reporting of Securities Loans, Exchange Act        date of the final rules and over a year before            time X and a person who wishes to buy at time Y.
                                              Release No. 98737 (Oct. 13, 2023), 88 FR 75644            compliance with the final rules is required for              357 See supra notes 5 and 11.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00030    Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                    Page 31 of 74 PageID 55
                                                                Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                      14967

                                              reports and audits. However, while not                     Section 6(b)(5) and section 15A(b)(6) of                 persons engaged in the business of
                                              required to register as dealers, market                    the Exchange Act, respectively, require                  buying and selling government
                                              participants (other than registered                        that the rules of a national securities                  securities for such person’s own account
                                              dealers and financial institutions) that                   exchange and the rules of a national                     are generally dealers pursuant to section
                                              limit their dealing activities to                          securities association be designed to                    3(a)(44) of the Exchange Act and have
                                              government securities generally have to                    prevent fraudulent and manipulative                      to register with the Commission as
                                              register with the Commission as                            acts and practices; promote just and                     government securities dealers under
                                              government securities dealers under                        equitable principles of trade; foster                    section 15C of the Exchange Act. These
                                              section 15C of the Exchange Act, and                       cooperation and coordination with                        government securities dealers are not
                                              similarly must comply with Treasury                        persons engaged in regulating, clearing,                 required to be members of SIPC,373 and
                                              rules.                                                     settling, processing information with                    they are required to comply with the
                                                 The regulatory regime for registered                    respect to, and facilitating transactions                capital requirements set forth in 17 CFR
                                              dealers includes provisions that limit                     in securities; remove impediments to                     402.2 rather than with the Net Capital
                                              risk (e.g., the Net Capital Rule 358 and                   and perfect the mechanisms of a free                     Rule that applies to dealers. They are
                                              rules promoting operational                                and open market and a national market                    further subject to rules issued by the
                                              integrity 359), provisions that require                    system, and in general protect investors                 Treasury on financial responsibility,
                                              certain books and records,360 provisions                   and the public interest.368 SROs can                     capital requirements, recordkeeping,
                                              that require various reporting and                         review their members’ supervisory                        and reports and audits.374
                                              disclosure (including audited financial                    procedures, including requiring internal                    The SEC’s recently-adopted Treasury
                                              statements 361 and the identities of                       controls on algorithmic trading.369 For                  Clearing rule requires that any direct
                                              owners, directors, and managers 362),                      most securities dealers that trade on                    participant of a covered clearing agency
                                              and antifraud and anti-manipulation                        more than one exchange, the relevant                     submit all eligible secondary market
                                              provisions.363 The Net Capital Rule                        SRO is currently FINRA.370                               transactions in U.S. Treasury securities
                                              requires registered dealers to maintain                    Commission-registered brokers or                         for clearance and settlement, including
                                              minimum amounts of net liquid assets                       dealers must also become members of                      transactions where the counterparty is
                                              at all times, even intraday, thus                          the Securities Investor Protection                       another member of a covered clearing
                                              constraining dealer leverage.364 In                        Corporation (‘‘SIPC’’).371                               agency.375
                                              addition to the financial and regulatory                     The regulatory regime differs                             As explained in section I.A, courts
                                              risk management controls required by                       somewhat for entities that transact only                 have repeatedly recognized the
                                              the Market Access Rule, dealers with                       in government securities, especially                     requirement that dealers and
                                              market access must comply with a                           with respect to requirements on SIPC                     government securities dealers register as
                                              number of underlying regulatory                            membership and capitalization.372 Such                   being ‘‘of the utmost importance in
                                                                                                                                                                  effecting the purposes of the Exchange
                                              requirements when conducting their
                                                                                                         addition, 17 CFR 240.15b2–2 (‘‘Exchange Act Rule         Act.’’ 376 Among other things, these
                                              business.365 Registered dealers are also                   15b2–2’’ or ‘‘Rule 15b2–2’’) generally requires the      regulations promote dealers’ financial
                                              subject to the Commission’s authority to                   SRO that has responsibility for examining a dealer
                                                                                                                                                                  responsibility, including adequate
                                              conduct examinations and impose                            member to inspect a newly registered dealer for
                                                                                                         compliance with applicable financial responsibility      capitalization (liquidity held against
                                              sanctions 366 and to the rules,
                                                                                                         rules within six months of registration, and for         risky assets) and internal controls. The
                                              examination authority, and enforcement                     compliance with all other regulatory requirements        dealer regulations also give the
                                              authority of the relevant SRO.367                          within 12 months of registration. See also 17 CFR
                                                                                                         240.17d–1 (‘‘Rule 17d–1’’) (examination for
                                                                                                                                                                  Commission and the SROs tools to help
                                                 358 The Net Capital Rule requires dealers to hold       compliance with applicable financial responsibility      them detect manipulation or fraud by
                                              liquid assets in excess of their unsubordinated            rules). Thereafter, FINRA or another SRO, as             analyzing transaction reports and
                                              liabilities. See section III.C.2.b for a more complete     applicable, continues to inspect each firm               examining other records kept by dealers.
                                              discussion of the Net Capital Rule.                        periodically, based on the firm’s risk profile.
                                                 359 See supra note 26.
                                                                                                            368 15 U.S.C. 78f(b)(5) and 15 U.S.C. 78o–3(b)(6).    2. Affected Parties
                                                                                                            369 For instance, see FINRA Rules 2010, 3110,
                                                 360 See supra note 27.
                                                                                                         5210, and 6140, which establish conduct rules that
                                                                                                                                                                     The Commission believes that some
                                                 361 See 17 CFR 240.17a–5(d)(1)(i)(A) (‘‘Rule 17a–
                                                                                                         may apply to algorithmic trading and which give          entities who are not registered as dealers
                                              5(d)(1)(i)(A)’’).
                                                 362 See Form BD.
                                                                                                         FINRA supervisory authority. FINRA Notice 15–09          or government securities dealers
                                                                                                         describes how ‘‘FINRA staff has conducted a              perform a significant role in providing
                                                 363 See supra note 28 and surrounding text. See
                                                                                                         number of examinations and investigations . . .
                                              also, e.g., FINRA Rule 2010 (Standards of                  that were prompted by the detection of systems-
                                                                                                                                                                  liquidity in markets, including entities
                                              Commercial Honor and Principles of Trade); FINRA           related issues at firms engaged in algorithmic
                                              Rule 2020 (Use of Manipulative, Deceptive, or              strategies, and several of these investigations have       373 See 15 U.S.C. 78ccc(a)(2).
                                              Other Fraudulent Devices); FINRA Rule 4510 Series          resulted in settlements of formal actions.’’ The            374 See 17 CFR 402.2. See also supra note 14 and
                                              (Books and Records Requirements). Other SROs               FINRA notice provides guidance on best practices         accompanying text.
                                              have comparable and sometimes equivalent rules.            for keeping algorithmic trading compliant with              375 See Treasury Clearing Adopting Release.
                                              See, e.g., NYSE, NYSE Rules, available at https://         FINRA and Commission rules.                                 376 Proposing Release at 23060–61; see also SEC
                                              nyseguide.srorules.com/rules; Nasdaq, Rulebook—               370 See supra note 23.
                                                                                                                                                                  v. Benger, 697 F. Supp. 2d 932, 944 (N.D. Ill. 2010)
                                              The Nasdaq Stock Market, available at https://                371 Exceptions to the SIPC membership
                                                                                                                                                                  (quoting Celsion Corp. v. Stearns Mgmt. Corp., 157
                                              listingcenter.nasdaq.com/rulebook/nasdaq/rules.            requirement exist for (a) persons whose principal
                                                 364 See section III.C.2.b for a discussion of the Net
                                                                                                                                                                  F. Supp. 2d 942, 947 (N.D. Ill. 2001) (section 15(a)’s
                                                                                                         business is conducted outside the United States and      registration requirement is ‘‘of the utmost
                                              Capital Rule.                                              its territories and possessions; (b) persons whose       importance in effecting the purposes of the Act’’
                                                 365 These regulatory requirements include, for
                                                                                                         business as a broker or dealer consists exclusively      because it enables the SEC ‘‘to exercise discipline
                                              example, pre-trade requirements such as exchange-          of (i) the distribution of shares of registered open     over those who may engage in the securities
                                              trading rules relating to special order types, trading     end investment companies or unit investment              business and it establishes necessary standards with
khammond on DSKJM1Z7X2PROD with RULES2




                                              halts, odd-lot orders, and SEC rules under                 trusts, (ii) the sale of variable annuities, (iii) the   respect to training, experience, and records.’’); Roth
                                              Regulation SHO and Regulation NMS, as well as              business of insurance, or (iv) the business of           v. SEC, 22 F.3d 1108, 1109 (D.C. Cir. 1994) (‘‘The
                                              post-trade obligations to monitor for manipulation         rendering investment advisory services to one or         broker-dealer registration requirement serves as the
                                              and other illegal activity. See also supra note 26 on      more registered investment companies or insurance        keystone of the entire system of broker-dealer
                                              the Market Access Rule.                                    company separate accounts; and (c) persons who           regulation.’’); Regional Properties, Inc. v. Financial
                                                 366 See supra note 30.                                  are registered as a broker or dealer with respect to     and Real Estate Consulting Co., 678 F.2d 552, 561
                                                 367 Exchange Act section 17(b) subjects broker-         transactions in security futures products, pursuant      (5th Cir. June 3, 1982); Eastside Church of Christ
                                              dealers to inspections and examinations by                 to 15 U.S.C. 78o(b)(11)(A).                              v. National Plan, Inc., 391 F.2d 357, 361 (5th Cir.
                                              Commission staff and by the relevant SRO. In                  372 See supra note 29.                                Mar. 12, 1968).



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000    Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                             Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                Page 32 of 74 PageID 56
                                              14968                 Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              commonly known as PTFs and                                               a. PTFs                                                    identifiable firms in 2022. The PTFs had
                                              potentially other market participants                                       PTFs, who trade only for their own                      by far the highest volumes among the
                                              such as private funds. The final rules                                   account without customers, have                            non-broker-dealer firms, and the most
                                              exclude market participants who have                                     emerged as de facto market makers,                         active PTFs had trading volumes
                                              or control assets of less than $50                                       especially in the U.S. Treasury                            roughly comparable to those of the most
                                              million.377 This threshold excludes                                      market.379 While some such firms have                      active registered dealers. A Federal
                                              small market participants, some of                                       registered with the Commission as                          Reserve staff analysis concluded that
                                              whom are natural persons, who are                                        dealers, many others have not. This                        PTFs were particularly active in the
                                              unlikely to pose financial and                                           section discusses the baseline for PTFs                    interdealer segment of the U.S. Treasury
                                              operational risks to the markets.378                                     in the current market, and a later section                 market in 2019, accounting for 61% of
                                              Similarly, for the reasons discussed                                     will estimate the number of PTFs that                      the volume on automated interdealer
                                              above in section II.A.3, the final rules                                 may be affected by the final rules due                     broker platforms and 48% of the
                                              exclude investment companies that are                                    to their activities in the market for U.S.                 interdealer broker volume overall.382
                                              registered under the Investment                                          Treasury securities.                                       Figure 1 also shows that in the U.S.
                                              Company Act and central banks,                                              Table 1 summarizes the number and                       Treasury market, some participants who
                                              sovereign entities, and international                                    type of identifiable market participants
                                                                                                                                                                                  are not SEC-registered dealers trade very
                                              financial institutions, as defined in the                                in TRACE, by average monthly trading
                                              final rules. The following two sub-                                      volume in 2022.380 Many of the most                        high volumes comparable to the most
                                              sections describe PTFs, as well as                                       active participants are classified in the                  active registered dealers. The very high
                                              private funds and advisers, which are                                    data as ‘‘PTFs’’ who are not registered                    trading volumes and large share of
                                              the entities most likely to be affected.                                 with the Commission as broker-                             trading in the interdealer Treasury
                                              The third sub-section below analyzes                                     dealers.381 The 231 firms in Table 1 that                  market suggest that at least some PTFs
                                              data from TRACE and Form PF to                                           were not SEC-registered broker-dealers                     may be regularly acting as significant
                                              identify up to 43 entities that the final                                accounted for approximately 13% of the                     liquidity providers.
                                              rules may affect.                                                        aggregate Treasury trading volume of all

                                                                    TABLE 1—COUNT OF ACTIVE FIRMS IN THE TREASURY MARKET BY TYPE: CALENDAR YEAR 2022
                                                                                                                                                            # Firms, by average monthly (buy + sell) volume
                                                                                    Firm type
                                                                                                                                                all firms               >$10 bn                >$50 bn                >$100 bn

                                              SEC-registered broker-dealers ................................................                                854                     83                     46                      34
                                              Other firms ...............................................................................                   231                     54                     15                      10
                                                  Dealers .............................................................................                     110                     23                      *                       0
                                                  Hedge Funds ....................................................................                           62                      7                      *                       0
                                                  PTFs .................................................................................                     40                     23                     13                      10
                                                  Others ...............................................................................                     19                      1                      *                       0
                                                 * Suppressed to protect confidentiality.




                                                 377 As noted in section II.A.3, outside of the                           379 See FINRA Comment Letter.                           calendar quarter. In 2022, approximately 58% of the
                                              context of these rules, whether a person who has                            380 The analysis is limited to a subsection of          non-FINRA member volume in TRACE belonged to
                                              or controls less than $50 million in assets must                         TRACE data where the identity of trading                   anonymous market participants.
                                              register as a dealer will remain a facts and                             counterparties is known. Non-FINRA member                     381 Our classification of TRACE entities includes
                                              circumstances determination.                                             participants generally appear anonymously when
                                                 378 Most U.S. investors are households, and most                                                                                 an assessment of non-FINRA firms in the data as
                                                                                                                       they trade with FINRA members, who report their
                                              household investors have far less than $50 million                       activity to TRACE but maintain the anonymity of            ‘‘PTFs,’’ ‘‘hedge funds,’’ etc. A small number of
                                              in assets. The 2019 Survey of Consumer Finance,                          the non-FINRA member counterparties. When non-             non-FINRA firms are registered with the
                                              sponsored by the Federal Reserve Board of                                FINRA member participants trade on an ATS that             Commission as broker-dealers, and these are
                                              Governors and the U.S. Treasury, shows that 68                           is covered by FINRA Rule 6730.07, the ATS reports          included with the FINRA firms as ‘‘SEC-registered
khammond on DSKJM1Z7X2PROD with RULES2




                                              million U.S. families owned stocks and bonds,                            the transaction to TRACE along with a unique, non-         broker-dealers’’ in Table 1.
                                              either directly or indirectly, and that 93% own less                     anonymous MPID for each counterparty. For FINRA               382 James Collin Harkrader and Michael Puglia,
                                              than $1 million. The survey also showed that the                         Rule 6730.07, a ‘‘covered ATS’’ is an ATS, as that         ‘‘Principal Trading Firm Activity in Treasury Cash
                                              mean (median) U.S. household had total assets of                         term is defined in Rule 300 of SEC Regulation ATS
                                                                                                                                                                                  Markets,’’ FEDS Notes (Aug. 4, 2020) (‘‘[Principal
                                              $858,000 ($227,000). This number of household                            (17 CFR 242.300), that executed transactions in U.S.
                                              investors is much larger than the number of                              Treasury securities against non-FINRA member               trading firms] dominate activity on the electronic
                                              institutional investors. For example, there are                          subscribers of $10 billion or more in monthly par          [interdealer broker] platforms (61%).’’). See also
                                              currently 3,963 registered investment companies                          value, computed by aggregating buy and sell                Doug Brain et al., ‘‘Unlocking the Treasury Market
                                              and 15,562 registered investment advisers.                               transactions, for any two months in the preceding          Through TRACE,’’ FEDS Notes (Sept. 28, 2018).



                                         VerDate Sep<11>2014        17:22 Feb 28, 2024         Jkt 262001      PO 00000       Frm 00032     Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 33 of 74 PageID 57
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                               14969

                                                       Figure 1. Treasury Trading Volume Distributions of SEC-registered Broker-Dealers
                                                       versus Other Firms: Calendar Year 2022
                                                       The figure on the left shows the number of identifiable firms in TRACE data during year
                                                       2022, by average monthly trading volume (buy + sell). The figure on the right shows the
                                                       percentage of firms in each volume bucket.

                                                                        1000                                                      100%
                                                                                                   N.Rrms                                               Pct. Arms
                                                                          800                                                      80%

                                                                          600                                                      60%

                                                                          400                                                      40%

                                                                          200                                                      20%

                                                                               0
                                                                                    $0bn 20         40      60     80 100+          °" $0bn 20 40 60 80 100+
                                                                                                 I• SEC-registered B-Ds                         •   other firms       j

                                                 PTFs that are engaged in dealing                     margin.385 If they trade directly in the               identified in the CAT system with
                                              activities without registering with the                 market using a broker-dealer’s market                  Customer-IDs.390 Regulators must then
                                              Commission as dealers do not have the                   access, the Market Access Rule requires                go to a separate database to obtain
                                              same regulatory responsibilities as                     the broker-dealer offering its market                  customer identifying information
                                              registered dealers or government                        access to establish, document, and                     associated with a Customer-ID.391
                                              securities dealers. These responsibilities              maintain a system of controls and                         Pursuant to the CAT NMS Plan, the
                                              include compliance with regulations                     supervision designed to limit the risk—                CAT must capture and store Customer
                                              regarding capitalization, operational                   e.g., financial, regulatory, operational, or           and Customer Account Information in a
                                              controls, book-keeping, and record-                     legal—of the PTFs’ activities related to               secure database physically separated
                                              keeping.383 These PTFs also do not                      that market access.386 However, entities               from the transactional database. ‘‘CAIS’’
                                              submit annual reports or financial                      that are not registered as dealers do not              refers to the Customer and Account
                                              statements to the Commission and are                    have to comply with the Net Capital                    Information System within the CAT
                                              not subject to examination, thus limiting               Rule.387                                               System that collects and links
                                              regulators’ insight into their internal                   PTFs that are not registered as dealers              Customer-ID(s) to Customer and
                                              risk-management or record-keeping                       do not have reporting obligations to                   Account Attributes and other identifiers
                                              practices.                                              CAT or to TRACE, though these data                     for queries by regulatory staff.392 When
                                                 PTFs that are not registered as dealers              sources contain certain information on                 the CAIS system becomes fully
                                              do face constraints on risk-taking, but                 PTFs’ trading.388 CAT generally                        operational, authorized regulators will
                                              they face fewer constraints than                        includes all PTFs’ orders in NMS
                                              registered dealers or government                        securities, OTC equities, and listed                      390 Pursuant to the CAT NMS Plan, each customer

                                                                                                      options because they are reported by                   is required to be assigned a unique Customer-ID
                                              securities dealers. When they trade                                                                            that can be used to link all orders and reportable
                                              through a bank or broker-dealer, 12 CFR                 other registered parties. Broker-dealers,              events from a specific customer.
                                              parts 220, 221, and 224 (‘‘Federal                      including those through whom PTFs                         391 Pursuant to the CAT NMS Plan, the customer

                                              Reserve Regulations T, U, and X’’)                      currently trade, are required to report                information data must be stored separately from the
                                                                                                      orders and order events to CAT for NMS                 order data (see Appendix D–14 and D–33 of the
                                              require the bank or broker-dealer to                                                                           CAT NMS Plan) with different access protocols (see
                                              limit the PTFs’ risk by imposing margin                 Securities or OTC equities.389                         Appendix D–14 and D–29 of the CAT NMS Plan).
                                              requirements on loans that use                          Consequently, the receipt of such                      The purpose of these requirements is to secure
                                              securities as collateral.384 If they trade              principal orders from PTFs and the                     Personally Identifiable Information (‘‘PII’’).
                                                                                                      execution of such orders (as well as all               According to the CAT NMS Plan, ‘‘[a] subset of
                                              through a broker-dealer that is a FINRA                                                                        authorized regulators . . . will have permission to
                                              member, FINRA Rule 4210 may apply,                      other order events) are included in CAT                access and view PII data.’’ See Appendix D–29 of
                                              since the rule specifies margins for                    data. However, customers of the broker-                the CAT NMS Plan.
                                              securities that FINRA members hold in                   dealers, including such PTFs, are only                    392 See ‘‘Consolidated Audit Trail, Customer and

                                                                                                                                                             Account Information System (CAIS): Specification
                                              their customers’ accounts, including                                                                           for Firm Designated ID (FDID) and Large Trader ID
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                         385 See FINRA Rule 4210.
                                              initial margin requirements on                             386 See supra note 26.
                                                                                                                                                             (LTID)’’ (Dec. 18, 2019), available at https://www.
                                              securities transactions and                                387 See supra note 24 and accompanying text.
                                                                                                                                                             catnmsplan.com/sites/default/files/2020-01/FDID-
                                              commitments and maintenance                                                                                    LTID-Specification-Publication-12-18-v1.pdf, for
                                                                                                        388 See Fried Frank Comment Letter; IAA
                                                                                                                                                             background information on the CAIS system. See
                                                                                                      Comment Letter I; McIntyre Comment Letter II;          also CAT NMS Plan 6.5(c)(i) (stating that access is
                                                383 See supra notes 358–363.                          MMI Comment Letter; SIFMA Comment Letter I.            for regulatory use only) and CAT NMS Plan
                                                384 See Federal Reserve Regulation T (12 CFR part       389 Many broker-dealers contract with third-party    Appendix D 9.1 at p. D–33 (stating that customer
                                              220); Regulation U (12 CFR part 221); Regulation X      service providers to fulfill their reporting           information will be stored separately from other
                                                                                                                                                                                                                   ER29FE24.000</GPH>




                                              (12 CFR part 224).                                      requirements to CAT.                                   data).



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00033   Fmt 4701    Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                             Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                               Page 34 of 74 PageID 58
                                              14970                 Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              be able to identify in the CAIS database                                when the trades occur on an ATS                              PTFs are subject to the anti-
                                              all the customers associated with orders                                covered by FINRA Rule 6730.07                             manipulation and antifraud provisions
                                              and related events captured and stored                                  (generally, the ATSs with higher                          under Securities Act section 17(a) and
                                              in the transactional database, including                                volume).393 When PTFs that are not                        Exchange Act section 10(b), but they are
                                              any PTFs that are engaging in dealer                                    registered as dealers trade U.S.                          not subject to Exchange Act section
                                              activities but that are not registered as                               Government securities and other fixed-                    15(c). Exchange Act section 15(c)
                                              dealers. Unlike the identification of                                   income securities through a broker-                       authorizes the Commission to issue, for
                                              customers, regulators can identify                                      dealer or on an ATS that is not covered                   registered entities, specific rules and
                                              registered broker-dealers (who have                                     by FINRA Rule 6730.07, the broker-                        regulations that ‘‘define, and prescribe
                                              reporting obligations) by their unique                                  dealer or ATS reports the transaction to                  means reasonably designed to prevent,
                                              identifiers in CAT transactional data                                   TRACE, but the identity of the PTF                        such acts and practices as are
                                              without having to access CAIS.                                          remains anonymous. PTFs that are not                      fraudulent, deceptive, or manipulative
                                              Therefore, analysis requiring the                                       registered as dealers are always                          and such quotations as are
                                              identification of customers (such as                                    anonymous in the TRACE database for                       fictitious.’’ 396 They are also not subject
                                              PTFs) takes more time because                                           corporate bond transactions.                              to examinations, net capital
                                              accessing CAIS involves enhanced                                                                                                  requirements, or any record-keeping or
                                              security measures and requires                                            PTFs with high volumes or large                         reporting requirements.
                                              necessary additional steps that are not                                 portfolios in equities markets may also
                                                                                                                      have to report to the Commission on                       b. Private Funds and Advisers
                                              required for identifying broker-dealers
                                              associated with CAT reported trading                                    Form 13F 394 or Form 13H.395 On Form                        Private funds 397 are also prominent
                                              activities in the CAT transactional                                     13F, institutional investment managers                    participants in U.S. securities markets.
                                              database.                                                               report the details of their holdings of                   This section discusses the baseline for
                                                 Additionally, broker-dealers and                                     section 13(f) securities—e.g., CUSIP, fair                private funds and advisers in the
                                              ATSs report transactions in U.S.                                        market value. On Form 13H, among                          current market, and in section III.B.2.c
                                              Government securities to TRACE.                                         other things, large traders provide                       we will estimate the number of hedge
                                              However, TRACE data include the                                         details of their organization,                            funds that may be affected by the final
                                              identities of unregistered entities only                                governance, and relationships.                            rules.

                                                                                                          TABLE 2—PRIVATE FUND STATISTICS AS OF 2022Q4
                                                                                                                                                                 Gross asset value                       Net asset value
                                                                                 Fund type                                               Count                 Total              Avg                 Total               Avg
                                                                                                                                                               ($B)              ($mm)                ($B)               ($mm)

                                              Hedge Fund .........................................................................            9,783                9,347                 955               4,811                 492
                                              Private Equity Fund .............................................................              20,860                6,710                 322               6,030                 289
                                              Venture Capital Fund ...........................................................                2,978                  375                 126                 342                 115
                                              Liquidity Fund .......................................................................             71                  321               4,521                 318               4,479
                                              Other Private Fund ..............................................................               6,688                1,622                 243               1,397                 209
                                              Real Estate Fund .................................................................              4,226                1,137                 269                 857                 203
                                              Securitized Asset Fund ........................................................                 2,482                  935                 377                 272                 110
                                                Note: These statistics rely on Form PF. Only SEC-registered advisers with at least $150 million in private fund assets under management
                                              must report to the Commission on Form PF; SEC-registered investment advisers with less than $150 million in private fund assets under man-
                                              agement, SEC exempt reporting advisers, and state-registered investment advisers are not required to file Form PF.


                                                Table 2 shows the number of private                                   reported information on their positions,                  involve automated or high-frequency
                                              funds as of the fourth quarter of 2022.398                              and these held $2.4 trillion in listed                    trading (‘‘HFT’’), could meet the final
                                              Of the 9,783 hedge funds reported on                                    equities and $1.8 trillion in U.S.                        rules’ definition of dealing.
                                              Form PF during this period, there were                                  Government securities.399 Certain hedge                      The business models of private equity
                                              2,069 qualifying hedge funds that                                       fund strategies, such as those that                       funds 400 and liquidity funds 401 are
                                                393 See supra note 380.                                                  396 15 U.S.C. 78o(c)(2)(D). For example, the Net       Qualifying Hedge Funds than other hedge funds
                                                394 Every manager which exercises investment                          Capital Rule and the Market Access Rule are both          they manage during the reporting period. A
                                              discretion with respect to accounts holding section                     tied to section 15(c) of the Exchange Act.                Qualifying Hedge Fund is any hedge fund advised
                                              13(f) securities, as defined in Rule 13f–1(c), having                      397 A private fund, including a hedge fund, is an
                                                                                                                                                                                by a large hedge fund adviser that had a NAV
                                              an aggregate fair market value on the last trading                      issuer that would be an investment company as             (individually or in combination with any feeder
                                              day of any month of any calendar year of at least                       defined in section 3 of the Investment Company Act
                                                                                                                                                                                funds, parallel funds, and/or dependent parallel
                                              $100,000,000, shall file a report on Form 13F with                      if not for section 3(c)(1) or 3(c)(7) of the Investment
                                              the Commission within 45 days after the last day                        Company Act. See 15 U.S.C. 80a–3.                         managed accounts) of at least $500 million as of the
                                              of such calendar year and within 45 days after the                         398 See SEC Division of Investment Management          last day of any month in the fiscal quarter
                                              last day of each of the first three calendar quarters                   Analytics Office, Private Fund Statistics: Fourth         immediately preceding the adviser’s most recently
                                              of the subsequent calendar year.                                        Calendar Quarter 2022 (July 18, 2023) (‘‘Private          completed fiscal quarter.
                                                 395 Each large trader—defined as a person whose                      fund Statistics’’), available at https://www.sec.gov/        400 See Investor.gov, Private Equity Funds,
khammond on DSKJM1Z7X2PROD with RULES2




                                              transactions in NMS securities equal or exceed 2                        files/investment/private-funds-statistics-2022-           available at https://www.investor.gov/introduction-
                                              million shares or $20 million during any calendar                       q4.pdf.                                                   investing/investing-basics/investment-products/
                                              day, or 20 million shares or $200 million during                           399 Large hedge fund advisers have at least $1.5
                                                                                                                                                                                private-investment-funds/private-equity.
                                              any calendar month—is required to identify itself                       billion in hedge fund assets under management. A             401 See Daniel Hiltgen, ‘‘Private liquidity Funds:
                                              to the Commission by filing a Form 13H and                              large hedge fund adviser is required to file Form PF
                                              submitting annual updates, as well as updates on                        quarterly and provide data about each hedge fund          Characteristics and Risk Indicators,’’ DERA White
                                              as frequently as a quarterly basis when necessary                       it managed during the reporting period (irrespective      Paper (Jan. 27, 2017), available at https://
                                              to correct information previously disclosed that has                    of the size of the fund). Large hedge fund advisers       www.sec.gov/files/2017-03/Liquidity%20
                                              become inaccurate. See 17 CFR 240.13h–1.                                must report more information on Form PF about             Fund%20Study.pdf.



                                         VerDate Sep<11>2014        17:22 Feb 28, 2024        Jkt 262001      PO 00000      Frm 00034   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                               Page 35 of 74 PageID 59
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                               14971

                                              unlikely to engage in activities that meet                  The Advisers Act establishes                       be affected. We use data from Form
                                              the final rules’ definition of dealing,                  reporting and recordkeeping                           PF 410 to approximate the number of
                                              because they are generally long-only                     requirements for registered advisers to               possibly affected private funds, under
                                              investors that are not likely to regularly               private funds. For example, section 204               the assumption that, to the extent
                                              communicate trading interests on both                    requires registered investment advisers               private funds employ trading strategies
                                              sides of the market or earn revenue                      to keep certain books and records                     that would qualify under the final rules’
                                              primarily from capturing bid-ask                         (records of the advised private funds are             qualitative standard, they would most
                                              spreads.                                                 considered records of the adviser for                 likely report those as HFT strategies.
                                                                                                       these purposes). Registered investment                The analysis focuses on U.S. Treasury
                                                 Investment advisers are subject to the
                                                                                                       advisers and exempt reporting advisers                markets where market participants not
                                              Advisers Act and the Commission
                                                                                                       must also disclose information on Form                registered as dealers are significant
                                              oversees private fund advisers, many of
                                                                                                       ADV. Registered private fund advisers                 liquidity providers.411 Natural persons
                                              which are registered with the SEC or
                                                                                                       report certain information on the private             are unlikely to be dealing in U.S.
                                              report to the SEC as exempt reporting
                                                                                                       funds they manage to the Commission                   Government securities, and we do not
                                              advisers.402 Advisers may also trade for
                                                                                                       annually (and, for certain large advisers             observe any natural persons trading U.S.
                                              their own account subject to certain
                                                                                                       of certain large hedge funds, quarterly)              Government securities in the interdealer
                                              restrictions.403 When trading through a
                                                                                                       on Form PF. Specifically, large hedge                 market.
                                              bank or broker-dealer, private funds and
                                                                                                       fund advisers currently file quarterly
                                              investment advisers are indirectly                       periodic reports and—within 72 hours                     Using TRACE data for U.S. Treasury
                                              constrained by the same limitations on                   of the occurrence of certain events                   securities, we estimate the number of
                                              risk-taking as are PTFs, as described in                 including extraordinary investment                    affected parties by identifying firms that
                                              the previous section—i.e., the Market                    losses and large margin increases—                    appear to meet the primary revenue
                                              Access Rule, FINRA Rule 4210, and                        current reports to the Commission on                  factor by earning revenue from
                                              Federal Reserve Regulations T, U, and                    Form PF and are subject to books and                  capturing bid-ask spreads in the market
                                              X. Investment advisers are subject to a                  records rules and examinations.407                    for U.S. Treasury securities. We do not
                                              Federal fiduciary duty, which comprises                  Advisers are also subject to Commission               estimate the number of entities that
                                              a duty of care and a duty of loyalty,404                 examinations. Advisers and funds with                 appear to meet the expressing trading
                                              and are subject to the antifraud                         high trading volumes or large portfolios              interest factor because the Commission
                                              provisions in section 206 of the                         may also have to report to the                        does not have sufficient data on quoting
                                              Advisers Act. Private funds and                          Commission on Form 13F or Form 13H,                   activities. TRACE data identify specific
                                              investment advisers are also subject to                  on which they would disclose details of               parties in the Treasury market that are
                                              section 10(b) of the Exchange Act and                    their securities holdings, organization,              not registered broker-dealers who trade
                                              section 17(a) of the Securities Act.                     governance, and relationships.408                     on certain ATSs.412 In other markets,
                                              Registered investment advisers are                          However, private funds and                         post-trade data do not identify entities
                                              further subject to specific substantive                  investment advisers do not have to                    that are not registered as broker-dealers.
                                              requirements related to various areas,                   comply with the Net Capital Rule or                   In all markets, when entities transact on
                                              including principal trading, agency                      with any other direct regulatory                      ATSs for or on behalf of other market
                                              cross transactions, custody of client                    constraint on leverage. They also are not             participants that are not registered
                                              assets, and marketing.405 The                            required to report their transactions                 broker-dealers, data limitations prevent
                                              Commission also recently adopted new                     (though their broker-dealer may be                    us from identifying the ultimate buyer
                                              rules and rule amendments to enhance                     required to report the transactions), and             or seller. It is the Commission’s
                                              the regulation of private fund                           they are not subject to section 15(c) of              understanding that significant liquidity
                                              advisers.406                                             the Exchange Act.409 Regulators may be                providers are more likely to be
                                                                                                       able to obtain complete data on private               registered broker-dealers in other
                                                 402 Section 203(l) of the Advisers Act provides
                                                                                                       funds’ and advisers’ securities                       markets such as those for equities and
                                              that an investment adviser that solely advises
                                              venture capital funds is exempt from registration,       transactions through examinations, but                options than they are in the market for
                                              and section 203(m) exempts from registration any         such information is currently more
                                              investment adviser that solely advises private funds     readily available for registered dealers                410 Commenters said the proposed rules would
                                              if the adviser has assets under management in the        or government securities dealers.                     have had a much larger impact on private funds
                                              U.S. of less than $150 million. Advisers that rely                                                             than suggested by the economic analysis and asked
                                              on the venture capital and private fund adviser          c. Number of Affected Parties                         that the Commission analyze Form PF data to
                                              exemptions are generally referred to as ‘‘exempt                                                               estimate the number of affected funds. See AIMA
                                              reporting advisers,’’ because sections 203(l) and           In this section, we provide estimates              Comment Letter II; IAA Comment Letter I; Fried
                                              203(m) provide that the Commission shall require         of the number of entities that may                    Frank Comment Letter; T. Rowe Price Comment
                                              the advisers to maintain such records and to submit      satisfy the qualitative standard, as                  Letter. In consideration of these comments, we have
                                              such reports as the Commission determines                                                                      supplemented this economic analysis with
                                              necessary or appropriate in the public interest or for   adopted. These estimates are subject to
                                                                                                                                                             estimations based on Form PF.
                                              the protection of investors.                             significant caveats that we also describe               411 See supra note 20. See also SIFMA Comment
                                                 403 See 17 CFR 275.206(3) (‘‘Rule 206(3)’’).          below. We use TRACE data on U.S.                      Letter I. The letter describes how the Commission’s
                                                 404 See Commission Interpretation Regarding
                                                                                                       Treasury transactions to provide an                   Market Access Rule, beginning in 2010, may have
                                              Standard of Conduct for Investment Advisers,             estimate of the number of identifiable                encouraged previously unregistered equity or
                                              Investment Advisers Act Release No. 5248 (June 5,                                                              options dealers to register with the Commission.
                                              2019) 84 FR 33669 (July 12, 2019), at 24–25.             Treasury-market participants that could                 412 See FINRA Rule 6730—Transaction Reporting,
                                                 405 See 17 CFR 275.206(4)–1 (‘‘Rule 206(4)–1’’); 17
                                                                                                                                                             Supplementary Material .07—ATS Identification of
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                         407 These periodic and current reporting
                                              CFR 275.206(4)–2 (‘‘Rule 206(4)–2’’); 17 CFR                                                                   Non-FINRA Member Counterparties for
                                              275.206(4)–7 (‘‘Rule 206(4)–7’’).                        obligations of large hedge fund advisers on Form PF   Transactions in U.S. Treasury Securities (among
                                                 406 See Private Fund Advisers; Documentation of       reflect recently adopted amendments. See supra        other things, defining the term ‘‘covered ATS’’ as
                                              Registered Investment Adviser Compliance,                note 347.                                             an ATS that executed transactions in U.S. Treasury
                                                                                                         408 See supra notes 394 and 395. See also Fried
                                              Investment Advisers Act Release No. 6383 (Aug. 28,                                                             securities against non-FINRA member subscribers
                                              2023) 88 FR 63206 (Sept. 14, 2023) (adopting 17          Frank Comment Letter; IAA Comment Letter I;           of $10 billion or more in monthly par value,
                                              CFR 275.206(4)–10; 275.211(h)(1)–1, 275.211(h)(1)–       McIntyre Comment Letter II; SIFMA AMG                 computed by aggregating buy and sell transactions,
                                              2; 275.211(h)(2)–1; 275.211(h)(2)–2; 275.211(h)(2)–      Comment Letter.                                       for any two months in the preceding calendar
                                              3).                                                        409 See supra note 396.                             quarter).



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00035   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 36 of 74 PageID 60
                                              14972            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              U.S. Treasury securities.413 We                         dealing in U.S. Government securities                     depends on the facts and circumstances.
                                              acknowledge that this lack of                           will likely trade at least one of the                     The empirical proxy of dealing used for
                                              transparency may affect our estimates.                  highest-volume securities on most                         the purpose of this analysis—trading a
                                                 The Commission does not necessarily                  trading days and will also tend to profit                 security for at least 15 days in a month
                                              observe all revenue sources for the most                from those trades. This analysis reflects                 with a positive average trading spread—
                                              active participants in the U.S. Treasury                the requirement that dealing be regular                   may not be necessary or sufficient for
                                              market. Thus, for the purpose of                        by requiring the firm to trade the                        determining whether an activity
                                              estimating the number of affected                       security on at least 15 trading days in a                 constitutes dealing according to the
                                              entities, we consider that firms                        month (the ‘‘day’’ threshold) and by                      final rules.
                                              potentially meet the primary revenue                    counting the number of months in                             Figure 2 counts the number of
                                              factor if they trade at least 4 of the 10               which a firm appears to deal. We only                     identifiable non-broker-dealers that
                                              highest-volume U.S. Government                          consider a 15-day threshold here, rather                  appear to meet the primary revenue
                                              securities on at least 15 different trading             than a lower threshold of 10 trading                      factor for 1+, 2+, etc. months during
                                              days in a given month and if they                       days or a higher threshold of 20 trading                  2022 in the market for U.S. Government
                                              realize, on average across the month, a                 days (effectively every trading day in a                  securities. Figure 2, using the empirical
                                              positive intraday trading spread on each                month), because a firm that is not                        measures described above, identifies as
                                              of those securities.414 We consider such                dealing—even a hypothetical firm that                     potential significant liquidity providers
                                              trading characteristics for this analysis               trades randomly—might earn a positive                     a total of 31 non-broker-dealers in
                                              because (1) TRACE data cannot                           spread in a given security on a few                       TRACE that would have met the
                                              determine whether any spread                            trading days each month; likewise, a                      primary revenue factor for at least one
                                              apparently earned is a ‘‘primary’’ source               firm acting as a dealer might suffer a                    month in 2022,417 and 15 that would
                                              of revenue,415 and (2) the calculation of               negative spread on a few trading days                     have done so for at least 6 months.
                                              intraday spreads does not distinguish                   each month. Although we rely on a                         Depending upon the number of months
                                              between trades that capture the bid-ask                 proxy definition of dealing for the                       considered in Figure 2, these numbers
                                              spread and trades that profit from                      purpose of this analysis, we stress that                  include from 13 to 22 entities classified
                                              intraday price movements.416 A firm                     the determination of whether an entity                    as PTFs and up to 4 entities classified
                                              that earns its revenue primarily from                   is engaged in regular dealing activity                    as hedge funds.418


                                                        Figure 2. Number of non-broker-dealers appearing to meet the primary revenue factor for
                                                        U.S. Government securities in 2022
                                                                                           Avg Spread>0, Oays2:lS in 4 oftop-10 CUSIPs

                                                         Ill             22 PTFs
                                                         cu               4HFs
                                                         iC              5others
                                                         cu
                                                         ~

                                                                                                                     3                    4
                                                                                                       For at least # Different Months


                                                Several commenters 419 cited the                      funds. Form PF filers provide                             or ‘‘Equity, Long/Short’’—and (2)
                                              relevance of Form PF data for                           information on hedge funds’ trading                       Question 21 asks how much of the
                                              identifying market participants that                    strategies in two ways: (1) Question 20                   funds’ assets are dedicated to HFT
                                              could be captured by the final rules. We                asks about the breakdown of funds’                        strategies.420 Based on our
                                              use Form PF to provide an estimate of                   reliance on several categories of
                                              the number of possibly affected hedge                   strategy—e.g., ‘‘Equity, Market Neutral’’
                                                413 See supra note 20.                                for at least 1 month include 22 PTFs, 4 hedge funds,      would better show how larger hedge funds interact
                                                414 For each firm and for each CUSIP, we              4 entities classified as ‘‘dealers’’ (though they are     with the markets and provide trading liquidity. See
                                              calculate the daily spread as the volume-weighted       not FINRA members and do not appear to be                 Form PF; Reporting Requirements for All Filers and
                                              average sell price minus the volume-weighted            registered with the Commission), and 1 entity             Large Hedge Fund Advisers, Investment Advisers
                                              average buy price. We then take the simple average      classified as ‘‘other.’’ A higher alternative threshold   Act Release No. 6083 (Aug. 10, 2022), 87 FR 53832
                                              of this number across days within each firm-CUSIP-      of 20 days would show up to 12 firms, including           at 53850 (Sept. 1, 2022), as corrected 87 FR 54641
                                              month.                                                  9 PTFs and 1 hedge fund. A lower alternative
                                                                                                                                                                (Sept. 7, 2022). The proposed amendments to the
                                                 415 The final rules’ primary revenue factor says,
                                                                                                      threshold of 10 days would show up to 40 firms,
                                                                                                      including 27 PTFs and 7 hedge funds.                      form’s question on portfolio turnover would not
                                              ‘‘earning revenue primarily from capturing bid-ask         419 See, e.g., AIMA Comment Letter II; IAA             provide information on the number of funds that
khammond on DSKJM1Z7X2PROD with RULES2




                                              spreads.’’                                                                                                        would meet the definition of dealer under the final
                                                                                                      Comment Letter I; Fried Frank Comment Letter; T.
                                                 416 See Lewis Study for a description of some
                                                                                                      Rowe Price Comment Letter.                                rules because the proposed portfolio turnover
                                              trades that may profit from intraday price                 420 The question does not provide a definition for     question asks about aggregate value of turnover in
                                              movements without intending to capture bid-ask          the term high frequency trading strategies. The           a month, for specific asset classes. While responses
                                              spreads.                                                Commission has proposed to remove Question 21             to the question could indicate potentially high
                                                 417 These 31 non-broker-dealers represent 13% of                                                               trading activity by private funds, they would not
                                                                                                      from Form PF because the form’s question on
                                              the 231 non-broker-dealers shown in Table 1.            portfolio turnover, with proposed revisions, would        indicate the number of trades or the securities
                                                 418 In Figure 2, the 31 non-broker dealers that      better inform our and FSOC’s understanding of the         traded. In contrast, responses to current Question
                                                                                                                                                                                                                       ER29FE24.001</GPH>




                                              appear to meet the primary revenue factor in 2022       extent of trading by large hedge fund advisers and        21, which asks about HFT strategies at the fund



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00036    Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                             Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                                 Page 37 of 74 PageID 61
                                                                    Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                                                14973

                                              understanding of the trading objectives                                  of HFT strategies as a range of                                             reported HFT use of ‘‘100% or more’’ of
                                              that hedge funds report pursuant to                                      percentages of net asset value (‘‘NAV’’),                                   NAV, we use 500% of NAV as the high
                                              Questions 20 and 21, we believe that                                     such as ‘‘less than 10%’’ of NAV,                                           end of the range. The third row of Table
                                              any hedge funds employing trading                                        ‘‘10%–25%,’’ etc. We calculate a range                                      3 shows the total range of HFT use that
                                              strategies that would fit the final rules’                               of dollar values for each fund by                                           we obtain by summing the low and the
                                              qualitative standard, as adopted, would                                  multiplying the high and low values of                                      high estimates across funds. The left
                                              likely report them as HFT.                                               the reported range by the fund’s NAV.                                       column provides statistics for funds
                                                 Table 3 describes the number of hedge                                 For example, if an adviser reports that                                     with reported HFT use that is less than
                                              funds that used at least some HFT                                        a fund engages in HFT using ‘‘Less than                                     10% of NAV, and the right column
                                              strategies, as reported by their advisers                                10%’’ of the fund’s NAV, and if the                                         provides statistics for funds with
                                              in the advisers’ most recent Form PF                                     fund’s NAV is $100, then we conclude
                                                                                                                                                                                                   reported HFT use that is 10% or more
                                              filing between 2021–Q4 and 2022–Q3.                                      that the fund uses HFT to manage
                                                                                                                                                                                                   of NAV.
                                              Using Form PF, advisers report their use                                 between $0 and $10 (10% of $100). For

                                                              TABLE 3—PRIVATE FUNDS’ USE OF HFT, LATEST FORM PF FILING BETWEEN 2021–Q4 AND 2022–Q3
                                                                                                                                                Funds with                                                            Funds with
                                                                                                                                             HFT <10% of NAV                                                       HFT ≥10% of NAV

                                              # Funds ..............................................................    40 .....................................................................   12.
                                              Average NAV ......................................................        $3.2 bn .............................................................      $0.9 bn.
                                              Total $s dedicated to HFT * ...............................               $0–$12.7 bn .....................................................          $8.9 bn–$40.4 bn.
                                              # Advisers ...........................................................    21 .....................................................................   10.
                                                * Form PF includes a range of reported HFT—e.g., ‘‘less than 10%’’ of NAV, ‘‘10%–25%,’’ etc. For funds reporting ‘‘100% or more,’’ we use
                                              500% of NAV as the high end of the range.


                                                 The use of HFT strategies is, however,                                Government securities, it does not cover                                       Commenters said that the number of
                                              an imperfect proxy for whether these                                     markets for equities, options, or other                                     hedge funds affected by the Proposed
                                              funds would qualify under the                                            fixed-income markets. Our TRACE data                                        Rules would be much higher than the
                                              qualitative standard, as adopted. We are                                 also cannot establish whether firms                                         Proposing Release suggested, potentially
                                              unable to determine whether the HFT                                      primarily earn revenue from capturing                                       numbering into the hundreds.423
                                              activities that these funds report would                                 bid-ask spreads. Further, and                                               However, the changes to the final rules
                                              satisfy the expressing trading interest                                  specifically for Treasury market                                            described in section I.B largely respond
                                              factor or the primary revenue factor                                     participants, our counts of identifiable                                    to commenters’ concerns by reducing
                                              because we do not observe individual                                     firms in TRACE may be low because                                           the number of entities that the final
                                              transactions in Form PF. The use of HFT                                  TRACE data on U.S. Government                                               rules would potentially require to newly
                                              strategies, to the extent it may be                                      securities transactions does not identify                                   register as dealers.
                                              dealing, is more likely to be a primary                                  all market participants.422 The TRACE
                                              source of revenue when it accounts for                                   analysis also relies on empirical proxies                                      One commenter stated that the
                                              a larger percentage of a fund’s NAV.                                     to estimate the number of firms—i.e.,                                       Commission did not estimate the
                                              Accordingly, the 12 hedge funds with                                     the range of values for ‘‘regular’’ and the                                 number of affected parties based on
                                              HFT of at least 10% of NAV in Table 3                                    ‘‘at least 15 days’’ distinction—and uses                                   trading in other asset classes, such as
                                              are the more likely to meet the final                                    observed intraday trading spreads rather                                    corporate bonds, municipal securities,
                                              rules’ primary revenue factor. However,                                  than the (unobserved) revenue earned                                        and asset- or mortgage-backed
                                              since reported HFT may apply to a                                        from bid-ask spreads. As explained                                          securities.424 Transaction data in these
                                              broader set of activities than the final                                 above, the analysis also does not                                           markets do not permit such estimations
                                              rules’ qualitative factors, the actual                                   estimate the number of entities                                             because non-broker-dealers are
                                              number of affected funds may be less                                     described by the final rules’ expressing                                    generally labeled as ‘‘customer’’ without
                                              than 12.                                                                 trading interest factor because of data                                     name attribution in trade reports.
                                                 Our empirical analyses of likely                                      limitations. Whether or not a person is                                     However, with regard to PTFs, it is the
                                              affected parties face other limitations. In                              a securities dealer or government                                           Commission’s understanding that these
                                              the current stage of implementation of                                   securities dealer under the final rules                                     market participants are most active in
                                              CAT, we do not have comprehensive                                        would be, in part, a question of facts                                      on-the-run Treasury markets, where
                                              statistics on option or equity market                                    and circumstances not observed in the                                       they provide a substantial amount of
                                              activity stemming from entities engaging                                 data, such as whether and to whom                                           liquidity, but are less active in off-the-
                                              in dealing activity that are not registered                              trading interests are expressed, whether                                    run Treasury securities and play only a
                                              as dealers, such as those known as PTFs                                  they are on both sides of the market, and                                   small role in the market for agency
                                              in other markets.421 Similarly, because                                  whether they are at or near the best
                                                                                                                                                                                                   securities.425 Similarly, the Commission
                                              our TRACE analysis is limited to U.S.                                    available prices.

                                              level, are more directly informative for this release.                   currently registered as broker-dealers, but CAIS is                           423 See, e.g., AIMA Comment Letter II; Consensys
khammond on DSKJM1Z7X2PROD with RULES2




                                              Based on our understanding of private fund                               not yet fully operational. Notably, because CAIS is                         Comment Letter; Fried Frank Comment Letter; ICI
                                              activity, self-reported HFT is more relevant for                         not fully operational, the transactional data does                          Comment Letter; McIntyre Comment Letter II; MFA
                                              estimating which entities may be affected by these                       not contain unique customer identifiers needed to                           Comment Letter I; NAPFM Comment Letter; SIFMA
                                              final rules than the proposed portfolio turnover                         track the same customer across broker-dealers. This                         Comment Letter I; SIFMA AMG Comment Letter;
                                              question.                                                                                                                                            Two Sigma Comment Letter I.
                                                                                                                       prevents us from analyzing CAT to identify entities                           424 See SIFMA Comment Letter I.
                                                 421 As described in section III.B.2.a, the CAIS
                                                                                                                       engaging in dealing activity that are not registered
                                              system in CAT will allow the Commission to                                                                                                             425 See the Commission’s proposed amendments
                                                                                                                       as dealers.
                                              identify individual non-broker-dealers in equity                            422 See supra note 380.
                                                                                                                                                                                                   to Regulation ATS for ATSs that trade government
                                              and options markets, including any PTFs not                                                                                                          securities (‘‘ATS–G Proposing Release’’), 85 FR
                                                                                                                                                                                                                                            Continued



                                         VerDate Sep<11>2014        17:22 Feb 28, 2024        Jkt 262001     PO 00000        Frm 00037        Fmt 4701       Sfmt 4700      E:\FR\FM\29FER2.SGM           29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 38 of 74 PageID 62
                                              14974            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              does not believe that PTFs are active in                rules might affect only a few of the                     ways, and we display two measures of
                                              municipal securities markets, which are                 entities that provide significant liquidity              concentration for each. In column 1, the
                                              characterized by a high level of retail                 in crypto asset markets. We understand                   list of potential significant liquidity
                                              investors. One commenter to the ATS–                    that the rules may affect some PTFs in                   providers includes only firms currently
                                              G Proposing Release noted that                          crypto asset markets, however. We are                    classified as dealers in our TRACE data.
                                              approximately 15% of daily dollar                       unable to estimate the number of crypto                  In column 2, the list also includes
                                              volume in municipal bonds is executed                   asset market participants who would be                   identifiable PTFs. In column 3, the list
                                              electronically, further indicating that                 affected by the rules, because data do                   expands again to include identifiable
                                              PTFs—which rely on electronic                           not allow us to match crypto asset                       hedge funds. The two measures of
                                              platforms—may not play a significant                    security transactions to individual                      concentration are the volume share of
                                              role in this market.426 Finally, recent                 traders, especially across platforms.429                 the 5 highest-volume firms and the
                                              research finds that non-dealer liquidity                                                                         Herfindahl-Hirschman index
                                                                                                      3. Competition Among Significant
                                              providers are present in corporate bond                                                                          (‘‘HHI’’).432 The inverse of the HHI
                                                                                                      Liquidity Providers
                                              markets, though they account for a small                                                                         provides some intuition by giving the
                                              share of overall volume. Looking at a                      The previous sections highlight
                                                                                                      important differences in regulatory                      number of equally sized competitors a
                                              particular electronic platform, the                                                                              market would need to produce such an
                                              authors of one study find that all-to-all               treatment among competing significant
                                                                                                      liquidity providers. Specifically,                       HHI. The first column of Table 4 shows
                                              trading makes up 12% of all trades on
                                                                                                      registered dealers and the unregistered                  that between 445 and 714 dealers were
                                              the platform; of this, new liquidity
                                                                                                      market participants that perform similar                 active in the U.S. Treasury market in
                                              providers acting as dealers account for
                                              7%.427 However, this platform accounts                  functions operate under different                        2022, and that the 5 highest-volume of
                                              for approximately 10% of trading                        regulations—i.e., unregistered market                    these firms accounted for approximately
                                              reported to TRACE, so that the overall                  participants have fewer constraints on                   40% of the group’s total volume each
                                              share of non-dealer liquidity providers                 risk-taking and are subject to fewer                     month. Across months, the HHI in
                                              or PTFs in the corporate bond market is                 reporting requirements—even as they                      column 1 ranged between 0.047 and
                                              relatively small. Other anecdotal                       perform a similar role as dealers in                     0.056, comparable to a market with 18
                                              evidence suggests that PTFs have begun                  markets. The requirement that dealers                    to 21 equally sized competitors.433 If we
                                              to enter the corporate bond market using                register is of the utmost importance in                  also consider identifiable PTFs to be
                                              RFQ platforms, possibly driven by the                   effecting the purposes of the Exchange                   significant liquidity providers (column
                                              growth of corporate bond ETFs.428                       Act (see section I.A). In this section, we               2), then 479 to 748 significant liquidity
                                                 Because crypto asset platforms                       provide some data on current                             providers were active each month
                                              transacting in crypto assets for their                  concentration in the market for U.S.                     during 2022, and the five highest-
                                              own account may already be dealers                      Government securities and also discuss                   volume firms accounted for
                                              under current law—i.e., with respect to                 the competitive implications of                          approximately one-third of the group’s
                                              crypto assets that are securities or                    differences in regulatory treatment.                     total. The HHI in this case averages
                                              government securities within the                           Our analysis of TRACE data suggests                   approximately 0.0385, comparable to a
                                              meaning of the Exchange Act—the final                   that liquidity provision in the                          market with 26 equally sized
                                                                                                      interdealer market for U.S. Government                   competitors. If we further consider
                                              87106 (Dec. 31, 2020), available at https://www.        securities is not concentrated.430 Table                 identifiable hedge funds in TRACE to be
                                              federalregister.gov/documents/2020/12/31/2020-          4 displays measures of market
                                              21781/regulation-ats-for-atss-that-trade-us-
                                                                                                                                                               significant liquidity providers (column
                                              government-securities-nms-stock-and-other-
                                                                                                      concentration among entities that are                    3), then 517 to 799 significant liquidity
                                              securities. In particular, Table X.2 highlights that    potentially dealing in U.S. Government                   providers were active in the U.S.
                                              PTFs accounted for 31.4% of on-the-run volume           securities across months in 2022.431                     Treasury market in each month during
                                              share from July 1, 2019, to Dec. 31, 2019, while        This table categorizes firms as potential
                                              Table X.3 shows that PTFs accounted for only 1.5%                                                                2022, the concentration metrics are
                                              of off-the-run volume. Table X.4 shows that PTFs
                                                                                                      significant liquidity providers in three                 nearly the same as in column 2. The
                                              were essentially not active in agency securities                                                                 narrow differences between columns 2
                                              during the same period.                                    429 We would have to match entities’ trades in

                                                 426 See Bond Dealers of America comment letter       crypto asset securities across platforms in order to
                                                                                                                                                               and 3 suggest that the hedge funds that
                                              to ATS–G Proposing Release, available at https://       determine whether or not their trading activity          we can identify in TRACE are not major
                                              www.sec.gov/comments/s7-12-20/s71220-8426431-           meets the final rules’ definition of regular liquidity   competitors in the market for liquidity
                                              229605.pdf.                                             provision.                                               provision against either registered
                                                 427 See Terrence Hendershott, Livdan Dmitry, and        430 We consider all dealer-to-dealer trades and all
                                                                                                                                                               broker-dealers or PTFs.
                                              Norman Schürhoff, ‘‘All-to-All Liquidity in            trades on covered ATSs (see supra note 380) to be
                                              Corporate Bonds,’’ Swiss Finance Institute Research     the interdealer market. For the purposes of this
                                                                                                                                                                  432 HHI is equal to the sum of squared market
                                              Paper No. 21–43 (Oct. 27, 2021), available at           table, we consider all registered broker-dealers to be
                                              https://papers.ssrn.com/sol3/papers.cfm?abstract_       potential liquidity providers, though it may be the      shares. An index of 1 would indicate a completely
                                              id=3895270.                                             case that some broker-dealers do not regularly seek      concentrated market with a single significant
                                                 428 See Kevin McPartland, What’s Next for High       to provide liquidity in the market for U.S.              liquidity provider.
                                              Frequency Traders? Not Calling Them High                Government securities.                                      433 A Federal Reserve analysis from 2020 finds

                                              Frequency Traders, Coalition Greenwich (Sept. 27,          431 As of Oct. 2023, there were 3,490 active          that activity on electronic interdealer platforms is
                                              2019), available at https://www.greenwich.com/          broker-dealers registered with the Commission. See       slightly more concentrated, with an HHI of 0.082.
                                              blog/what%E2%80%99s-next-high-frequency-                SEC, Data: Company Information About Active              See James Collin Harkrader and Michael Puglia,
                                              traders (noting that one PTF has begun to trade         Broker-Dealers (updated Oct. 2, 2023), available at      ‘‘Principal Trading Firm Activity in Treasury Cash
                                              using corporate bond RFQs).                             https://www.sec.gov/help/foiadocsbdfoiahtm.html.         Markets,’’ FEDS Notes (Aug. 4, 2020).
khammond on DSKJM1Z7X2PROD with RULES2




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00038   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                             Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                           Page 39 of 74 PageID 63
                                                                    Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                                              14975

                                                                TABLE 4—COMPETITION AMONG SIGNIFICANT LIQUIDITY PROVIDERS IN THE TREASURY MARKET, 2022
                                                                                                      [The largest 5 firms in this table overall are registered broker-dealers]

                                                                                                                                                                                                                           Significant liquidity
                                                                                                                                         Significant liquidity                     Significant liquidity                  providers: registered
                                                                                                                                        providers: registered                     providers: registered                   BDs + PTFs + hedge
                                                                                                                                                 BDs                                  BDs + PTFs                                  funds

                                              No. of firms ......................................................................   445–714 .............................     479–748 .............................     517–799.
                                              Share of interdealer market * ...........................................             72.7%–83.7% ....................          93.7%–97.4% ....................          95.0%–98.5%.
                                              Concentration measures:
                                                  Share of top 5 firms .................................................            37.3%–43.1% ....................          32.0%–35.4% ....................          31.7%–35.0%.
                                                  HHI ...........................................................................   0.047–0.056 .......................       0.036–0.041 .......................       0.036–0.047.
                                                  HHI comparable to market with ll equal-size                                       18–21 .................................   24–28 .................................   24–28.
                                                     competitors.
                                                * Source: TRACE data. Our sample contains all transactions in the interdealer market, including direct dealer-to-dealer trades and trades that
                                              occur on ATSs covered by FINRA Rule 6730.07.


                                                 The Commission also understands                                      4. Externalities                                                      events that have also negatively
                                              that many firms compete to provide                                         Externalities arise in a market when a                             impacted other potential borrowers.
                                              liquidity in the markets for corporate                                  market participant engages in activity                                Prior to or during a failure, a significant
                                              bonds and for equities (not necessarily                                                                                                       liquidity provider may have to liquidate
                                                                                                                      that impacts participants not otherwise
                                              the same firms). Research has                                                                                                                 an unexpectedly large position—
                                                                                                                      directly related to the activity and the
                                              documented that, as of the first quarter                                                                                                      perhaps acquired because offsetting
                                                                                                                      market participant does not take this
                                              of 2020, about 600 dealers                                                                                                                    trades were unavailable for a time or
                                                                                                                      impact into account. In this analysis,
                                              intermediated in the market for                                                                                                               because of errors in trading algorithms
                                                                                                                      externalities can arise with regard to
                                              corporate bonds, but that the top 10                                                                                                          or other systems (including human
                                                                                                                      activities, such as risk taking and
                                              broker-dealers controlled approximately                                                                                                       errors). Rapid liquidation of the position
                                                                                                                      abusive trading, that are taken by market
                                              70% of the volume.434 Another analysis                                                                                                        may cause detrimental price volatility or
                                                                                                                      participants who act as regular
                                              by the Commission 435 found that of the                                                                                                       a temporary drop in market liquidity.
                                                                                                                      significant liquidity providers (i.e.,                                   If the failed liquidity provider is a
                                              3,972 broker-dealers that filed Form X–                                 dealers). The dealer regulatory regime
                                              17a–5 (FOCUS report) in 2016, 430 were                                                                                                        substantial market participant, then its
                                                                                                                      promotes dealers’ financial                                           disorderly exit from the market or from
                                              also members of U.S. equities                                           responsibility, including adequate
                                              exchanges, and the largest 20 broker-                                                                                                         a securities position may push market
                                                                                                                      capitalization (liquidity held against                                prices away from fundamental value
                                              dealers controlled approximately 75%                                    risky assets) and internal controls,
                                              of the total assets of all broker-dealers.                                                                                                    and harm traders across the markets.
                                                                                                                      which can help address externalities—                                 Because a significant liquidity provider
                                                 The current competitive landscape                                    above and beyond any other existing                                   can harm others to whom it is not
                                              among significant liquidity providers is                                regulatory or industry practices.                                     directly related—and who may not be
                                              shaped by the difference in regulatory                                  Subjecting unregistered market                                        able to contract to bear those costs—its
                                              treatment between registered dealers                                    participants that perform as dealers to                               failure can impose negative
                                              and the unregistered market participants                                this regime, similarly to all currently                               externalities. These externalities may
                                              that perform a similar role in the                                      registered dealers, will therefore                                    ensue whether the failed liquidity
                                              markets. Competition among significant                                  enhance oversight by regulators and                                   provider is registered as a dealer or not.
                                              liquidity providers in U.S. capital                                     help limit externalities by helping                                   However, the next paragraph explains
                                              markets, described above, puts pressure                                 prevent spillovers that may broadly                                   how the dealer regime’s limitations on
                                              on firms’ ability to profit from these                                  harm investors.                                                       financial risk, including the Net Capital
                                              activities, meaning that even small                                        Market participants that act as regular                            Rule, reduce the risk for registered
                                              regulatory differences across significant                               significant liquidity providers, whether                              dealers.
                                              liquidity providers can be important.                                   registered with the Commission as                                        Dealer regulations are designed to
                                              The compliance costs of the additional                                  dealers or not, can not only harm their                               mitigate the magnitude of these
                                              requirements to which registered                                        counterparties but also cause wider                                   externalities and to limit the probability
                                              dealers are subject may currently allow                                 harm throughout securities markets if                                 that they occur at all. For example, the
                                              less-regulated firms such as PTFs to                                    they fail financially.                                                Net Capital Rule requires dealers to
                                              increase (or continue to increase) their                                   Failed liquidity providers can become                              maintain sufficient liquid assets to meet
                                              share of dealing activity at registered                                 unable to meet short-term obligations to                              all unsubordinated liabilities—
                                              dealers’ expense. These dynamics may                                    trading counterparties, repo lenders and                              including obligations to counterparties
                                              especially apply to the electronic                                      other lenders, and clearing firms.                                    and other creditors—and to have
                                              interdealer segment of the Treasury                                     Negative effects can be transmitted                                   adequate additional resources to wind
                                              market, where PTFs now account for a                                    further through creditors or                                          down their business in an orderly
                                              majority of trading activity (as of                                     counterparties to other market entities                               manner if they fail financially. PTFs that
                                              2019).436                                                               who are not directly related. For
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                                                            are not registered as dealers currently
                                                                                                                      instance, a lender that suffers a loss due                            face fewer regulations restricting their
                                                434 Maureen O’Hara and Alex Zhou, Anatomy of                          to the bankruptcy of one of its borrowers                             operational or financial risk,437 and they
                                              a Liquidity Crisis: Corporate Bonds in the Covid–19                     may reduce its willingness to lend (i.e.,
                                              Liquidity Crisis, 142 J. Fin. Econ. 46 (2021), 46–68.                                                                                         are also not subject to additional SRO
                                                435 Transaction Fee Pilot for NMS Stocks,
                                                                                                                      it may increase the price of credit) more                             rules that promote financial
                                              Exchange Act Release No. 82873 (Mar. 14, 2018), 83                      generally, especially when the lender is
                                              FR 13008 (Mar. 26, 2018).                                               uncertain about whether the bankruptcy                                   437 See discussion of risk limitations in section
                                                436 See supra note 382.                                               is due to idiosyncratic events or to                                  III.B.2.a.



                                         VerDate Sep<11>2014        17:22 Feb 28, 2024        Jkt 262001      PO 00000       Frm 00039      Fmt 4701      Sfmt 4700     E:\FR\FM\29FER2.SGM            29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                    Page 40 of 74 PageID 64
                                              14976            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              responsibility and operational                          failed when it became unable to pay                      capitalization may have given PTFs
                                              capability. Private funds can place                     interest due on securities it had                        more capacity to absorb the shock,
                                              limits on investor withdrawals, and the                 acquired in reverse repo agreements                      which may have increased their ability
                                              fund adviser’s fiduciary obligations may                with 30 brokers.441 Drysdale had                         to provide liquidity as well as
                                              also deter private funds’ excessive risk-               acquired a $4 billion securities portfolio               increasing the resiliency of the market
                                              taking. However, qualifying hedge funds                 supported by only $20–30 million in                      itself. While PTFs may not have been
                                              have no regulatory leverage constraints                 capital—far in excess of the leverage                    the primary cause of the volatility,444
                                              and tend to have more secured debts                     that the Net Capital Rule would have                     this episode illustrates that PTFs’
                                              than assets that could be liquidated                    allowed for a registered dealer. Even                    market withdrawal can contribute to
                                              within a day or even within a year.438                  though Chase Bank (Drysdale’s agent)                     stress in the overall U.S. Treasury
                                                 Some commenters disagreed that                       supported market confidence by making                    market. One commenter disagreed with
                                              traders without customers pose risks to                 Drysdale’s payments and markets                          the IAWG’s characterization of March
                                              investors, since they do not interact                   eventually return to normal, Drysdale’s                  2020, and said that ‘‘price moves
                                              directly with the investing public.439 A                failure harmed market functioning for                    reflected rapidly shifting outlooks for
                                              dealer’s insolvency can also harm other                 several days. For as long as a week,                     the world economy, and the spreads
                                              counterparties and creditors even in the                ‘‘according to dealers, the secondary                    were narrower than might be expected
                                              absence of customers. Any entity that                   markets in government securities                         given the price moves.’’ 445 Research has
                                              effectively and regularly provides                      continue[d] to be very thin, with few                    shown that Treasury market liquidity in
                                              significant liquidity to markets,                       deals being done. And . . . the repo                     March 2020 was considerably lower
                                              regardless of whether that entity has                   market was virtually dead.’’ 442                         than might be expected given the price
                                              customers or not, has the potential to                     In addition, the 2021 IAWG Joint Staff                volatility.446 Consistent with this
                                              harm markets if it fails, as discussed                  Report showed that PTFs in particular                    research, we disagree with the
                                              above.                                                  (many of whom were not registered as                     commenter that spreads were narrower
                                                 Some commenters questioned the                       dealers) appeared to pull back from                      than might be expected. However, we
                                              proposal’s premise that market                          providing liquidity in the Treasury                      do not necessarily conclude that PTFs
                                              participants who are not registered                     markets relative to dealers during the                   always exacerbate market instability,
                                              dealers can have important externalities,               market volatility in March 2020,                         since PTFs’ share of market trading
                                              or stated that any such externalities                   possibly because ‘‘their lower                           appeared to increase during the
                                              manifest themselves so infrequently that                capitalization relative to dealers may                   uncertainty in March 2023.447
                                              the proposed rules are unnecessary.440                  [have left] them with less capacity to                      Negative externalities can also derive
                                              Market participants engaged in dealing                                                                           from market misconduct by unregistered
                                                                                                      absorb adverse shocks.’’ 443 Higher
                                              activities but without being registered as                                                                       dealers. Several elements of the dealer
                                              dealers create the potential for serious                   441 Drysdale Government Securities was very           regulatory regime address misconduct
                                              externalities if they fail, regardless of               active in the U.S. Treasury market, and the firm had
                                                                                                                                                               risks and regulators can examine
                                              the historical frequency of such failure.               acquired a large portfolio of U.S. Government
                                                                                                      securities through reverse repurchase agreements.        regulated dealers. Under that regime,
                                              Two examples illustrate such                            Those agreements required Drysdale to pass along         financial statement reporting,
                                              externalities: the failure of Drysdale                  any interest received to the banks from whom it had      transaction reporting,448 and
                                              Government Securities and the Treasury                  borrowed the securities. The firm collapsed when         examinations help regulators detect
                                              market illiquidity in March 2020. In                    it was unable to pass along those interest payments.
                                                                                                                                                               manipulation or fraud and determine
                                              1982, Drysdale Government Securities—                   See Ron Scherer, ‘‘How Drysdale Affair Almost
                                                                                                      Stymied US Securities Market,’’ Christian Science        whether firms comply with applicable
                                              a firm that was not registered as a dealer              Monitor (May 27, 1982), available at https://www.        regulations. If unregistered dealers
                                              but was actively dealing in the U.S.                    csmonitor.com/1982/0527/052737.html; James L.            engage in market misconduct, it could
                                              Treasury market for its own account—                    Rowe Jr. and Merrill Brown, ‘‘Through Abrupt
                                                                                                      Personality Change, Tiny Wall Street Firm                result in negative externalities by
                                                 438 See Private Fund Statistics, Tables 4, 49, and   Demonstrates the Allure, and Danger, in                  distorting market prices and adversely
                                              51. As of the fourth quarter of 2022, qualifying        Speculative Trading,’’ Wash. Post (May 23, 1982),        impacting market participants.449
                                              hedge funds had $1.2 trillion (32%*$3.8 trillion) in    available at https://www.washingtonpost.com/
                                              assets that could be liquidated within a day, $2.9      archive/politics/1982/05/23/through-abrupt-
                                                                                                                                                               sharply than PTFs’ volumes.’’). See also infra note
                                              trillion (78%*3.8 trillion) in assets that could be     personality-change-tiny-wall-street-firm-
                                                                                                                                                               460 and surrounding text.
                                              liquidated within a year, and $3.5 trillion in          demonstrates-the-allure-and-danger-in-speculative-          444 See Overdahl Comment Letter.
                                              secured debts. In the Proposing Release, we             trading/532bf4ea-bdf2-4248-924b-d6a682907aba/
                                                                                                                                                                  445 See Alphaworks Comment Letter.
                                              estimated that ‘‘qualifying hedge funds are more        https://www.washingtonpost.com/archive/politics/
                                                                                                                                                                  446 See Darrell Duffie, et al., Oct. 2023, ‘‘Dealer
                                              leveraged than registered dealers.’’ A commenter        1982/05/23/through-abrupt-personality-change-
                                              disagreed with our use of the word ‘‘leverage’’ in      tiny-wall-street-firm-demonstrates-the-allure-and-       Capacity and U.S. Treasury Market Function,’’
                                              that statement, citing statistics showing that the      danger-in-speculative-trading/532bf4ea-bdf2-4248-        Federal Reserve Bank of New York Staff Reports,
                                              average hedge fund has a lower ratio of assets to       924b-d6a682907aba/ (retrieved from Factiva               no. 1070, available at https://doi.org/10.59576/
                                              equity—a more traditional measure of leverage—          database).                                               sr.1070.
                                                                                                                                                                  447 See Nellie Liang, ‘‘Remarks by Under
                                              than registered dealers (see MFA Comment Letter            442 See Ron Scherer, ‘‘How Drysdale Affair
                                              I). However, we believe the comparison in the           Almost Stymied US Securities Market,’’ Christian         Secretary for Domestic Finance Nellie Liang at the
                                              proposal and here is apt because the Net Capital        Science Monitor (May 27, 1982), available at             2023 Treasury Market Conference’’ (Nov. 16, 2023),
                                              Rule constrains a form of leverage—not book             https://www.csmonitor.com/1982/0527/                     available at https://home.treasury.gov/news/press-
                                              leverage, but a more ‘‘liquid’’ notion of leverage      052737.html.                                             releases/jy1917.
                                              equal to liquid assets minus unsubordinated                                                                         448 See section III.B.2.a for a discussion on
                                                                                                         443 See 2021 IAWG Joint Staff Report, supra note
                                              liabilities. To avoid misunderstanding, we refer to     21. Initially, PTFs increased trading activity, but      transactions reporting by registered dealers versus
                                              ‘‘having more secured debts than assets that could      they pulled back from market making several days         other entities.
                                              be liquidated within a day or even within a year’’      later when volatility reached very high levels. See
                                                                                                                                                                  449 In 2020 and 2021, FINRA identified non-
khammond on DSKJM1Z7X2PROD with RULES2




                                              instead of ‘‘leverage.’’ See also supra note 399 for    id. at 13 (‘‘In the first week of Mar., a large share    member firms in 17% of the alerts generated by its
                                              a definition of ‘‘qualifying hedge fund.’’              of the increased trading volume came from PTFs,          surveillance of manipulative trading patterns in
                                                 439 See AIMA Comment Letter II; Blockchain                                                                    U.S. Treasury market, despite limitations on its
                                                                                                      and on Mar. 9, PTFs’ share of trading on electronic
                                              Association Comment Letter; FIA PTG Comment             IDB platforms was just over 60%, a typical level.        surveillance of non-members—FINRA can only
                                              Letter I; MFA Comment Letter I; SIFMA Comment           But as heavy net investor sales continued, the           identify trades as involving non-FINRA members
                                              Letter I.                                               balance of activity in the interdealer market shifted    when the trades take place on certain ATSs (see
                                                 440 See AlphaWorks Comment Letter; FIA PTG
                                                                                                      . . . PTFs’ total share of activity fell to a low of     supra note 380). See Sept. 27, 2022, letter from
                                              Comment Letter I; McIntyre Comment Letter I;            45% on Mar. 16. Dealers’ total volumes on                FINRA responding to SEC Release No. 95388 (15b9–
                                              Overdahl Comment Letter.                                electronic IDB platforms also declined, but less         1), pp. 9–10, available at https://www.sec.gov/



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00040   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 41 of 74 PageID 65
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                14977

                                                 Some commenters said that requiring                  rules address these externalities through             responsibilities to them. These benefits,
                                              more Treasury security transactions to                  different mechanisms, the final rules                 as well as the costs described in this
                                              be centrally cleared would address the                  would serve to further reduce the                     section, may differ for registered
                                              same externalities that are described                   externalities in the market for U.S.                  government securities dealers, since
                                              above.450 The SEC recently adopted the                  Government securities. This, in turn,                 they have different capital requirements
                                              Treasury Clearing Adopting Release,                     further reduces the probability that a                and are not required to join SIPC as
                                              which, among other things, amends 17                    significant liquidity provider fails and              discussed in section III.B.1.
                                              CFR 240.17Ad–22(e)(18) to require                       thus promotes the stability and                          Costs of the final rules include
                                              covered clearing agencies that provide                  resiliency of the government securities               registration and membership fees, costs
                                              central counterparty (‘‘CCP’’) services                 market. By limiting the risk of failure,              of recordkeeping and reporting, and
                                              for U.S. Treasury securities to establish,              the final rules limit the probability that            costs associated with net capital
                                              implement, maintain and enforce                         such failure could harm creditors or                  requirements. Additionally, the final
                                              written policies and procedures                         lead to price volatility as a troubled firm           rules may influence patterns of market
                                              reasonably designed, as applicable, to                  rapidly deleverages. The final rules may              participation, which may in turn affect
                                              establish objective, risk-based and                     also limit the probability of failure for             competition among significant liquidity
                                              publicly disclosed criteria for                         all PTFs and hedge funds who are                      providers, market liquidity and
                                              participation, which require that any                   engaged in dealing activity. The                      efficiency, and capital formation.
                                              direct participant of such a covered                    Treasury Clearing Adopting Release, in                1. Benefits
                                              clearing agency submit for clearance                    contrast, would not require central
                                              and settlement all the eligible secondary               clearing for hedge funds’ cash trades or                 The final rules would subject all
                                              market transactions in U.S. Treasury                    for any transaction between a PTF who                 market participants that perform similar
                                              securities to which such direct                         is not a member of a clearing agency and              dealer functions to a common regulatory
                                              participant is a counterparty.451 The                   another non-member counterparty. In                   regime. This regime includes provisions
                                              Treasury Clearing Adopting Release                      addition, benefits of the final rules such            that limit risk (e.g., the Net Capital Rule
                                              lowers overall systemic risk in the U.S.                as the consistent application of dealer               and rules promoting operational
                                              Treasury market by bringing the benefits                regulations across significant liquidity              integrity), provisions that require certain
                                              of central clearing to more transactions                providers, operational and financial                  books and records, provisions that
                                              involving U.S. Treasury securities.452                  requirements designed to mitigate risks,              require various reporting and disclosure
                                              The amendments that the Commission                      deterrence of abusive and deceptive                   (including audited financial statements
                                              adopted in the Treasury Clearing                        trading practices, extension of SROs’                 and the identities of owners, directors,
                                              Adopting Release will likely yield                      examination authority to significant                  and managers), and antifraud and anti-
                                              benefits associated with increased levels               liquidity providers for U.S. financial                manipulation provisions. Subjecting
                                              of central clearing in the secondary                    markets, and increased transparency                   currently unregistered (as dealers)
                                              market for U.S. Treasury securities.453                 into the identities of significant                    market participants to dealer
                                              These benefits could be particularly                    liquidity providers in the Treasury                   requirements will thus enable oversight
                                              significant in times of market stress, as               market, are largely unaffected by the                 by regulators,456 limit externalities by
                                              CCPs will mitigate the potential for a                  adoption of the Treasury Clearing                     helping prevent spillovers that may
                                              single market participant’s failure to                  Adopting Release.                                     broadly harm investors, and ensure that
                                              destabilize other market participants,                                                                        the competitive landscape among
                                                                                                      C. Economic Effects, Including Impact                 significant liquidity providers is not
                                              destabilize the financial system more
                                                                                                      on Efficiency, Competition, and Capital               shaped by a difference in regulatory
                                              broadly, and/or reduce the effects of
                                                                                                      Formation                                             treatment.457
                                              misinformation and rumors.454 A CCP
                                              also will address concerns about                           As described in section II, the                       As previously discussed, PTFs and
                                              counterparty risk by substituting the                   Commission believes that the final rules              hedge funds would be the primary
                                              creditworthiness and liquidity of the                   will promote the stability and                        affected parties, and registering PTFs
                                              CCP for the creditworthiness and                        transparency of U.S. Treasury and other               that are dealing would provide the
                                              liquidity of counterparties.455                         securities markets by closing the
                                                 Accordingly, the Commission                          regulatory gap that currently exists and                 456 One commenter stated that ‘‘[t]he Regulation

                                                                                                      ensuring consistent regulatory oversight              ATS proposal may well result in coverage of some
                                              acknowledges that the Treasury Clearing                                                                       of the same market participants as would be
                                              Adopting Release addresses some of the                  of persons engaging in regular liquidity              covered by the [proposed rules] and may therefore
                                              externalities discussed above stemming                  provision in securities markets.                      address some of the needs that the Commission
                                              from the failure of large firms, which the              Specifically, the final rules will increase           claims warrant the [proposed rules].’’ See
                                                                                                      the share of liquidity provision that is              Consensys Comment Letter (discussing
                                              final rules are also intended to address.                                                                     Amendments Regarding the Definition of
                                              However, given that the Treasury                        undertaken by persons who are subject                 ‘‘Exchange’’ and Alternative Trading Systems
                                              Clearing Adopting Release and the final                 to the dealer regime’s limits on financial            (ATSs) That Trade U.S. Treasury and Agency
                                                                                                      risk-taking, reporting requirements,                  Securities, National Market System (NMS) Stocks,
                                              comments/s7-05-15/s70515-20144330-309240.pdf.           regulation against abusive practices, and             and Other Securities, Exchange Act Release No.
                                                                                                                                                            94062 (87 FR 15496, Mar. 18, 2022) (‘‘Regulation
                                              FINRA staff later clarified that some of that 17%       examinations. The greatest benefits                   ATS Proposal’’)). The Regulation ATS Proposal has
                                              may be due to SEC-registered broker-dealers who         come from applying these dealer
                                              are not FINRA members (see memorandum of                                                                      not been adopted and is therefore not part of the
                                              telephone conversation between Commission staff
                                                                                                      regulations to entities that are currently            baseline for this economic analysis. See supra note
                                              and FINRA available at https://www.sec.gov/             not registered at all—i.e., unregistered              355. In any event, the final rules and the Regulation
                                                                                                      PTFs. While the Commission already                    ATS Proposal differ in scope and impact, as the
khammond on DSKJM1Z7X2PROD with RULES2




                                              comments/s7-05-15/s70515-226580-474322.pdf).
                                                                                                                                                            rules would apply to market participants engaging
                                                 450 See AIMA Comment Letter III; Lewis Study;
                                                                                                      has some insight into private funds and               in different types of market activities if Regulation
                                              MFA Comment Letter II; Overdahl Comment Letter.         investment advisers, to the extent that
                                                 451 See Treasury Clearing Adopting Release, 89
                                                                                                                                                            ATS is adopted as proposed.
                                              FR 2717–22.
                                                                                                      certain private funds or registered                      457 In a comment letter, FINRA agreed that

                                                 452 See id. at 2716.                                 investment advisers perform the                       ‘‘requiring such entities to register with the SEC
                                                                                                                                                            . . . would close regulatory gaps,’’ and stated that
                                                 453 See id. at 2798.                                 functions of dealers, it would be                     ‘‘current regulatory disparities are especially
                                                 454 See id.                                          beneficial to extend dealer risk                      pronounced in the market for U.S. Treasury
                                                 455 See id. at 2798–99.                              limitations and transaction reporting                 securities.’’ See FINRA Comment Letter.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00041   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                      Page 42 of 74 PageID 66
                                              14978            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              largest benefits. Some investment                       participants that perform the same                        functioning of the markets, by
                                              advisers may also be affected if they                   function as dealers, are subject to                       promoting the financial stability of
                                              engage in dealing activities on their own               common regulatory requirements.461 As                     individual significant liquidity
                                              account, and these entities’ dealer                     stated above in section III.B.3, even                     providers. SRO supervision may also
                                              registration would also provide benefits.               small differences across significant                      reduce the risks that errors in algorithms
                                                 In response to a related initiative in               liquidity providers in regulatory costs                   lead to trading activities that violate
                                              2010,458 at least one principal trading                 could be enough to give important                         Commission or SRO rules.466
                                              firm told the Commission that the costs                 advantages to the firms bearing the                          The Net Capital Rule will make risk-
                                              of registering PTFs as dealers were not                 smallest regulatory burdens.                              taking more costly for affected parties
                                              justified because equity markets worked                    Some commenters stated that the final                  because the final rules will require them
                                              well during the autumn of 2008 (then                    rules would negatively impact                             to maintain a greater supply of liquid
                                              the most-recent crisis) and because the                 competition by especially harming                         assets when they are exposed to more
                                              commenter believed that principal                       small PTFs and creating barriers to entry                 risk. In the event that a significant
                                              trading firms in general help market                    against small liquidity providers.462 We                  liquidity provider fails, the Net Capital
                                              integrity by providing liquidity during                 agree that the final rules could impose                   Rule will ensure that it has sufficient
                                              difficult situations.459 However, the                   proportionally greater costs on small-                    liquid assets to meet all its liabilities to
                                              2021 IAWG Joint Staff Report showed                     volume liquidity providers for two                        unsubordinated creditors. In addition,
                                              that, during the U.S. Treasury market                   reasons. First, FINRA’s Gross Income                      qualifying hedge funds,467 on average,
                                              volatility of March 2020, PTFs’ share of                Assessment 463 generally declines as a                    have fewer liquid assets than the Net
                                              market intermediation fell considerably                 percentage of revenue for larger firms,                   Capital Rule would allow.468 Markets in
                                              more than did dealers’ share.460 The                    so that firms with smaller revenues pay                   which significant liquidity providers are
                                              Joint Staff Report’s conclusion suggests                proportionally larger fees. Second, fees                  required to hold some amount of liquid
                                              that PTFs do not always promote                         associated with reporting to TRACE 464                    assets and face constraints on leverage
                                              stability in securities markets.                        are proportionally lower for trades with                  may be less sensitive to sudden market
                                                                                                      larger dollar par value. To the extent                    disruptions that could otherwise reduce
                                              a. Regulatory Consistency and
                                                                                                      that larger firms also tend to place larger               their capacity to provide liquidity. Such
                                              Competition
                                                                                                      trades, on average, TRACE reporting                       liquidity providers are better able to
                                                 Currently, large market participants                 might be proportionally more costly for                   withstand adverse events without
                                              that are not registered as dealers (or                  small firms. However, the final rules                     compromising their ability to remain
                                              government securities dealers) perform                  will exclude market participants who                      engaged in the market.469
                                              critical market functions, in particular                have or control assets less than $50                         The benefit of the Net Capital Rule’s
                                              liquidity provision, akin to those                      million.465 Also, currently registered                    constraints on risk-taking may be
                                              performed by dealers (or government                     dealers include smaller market                            smaller for certain affected parties.
                                              securities dealers). For example, in the                participants, and under the final rules                   Some persons may meet the final rules’
                                              U.S. Treasury market, PTFs account for                  smaller unregistered market participants                  definition of dealing but also keep their
                                              about half of the daily volume in the                   would be subject to the same rules as                     gross exposure small at any moment.
                                              interdealer market and yet are not                      smaller registered market participants,                   Such persons would operate with very
                                              registered as dealers. The final rules will             thereby creating a level competitive                      little leverage and would have few
                                              help ensure that all market participants                landscape amongst smaller market                          short-term obligations at any moment.
                                              that take on significant liquidity-                     participants.                                             The benefit of the Net Capital Rule may
                                              providing roles are appropriately
                                                                                                      b. Regulations on Financial and                           also be smaller when applied to persons
                                              registered as dealers and government
                                                                                                      Operational Risk-Taking                                   whose creditors and counterparties have
                                              securities dealers. The final rules will
                                                                                                                                                                rigorous risk management practices and
                                              thereby promote competition among                          The final rules will mitigate                          are capable of calculating and managing
                                              entities that regularly provide                         externalities to liquidity and stability,                 their exposure to that person. Such
                                              significant liquidity by applying                       discussed in section III.B.3, by applying                 creditors and counterparties may not be
                                              consistent regulation to these entities,                the Net Capital Rule and SRO                              seriously harmed by a dealer’s failure.
                                              thus leveling the competitive playing                   requirements to additional significant                    As noted above, registered government
                                              field between liquidity provision                       liquidity providers. These final rules                    securities dealers are subject to
                                              conducted by entities that are currently                will reduce the risk that a significant                   minimum liquid capital requirements as
                                              registered as dealers and government                    liquidity provider fails and harms its                    set forth in 17 CFR 402.2. These
                                              securities dealers and by entities that                 counterparties and the broader                            requirements would generally serve the
                                              are not.
                                                 The regulatory consistency under the                   461 See section III.B.3.
                                                                                                                                                                same risk-limiting purpose as the Net
                                              final rules is expected to benefit                         462 See Alphaworks Comment Letter; MMI
                                                                                                                                                                Capital Rule. Also, the Net Capital Rule
                                              currently registered dealers by ensuring                Comment Letter; FIA PTG Comment Letter I.                 would not necessarily make affected
                                              that all of their competitors, including                   463 See infra Table 6.                                 persons more willing to provide
                                              currently unregistered market
                                                                                                         464 See infra note 543.                                liquidity in times of market stress;
                                                                                                         465 This discussion of the potential negative          solvent firms could still decide not to
                                                                                                      economic impact on smaller liquidity providers for        provide liquidity if it were not
                                                458 See 2010 Equity Market Structure Concept
                                                                                                      purposes of the economic analysis does not impact
                                              Release.                                                the regulatory flexibility analysis discussed later in
                                                                                                                                                                profitable to do so.
                                                459 See Comment Letter of Berkowitz, Trager &
                                                                                                      section V because the final rules include a $50              The final rules require affected
khammond on DSKJM1Z7X2PROD with RULES2




                                              Trager, LLC (Apr. 21, 2010) (‘‘Berkowitz Comment        million exclusion. As a result, any of the ‘‘small        persons to become FINRA members and
                                              Letter’’). See also supra note 20.                      liquidity providers’’ discussed in the economic           comply with FINRA rules designed to
                                                460 See supra notes 21 and 443 and accompanying       analysis would not meet the Commission’s
                                              text for further discussion of changes in trading       definition of a ‘‘small business’’ or ‘‘small               466 See supra note 369 and accompanying text.
                                              activity of principal trading firms during the U.S.     organization’’ in 17 CFR 240.0–10 (‘‘Rule 0–10’’),
                                                                                                                                                                  467 See supra note 399.
                                              Treasury market volatility of Mar. 2020. The market     which defines an ‘‘issuer’’ or ‘‘person’’ other than
                                                                                                                                                                  468 See supra note 438 and accompanying text.
                                              share of PTFs declined from approximately 62% at        an investment company as having total assets less
                                              the beginning of Mar. 2020 to a low of 45% on Mar.      than $5 million on the last day of its fiscal year for      469 See supra notes 21 and 443 (referring to the

                                              16, 2020.                                               purposes of the Regulatory Flexibility Act.               Treasury market events of 2020).



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00042   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 43 of 74 PageID 67
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                             14979

                                              facilitate the orderly and robust                       necessary for such participants to                     stated that even entities without
                                              execution of algorithmic and HFT                        comply with the Net Capital Rule.474                   customers may still engage in a
                                              operations.470 Applying these rules                     Other commenters questioned the                        significant amount of trading activity,
                                              would address the risk that a significant               benefits of regulating private fund                    and so their financial and operational
                                              liquidity provider’s failure could cause                advisers as dealers, since existing rules              condition can present risks to the
                                              market disruptions, and these rules are                 and regulations already limit advisers’                markets.479 Two commenters said that
                                              also designed to limit the duration of                  risk and protect their investors through               the Net Capital Rule was designed to
                                              any such market disruptions that may                    rules on custody of assets, fiduciary                  protect creditors and counterparties, in
                                              occur. We understand that algorithmic                   duty, and reporting, and record-                       addition to customers.480 Such creditors
                                              HFT is a primary feature of the PTFs                    keeping.475 Another commenter added                    and counterparties may include repo
                                              and private funds who are most likely                   that professional equity trading firms                 counterparties and clearing firms. If a
                                              to meet the final rules’ qualitative                    are also subject to the Market Access                  significant liquidity provider were to
                                              factors, since such trading can involve                 Rule, which is designed to promote                     fail, these other parties could become
                                              regularly expressing trading interests on               market integrity, and to the                           unable to complete trades or lose
                                              both sides of the market (the expressing                Commission’s large trader program,                     control of assets, either permanently or
                                              trading interest factor) or earning                     which may impose reporting obligations                 temporarily during bankruptcy
                                              revenue from bid-ask spreads or                         on unregistered as well as registered                  proceedings. Even if the losses were
                                              incentives offered for liquidity-                       entities.476 The Commission                            eventually recovered, the significant
                                              providing trades (the primary revenue                   acknowledges that market participants                  liquidity provider could be temporarily
                                              factor). The application of these rules to              currently have direct and indirect                     unable to deliver securities or cash,
                                              affected parties engaged in such                        constraints on their trading activity and              forcing the counterparties to quickly
                                              algorithmic trading activity will                       risk-taking.477 However, as discussed in               enter new trades, put on new hedges,
                                              accordingly promote the stability and                   section III.B.3.a, the Net Capital Rule is             replace frozen collateral, or find new
                                              resilience of U.S. securities markets.                  another important constraint on risk-                  sources of liquidity. If market prices
                                                 A few commenters agreed that the                     taking and helps promote the stability of              were volatile during this period, even a
                                              proposed rules would provide benefits                   markets. Unlike the various margin                     temporary freeze could cause serious
                                              of market stability, integrity, and                     requirements, the Net Capital Rule                     stress to these counterparties and
                                              resiliency.471 Other commenters asked                   directly ensures that dealers are                      creditors. If a liquidity provider with
                                              how the final rules would prevent or                    sufficiently liquid so that they can                   large enough positions were to fail, the
                                              mitigate harm from future market                        quickly satisfy creditors and                          cumulative harm to counterparties and
                                              disruptions and one said that having                    counterparties. With respect to direct                 creditors, even if temporary, could
                                              more market participants registered as                  market access, the Market Access Rule                  cause substantial market disorder. Even
                                              dealers would not have improved the                     does not directly impose obligations on                if it does not fail, a highly leveraged
                                              market structure in March 2020.472 We                   all trading firms. Rather, the Market                  significant liquidity provider may
                                              acknowledge that dealer registration                    Access Rule requires a broker or dealer                exacerbate market instability during
                                              does not obligate an entity to provide                  with market access to establish,                       times of market stress or volatility. For
                                              liquidity in the secondary market, and                  document, and maintain a system of risk                example, the entity may receive margin
                                              that even registered dealers may pull                   management controls and supervisory                    calls at a time of volatility, requiring it
                                              back from the market at times for                       procedures reasonably designed to                      to reduce its leverage by closing
                                              business reasons. We also acknowledge                   manage financial, regulatory, and other                positions instead of continuing to
                                              that even registered dealers can fail.                  risks of this business activity.                       provide liquidity the market.
                                              However, we emphasize that the dealer                      Some commenters questioned the                         The final rules may also increase the
                                              regime, including the Net Capital Rule,                 benefits of applying the Net Capital Rule              benefits associated with increased
                                              seeks to limit financial risk that may                  to entities without customers—e.g.,                    central clearing. Under the recent
                                              make entities more likely to fail or to                 PTFs, investment advisers, or private                  Treasury Clearing amendments,481
                                              need to pull back from the market. We                   funds.478 However another commenter                    registered dealers and government
                                              believe that compliance with the dealer                                                                        securities dealers that are direct
                                              regime would make significant liquidity                    474 See Alphaworks Comment Letter; ADAM
                                                                                                                                                             participants of a covered clearing
                                              providers less likely to contribute to                  Comment Letter; MFA Comment Letter I; Lewis
                                                                                                      Study; Element Comment Letter; ICI Comment             agency will be required to centrally
                                              market instability.473                                  Letter; Letter from the Hedge Fund Association         clear all of their eligible secondary
                                                 Many commenters stated that market                   (May 27, 2022) (‘‘HFA Comment Letter’’); IAA           market transactions; such transactions
                                              participants who are not registered as                  Comment Letter I; IDTA Comment Letter; Morgan
                                                                                                      Lewis Comment Letter; NAPFM Comment Letter;            of dealers and government securities
                                              dealers are already subject to regulatory
                                                                                                      SIFMA Comment Letter; T. Rowe Price Comment            dealers that are not direct participants of
                                              risk limits, because the market                         Letter; Virtu Comment Letter. See supra notes 384–     a covered clearing agency will still be
                                              participants typically trade through                    386 and accompanying text for a discussion of
                                                                                                                                                             subject to central clearing requirements
                                              registered entities (e.g., banks and                    existing risk limits.
                                                                                                         475 See AIMA Comment Letter II; ABA Comment         if those transactions are with members
                                              broker-dealers), and therefore it is not
                                                                                                      Letter; Citadel Comment Letter; Committee on           of a covered clearing agency.
                                                                                                      Capital Markets Regulation Comment Letter;             Accordingly, the final rules may
                                                470 See supra note 369.
                                                                                                      Element Comment Letter; MFA Comment Letter I;
                                                 471 See Better Markets Comment Letter; FINRA         MFA Comment Letter II; Fried Frank Comment
                                                                                                                                                             increase the number of transactions
                                              Comment Letter; Gretz Comment Letter.                   Letter; HFA Comment Letter; IAA Comment Letter         subject to central clearing requirements
                                                 472 See Alphaworks Comment Letter; Consensys         I; ICI Comment Letter; Lewis Study; McIntyre           to the extent they result in registration
khammond on DSKJM1Z7X2PROD with RULES2




                                              Comment Letter; FIA PTG Comment Letter I;               Comment Letter II; T. Rowe Price Comment Letter;       of new dealers or government securities
                                              McIntyre Comment Letter II; Morgan Lewis                Two Sigma Comment Letter I.
                                              Comment Letter.                                            476 See Lewis Study; McIntyre Comment Letter II.    dealers whose eligible secondary market
                                                 473 See supra section I.A for a discussion on how       477 See sections III.B.2.a and III.B.2.b.
                                                                                                                                                               479 See FINRA Comment Letter.
                                              dealer registration enhances market stability by           478 See AIMA Comment Letter; Blockchain
                                                                                                                                                               480 See FIA PTG Comment Letter I; AIMA
                                              giving regulators increased insight into firm-level     Association Comment Letter; Consensys Comment
                                              and aggregate trading activity and so helps             Letter; FIA PTG Comment Letter I; IAA Comment          Comment Letter II.
                                              regulators to evaluate, assess, and address market      Letter I; MFA Comment Letter I; T. Rowe Price            481 See supra notes 348 and 375 and

                                              risks and to contribute to fair and orderly markets.    Comment Letter.                                        accompanying text.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00043   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                      Page 44 of 74 PageID 68
                                              14980            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              transactions with a direct participant of                 c. Regulations on Reporting                              compared to PTFs and private funds.
                                              a covered clearing agency will need to                       The final rules would enhance                         Specifically, registered dealers who
                                              be centrally cleared.482 This increase in                 regulators’ oversight of significant                     become FINRA members will be
                                              central clearing will confer benefits as                  liquidity providers and of individual                    required to report fixed income
                                              discussed in the Treasury Clearing                        securities trades. Entities that register as             transactions to TRACE, which will
                                              Adopting Release.483                                      dealers under the final rules will have                  expand the ability to identify the new
                                                                                                                                                                 registered dealers and potentially result
                                                 Entities that register as dealers, other               new reporting obligations to CAT (if
                                                                                                                                                                 in more trades being reported. We
                                              than registered government securities                     they transact in CAT-reportable
                                                                                                                                                                 believe this information would be useful
                                              dealers, will be required to become                       securities) and to TRACE (if they
                                                                                                                                                                 for surveillance and for market
                                              members of SIPC. Some commenters                          transact in TRACE-eligible securities).
                                                                                                                                                                 reconstruction.492 Forms 13F and 13H
                                              questioned whether dealers registered                     The additional reporting would give
                                                                                                                                                                 also contain valuable information, but
                                              under the final rules that do not have                    regulators greater insight into securities
                                                                                                                                                                 they do not contain the detailed
                                              customers would benefit from SIPC                         trading patterns, including the ability to
                                                                                                                                                                 transaction data that registered dealers
                                              membership.484 We acknowledge that                        more efficiently match trades to market
                                                                                                                                                                 are responsible for submitting.493
                                              not every registered dealer has                           participants.488 PTFs who register as
                                              customers. However, in the Securities                     dealers or as government securities                      d. Regulations on Deceptive Practices
                                              Investor Protection Act of 1970                           dealers would also begin submitting                         The final rules would help the
                                              (‘‘SIPA’’), Congress mandated that a                      annual reports, including financial                      Commission and the SROs to detect and
                                              broad range of dealers, including those                   statements, for the first time. This                     deter abusive behaviors such as fraud or
                                              without customers, are required to                        additional information, especially the                   manipulation by subjecting significant
                                              become members of SIPC.485 In fact,                       financial reporting and the transaction                  liquidity providers to section 15(c) of
                                              there are many firms that are current                     reporting, would help address the                        the Exchange Act 494 and to SRO rules
                                              broker-dealers and have no customers                      Commission’s concerns described in                       and oversight.495 As described in
                                              that are members of SIPC.486 The                          sections III.B.3. and III.B.4. The                       section III.B.2, registering affected
                                                                                                        information would enable regulators to                   parties as dealers would subject them to
                                              requirement for dealers to become SIPC
                                                                                                        better analyze markets—including                         Commission examinations and would
                                              members is intended to place the
                                                                                                        reconstructing markets and detecting                     expand the Commission’s ability to
                                              financial support of the SIPC program
                                                                                                        abusive trading behaviors—respond to                     issue specific rules and regulations
                                              on all firms that made their livelihood
                                                                                                        market events and inform investors.489                   designed to deter misbehavior under
                                              in the securities business, regardless of
                                                                                                        Improved regulatory oversight would, in                  Exchange Act section 15(c). The persons
                                              whether they had public customers or                      turn, promote the efficiency and                         whom the final rules would require to
                                              not.487 Accordingly, we believe that                      stability of the markets as well as                      register would be those with the ability
                                              expanding SIPC membership will                            investor confidence, which would                         to significantly impact markets, whether
                                              enhance the ability of SIPC to carry out                  support capital formation by increasing                  in pursuit of legitimate trading strategies
                                              its investor protection mission,                          demand for securities issued in U.S.                     or possibly through market
                                              consistent with SIPA, which will have                     markets and lowering yields.                             manipulation. Therefore, subjecting
                                              positive effects on the securities markets                   Comment letters argued that dealer                    them—particularly the highly active but
                                              overall. In addition, we note that                        registration would not provide an                        unregistered PTFs shown in Table 1—to
                                              entities that choose to comply with the                   information benefit because transactions                 the additional anti-fraud regulations
                                              final rules by registering as government                  are already reported to TRACE or                         that apply to registered dealers, as well
                                              securities dealers under section 78o–                     CAT,490 because investment advisers are                  as to additional regulatory oversight,
                                              5(a) of the Exchange Act are not                          already subject to Commission                            would contribute to fair and orderly
                                              required to become SIPC members.                          oversight, and because PTFs and                          markets.
                                                                                                        investment advisers are potentially
                                                                                                                                                                 e. Regulations Related to Examinations
                                                 482 Such transactions would not have been
                                                                                                        subject to reporting on Forms 13F or
                                              cleared under the baseline unless the transaction         13H.491 Section III.B.2 describes the                       Registered dealers and government
                                              was with direct participant that brought together                                                                  securities dealers are subject to
                                              multiple buyers and sellers using a trading facility      differences in the information available
                                              (such as a limit order book) and is a counterparty        to regulators for registered dealers                     examinations by the Commission and by
                                              to both the buyer and seller in two separate                                                                       the relevant SRO, and they are also
                                              transactions. See Treasury Clearing Adopting                488 See section III.B.2.a for a discussion of          required to comply with certain books
                                              Release.                                                  limitations that exist when market participants do       and records requirements.496 PTFs that
                                                 483 See Treasury Clearing Adopting Release; see
                                                                                                        not have reporting obligations—reduced efficiency        are not registered as dealers are not
                                              also supra section III.B.4.                               in identifying market participants in CAT, and
                                                 484 See Citadel Comment Letter; Overdahl               limited ability to identify market participants in
                                                                                                                                                                 subject to examinations or to books and
                                              Comment Letter.                                           TRACE.                                                   records rules, but registered private
                                                 485 See 15 U.S.C. 78ccc(a)(2).                           489 For example, regulators’ lack of insight into      fund advisers are currently subject to
                                                 486 See SIPC, List of Members, available at https://   the market for U.S. Treasury securities became           recordkeeping requirements and
                                              www.sipc.org/list-of-members/ (listing SIPC               especially apparent during the instability of Mar.       Commission examinations.
                                              members, including multiple firms that do not have        2020. The 2021 IAWG Joint Staff Report on Nov. 8,
                                              customers).                                               2021, noted that ‘‘In Mar. 2020 . . . there was a        Examinations help regulators detect
                                                 487 See SIPC, Member FAQs, available at https://       [particular] need for timely information on the          manipulative or fraudulent activities, as
                                              www.sipc.org/for-members/member-faqs#my-firm-             positions and transactions of institutions other than    well as verify more generally that
                                              has-no-public-customers-why-do-i-have-to-be-a-            dealers.’’ See supra note 21. Wider TRACE                persons comply with all relevant
khammond on DSKJM1Z7X2PROD with RULES2




                                              member (‘‘When Congress passed the Securities             reporting would have provided more of such
                                              Investor Protection Act, it made all SIPC members         information.
                                                                                                                                                                   492 See FINRA Comment Letter; Gretz Comment
                                                                                                          490 See Fried Frank Comment Letter; McIntyre
                                              subject to its provisions, including the obligation to
                                                                                                        Comment Letter II; MMI Comment Letter; Morgan            Letter.
                                              pay assessments into the SIPC Fund. The objective                                                                    493 See supra notes 394 and 395 and surrounding
                                              was to instill confidence in the investing public and     Lewis Comment Letter; SIFMA Comment Letter I;
                                              to place the financial support of the SIPC program        Virtu Comment Letter.                                    text.
                                                                                                                                                                   494 See supra note 396.
                                              on all firms that made their livelihood in the              491 See Fried Frank Comment Letter; IAA
                                                                                                                                                                   495 See supra notes 367–369.
                                              securities business, regardless of whether they had       Comment Letter I; McIntyre Comment Letter II;
                                              public customers or not.’’).                              SIFMA AMG Comment Letter.                                  496 Id.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00044   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                        Page 45 of 74 PageID 69
                                                                Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                          14981

                                              regulations. Books and records                             2. Costs                                                  the following subsections are reported
                                              requirements facilitate examinations by                    a. Compliance Costs                                       on a per firm basis. Some compliance
                                              ensuring that data entries are defined,                                                                              costs in the following subsections are
                                              recorded, and preserved in a consistent                       The final rules will impose                            approximately proportional to trading
                                              manner across all dealers. The final                       compliance costs on certain market                        activity or revenue. For these
                                              rules would allow regulators to examine                    participants, including costs of                          compliance costs, we report both how
                                              firms that currently are not registered,                   registering with the Commission and                       these costs scale with trading activity or
                                              including PTFs, who are not currently                      with an SRO, recordkeeping and                            firm revenue, and quantitative estimates
                                              subject to examinations but whose                          reporting costs, direct costs that may                    of these costs for the large firm sample
                                              activity contributes significantly to                      stem from meeting net capital                             from the Amended Rule 15b9–1
                                              market liquidity or to price discovery.                    requirements (i.e., continuously                          Adopting Release.
                                              Since examinations help ensure                             monitoring capitalization), and self-                        The cost estimates in the following
                                              compliance with other rules, and since                     evaluation as to whether one is a dealer                  subsections are subject to several
                                              the Commission already has authority to                    or not.501 These potential compliance                     assumptions, uncertainties, and other
                                              examine registered investment advisers,                    costs can be broadly organized into five                  factors. In particular, the cost estimates
                                              subjecting PTFs to examination would                       categories:                                               are for firms the Commission expects to
                                              support the other benefits that would                         1. Costs related to registration as a                  register as dealers or government
                                              come from registering PTFs as dealers.                     dealer or government securities dealer.                   securities dealers because the firms
                                                 Examinations also help regulators                          2. Costs related to FINRA membership                   meet either the expressing trading
                                              analyze market disruptions and inform                      or membership with another SRO.                           interest factor or the primary revenue
                                              subsequent regulatory changes. Since                          3. Costs related to TRACE reporting                    factor in the final rule. Since estimates
                                              the final rules will give regulators the                   for firms that trade fixed income                         of the number of affected parties are
                                              ability to conduct targeted examinations                   securities.                                               subject to some uncertainty, the
                                              of entities that provide substantial                          4. Costs related to CAT reporting for                  following cost estimates are subject to
                                              market liquidity and price formation,                      firms that trade NMS securities or OTC                    similar uncertainty and limitations.503
                                              regulators will be able to better                          equities.                                                 Other sources of uncertainty are
                                              determine the causes of market                                5. Costs related to SIPC membership                    discussed within individual
                                              disruptions and implement regulatory                       for firms that register as dealers under                  subsections. Additionally, some firms
                                              reforms designed to mitigate and                           section 15(b) of the Exchange Act.                        may already own a registered dealer or
                                              prevent future similar disruptions.497                        The costs of registration as a dealer or               government securities dealer. If an
                                              For instance, following the market                         government securities dealer will apply                   affected party already owns a registered
                                              disruptions caused by Knight Capital in                    to all firms. Likewise, the cost of FINRA                 dealer, then the party may choose to
                                              2012,498 FINRA conducted targeted                          membership or membership with                             migrate operations satisfying the
                                              examinations on member firms’ HFT                          another SRO will apply to all firms.                      expressing trading interest factor or
                                              operations and then updated its                            However, the costs of TRACE reporting                     primary revenue factor into the
                                              guidance on supervision and control                        will only apply to firms that trade fixed                 registered dealer instead of registering
                                              practices for algorithmic trading                          income securities. The costs of CAT                       additional entities as dealers. If an
                                              strategies.499 While FINRA oversight did                   reporting will only apply to firms that                   affected party chooses to migrate
                                              not prevent Knight Capital’s                               trade NMS securities, OTC equity                          operations into an existing registered
                                              disruptions—Knight was a registered                        securities, or options. The costs of SIPC                 dealer after the rules’ adoption, then its
                                              broker-dealer—FINRA oversight did                          membership will apply only to firms                       compliance costs will likely be less than
                                              give the regulator authority to examine                    that register as dealers under section                    the cost estimates reported in the
                                              other firms engaged in activities similar                  15(b) of the Exchange Act and not firms                   following subsections. PTFs, since they
                                              to Knight and to inform its guidance.500                   that register as government securities                    do not have clients or customers, would
                                                                                                         dealers under section 15C of the                          bear the costs of registration and
                                                 497 The Commission currently can examine                Exchange Act.                                             compliance themselves. Private funds,
                                              registered investment advisers and private funds,             The Commission has itemized and
                                              but it has no authority to examine PTFs who are                                                                      however, may either bear the costs
                                              not registered as dealers.
                                                                                                         updated its cost estimates for affected                   themselves (i.e., the funds’ investors
                                                 498 On Aug. 1, 2012, an error in Knight Capital’s       parties in response to commenters.502                     would bear the cost) or the costs may be
                                              trading software caused the firm to purchase $7            The following subsections present                         borne by their investment adviser.
                                              billion in equities in the first hour of trading, and      itemized compliance cost estimates for
                                              the firm later tried to reverse some of the                affected parties that register as dealers                 i. Dealer Registration
                                              unintentional purchases. The buying and selling
                                              caused price volatility in approximately 150               under section 15(b) of the Exchange Act                      This section discusses the
                                              different equities, and nearly bankrupting the firm.       after the rules’ adoption or register as                  Commission’s estimates of the costs
                                              See Henrico Dolfing, ‘‘Case Study 4: The $440              government securities dealers under                       associated with dealer registration
                                              Million Software Error at Knight Capital,’’ available      section 15C of the Exchange Act. The
                                              at https://www.henricodolfing.com/2019/06/                                                                           under section 15(b) of the Exchange Act
                                              project-failure-case-study-knight-capital.html. For        compliance cost estimates reported in                     and government securities dealer
                                              FINRA’s response, see Targeted Examination Letter                                                                    registration under section 15C of the
                                              on High Frequency Trading, FINRA, available at             developed the following list of suggested effective       Exchange Act with the Commission for
                                              https://www.finra.org/rules-guidance/guidance/             practices for such firms.’’
                                              targeted-exam-letter/high-frequency-trading.                  501 Registered dealers would be subject to
                                                                                                                                                                   the final rules’ affected parties. The
                                                 499 See FINRA Regulatory Notice 15–09, available        requirements, such as Exchange Act Rules 15c3–1,          Commission expects the costs of
khammond on DSKJM1Z7X2PROD with RULES2




                                              at https://www.finra.org/sites/default/files/notice_       17 CFR 240.17a–1 (‘‘Rule 17a–1’’), 17a–3, 17a–4,          registration to be similar for dealer
                                              doc_file_ref/Notice_Regulatory_15-09.pdf.                  and 17 CFR 240.17a–5 (‘‘Rule 17a–5’’).                    registration under section 15(b) and
                                                 500 Id. The notice states, in part, ‘‘FINRA staff has      502 The TRACE analysis identifies up to 22 PTFs,
                                                                                                                                                                   government securities dealer
                                              conducted a number of examinations and                     4 hedge fund, 4 entities classified as ‘‘dealers’’
                                              investigations over the past several years that were       (though they are not FINRA members and do not             registration under section 15C because
                                              prompted by the detection of systems-related issues        appear to be registered with the Commission), and
                                              at firms engaged in algorithmic strategies . . . As        1 entity classified as ‘‘other.’’ The Form PF analysis      503 See, e.g., section III.B.2.c for a discussion of

                                              a result of these reviews and working with member          identifies 12 hedge funds as the most likely to be        the affected entity estimates and uncertainty
                                              firms engaged in algorithmic strategies, FINRA has         affected. See supra note 418.                             regarding the affected entity estimates.



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000    Frm 00045   Fmt 4701    Sfmt 4700   E:\FR\FM\29FER2.SGM       29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 46 of 74 PageID 70
                                              14982             Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              of the registrations’ similarity, e.g., both               Commission’s estimate of the annual                     not believe the final rules will
                                              registrations require completing and                       cost for an affected party to maintain its              significantly impact registered dealers
                                              amending Form BD, maintaining dealer-                      status as a registered dealer includes                  with respect to the customer protection
                                              related policies and procedures, record-                   several items: filing form BD                           rule. In particular, Rule 15c3–3 requires
                                              keeping, and filing annual reports.                        amendments, risk management system                      a carrying broker-dealer to take steps to
                                                 The Commission estimates the initial                    maintenance, information collection,                    protect both customer accounts and also
                                              cost of the final rules for affected parties               information storage, financial reporting,               proprietary accounts of other brokers or
                                              that register as dealers is approximately                  audits by an independent PCAOB-                         dealers (‘‘PAB Accounts’’). Therefore, a
                                              $700,000.504 The Commission estimates                      registered accounting firm, and claiming                registered dealer that holds accounts at
                                              the cost of the final rules for parties that               an exemption from treatment as a dealer                 another broker-dealer would benefit
                                              self-evaluate but do not register as                       pursuant to 17 CFR 240.15c3–3 (‘‘Rule
                                              dealers is approximately $60,000.505                                                                               from the protections for PAB Accounts
                                                                                                         15c3–3’’).509
                                              The initial costs to register as a dealer                                                                          under Rule 15c3–3.513
                                                                                                            A dealer registered under section
                                              with the Commission would include                          15(b) of the Exchange Act is subject to                    The initial and ongoing compliance
                                              costs associated with filing Form BD,                      the compliance requirements of the                      costs include financial reporting,
                                              filing Form ID, any related legal or                       customer protection rule, Rule 15c3–3,                  recording keeping, and net capital
                                              consulting costs that may be needed to                     unless the dealer’s operations satisfy                  requirement compliance operations. The
                                              ensure compliance with rules, including                    certain criteria that exempt the dealer                 costs associated with the reporting,
                                              drafting policies and procedures as may                    from the rule.510 The Commission                        record keeping, and net capital
                                              be required, and an initial self-                          believes that the affected parties would                requirements of dealer registration will
                                              evaluation of the final rules’                             generally claim they are exempt from                    depend on the scope of the firm’s dealer
                                              applicability to the affected party.506 If                 Rule 15c3–3 because they do not carry                   activities, capital structure, existing
                                              a firm has a large number of employees,                    brokerage accounts for customers.511 If                 compliance-related activity, and
                                              has several lines of business, or                          an affected party does not claim an                     jurisdiction. If a firm trades securities
                                              relatively complicated trading                             exemption, then the affected party may                  belonging to several different asset
                                              operations, then the firm may incur                        incur additional costs to comply with
                                              greater expenses relative to other firms                                                                           classes, then the firm may incur greater
                                                                                                         Rule 15c3–3. Several commenters                         dealer related compliance costs because
                                              when registering as a dealer.507                           suggested that dealers registered under
                                                 The Commission estimates the                                                                                    different types of securities are subject
                                                                                                         the final rules would lose protections
                                              ongoing cost of registering with the                                                                               to different reporting, record keeping,
                                                                                                         under Rule 15c3–3.512 However, we do
                                              Commission as a dealer is                                                                                          and net capital requirements.514 If a firm
                                              approximately $600,000.508 The                             the final cost estimate. See Private Fund Advisers;     is already a registered investment
                                                                                                         Documentation of Registered Investment Adviser          adviser or affiliated with an investment
                                                 504 Exchange Act Release No. 76324 (Oct. 30,            Compliance Reviews, Investment Advisers Act             adviser, then the firm may incur fewer
                                              2015), 80 FR 71388, 71509 n.1487 (Nov. 16, 2015)           Release No. 6383 (Aug. 2023), 88 FR 63206 (Sept.
                                                                                                         14, 2023) (‘‘Registered Investment Adviser
                                                                                                                                                                 dealer related compliance costs because
                                              (‘‘Regulation Crowdfunding Adopting Release’’),
                                              estimates the upper bound on the costs of                  Compliance Reviews Adopted Rule’’). $292,831 +          the firm has prior experience
                                              registering as a broker-dealer and complying with          $300,000 = $592,831. We round $592,831 to the           implementing and maintaining
                                              associated regulations would be $500,000. Most of          nearest hundred thousand to reflect uncertainty in      compliance-related operations.515 Firms
                                              these costs involve personnel hours and legal              the cost estimate. We have added an additional
                                              services. Since the cost of legal services and             auditing expense to the Commission’s revised cost       already conducting reporting and
                                              nominal wages paid to administrative and financial         estimates in response to comment letters that stated    recordkeeping related activities for
                                              operations employees have approximately risen              that the original expense estimates for broker-dealer   compliance purposes may incur
                                              with the consumer price index since 2015, we               registration were underestimated because they
                                              adjust these estimates for inflation of 27.31%             omitted compliance, clerical, and accounting            somewhat lower costs because these
                                              between Oct. 2015 and May 2023, based on the               related costs associated with preparing and             firms have already established
                                              CPI–U as recorded by the Bureau of Labor Statistics        verifying financial statements required to comply       recordkeeping practices, internal
                                              (see U.S. Bureau of Labor Statistics, Consumer Price       with broker-dealer related regulations. See, e.g.,
                                              Index, available at https://www.bls.gov/cpi/               AlphaWorks Comment Letter; AIMA Comment
                                                                                                                                                                 controls, and related business processes.
                                              data.htm). $500,000 × 1.2731 = $636,550. We add            Letter II; Citadel Comment Letter; Fried Frank          For example, if some of a private fund
                                              an additional $60,000 self-evaluation cost suggested       Comment Letter.                                         adviser’s existing compliance-related
                                              by commenters discussed in infra note 517.                   509 See the Proposed Rule for estimates of labor
                                                                                                                                                                 records, internal controls, and other
                                              $636,550 + $60,000 = $696,550. We round this               hour requirements for completing tasks associated
                                              figure to $700,000 to reflect uncertainty in our           with ongoing broker-dealer registration-related
                                                                                                                                                                 processes overlap with dealer
                                              estimate. As in previous releases, this is an              expenses and filing related fees. The hourly wage       compliance requirements, then the
                                              estimated upper bound on the range of registration         rates are based on: (1) SIFMA’s Management &            private fund might use its adviser’s
                                              costs incurred by broker-dealers; it is possible that      Professional Earnings in Securities Industry 2013,
                                              certain affected parties—for example, smaller firms
                                                                                                                                                                 existing compliance infrastructure to
                                                                                                         modified by SEC staff to account for an 1,800-hour
                                              with relatively simple trading operations—could            work-year and inflation, and multiplied by 5.35 to      satisfy dealer related compliance
                                              incur lower registration costs.                            account for bonuses, firm size, employee benefits,      requirements. However, these potential
                                                 505 See infra note 517 for the calculation of the       and overhead; and (2) SIFMA’s Office Salaries in        cost reductions are limited only to
                                              $60,000 self-evaluation cost.                              the Securities Industry 2013, modified by SEC staff
                                                 506 See section III.B.1 for a detailed description of   to account for an 1,800-hour work-year and
                                                                                                                                                                 situations where a private fund’s
                                              the filings and regulations associated with dealer         inflation, and multiplied by 2.93 to account for        existing compliance operations can be
                                              registration and maintaining dealer registration.          bonuses, firm size, employee benefits, and              re-used to comply with dealer
                                                 507 See Regulation Crowdfunding Adopting                overhead. The final estimates are based on the          requirements.
                                              Release.                                                   preceding SIFMA data sets, which SEC staff have
                                                 508 The Regulation Crowdfunding Adopting                updated since the Proposing Release to account for
khammond on DSKJM1Z7X2PROD with RULES2




                                              Release estimated the ongoing cost of broker-dealer        current inflation rates.                                I; NAPFM Comment Letter; Two Sigma Comment
                                              registration with the Commission is approximately
                                                                                                           510 See Rule 15c3–3(k).                               Letter.
                                                                                                           511 See section IV.A.8.                                  513 See Rule 15c3–3(e) (requiring carrying broker-
                                              $230,000. Most of these costs involve personnel
                                              hours and legal services, so we adjust this cost             512 See, e.g., AIMA Comment Letter II; AIMA           dealers to maintain a special reserve bank account
                                              estimate for inflation by a factor of 1.2731. The          Comment Letter III; BlackRock Comment Letter;           for brokers and dealers, which must be separate
                                              inflation adjusted cost estimate is $230,000 × 1.2731      Citadel Comment Letter at 5; Committee on Capital       from any other bank account of the carrying broker-
                                              = $292,831. We add a $300,000 estimate for the cost        Markets Comment Letter; Lewis Study; Element            dealer).
                                                                                                                                                                    514 Regulation ATS Proposal at 15629.
                                              of an annual audit by an independent PCAOB-                Comment Letter; Fried Frank Comment Letter;
                                              registered account firm to this figure to construct        Hagerty-Hill Comment Letter; MFA Comment Letter            515 Id.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000    Frm 00046   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 47 of 74 PageID 71
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                                     14983

                                                 An additional compliance cost of the                 possible outcome is that the external                   composed of FINRA membership
                                              rules is the cost of self-evaluation.516                legal counsel finds that the firm should                application fees and any legal or
                                              The self-evaluation cost applies to firms               register as a dealer following the final                consulting costs necessary for an
                                              whose trading operations may satisfy                    rules’ adoption, in which case the firm                 affected party to complete the FINRA
                                              the final rules’ expressing trading                     will not incur the costs associated with                membership application and comply
                                              interest factor or primary revenue factor.              the preparation of an opinion letter.                   with FINRA rules.524 Table 5
                                              The Commission estimates the initial                       The Commission is unable to provide                  summarizes the initial costs associated
                                              costs of self-evaluation for one firm will              quantitative estimates of the number of                 with FINRA membership for an affected
                                              add up to approximately $60,000.517                     firms that would incur the cost of self-                firm. The small firm column in Table 5
                                              This expense includes costs incurred by                 evaluation but determine they are not                   reports initial costs for FINRA
                                              a firm to determine whether the firm                    required to register. The Commission is                 membership for a firm with one to ten
                                              should register as a dealer following the               unable to provide a quantitative                        registered employees. The large firm
                                              final rules’ adoption from an initial                   estimate because of the same data                       column in Table 5 reports initial costs
                                              review of the firm’s trading operations                 limitations that constrain the                          for FINRA membership for a firm with
                                              through the potential preparation of an                 Commission’s ability to estimate the                    101–150 employees.
                                              opinion letter by outside counsel stating               number of firms that will ultimately
                                              the firm does not need to register as a                 register as dealers.519 Our analyses                       TABLE 5—INITIAL COST OF FINRA
                                              dealer. The self-evaluation process may                 observe several entities whose activities                 MEMBERSHIP IN DOLLARS PER FIRM *
                                              begin with a review of a firm’s trading                 may constitute dealing according to the
                                                                                                      final rules.520 However, the lack of                                                                                   Large
                                              operations by internal personnel or                                                                                             Cost                            Small firm      firm
                                              consultants to assess a firm’s likelihood               transparency in TRACE conceals the
                                              of satisfying the expressing trading                    identities of other non-FINRA entities                  Application ...........................            $7,500      $20,000
                                              interest factor or primary revenue factor.              that may also be dealing or near enough                 Consulting ...........................             40,000      125,000
                                              If a firm finds its trading operations are              to dealing to require careful self-
                                              very unlikely to meet either criteria,                  evaluation.521 In addition, some firms
                                                                                                                                                                    Total ** ..........................
                                                                                                                                                                                                          I      50,000
                                                                                                                                                                                                                           I 150,000
                                                                                                      engaged in HFT activity as reported on                     * Cost estimates are from the Amended Rule
                                              then the firm may conclude its self-                                                                            15b9–1 Adopting Release. A small firm has 1–10
                                              evaluation after this initial review at a               Form PF may determine that they do not                  registered employees. A large firm has 101–150 reg-
                                                                                                      meet the final rules’ qualitative factors.              istered employees.
                                              cost much less than the $60,000                                                                                    ** Totals are rounded to the nearest ten thousand
                                              estimate.518                                            It is also possible, though unlikely, that              to reflect uncertainty in the cost estimates.
                                                 If a firm finds its trading operations               some hedge fund activity that is not
                                                                                                                                                                The fees associated with a FINRA
                                              might satisfy the criteria for the trading              reported as HFT may nevertheless be
                                                                                                                                                              membership application can vary.525
                                              interest factor or primary revenue factor,              dealing or near enough to dealing to
                                                                                                                                                              The application fee itself depends on
                                              then the firm will likely hire legal                    require self-evaluation. Because of the
                                                                                                                                                              the number of registered persons
                                              counsel to conduct an independent                       limitations of TRACE data, we are
                                                                                                                                                              associated with the affected party. If an
                                              review of a firm’s trading operations.                  unable to estimate the number of
                                                                                                                                                              affected party employs ten or fewer
                                              The review will produce one of two                      entities that would need to self-evaluate.
                                                                                                                                                              registered persons, then the application
                                              outcomes. The first possible outcome is                 As discussed above, section I.B explains
                                                                                                                                                              fee is $7,500. For an affected party with
                                              the preparation of an opinion letter                    modifications made to the rules that
                                                                                                                                                              11 to 100 registered persons the
                                              stating that the legal counsel believes a               tailor the scope of the final rules. These
                                                                                                                                                              application fee is $12,5000. The
                                              firm’s trading operations do not satisfy                changes largely respond to commenters’
                                                                                                                                                              application fee is $20,000 for an affected
                                              the trading interest or primary revenue                 concerns regarding the number of
                                                                                                                                                              party affiliated with 101 to 150
                                              factors and therefore the firm does not                 affected parties by narrowing the scope
                                                                                                                                                              registered persons.526
                                              need to register as a dealer. The second                of the final rules in a way that reduces
                                                                                                                                                                 The other initial cost associated with
                                                                                                      that number. These changes would
                                                                                                                                                              FINRA membership is a consulting
                                                 516 See Blockchain Association Comment Letter        likewise reduce the number of firms that
                                                                                                                                                              expense, which accounts for the legal
                                              II; AIMA Comment Letter II; HFA Comment Letter;         would incur the cost of self-evaluation.
                                                                                                                                                              and other advisory work necessary for
                                              Morgan Lewis Comment Letter; NAPFM Comment
                                              Letter; SIFMA Comment Letter I; SIFMA Comment           ii. FINRA or Other SRO Membership                       an affected party to successfully
                                              Letter II; Schulte Roth Comment Letter.                    Affected parties that register as                    complete a FINRA membership
                                                 517 The Regulation Crowdfunding Adopting
                                                                                                      dealers after the final rules’ adoption                 application. Some affected parties may
                                              Release estimated a lower bound on the cost of                                                                  decide to perform this work internally,
                                              registration as a broker-dealer with the SEC is         must become members of FINRA or
                                              $50,000. See Regulation Crowdfunding Adopting           another appropriate SRO.522 The                         while others may use outside counsel.
                                              Release at 71509 n.1487. We use this lower bound        Commission expects affected parties                     When making this choice, an affected
                                              to approximate the cost of the self-evaluation          who choose to register as government                    party will likely consider factors, such
                                              process, including, if necessary, the use of outside                                                            as the size and resources of the affected
                                              consultants and legal counsel to evaluate a firm’s      securities dealers to become members of
                                              trading operations and the possible preparation of      FINRA.523                                               party, the complexity of the affected
                                              an opinion letter stating a firm does not need to          The initial costs for an affected party
                                                                                                                                                                 524 Initial and ongoing cost estimates associated
                                              register as a dealer to comply with the final rule.     to become a member of FINRA are
                                              Because the cost of consulting and legal services                                                               with FINRA membership are from section V.C.2 of
                                              has approximately risen with the consumer price                                                                 Amended Rule 15b9–1 Adopting Release.
                                                                                                        519 See section III.B.2.c.
                                              index since 2015, we adjust this estimate for                                                                      525 The application fee ranges from $7,500 for a
                                                                                                        520 Id.
                                              inflation of 27.31% between Oct. 2015 and May                                                                   small new member applicant (i.e., 1–10 employees,
                                                                                                         521 See supra notes 380 and 422 and surrounding
                                              2023, based on the CPI–U as recorded by the Bureau                                                              Tier 1) to $55,000 for a large new member applicant
khammond on DSKJM1Z7X2PROD with RULES2




                                              of Labor Statistics. See Consumer Price Index, U.S.     discussion.                                             (i.e., 5,000+ employees, Tier 3). See FINRA,
                                              Bureau of Labor Statistics, available at https://          522 The Commission has revised its estimate of       Schedule of Registration and Exam Fees, available
                                              www.bls.gov/cpi/data.htm. The inflation adjusted        affected firms’ FINRA-related costs in response to      at https://www.finra.org/registration-exams-ce/
                                              cost of the opinion letter is $63,655.46 = $50,000      comment letters. See, e.g., Citadel Comment Letter;     classic-crd/fee-schedule.
                                              × 1.2731. We round this figure to $60,000 to the        Fried Frank Comment Letter; Overdahl Comment               526 See FINRA, Schedule of Registration and
                                              nearest ten thousand to reflect uncertainty in our      Letter; MFA Comment Letter II; Morgan Lewis             Exam Fees, available at https://www.finra.org/
                                              estimate of the cost of the opinion letter.             Comment Letter; NAPFM Comment Letter; Virtu             registration-exams-ce/classic-crd/fee-schedule, for
                                                 518 See supra note 517 for the calculation of the    Comment Letter.                                         application fees when an applicant has more than
                                              $60,000 cost.                                              523 See supra note 23.                               150 registered persons.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00047   Fmt 4701     Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                             Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                              Page 48 of 74 PageID 72
                                              14984                 Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              party’s trading operations, and the                                        TABLE 6—ONGOING COST OF FINRA                                          securities under TAF.530 Most security
                                              affected party’s previous use of outside                                   MEMBERSHIP IN DOLLARS PER FIRM *                                       fees assessed via TAF are subject to one
                                              counsel. The Commission’s estimate of                                                                                                             or more conditions and one or more
                                              these consulting costs ranges from                                                        Cost                       Small firm     Large         possible exemptions. The covered
                                                                                                                                                                                   firm
                                              $40,000 to $125,000 with a midpoint of                                                                                                            equity security fee, TRACE-eligible
                                              $82,500.527 Additionally, if an affected                                  Trading Activity Fee ** .........             $7,000    $120,000        bond fee, and asset-backed security fee
                                              party is affiliated with a firm that is                                   Gross Income Assessment                       30,000     330,000
                                                                                                                                                                                                are subject to maximum fees per trade.
                                              already a registered member of FINRA                                      Section 3 Fee ......................           3,000     560,000
                                                                                                                        Compliance Activities ..........              20,000     100,000        The security future fee is subject to a
                                              and the affiliated firm retains legal                                     Personnel Assessment .......                   1,000      20,000        minimum fee per trade. Some
                                              personnel with FINRA-related
                                                                                                                                                                                                transactions are exempt from TAF,
                                              experience, then the affected party may                                     Total *** ............................      61,000    1,130,000
                                                                                                                                                                                                which may reduce firms’ TAF related
                                              incur fewer expenses during the FINRA                                        * Cost estimates are from the Amended Rule
                                              membership application process                                            15b9–1 Adopting Release. A small firm has 1–10
                                                                                                                                                                                                expenses.531 Potentially relevant
                                              because the affiliated firm’s legal staff                                 registered employees. A large firm has 101–150 reg-                     exemptions from TAF for firms
                                                                                                                        istered employees.                                                      registering under the rules include
                                              may provide services at a lower cost                                         ** FINRA recently implemented an amendment to
                                              than a third party.                                                       TAF that exempts PTFs belonging to FINRA from                           transactions in U.S. Treasury securities,
                                                                                                                        TAF for trades on exchanges of which the firm is a                      transactions in options and futures
                                                 Affected parties will incur ongoing                                    member. This may cause affected parties to incur
                                              annual costs to maintain FINRA                                            lower TAF fees than those reported in the table.                        involving narrow and broad indices,
                                              membership after completing their                                            *** Totals are rounded to the nearest thousand to                    transactions made by a firm in their
                                                                                                                        reflect uncertainty in the cost estimates.
                                              initial application. The ongoing annual                                                                                                           capacity as a market specialist or market
                                              costs include the Gross Income                                               The Commission estimates the TAF                                     maker, and transactions executed
                                              Assessment (‘‘GIA’’), the Trading                                         cost for an affected party registering as                               outside the United States not requiring
                                              Activity Fee (‘‘TAF’’), the FINRA                                         a dealer following the final rules’                                     reporting to a transaction reporting
                                              section 3 fee, FINRA-related compliance                                   adoption will range from approximately                                  association. Additionally, a recently
                                              activities, and the personnel assessment.                                 $7,000 for a small firm conducting few                                  implemented TAF Amendment exempts
                                              Table 6 summarizes these ongoing                                          trades in securities subject to TAF to                                  PTFs from TAF for trades occurring on
                                              annual expenses for the final rules’                                      $120,000 for a large firm conducting
                                                                                                                                                                                                exchanges of which the firm is a
                                              affected parties. The Commission                                          many trades subject to TAF.528
                                                                                                                                                                                                member.532 If the firms joining FINRA
                                              estimates that the ongoing annual cost                                       The TAF is a transaction-based fee
                                                                                                                                                                                                because of the final rules execute trades
                                              of FINRA membership for an affected                                       that is usually assessed on member firm
                                                                                                                        transactions in covered equity                                          that qualify for exemption from TAF
                                              entity will range from approximately
                                                                                                                        securities, options, security futures,                                  under the recent TAF amendment, then
                                              $61,000 for a relatively small firm to
                                              $1,130,000 for a relatively large firm.                                   TRACE-eligible bonds, and asset-backed                                  the firms’ TAF-related expenses may be
                                              We will discuss each of these costs and                                   securities.529 Table 7 summarizes the                                   less than our TAF cost estimates.
                                              our estimates below.                                                      fees associated with specific classes of

                                                                                  TABLE 7—TRADING ACTIVITY FEE RATES FOR SPECIFIC SECURITIES IN DOLLARS *
                                                                           Security                                                                       Fee                                                           Rate

                                              Covered Equity Security ....................................              0.000166 ...........................................................    per share sale.**
                                              Option ................................................................   0.00279 .............................................................   per option sale.
                                              Security Future ..................................................        0.00011 .............................................................   per round turn transaction.***
                                              TRACE-eligible bond .........................................             0.00105 .............................................................   per bond sale.****
                                              Asset-Backed Security ......................................              sale price × 0.00000105 ...................................             per security sale.****
                                                 * FINRA recently implemented an amendment to TAF that exempts PTFs belonging to FINRA from TAF for trades on exchanges of which the
                                              firm is a member. Additionally, FINRA is currently implementing annual increases in its TAF rates until 2024. This table reports the fees that will
                                              be in effect for 2024 and future years.
                                                 ** Up to $7.27 per trade.
                                                 *** Minimum charge is $0.012 per round turn transaction.
                                                 **** Up to $0.92 per trade.


                                                The GIA is an annual expense                                            revenue, which is defined as a firm’s                                   form Part II or Part IIA excluding
                                              determined by a firm’s annual gross                                       total income as reported on FOCUS                                       commodities income.533 We estimate

                                                 527 See Amended Rule 15b9–1 Adopting Release                              529 We have revised our TAF cost estimates in                        and Immediate Effectiveness of a Proposed Rule
                                              section V.C.2 for the consulting cost estimates and                       response to comment letters. See Blockchain                             Change To Amend FINRA’s Trading Activity Fee,
                                              methodology.                                                              Association Comment Letter; Overdahl Comment                            Exchange Act Release No. 97798 (June 26, 2023), 88
                                                 528 The small firm TAF estimate corresponds to
                                                                                                                        Letter. See also FINRA, Trading Activity Fee,                           FR 42404 (June 30, 2023), available at https://
                                              the $6,746.92 median annual TAF for the 64 non-                           available at https://www.finra.org/rules-guidance/                      www.govinfo.gov/content/pkg/FR-2023-06-30/pdf/
                                              FINRA member firms in the Amended Rule 15b9–                              guidance/trading-activity-fee.                                          2023-13894.pdf.
                                              1 Adopting Release. The large firm TAF estimate                              530 See FINRA, Schedule A to the By-Laws of the                         533 We are adding GIA to our estimate of the rules’
                                              corresponds to the $119,255.85 median annual TAF
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                        Corporation, Section 1—Member Regulatory Fees                           cost for an effected firm in response comment
                                              for the 12 largest non-FINRA member firms. We
                                                                                                                        (footnote on Trading Activity Fee rates), available                     letters. See Blockchain Association Comment
                                              round both figures to the nearest thousand to reflect
                                                                                                                        at https://www.finra.org/rules-guidance/rulebooks/                      Letter; Overdahl Comment Letter. For the definition
                                              uncertainty in the estimates. We use data from the
                                              Amended Rule 15b9–1 Adopting Release to                                   corporate-organization/section-1-member-                                of gross revenue, see FINRA, Schedule A to the By-
                                              estimate FINRA costs for affected firms because the                       regulatory-fees.                                                        Laws of the Corporation, Section 2—Gross Revenue
                                                                                                                           531 See id., section 1(b)(2) (transactions exempt
                                              Commission does not observe the financial or                                                                                                      for Assessment Purposes, available at https://
                                              trading data necessary to directly calculate the TAF                      from the Trading Activity Fee).                                         www.finra.org/rules-guidance/rulebooks/corporate-
                                              or GIA costs associated with FINRA membership for                            532 See Self-Regulatory Organizations; Financial                     organization/section-2-gross-revenue-assessment-
                                              firms affected by these rules.                                            Industry Regulatory Authority, Inc.; Notice of Filing                   purposes.



                                         VerDate Sep<11>2014        17:22 Feb 28, 2024         Jkt 262001      PO 00000       Frm 00048        Fmt 4701        Sfmt 4700    E:\FR\FM\29FER2.SGM         29FER2
                                                            Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                         Page 49 of 74 PageID 73
                                                                  Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                         14985

                                              the annual GIA for an affected party                          Registered individuals include                            Commission understands that FINRA
                                              joining FINRA after the final rules’                          salespersons, branch managers,                            member brokers and dealers can pass at
                                              adoption will range from approximately                        department supervisors, partners,                         least some of the burden of regulatory
                                              $30,000 for a small firm with relatively                      officers, and directors involved in a                     costs including the TAF to their
                                              little annual gross revenue to $330,000                       firm’s securities business.537 The                        customers, so that the parties who will
                                              for a large firm with a relatively large                      Commission does not have the                              be affected by the final rules may
                                              annual gross revenue.534 Since FOCUS                          information necessary to estimate the                     already bear these costs indirectly to the
                                              forms are not available for the final                         personnel fees the affected parties will                  extent that they trade with FINRA
                                              rules’ affected parties, we use GIA                           likely incur to maintain FINRA                            members. If the affected party were to
                                              estimates from Amended Rule 15b9–1 to                         membership.538 Table 6 reports                            register as a dealer and become a FINRA
                                              estimate the affected parties’ GIA.535                        personnel fees for the midpoints of a                     member, some of the regulatory costs
                                                 A firm’s GIA is the greater of the                         small firm with 1–10 registered                           incurred by its trading partners may fall.
                                              expense calculated per the schedule in                        employees and a large firm with 101–                      For instance, when a PTF who is not a
                                              Table 8 below or the firm’s average GIA                       150 registered employees.539 The                          broker-dealer places a sell order on an
                                              over the previous three years. Table 8                        personnel fee estimate for a small firm                   ATS and matches with a FINRA
                                              reports the schedule used to calculate a                      is $1,000. The personnel fee estimate for                 member broker-dealer, the TAF is
                                              firm’s GIA given its gross revenue. The                       a large firm is $20,000.                                  assessed on the FINRA member
                                              table reports the assessment for the                             FINRA also charges an annual branch                    executing the cross.542 However, if the
                                              portion of a firm’s gross revenue within                      office fee of $75 for each office,                        PTF were a FINRA member, then it
                                              a given range. For instance, suppose a                        excluding one office, operated by a firm                  would bear the TAF costs directly and
                                              firm’s gross revenue is $100M. The                            and registered by FINRA.540                               the other member executing the cross
                                              firm’s Gross Income Assessment is                                Finally, registered dealers are subject                would not, because the TAF is assessed
                                              $172,293. This assessment is the sum of                       to an annual renewal fee that applies for                 on the selling FINRA member broker-
                                              the following items: The firm owes                            each SRO or jurisdiction where the                        dealer.
                                              $1,200 on its first million dollars of                        dealer is registered. Renewal fees vary
                                              gross revenue. The firm owes an                               by SRO and jurisdiction, as well as by                    iii. TRACE Reporting
                                              additional $41,568 = ($24M × 0.1732%)                         the number of registered representatives                     Firms joining FINRA will also incur
                                              on its gross revenue between $1M and                          and branch offices at a dealer. Given our                 the costs of reporting their fixed-income
                                              $25M. The firm also owes $92,625 =                            estimate that entities that register as a                 transactions (other than municipal
                                              ($25M × 0.3705%) on its gross revenue                         result of the final rules will not have                   securities) to TRACE.543 We estimate
                                              between $25M and $50M. And the firm                           registered representatives or branch                      that the initial implementation cost
                                              owes $36,900 = ($50M × 0.0738%) on its                        offices, we focus on the fee that applies                 associated with TRACE reporting is
                                              gross revenue between $50M and                                at the level of the dealer. At the                        $2,000 and that the ongoing annual cost
                                              $100M.                                                        jurisdiction level, renewal fees range                    associated with TRACE reporting
                                                                                                            between $40 and $600, depending on                        $100,000.544 Firms that do not trade
                                                        TABLE 8—GROSS INCOME                                the state, with most between $250 and                     fixed-income securities will not incur
                                                             ASSESSMENT *                                   $300. If the newly registered dealer                      TRACE reporting costs. In addition,
                                                                                                            chooses to also register with another                     FINRA Rule 7730(b) excludes
                                                      Gross income range                        Cost        SRO, renewal fees range between $0 and                    transactions in U.S. Treasury securities
                                                                                                            $10,000, depending on the SRO.541 We                      from the TRACE transaction reporting
                                              $0 to $1M ...................................      $1,200     assume that the final rules would                         fees.
                                              $1M to $25M ..............................       0.1732%
                                              $25M to $50M ............................        0.3705%      require membership at only one SRO.                       iv. Consolidated Audit Trail Reporting
                                              $50M to $100M ..........................         0.0738%         The discussion above may overstate
                                                                                                            the final rules’ costs to affected firms to                  In this section, we estimate costs from
                                              $100M to $5B .............................       0.0520%
                                              $5B to $25B ................................     0.0566%      the extent that already registered broker-                CAT-related reporting, should an
                                              $25B or more ..............................      0.1219%      dealers pass regulatory costs through to                  affected party trade CAT-eligible
                                                                                                            the affected firms. For example, the                      securities. However, the Commission
                                                * FINRA is currently implementing annual in-                                                                          believes few, if any, of the 43 potentially
                                              creases in the rates for its Gross Income As-                                                                           affected parties identified in section
                                              sessment until 2024. This table reports the                   www.finra.org/rules-guidance/rule-filings/sr-finra-
                                              rates that will be in effect for 2024 and future              2020-032/fee-increase-schedule.                           III.B.2.c will incur CAT-related
                                              years.                                                          537 See FINRA, Individual Registration, available       reporting costs. If an affected party does
                                                                                                            at https://www.finra.org/registration-exams-ce/
                                                 FINRA charges an annual personnel                          individuals.                                                 542 See FINRA, Trading Activity Fee Frequently
                                              assessment of $210 for each of the first                        538 See section III.B.2 for a discussion of the data
                                                                                                                                                                      Asked Questions, available at https://
                                              five registered representatives at a firm,                    limitations associated with the Commission’s              www.finra.org/rules-guidance/guidance/faqs/
                                              $200 for each of the sixth through 25th                       estimates of the final rules’ affected parties.           trading-activity-fee.
                                                                                                              539 For a small firm with 1–10 registered
                                              registered representatives at a firm, and                                                                                  543 TRACE fees include system fees of between
                                                                                                            employees the midpoint is 5 employees. 5 × $210           $20 and $260 per month plus transaction reporting
                                              $190 for each of the 26th and                                 = $1,050. We round $1,050 to the nearest thousand         fees, which are one of: (i) $0.475 per trade for trades
                                              subsequent representatives at a firm.536                      to reflect uncertainty in our cost estimate. For a        with par value up to $200,000, (ii) $2.375 per
                                                                                                            large firm with 101–150 employees the midpoint is         million dollars par value for trades with par value
                                                534 The small firm GIA estimate corresponds to              125 employees. 5 × $210 + 25 × $200 + 95 × $190           more than $200,000 but less than $1 million, or (iii)
                                              the $33,655.65 median GIA estimate for the 64 non-            = $24,100. We round $24,100 to the nearest ten            $2.375 per trade for trades with par value of at least
                                              member firms from the Amended Rule 15b9–1                     thousand ($20,000) to reflect uncertainty in our          $1 million or $1.50 per trade for agency pass-
khammond on DSKJM1Z7X2PROD with RULES2




                                              Adopting Release. The large firm GIA estimate                 estimate.                                                 through MBS that are traded TBA or SBA-backed
                                              corresponds to the $327,870 median GIA estimate                 540 See FINRA, Schedule A to the By-Laws of the         ABS that are traded TBA. See FINRA Rule 7730
                                              for the 12 largest non-member firms from the                  Corporation, Section 4—Fees, available at https://        (Trade Reporting and Compliance Engine),
                                              Amended Rule 15b9–1 Adopting Release. We round                www.finra.org/rules-guidance/rulebooks/corporate-         available at https://www.finra.org/rules-guidance/
                                              both figures to the nearest ten thousand to reflect           organization/section-4-fees.                              rulebooks/finra-rules/7730.
                                              uncertainty in the estimates.                                   541 See FINRA, SRO/Jurisdiction Fee and Setting            544 See Amended Rule 15b9–1 Adopting Release,
                                                535 See supra note 533.
                                                                                                            Schedule, available at https://www.finra.org/sites/       Tables 5 and 6. We have rounded the
                                                536 For the personnel assessment, see FINRA Fee             default/files/srojurisdiction-fee-and-setting-            implementation cost estimate and ongoing annual
                                              Increase Schedule, available at https://                      schedule.pdf.                                             cost estimate to reflect uncertainty in the estimates.



                                         VerDate Sep<11>2014      17:22 Feb 28, 2024      Jkt 262001   PO 00000   Frm 00049   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 50 of 74 PageID 74
                                              14986            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              not trade NMS stocks, OTC equities, or                  annually for a small firm with relatively                The Commission cannot estimate the
                                              listed options, then the affected party                 few CAT-related trades to an upper                       magnitude of these costs because the
                                              will not incur CAT-related reporting                    value of approximately $4,000,000                        amounts of the CAT fees to be charged
                                              costs because the affected party does not               annually for a relatively large firm                     to broker-dealers pursuant to the
                                              trade securities that must be reported to               reporting many trades to CAT. The                        funding model must be established
                                              CAT. For instance, if an affected party                 Commission’s estimates for the annual                    through rule filings pursuant to section
                                              that only trades government securities                  costs of CAT compliance of an affected                   19(b) of the Exchange Act.551 However,
                                              only registers as a government securities               party registered as a dealer and trading                 the CAT fees allocated in accordance
                                              dealer under section 15C, then that                     CAT-reportable securities are based on                   with the funding model borne by the
                                              affected party will not incur CAT-                      inflation-adjusted cost estimates from                   affected parties are not a new cost to
                                              reporting related expenses because it                   the CAT NMS Plan Approval Order.547                      industry, but at least partially represent
                                              will not trade securities associated with                  CAT reporting costs also vary                         a transfer of costs from current broker-
                                              CAT-reporting obligations. Affected                     depending on security type, order size,                  dealers with CAT reporting
                                              parties that newly register as dealers                  and trading venue, among other                           responsibilities, who would have higher
                                              under section 15(b) and trade NMS                       factors.548 An affected party that trades                CAT fees in the absence of the final
                                              stocks, OTC equities, or listed options                 more types of securities, that trades a                  rules, to affected parties. Furthermore,
                                              will incur the cost of reporting their                  greater variety of order sizes, or that                  the Commission believes that other
                                              transactions in these securities to                     trades at more venues will see higher                    broker-dealers with CAT reporting
                                              CAT.545                                                 CAT-related expenses. Affected parties                   responsibilities or CAT NMS Plan
                                                 The Commission estimates the initial                 that have a smaller number of registered                 participants that have previously
                                              cost of CAT reporting for an affected                   persons, that conduct less brokerage                     reported data related to the orders of
                                              party that trades CAT-reportable                        activity, or that trade smaller volumes of               affected parties to CAT would have
                                              securities will range from a lower value                securities will see lower CAT-related                    likely passed on such costs to the
                                              of approximately $1,100,000 for a small                 reporting costs. Affected parties that                   affected parties in the absence of the
                                              firm with relatively few reportable                     only trade U.S. Government securities                    amendments because the affected
                                              trades to an upper value of                             will not incur CAT-related reporting                     parties are customers of existing broker-
                                              approximately $4,900,000 for a large                    costs because government securities are                  dealers with CAT reporting obligations.
                                              firm with many reportable trades. Our                   not CAT-reportable securities.
                                              estimates for the initial costs of CAT                                                                           v. SIPC Membership
                                                                                                         In addition to the costs for reporting
                                              compliance for an affected party                        data to CAT, affected parties that                          Commenters said that the costs of
                                              registered as a dealer and trading CAT-                 register as dealers and trade NMS                        joining SIPC should also be considered
                                              reportable securities are based on                      stocks, OTC equities, or listed options                  in addition to the costs discussed in the
                                              inflation-adjusted cost estimates from                  may be assessed CAT fees under the                       Proposing Release.552 Under SIPA, all
                                              the CAT NMS Plan Approval Order.546                     CAT Funding Plan.549 These CAT fees                      dealers registered under section 15(b) of
                                                 The Commission estimates the                         would depend on the extent to which an                   the Exchange Act in the U.S. are
                                              ongoing cost of CAT reporting for an                    affected party is the executing broker-                  automatically members of SIPC except
                                              affected party that trades CAT-                         dealer for its transactions reported to                  for certain subsets of dealers. The
                                              reportable securities will range from a                 CAT and the type of securities involved                  Commission acknowledges that if an
                                              lower value of approximately $600,000                   in its transactions reported to CAT.550                  affected party registers as a dealer under
                                                                                                                                                               section 15(b) of the Exchange Act, then
                                                 545 See Exchange Act Release No. 79318 (Nov. 15,
                                                                                                         547 See supra note 546 for a discussion of the        the affected party will become a member
                                              2016), 81 FR 84696 (Nov. 23, 2016) (‘‘CAT NMS           inflation adjustments used for the initial and           of SIPC and incur the costs discussed in
                                              Plan Approval Order’’), for additional information      ongoing CAT reporting costs. The lower value
                                              about CAT. We note that the Commission recently                                                                  this section.553 However, government
                                                                                                      estimate is the inflation adjusted ongoing cost for
                                              approved the CAT Funding Plan. See Securities           an options floor broker from Table 4 of the CAT
                                                                                                                                                               securities dealers registered under
                                              Exchange Act Release No. 98290 (Sept. 6, 2023), 88      NMS Plan Approval Order. $442,625 (Ongoing cost          section 15C of the Exchange Act do not
                                              FR 62628 (Sept. 12, 2023) (‘‘CAT Funding Plan’’) for    for one options floor broker) × 1.25 = $554,122. We
                                              additional information about the CAT Funding            round this value to the nearest $100,000 to reflect        551 Such filings have been filed and noticed but
                                              Plan.                                                   uncertainty in our ongoing cost estimate. The upper
                                                 546 See section V.F of the CAT NMS Plan
                                                                                                                                                               are not effective because the Commission
                                                                                                      value estimate is the inflation adjusted ongoing cost    temporarily suspended them and instituted
                                              Approval Order for information about the                for an electronic liquidity provider in Table 4 of the   proceedings to determine whether to approve or
                                              construction of the estimates of CAT reporting for      CAT NMS Plan Approval Order. $3,22,5714                  disapprove the proposed rule changes. For example,
                                              different types of firms. See supra note 504 for        (Ongoing cost for one electronic liquidity provider)     on Jan. 3, 2024, New York Stock Exchange LLC filed
                                              information about the sources for the inflation         × 1.25 = $4,038,271. We round this figure to the         a proposed rule change to establish fees on behalf
                                              adjustments. The inflation factor for CAT-related       nearest $100,000 to reflect uncertainty in our           of CAT LLC for broker-dealers relating to certain
                                              costs is 1.25 = 303 (May 2023 CPI–U)/238 (Nov.          ongoing cost estimate.                                   historical costs. On Jan. 17, 2024, pursuant to
                                              2016 CPI–U) after rounding to the nearest                  548 See CAT NMS Plan Approval Order section           section 19(b)(3)(C) of the Exchange Act, the
                                              hundredths place. The lower value estimate is the
                                                                                                      V.F for a discussion of how CAT reporting costs          Commission temporarily suspended the rule change
                                              inflation adjusted initial implementation cost for an
                                              options floor broker from Table 4 of the CAT NMS        may vary across firms.                                   and instituted proceedings to determine whether to
                                              Plan Approval Order. $848,700 (Implementation
                                                                                                         549 The CAT NMS Plan requires both the                approve or disapprove the proposed rule change.
                                              cost for one options floor broker) × 1.25 =             Participants and broker-dealers to fund CAT. The         See Self-Regulatory Organizations; New York Stock
                                              $1,062,487.53. We round this value to the nearest       CAT NMS Plan includes a funding model that sets          Exchange LLC; Notice of Filing of a Proposed Rule
                                              $100,000 to reflect uncertainty in our cost estimate.   for the methodology for allocating fees to recover       Change to Amend the NYSE Price List to Establish
                                              The upper value estimate is the inflation adjusted      those costs, including certain costs previously paid     Fees for Industry Members Related to Certain
                                              initial implementation cost for an electronic           by the Participants, among the Participants and          Historical Costs of the National Market System Plan
                                              liquidity provider in Table 4 of the CAT NMS Plan       broker-dealers. See CAT Funding Plan. Specifically,      Governing the Consolidated Audit Trail;
khammond on DSKJM1Z7X2PROD with RULES2




                                              Approval Order. $3,875,517 (Implementation cost         the CAT NMS Plan sets forth a one-third allocation       Suspension of and Order Instituting Proceedings to
                                              for one electronic liquidity provider) × 1.25 =         of CAT fees to the applicable Participant in a           Determine Whether to Approve or Disapprove the
                                              $4,851,760. We round this figure to the nearest         transaction, to the CAT Executing Broker for the         Proposed Rule Change, Exchange Act Release No.
                                              $100,000 to reflect uncertainty in our cost estimate.   buyer in a transaction, and to the CAT Executing         99380 (Jan. 17, 2024), available at https://
                                              We use an options floor broker and an electronic        Broker for the seller in a transaction. See CAT NMS      www.sec.gov/files/rules/sro/nyse/2024/34-
                                              liquidity provider to estimate the range of CAT         Plan Approval Order Section 11.3.                        99380.pdf.
                                                                                                         550 See CAT Funding Plan Section III.3 for the          552 See Overdahl Comment Letter; Citadel
                                              costs for the affected parties because both types of
                                              firms’ primary business is liquidity provision and      CAT fees associated with NMS stocks, OTC                 Comment Letter; AIMA Comment Letter II.
                                              both types of firms do not carry customer accounts.     equities, and listed options.                              553 See 15 U.S.C. 78ccc(2)(A)(i) through (iii).




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00050   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 51 of 74 PageID 75
                                                                Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                 14987

                                              need to join SIPC, and thus if an                         the above two estimates for a larger firm             resource constrained entities affected by
                                              affected party registers as a government                  and a smaller firm if the SIPC                        multiple rules.560
                                              securities dealer under section 15C, the                  assessment rate changes from 0.15% to                   However, we think these increased
                                              party will not incur the costs discussed                  a different value in the future.557                   costs from overlapping compliance
                                              in this section. If an affected party                                                                           periods will be limited for several
                                              trades only government securities, then                   vi. Other Compliance Costs                            reasons. First, the number of newly
                                              the Commission expects the party to                                                                             registered dealers that will be subject to
                                                                                                          One commenter stated that the
                                              register as a government securities                                                                             each of the recently adopted rules
                                                                                                        Commission should consider that ‘‘the
                                              dealer under section 15C of the                                                                                 identified by commenters will be
                                                                                                        sheer number and complexity of the                    limited based on whether those newly
                                              Exchange Act.
                                                 The Commission estimates the annual                    Proposals, when considered in their                   registered dealers’ activities fall within
                                              cost of SIPC membership for an affected                   totality, if adopted, would impose                    the scope of the other rules.561 Second,
                                              party registered as a dealer is                           staggering aggregate costs, as well as                commenters’ concerns about the costs of
                                              approximately $3,000 plus 0.15% of                        unprecedented operational and other                   overlapping compliance periods were
                                              gross operating revenues generated by                     practical challenges.’’ 558 But, consistent           raised in response to the proposal and,
                                              the affected party’s securities business                  with its long-standing practice, the                  as discussed above, we have taken steps
                                              minus interest expense and dividends.                     Commission’s economic analysis in                     to reduce costs of the final rules.562
                                              This annual expense is the sum of two                     each adopting release considers the                   Third, although the compliance periods
                                              separate annual costs associated with                     incremental benefits and costs for the                for these rules overlap in part, the
                                              SIPC membership. The first annual                         specific rule—i.e., the benefits and costs            compliance dates adopted by the
                                              expense is approximately $3,000 and                       stemming from that rule compared to                   Commission are generally spread out
                                              represents costs associated with                          the baseline. In doing so, the                        over more than a two-year period from
                                              preparing and filing annual reports with                  Commission acknowledges that in some                  2023 to 2026.563 As discussed above, the
                                              SIPC.554 The second annual expense is                     cases resource limitations can lead to                Commission is adopting a compliance
                                              an assessment equal to 0.15% of gross                     higher compliance costs when the                      date of one year from the effective date
                                              operating revenues generated by a                         compliance period of the rule being                   of the final rules for persons engaging in
                                              dealer’s securities business minus                        considered overlaps with the                          activities that meet the dealer
                                              interest expense and dividends, which                     compliance period of other rules. In                  registration requirements to register.564
                                              SIPC collects for the SIPC Fund from all                  determining compliance periods, the                     As discussed above, the final rules
                                              SIPC members.555 We estimate that an                      Commission considers the benefits of                  may result in certain transactions of
                                              affected firm’s annual SIPC assessment                    the rules as well as the costs of delayed             newly registered dealers or government
                                              will be approximately $700,000 for                        compliance periods and potential                      securities dealers being subject to
                                              larger firms and $30,000 for smaller                      overlapping compliance periods.                       central clearing requirements under the
                                              firms, although costs will vary                             In this regard, some commenters                     recent Treasury Clearing
                                              depending on each firm’s actual gross                     mentioned the proposals which                         amendments.565 Such newly registered
                                              operating revenues.556 The annual SIPC                    culminated in the recent adoptions of
                                              assessment of an affected party                           the May 2023 SEC Form PF Amending
                                                                                                                                                                 560 See supra notes 347–353 (summarizing

                                              registered as a dealer may differ from                                                                          compliance dates).
                                                                                                        Release, the Private Fund Advisers                       561 The Beneficial Ownership Amending Release

                                                 554 $3,234 = $431 Compliance Attorney × 0.5
                                                                                                        Adopting Release, the Treasury Clearing               amends disclosure requirements that apply to only
                                                                                                        Release, the Beneficial Ownership                     those persons who beneficially own more than five
                                              hours (Annual Report to SIPC Filing) + $431                                                                     percent of a covered class of equity securities. The
                                              Compliance Attorney × 5 hours + $1 Postage                Amending Release, the Rule 10c-1a                     Rule 10c-1a Adopting Release will require only
                                              (Annual SIPC Membership Filing) + $431                    Adopting Release, the Short Position                  persons who agree to a covered securities loan to
                                              Compliance Attorney × 2 + $1 Postage (Filing
                                              Annual Statement from Independent Accounting
                                                                                                        Reporting Adopting Release, and the                   report that activity. The Short Position Reporting
                                                                                                        Securitizations Conflicts Adopting                    Adopting Release will require only institutional
                                              Firm). We round $3,234 to $3,000 to reflect                                                                     investment managers that meet or exceed certain
                                              uncertainty in our estimate.                              Release.559 The Commission                            reporting thresholds to report short position and
                                                 555 For the current assessment rate, see Securities
                                                                                                        acknowledges that there are compliance                short activity data for equity securities. And the
                                              Investor Protection Corporation, Assessment Rate,
                                              available at https://www.sipc.org/for-members/
                                                                                                        dates for certain requirements of these               Securitizations Conflicts Adopting Release will
                                                                                                        rules that overlap in time with the final             affect only certain entities—and their affiliates and
                                              assessment-rate. For the assessment rate                                                                        subsidiaries—that participate in securitization
                                              calculation, see Article 6 of the SIPC Bylaws,            rules, which may impose costs on                      transactions. In addition, principal trading firms
                                              available at https://www.sipc.org/about-sipc/                                                                   will not have to comply with the final rules in the
                                              statute-and-rules/bylaws.                                   557 See supra note 555.                             May 2023 SEC Form PF Amending Release or the
                                                 556 We use firms from the Amended Rule 15b9–
                                                                                                           558 MFA Comment Letter II; see also ICI Comment    Private Fund Advisers Adopting Release. See id.
                                              1 Adopting Release to approximate the gross                                                                        562 The final rules mitigate costs relative to the
                                              revenue of affected parties that register as dealers.     Letter (stating that the Commission should consider
                                                                                                        ‘‘practical realities such as the implementation      proposal. As discussed above, the Commission is
                                              We use the 12 largest firms, which have a median
                                                                                                        timelines as well as operational and compliance       deleting the proposed quantitative and aggregation
                                              gross revenue of approximately $491 million, from
                                                                                                        requirements’’); Overdahl Comment Letter (‘‘direct    standards, which would have required persons to
                                              the Amended Rule 15b9–1 Adopting Release to
                                                                                                        costs associated with registering as a government     establish robust controls to monitor and analyze
                                              estimate the SIPC assessment for large firms. We
                                                                                                        securities dealers will aggregate with the direct     trading across their corporate structure to determine
                                              use the remaining firms from the Amended Rule
                                                                                                        costs of compliance with other proposed rules         whether registration was required, and if so, which
                                              15b9–1 Adopting Release, which have a median
                                                                                                        which impact that fund’’).                            entities would register. Additionally, we expect
                                              gross revenue of approximately $20 million, to
                                                                                                           559 See supra note 346. As stated above,           FINRA’s expressed commitment to expedite the
                                              estimate the SIPC assessment for small firms. See
                                                                                                        commenters also specifically suggested the            application process will generally ease the
                                              Amended Rule 15b9–1 Adopting Release, section
                                              V.C.2.b. Based on those median revenues: $491             Commission consider potential overlapping             compliance burdens raised by commenters. See
khammond on DSKJM1Z7X2PROD with RULES2




                                              million × 0.0015 = $736,500; and $20 million ×            compliance costs between the final rules and          supra section II.B.
                                                                                                                                                                 563 For example, the effective date of the amended
                                              0.0015 = $30,000. We round $736,000 to the nearest        certain proposing releases. See supra note 345
                                              hundred thousand, $700,000, to reflect the                (identifying proposals other than those that have     deadline for filing Schedule 13D will be early 2024.
                                              estimate’s uncertainty. We cannot calculate with          been adopted). These proposals have not been          By contrast, compliance deadlines for reporting
                                              precision the total SIPC-related costs for all affected   adopted and thus have not been considered as part     securities loans under the Rule 10c–1a Adopting
                                              firms because of data limitations regarding               of the baseline here. To the extent those proposals   Release will be approximately two years later. See
                                              estimating the number of firms that will ultimately       are adopted in the future, the baseline in those      supra notes 347–353.
                                                                                                                                                                 564 See section II.B.
                                              register. See sections III.B.2.c and III.C.2.a.i and      subsequent rulemakings will reflect the regulatory
                                              gross operating revenues of those firms.                  landscape that is current at that time.                  565 See discussion on benefits in section III.C.1.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00051   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                    Page 52 of 74 PageID 76
                                              14988            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              dealers or government securities dealers                     For market participants engaging in                    merchants and introducing brokers.’’ 575
                                              may incur costs associated with these                     dealing activity, other than private                      Registration with the SEC as a dealer—
                                              central clearing requirements, as                         funds, the Net Capital Rule may require                   by itself—does not create a requirement
                                              discussed in the Treasury Clearing                        additional capital. We anticipate the                     to also register with the CFTC as a
                                              Adopting Release.566                                      costs associated with the Net Capital                     futures commission merchant or
                                                                                                        Rule to vary according to the type of                     introducing broker, so the final rules
                                              b. Costs Associated With the Net Capital
                                                                                                        investment. For example, less liquid                      would not necessarily increase affected
                                              Rule
                                                                                                        investments and derivatives positions                     parties’ futures margin. Registered
                                                 Affected persons who are not                           are subject to greater haircuts (see                      broker-dealers—as is the case with
                                              currently in compliance with the Net                      below), and will thus require more                        futures commission merchants—are
                                              Capital Rule would need to decrease the                   capital.572 Crypto assets that are not                    subject to requirements to take capital
                                              charges to their net capital or raise                     securities would be subject to a 100%                     charges for proprietary futures
                                              additional capital. This may particularly                 deduction when computing net capital                      positions.576 However, they need not
                                              impact private funds, as their investors                  and so affected persons that hold more                    take a charge if the position is a covered
                                              generally have withdrawal rights and                      of such assets would likely need more                     futures position.577 Second, the
                                              the Net Capital Rule requires a broker-                   net capital.573 The cost of complying                     commenter calculated margin costs
                                              dealer to subtract from net worth when                    with increased capital requirements                       based on a 5-day, 99% confidence,
                                              calculating net capital any contribution                  arises because an entity is required to                   portfolio value at risk (‘‘VaR’’) that
                                              of capital to the broker-dealer: (1) under                either shift the composition of its                       recognizes offsets between futures and
                                              an agreement that provides the investor                   portfolio to hold more liquid assets—                     bonds positions.578 VaR calculation
                                              with the option to withdraw the capital;                  which typically earn lower rates of                       methods vary, and they may depend on
                                              or (2) that is intended to be withdrawn                   return—than it would otherwise, or to                     several assumptions—among other
                                              within a period of one year of the                        fund its positions with a greater amount                  things, the relevant historical time
                                              contribution.567 Therefore, commenters                    of equity or subordinated debt, which is                  period, the precise assets in a portfolio,
                                              said that funds registering as dealers                    typically costlier than unsubordinated                    covariance between those assets, and
                                              may have to amend their contractual                       debt. However, entities that take less                    methods for modelling future returns.
                                              agreements with investors and that                        financial risk tend to have better credit                 We are uncertain of some of the details
                                              those investors may lose substantial                      with investors or lenders, other things                   of the sample strategies identified by the
                                              liquidity rights.568 However, we                          equal, so more favorable borrowing                        commenter, such as which precise
                                              estimate that the final rules will only                   terms for affected parties may partially                  assets may be involved in the butterfly
                                              affect a small percentage of private                      offset the costs of increasing their net                  strategies. Under this uncertainty, rather
                                              funds.569 We acknowledge that affected                    capital.                                                  than make the assumptions needed to
                                              private funds may have to limit investor                     One comment letter stated that the                     calculate VaR, we assume a flat 2%
                                              withdrawals if they want to continue                      proposed rule would greatly increase                      margin cost that does not necessarily
                                              dealing securities.570 Alternatively, an                  the cost of certain trading strategies and                recognize offsets. For entities with
                                              affected private fund may choose to                       provided numerical estimates.574 These                    margin costs lower (or, respectively,
                                              separate its dealing activities into a                    estimates appeared to rely on position                    higher) than 2%, the actual increases in
                                              separate entity.571                                       sizes and existing margin requirements                    minimum capital would be higher
                                                                                                        which the commenter did not provide.                      (lower) than the estimates we report in
                                                 566 See Treasury Clearing Adopting Release, 89
                                                                                                        We can nevertheless ascertain that the                    Table 9. Because the final rules will not
                                              FR 2811–18.
                                                 567 See 17 CFR 240.15c3–1(c)(2)(i)(G) (‘‘Rule
                                                                                                        commenter’s estimates rest on two                         include the proposed first qualitative
                                              15c3–1(c)(2)(i)(G)’’). The Net Capital Rule states that   assumptions. First, the commenter said                    factor, we do not expect the strategies in
                                              ‘‘[any] withdrawal of capital made within one year        that, under the proposed rule, the                        the letter to necessarily constitute
                                              of its contribution is deemed to have been intended       futures margin requirement would                          dealing under the final rules.
                                              to be withdrawn within a period of one year, unless       increase by 50% and cited to a CFTC                          In this context, in response to the
                                              the withdrawal has been approved in writing by the
                                              Examining Authority for the broker or dealer.’’ Id.       rule describing ‘‘Minimum financial                       commenter’s letter, we undertake our
                                              See AIMA Comment Letter II; Citadel Comment               requirements for futures commission                       own estimations of how much the final
                                              Letter; FIA–PTG Comment Letter; Fried Frank                                                                         rules may increase affected parties’
                                              Comment Letter; Hagerty-Hill Comment Letter; IAA
                                              Comment Letter I; MFA Comment Letter I; NAPFM
                                                                                                          572 See MFA Comment Letter I.                           required capital for different position
                                                                                                           573 See DeFi Fund Comment Letter at 9; GDCA
                                              Comment Letter; Two Sigma Comment Letter.                                                                           sizes under 17 of the 18 strategies listed
                                                                                                        Comment Letter. The Net Capital Rule’s AI standard
                                                 568 See AIMA Comment Letter II; Citadel
                                                                                                        requires net capital to exceed 1/15 of aggregate
                                                                                                                                                                  in the comment letter.579
                                              Comment Letter; Element Comment Letter; Fried             indebtedness. Any crypto assets that are not                 Estimates of increases in required
                                              Frank Comment Letter; NAPFM Comment Letter;               securities would not contribute to net capital, but       equity: In Table 9, the left column lists
                                              Two Sigma Comment Letter I; MFA Comment Letter
                                              I; FIA PTG Comment Letter I; IAA Comment Letter
                                                                                                        borrowing to fund those holdings may contribute to        the strategies as given in the comment
                                                                                                        AI. Thus, if an entity were to acquire non-security
                                              I; Overdahl Comment Letter; McIntyre Comment              crypto assets using proportionally the same amount
                                              Letter II. See also Hagerty-Hill Comment Letter.          of leverage as for the entity’s securities holdings,
                                                                                                                                                                    575 CFTC Reg. § 1.17(c)((5)(x)(B). See also Morgan
                                                 569 Table 2 shows 47,088 private funds reported
                                                                                                        the non-security crypto assets would reduce the           Lewis Comment Letter.
                                              on Form PF as of 2022Q4, but section III.B.2.c            entity’s ratio of net capital to AI. Crypto assets that     576 See 17 CFR 240.15c3–1b (‘‘Rule 15c3–1b’’).

                                              explains why the final rules may only affect a small      are securities and that have a ‘‘ready market,’’ as         577 See 17 CFR 240.15c3–1b(a)(3)(ix)(A) (‘‘Rule
                                              percentage of those funds.                                defined in section (c)(11) of the Net Capital Rule,       15c3–1b(a)(3)(ix)(A)’’) (providing that there is no
                                                 570 At least some investor capital would need to       would likely contribute to net capital, subject to        charge for inventory which is currently registered
                                              remain off-limits to withdrawal for at least one year.    haircuts. See 17 CFR 240.15c3–1(c)(2)(vi)(K).             as deliverable on a contract market and covered by
                                              For example, funds who wish to continue dealing           Because the Net Capital Rule’s AI standard requires       an open futures contract or by a commodity option
khammond on DSKJM1Z7X2PROD with RULES2




                                              activities may need to renegotiate contracts with         net capital to exceed a fraction (1/15) of AI, entities   on a physical). We assume that futures positions
                                              investors to provide for a one-year lockup period.        would not necessarily need to fund holdings of            involved in the strategies listed in the letter are
                                                 571 For example, a fund that engages in both           non-security crypto assets with 100% equity.              covered, but see infra notes 587 and 588 for how
                                              dealing and non-dealing activities could divide its          574 See FIA PTG Comment Letter I. The letter           our calculations may change if they are not.
                                                                                                                                                                    578 See FIA PTG Comment Letter I.
                                              activities into two new funds: one that engages in        listed 18 ‘‘typical types of trading activity that
                                              dealing and offers different (lower) liquidity rights     PTFs, and many others in the market, often                  579 The FIA PTG Comment Letter I did not

                                              for investors, and another than continues to operate      employ,’’ along with quantitative estimates of how        provide sufficient information to enable us to
                                              the non-dealing strategies and offers the same            much the required equity would have increased             assume details for strategy 10 ‘‘Two offsetting
                                              liquidity rights as the original fund.                    under the proposed rules.                                 butterfly positions in bonds.’’



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00052    Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                             Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                        Page 53 of 74 PageID 77
                                                                   Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                       14989

                                              letter, and the right column lists the                           amounts such as $P or $0.5P indicate
                                              contracts and transactions that we                               position sizes.
                                              assume the strategies involve. Dollar

                                                                                      TABLE 9—SAMPLE STRATEGIES FROM THE FIA–PTG COMMENT LETTER
                                                                    Strategy listed in the comment                                              Contracts and transactions involved *
                                                                                  letter

                                              1 ................   Two year futures vs On the Run              short $P futures position with 2yr Treasury deliverable, long $P Treasury note that will be deliv-
                                                                     cash.                                       erable against the futures contract.
                                              2 ................   Five year futures vs On the Run             short $P futures position with 5yr Treasury deliverable, long $P Treasury note that will be deliv-
                                                                     cash.                                       erable against the futures contract.
                                              3 ................   Ten year futures vs On the Run              short $P futures position with 10yr Treasury deliverable, long $P Treasury bond that will be de-
                                                                     cash.                                       liverable against the futures contract.
                                              4 ................   Ultra Bond futures vs Deliver-              short $P futures position with 25+yr Treasury deliverable, long $P Treasury bond that will be de-
                                                                     able bonds.                                 liverable against the futures contract.
                                              5 ................   Two Year futures vs Off the                 short $P futures position with 2yr Treasury deliverable, long $P off-the-run Treasury note that
                                                                     Run 2s.                                     will be deliverable against the futures contract.
                                              6 ................   Ultra Bond futures vs On the                short $P futures position with 25+yr Treasury deliverable, long $P 30yr on-the-run Treasury
                                                                     Run 30s.                                    bond.
                                              7 ................   Off-the-run Bond Butterfly .........        long $P 5yr Treasury note, short $0.5P 2yr Treasury note and short $0.5P 10yr Treasury note.
                                              8 ................   US/20yr/WN Butterfly ................       long $P 20yr Treasury bond, short $0.5P futures position with 10yr Treasury deliverable, short
                                                                                                                 $0.5P futures position with 30yr Treasury deliverable.
                                              9 ................   TY futures vs. Off the Run cash             short $P futures position with 10yr Treasury deliverable, long $P off-the-run Treasury bond that
                                                                                                                 will be deliverable against the futures position.
                                              10 ..............    Two offsetting butterfly posi-              We did not have sufficient information to analyze this strategy.
                                                                     tions in bonds.
                                              11 ..............    On the Run vs Off the Run                   short $P on-the-run 20yr Treasury bond, long $P off-the-run 20yr Treasury bond.
                                                                     20yrs.
                                              12 ..............    5s30s Flattener .........................   short $P 5yr Treasury note, long $P 30yr Treasury bond.
                                              13 ..............    TY Cash futures basis vs TU                 short $0.5P futures position with 10yr Treasury deliverable and long $0.5P Treasury bond that
                                                                     Cash futures basis.                          will be deliverable against the futures contract; long $0.5P futures position with 2yr Treasury
                                                                                                                  deliverable, short $0.5P Treasury note that will be deliverable against the futures contract.
                                              14 ..............    Ultrabond futures vs. CTD Cash              short $P futures position with 25+yr Treasury deliverable, long $P Treasury bond that will be de-
                                                                     bonds.                                       liverable against the futures contract.
                                              15 ..............    On the Run 30 Year vs. Aug47s               long $P Treasury bond maturing Aug. 2047 (assume maturity >25yrs), $P short on-the-run **
                                                                                                                  30yr Treasury bond.
                                              16 ..............    On the Run 30 Year vs. Feb42s               long $P Treasury bond maturing Feb. 2042 (assume maturity <20yrs), short $P on-the-run **
                                                                                                                  30yr Treasury bond.
                                              17 ..............    On the Run 30 Year vs. Feb36s               long $P Treasury bond maturing Feb. 2036 (assume maturity <14yrs), short $P on-the-run **
                                                                                                                  30yr Treasury bond.
                                              18 ..............    Low Risk Tight 3 Year Micro                 (a) long $P 5yr Treasury note, short $P 2yr Treasury note.
                                                                     RV ***.                                   (b) long $P 10yr Treasury note, short $P 7yr Treasury note.
                                                                                                               (c) Long $P 25yr Treasury bond, short $P 22yr Treasury bond.
                                                 * Based on the Commission’s understanding of what these strategies mean.
                                                 ** Analyses performed in Aug. 2022 (calculations of net capital requirements are not sensitive to changes in interest rates since Aug. 2022).
                                                 *** We consider three possible versions of this strategy.


                                                 In each strategy, the entity in question                      qualified subordinated liabilities, so that            dealer) and (ii) a fixed dollar amount
                                              simultaneously (i) takes a long position                         TNC always equals book equity. Net                     that varies by broker-dealer type.582 We
                                              of $P (in total) in one or more securities                       Capital (‘‘NC’’) equals TNC minus a                    assume that the relevant fixed dollar
                                              or futures and a short position of $P (in                        haircut. Haircuts are standardized by                  amount is $100,000 for parties affected
                                              total) in one or more securities or                              security,580 but dealers can seek                      by the final rules, as that is the fixed
                                              futures; (ii) posts margin; and (iii) keeps                      regulatory approval to instead compute                 dollar minimum for a dealer. We
                                              no additional cash on its balance sheet,                         net capital using the market risk                      assume that all loans involved in the
                                              so that its equity equals the value of its                       standards of appendix E.581 Our                        sample strategies in Table 9 would be
                                              margin account.                                                  calculations rely on the standardized                  ‘‘adequately collateralized by securities
                                                                                                               haircuts.                                              which are carried long by the broker or
                                                 The net capital calculation begins
                                                                                                                 NC must equal or exceed the greater                  dealer and which have not been sold’’
                                              with computing Tentative Net Capital
                                                                                                               of a fixed-dollar minimum requirement
                                              (‘‘TNC’’), which is equal to book equity
                                                                                                               and a ratio-based minimum                                582 For example, the fixed dollar amount equals
                                              minus assets not readily convertible to                                                                                 $5,000 for a broker-dealer that does not receive,
                                                                                                               requirement. The aggregate
                                              cash (e.g., fixed or intangible assets),                                                                                directly or indirectly, or hold funds or securities
                                                                                                               indebtedness (AI) standard requires NC
                                              minus certain operational charges, plus                                                                                 for, or owe funds or securities to, customers;
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                               to exceed the greater of (i) one-fifteenth             $50,000 for an introducing broker dealer that
                                              qualified subordinated liabilities.
                                                                                                               of AI (or one-eighth for 12 months after               receives but does not hold securities; $100,000 for
                                              Because the comment letter discussed                                                                                    a dealer (defined as a broker-dealer that, among
                                                                                                               commencing business as a broker or
                                              these trading strategies in isolation, our                                                                              other things, ‘‘effects more than ten transactions in
                                              calculations correspondingly assume                                                                                     any one calendar year for its own investment
                                                                                                                 580 See SEC Rule 15c3–1(c)(2)(vi).
                                                                                                                                                                      account’’); $250,000 for a carrying broker-dealer;
                                              that the entity in question has no assets                           581 Dealers approved to calculate net capital in    $20 million for an OTC derivatives dealer; or $1
                                              that are not readily convertible to cash,                        this manner must also maintain at all times TNC of     billion for a broker-dealer that has been approved
                                              no relevant operational charges, and no                          at least $5 billion and NC of at least $1 billion.     to use models to compute net capital.



                                         VerDate Sep<11>2014       17:22 Feb 28, 2024     Jkt 262001    PO 00000    Frm 00053   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                            Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                                Page 54 of 74 PageID 78
                                              14990                Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              and that securities borrowed would also                                 models must maintain TNC of $5                                             it does not register with the
                                              be adequately collateralized. AI is thus                                billion. Our calculations are for affected                                 Commission.
                                              equal to zero in our analysis, and NC                                   parties to which these TNC                                                    Under these conditions, the AI
                                              under the AI standard must therefore                                    requirements do not apply, however.                                        standard requires that book equity
                                              exceed the fixed dollar amount of                                          Lastly, as described above, our
                                                                                                                                                                                                 minus any haircut exceeds $100,000—
                                              $100,000.583 An alternative standard                                    calculations assume that the entity in
                                                                                                                                                                                                 i.e., book equity must exceed $100,000
                                              requires NC to exceed the greater of (i)                                question, whether registered as a dealer
                                                                                                                                                                                                 plus any haircut—so that the percentage
                                              2% of customer debit items or (ii)                                      or not, faces a margin requirement of
                                                                                                                                                                                                 increase in required equity is equal to:
                                              $250,000. Our calculations assume that,                                 2%, so that its book equity equals
                                                                                                                                                                                                 [(haircut + $100k)/non-broker-dealer
                                              similarly to the PTFs to which the                                      $0.02P.
                                                                                                                         To summarize, we estimate the                                           margin]¥1, or [(haircut + $100k)/
                                              comment letter refers,584 the trader in
                                                                                                                      increased capital requirement for                                          $0.02P]¥1. The AI standard under the
                                              question has no customers. Therefore, in
                                                                                                                      affected parties under the following                                       market maker exception requires instead
                                              the absence of customer debit items, this
                                                                                                                      conditions: (i) TNC equals book equity;                                    that book equity exceed the greater of
                                              alternative standard requires at least
                                                                                                                      (ii) affected parties would use the                                        $100,000 and a percentage of the
                                              $250,000 of NC, which is higher than
                                                                                                                      standardized haircuts specified in the                                     position size P that depends on the
                                              the $100,000 fixed-dollar minimum
                                                                                                                      Net Capital Rule; (iii) the fixed amount                                   exposures involved. We now turn to our
                                              under the AI standard.
                                                 Certain dealers 585 engaged in                                       under the AI standard is $100,000 and                                      findings.
                                              activities as market makers can avoid                                   AI equals zero so that the AI standard                                        Eleven of the 17 strategies for which
                                              calculating a haircut (so NC=TNC) if                                    requires $100,000 of NC; (iv) the                                          we provide estimates have no haircuts
                                              they maintain liquidating equity above                                  alternative standard requires NC of                                        under the Net Capital Rule, because the
                                              a threshold equal to a percentage of                                    $250,000, therefore it would not be                                        securities and/or futures positions offset
                                              their securities or derivatives                                         adopted by affected parties in lieu of the                                 each other—the 11 strategies are strategy
                                              positions.586 We consider this provision                                $100,000 fixed dollar minimum                                              1, 2, 3, 4, 5, 6, 9, 11, 13, 14, and 15—
                                              in our analysis, but we find that the                                   required under the AI standard; (v)                                        and six strategies do have haircuts—
                                              capital requirement for market makers is                                certain entities can claim a market                                        these strategies are 7, 8, 12, 16, 17, and
                                              not the binding constraint for any of the                               maker exception that allows them to                                        18. To illustrate the calculations
                                              sample strategies.                                                      avoid calculating a haircut (so NC=TNC)                                    involved, Box 1 describes the
                                                 OTC derivatives dealers must also                                    if they maintain capital above a certain                                   calculation details for a strategy with no
                                              maintain TNC of $100 million, and                                       threshold; (vi) all futures positions are                                  haircut, and Box 2 describes the
                                              dealers that are approved to calculate                                  covered; and (vii) the entity in question                                  calculation details for a strategy with a
                                              haircuts using their own internal risk                                  must maintain capital of $0.02P even if                                    haircut.

                                                                   BOX 1—CALCULATION DETAILS FOR STRATEGY 1: ‘‘TWO YEAR FUTURES VS ON THE RUN CASH’’

                                              Description: short $P futures position with 2yr Treasury deliverable, long $P Treasury note that will be deliverable against the futures contract.
                                              Transactions assumed: borrow $P, buy $P 2yr notes, enter $P short futures position with 2yr Treasury deliverable, deposit $x in margin.

                                                                                                                                                Balance Sheet

                                              Assets ..................................   $P 2yr note ..............................................          Liabilities ............................   $P loan.
                                                                                          $x receivable (margin) .............................                Equity .................................   $x.
                                                                                                                                                              Off balance sheet ..............           short $P notional 2yr futures.

                                                         Calculations                     Notes

                                              Haircut * ...............................   0 ...............................................................   futures and note positions offset.

                                              Capital Requirement (minimum required x)

                                              Non-dealer ...........................      0.02P .......................................................       margin requirement.
                                              Dealer ..................................   max(0.02P, 100k) ....................................               max(margin requirement, dealer capital).
                                              % Change ............................       (100k/0.02P)¥1 ......................................               if P < 100k/0.02 = $5 million,
                                                                                          or
                                                                                          0 ...............................................................   if P ≥ $5 million (margin is binding constraint).


                                                                             BOX 2—CALCULATION DETAILS FOR STRATEGY 7: ‘‘OFF-THE-RUN BOND BUTTERFLY’’

                                              Description: long $P 5yr Treasury note, short $0.5P 2yr Treasury note and short $0.5P 10yr Treasury note.


                                                583 Paragraph (c)(1) of the Net Capital Rule                          loaned, which securities are carried long by the                           securities association, and whose market maker or
khammond on DSKJM1Z7X2PROD with RULES2




                                              defines AI as ‘‘the total money liabilities of a broker                 broker or dealer and which have not been sold.’’                           specialist transactions are effected through and
                                              or dealer arising in connection with any transaction                       584 See FIA PTG Comment Letter I.
                                                                                                                                                                                                 carried in a market maker or specialist account
                                              whatsoever,’’ subject to several exclusions.                               585 See paragraph (a)(6) of the Net Capital Rule.
                                                                                                                                                                                                 cleared by another broker or dealer.’’
                                              Paragraphs (c)(1)(i) and (ii) describe two exclusions                   The market maker exception is available to a dealer                          586 See Rule 15c3–1(c)(6)(iii). For these strategies,
                                              that apply to the trading strategies provided by                        ‘‘who does not effect transactions with other than
                                                                                                                                                                                                 the thresholds are generally 5% of the value of long
                                              FIA–PTG for ‘‘indebtedness adequately                                   brokers or dealers, who does not carry customer
                                              collateralized by securities which are carried long                     accounts, who does not effect transactions in                              positions in U.S. Treasury securities plus 25% of
                                              by the broker or dealer and which have not been                         options not listed on a registered national securities                     the value of long positions in U.S. Treasury futures
                                              sold,’’ and for ‘‘amounts payable against securities                    exchange or facility of a registered national                              plus 30% of the value of short positions.



                                         VerDate Sep<11>2014       17:22 Feb 28, 2024       Jkt 262001        PO 00000        Frm 00054        Fmt 4701       Sfmt 4700     E:\FR\FM\29FER2.SGM           29FER2
                                                            Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                             Page 55 of 74 PageID 79
                                                                   Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                                              14991

                                                                  BOX 2—CALCULATION DETAILS FOR STRATEGY 7: ‘‘OFF-THE-RUN BOND BUTTERFLY’’—Continued
                                              Transactions: borrow $P, buy $P 5yr notes, use 5yr notes as collateral to borrow $0.5P of 10yr notes and $0.5P of 2yr notes, sell them and use
                                                proceeds to repay loan, deposit $x in margin.

                                                                                                                                             Balance Sheet

                                              Assets ..................................    $x receivable (margin) .............................            Liabilities ............................   $0.
                                                                                                                                                           Equity .................................   $x.
                                                                                                                                                           Off Balance sheet ..............           $0.5P stock borrowed (10yr note).
                                                                                                                                                                                                      $0.5P stock borrowed (2yr note).
                                                                                                                                                                                                      $P 5yr note posted as collateral.

                                                                                          Calculations                                                     Note

                                              Haircut * ...............................    P*7.25% ...................................................     (P*4% for 5yr note) + (0.5P*2% for 2yr note) + (0.5P*4.5% for 10yr
                                                                                                                                                           note).

                                              Capital Requirement (minimum required x)

                                              Non-dealer ...........................       0.02P .......................................................   margin requirement.
                                              Dealer ..................................    max(0.02P,100k+0.0725P) ......................                  under regular AI standard.
                                                                                           or
                                                                                           max(100k, 0.35P) ** .................................           if acting as market maker (0.35P = 5% of long + 30% of short posi-
                                                                                                                                                           tions).
                                              % Change ............................        (100k/0.02P)¥1 ......................................           if P < 100k/(0.35–0.0725) = 360k.
                                                                                           or
                                                                                           (100k+0.0725P)/0.02P¥1 .......................                  if P > $360k.
                                                 * See 17 CFR 240.15c3–1, paragraph (c)(2)(vi)(A) (‘‘Rule 240.15c3–1(c)(2)(vi)(A)’’).
                                                 ** See 17 CFR 240.15c3–1, paragraph (c)(6)(iii) (‘‘Rule 240.I3–1(c)(6)(iii)’’).


                                                 For strategies with no haircuts, such                               increase in required capital that the                                       The values shown in Table 10 may
                                              as in Box 1, the percentage change in                                  commenter provided for each strategy                                     also overstate or understate the actual
                                              capital is equal to ($100,000/0.02P)¥1,                                included in the comment letter.                                          costs of the Net Capital Rule for the
                                              which converges to zero as the position                                Columns 2 shows our estimated                                            following reasons. For affected parties
                                              size P grows, since as P gets large the                                increases in required minimum capital                                    that pursue more than one trading
                                              2% margin requirement already requires                                 for a position size of $50 million (i.e.,                                strategy, we expect that the actual
                                              more capital than would the Net Capital                                at P = $50mm), because the final rules                                   increase in minimum net capital would
                                              Rule.587                                                               will exclude persons that have or                                        be lower than the values shown in
                                                 For strategies with haircuts, such as in                                                                                                     column 2, and perhaps even lower than
                                                                                                                     control less than $50 million in total
                                              Box 2, the AI standard with the market                                                                                                          the values shown in column 3, because
                                                                                                                     assets. Column 3 shows our estimated
                                              maker exemption is the easiest to meet                                                                                                          net capital applies to the entire portfolio
                                              when the position size P is small                                      increases in required minimum capital
                                              enough because the market maker                                        for very large position sizes (i.e., as P →                              and not just to a single strategy. The
                                                                                                                     infinity). We estimate that in 10 out of                                 increases shown in Table 10 are
                                              exemption allows the entity to avoid
                                                                                                                     the 17 strategies provided by the                                        therefore not additive—e.g., trading
                                              taking a haircut. As P grows, the market
                                              maker exemption becomes more                                           commenter the Net Capital Rule would                                     P=$50 million of, Strategy 7 and $50
                                              binding, and the regular AI standard is                                not increase affected parties’ minimum                                   million of Strategy 8 will not cause
                                              the easiest to meet. As P grows                                        capital requirements, and in another                                     minimum net capital to increase by
                                              arbitrarily large, the increase in equity                              four strategies the capital requirements                                 273% + 54%, but by a smaller amount.
                                              converges to (haircut/0.02)¥1.588 If the                               would increase by less than 100%. Our                                    Holding many securities or futures
                                              haircut is greater than the margin                                     estimates are generally lower than the                                   positions for many different strategies
                                              requirement, the Net Capital Rule will                                 commenter’s estimates. As described                                      may allow additional offsets when
                                              always require an increase in minimum                                  above, our calculations may differ                                       calculating standardized haircuts
                                              capital. If the haircut is less than the                               because (i) we do not agree that futures                                 according to the Net Capital Rule, so the
                                              margin requirement, then a large enough                                margin requirement would necessarily                                     total increase in capital required for a
                                              P will make the margin requirement the                                 increase by 50% and (ii) we use a flat                                   $100 million multi-strategy portfolio
                                              binding constraint.                                                    2% margin rather than calculating a                                      could be even lower than the increase
                                                 Table 10 reports our findings. The                                                                                                           associated with $100 million in a single
                                                                                                                     risk-based margin using VaR.
                                              first column shows the estimated                                                                                                                strategy.
khammond on DSKJM1Z7X2PROD with RULES2




                                                587 The increase for strategies with uncovered                       from 2% to 3%, the increase in required capital for                      [max(0.03, haircut)/$0.02P]¥1. All but one of the
                                              futures would be higher. For example, if the                           strategies with no margin would be 50% at P=$50                          17 strategies with haircuts have haircuts larger than
                                              additional futures margin meant the entity’s overall                   million.                                                                 0.03 except for strategy 8, for which we calculate
                                              margin requirement increased from 2% of P to 3%                           588 The increase for strategies with uncovered                        a haircut of 2.875%. Under the assumption that
                                              of P, then the percentage increase would be
                                                                                                                     futures would be higher. For example, if the                             higher futures margin raises overall margin costs
                                              [max(0.03, $100k)/$0.02P]¥1. The smallest value of
                                              P we consider is $50 million (see infra Table 10 and                   additional futures margin meant the entity’s overall                     from 2% to 3%, then, our calculations are nearly
                                              related discussion). Under the assumption that                         margin requirement increased from 2% of P to 3%                          the same whether the futures positions are covered
                                              higher futures margin raises overall margin costs                      of P, then the percentage increase would be                              or not.



                                         VerDate Sep<11>2014       17:22 Feb 28, 2024        Jkt 262001      PO 00000       Frm 00055       Fmt 4701       Sfmt 4700     E:\FR\FM\29FER2.SGM           29FER2
                                                              Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                            Page 56 of 74 PageID 80
                                              14992                   Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                                                                                   TABLE 10—ESTIMATED INCREASE IN REQUIRED MINIMUM CAPITAL
                                                                                                                                                                                                        Commission-estimated increases in
                                                                                                                                                                              Estimated capital                     capital
                                                                                                                                                                              increase reported
                                                                                                     Strategy                                                                 by the commenter                                         Large P
                                                                                                                                                                                                          P = $50mm
                                                                                                                                                                                     (%)                                             (P → infinity)
                                                                                                                                                                                                              (%)                        (%)

                                              1 ...........................................................................................................................                 828                          0                         0
                                              2 ...........................................................................................................................                 595                          0                         0
                                              3 ...........................................................................................................................                 718                          0                         0
                                              4 ...........................................................................................................................               1,117                          0                         0
                                              5 ...........................................................................................................................                  34                          0                         0
                                              6 ...........................................................................................................................                 645                          0                         0
                                              7 ...........................................................................................................................                 580                        273                       263
                                              8 ...........................................................................................................................                 718                         54                        44
                                              9 ...........................................................................................................................                 171                          0                         0
                                              10 .........................................................................................................................                  913                  * unknown                   unknown
                                              11 .........................................................................................................................                  530                          0                         0
                                              12 .........................................................................................................................                  207                        410                       400
                                              13 .........................................................................................................................                  742                         80                         0
                                              14 .........................................................................................................................                  612                          0                         0
                                              15 .........................................................................................................................                  615                          0                         0
                                              16 .........................................................................................................................                  315                         85                        75
                                              17 .........................................................................................................................                  173                         98                        88
                                              18 (a) ** ................................................................................................................                    522                        210                       200
                                              18 (b) ** ................................................................................................................                    522                        335                       325
                                              18 (c) ** ................................................................................................................                    522                         73                        63
                                                * For strategy 10, the Commission was unable to find, under its analysis, a position size that corresponded to the commenter’s estimate of
                                              913%.
                                                ** The Commission estimated three potential versions of strategy 18, ‘‘Low Risk Tight 3 Year Micro RV.’’


                                                 The values shown in Table 10 may                                           to increase its net capital from $30 to                          avoid the revised dealer definition.591
                                              understate the actual costs of the Net                                        $70, for a total required net capital of                         Or, as discussed above, affected parties
                                              Capital Rule because this analysis does                                       $140 across both entities. For a dealer                          could respond by reorganizing their
                                              not consider the ‘‘lock-up’’ requirement                                      organized in this way, shifts in the                             activities—e.g., to consolidate
                                              that capital be held for at least a period                                    distribution of activities across                                subsidiaries—in order to avoid the
                                              of one year.589 As one commenter                                              subsidiaries may result in a higher net                          capital lock-up problem described in the
                                              described, this requirement may be                                            capital requirement than would                                   previous paragraph. We cannot quantify
                                              more restrictive for some corporate                                           otherwise apply to the aggregate                                 the costs to these affected parties and
                                              structures than for others.590 For                                            activities. In this simple example, a                            their investors of scaling back trading
                                              example, consider a dealer trading in                                         dealer that engaged 100% in equities                             activities or reorganizing since we do
                                              both Treasury securities and equities for                                     one day (through its equity-focused                              not know the scope of their current
                                              whom, on day 1, its Treasury positions                                        subsidiary) and 100% in Treasury                                 activities, how profitable those activities
                                              require net capital of $70 and its equity                                                                                                      may be, or how market participants may
                                                                                                                            securities on another day (through its
                                              positions require net capital of $30, for                                                                                                      allocate trading across different legal
                                                                                                                            Treasury-focused subsidiary) may have
                                              total required net capital of $100. On                                                                                                         entities. An affected party’s costs of
                                                                                                                            to hold twice as much net capital as it
                                              day 2, the dealer’s activities shift such                                                                                                      increased net capital requirements
                                              that its Treasury positions now require                                       would if it were organized as a single
                                                                                                                                                                                             under the application of the Net Capital
                                              net capital of $30 and its equity                                             consolidated entity. Affected parties
                                                                                                                                                                                             Rule could be partially offset by
                                              positions require $70. If a single entity                                     may respond to this capital lock-up by
                                                                                                                                                                                             reductions in its cost of capital as higher
                                              engages in these activities, the shift in                                     limiting the amount of capital they                              levels of net capital may reduce the
                                              activities on day 2 will not require any                                      deploy toward dealing activities, with                           affected party’s probability of default.
                                              change in net capital. However, the shift                                     the result that affected parties may
                                              may require additional net capital if                                         become less likely to commit capital to                          c. Potential Implications for Private
                                              different activities are conducted by                                         dealing activities, even in times when                           Funds and Advisers
                                              separate subsidiary entities. Since the                                       the returns to dealing may be high.                                 Commenters mentioned other
                                              Net Capital Rule requires capital to be                                       However, currently-registered dealers                            potential conflicts between private
                                              held for at least one year, the entity                                        and their investors must already                                 funds’ business and the dealer rules and
                                              trading Treasury securities would still                                       consider these consequences of the Net                           regulations beyond the challenge of
                                              have $70 of net capital on day 2, while                                       Capital Rule.                                                    reconciling fund investors’ withdrawal
                                              the entity trading equities would need                                           We acknowledge that in instances                              rights with dealers’ capital
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                            where the Net Capital Rule may increase                          requirements.592 As explained above,
                                                 589 The Net Capital Rule allows for exceptions
                                                                                                                            affected parties’ minimum capital                                the Commission expects that only a
                                              from the one-year lockup for withdrawals that are                                                                                              limited number of private funds will be
                                              approved in writing by the examining authority.                               requirements, these parties may need to
                                              Based on staff experience, FINRA—in its capacity                              raise capital or reduce leverage. Several                        affected by the final rules.593 For the
                                              as an examining authority—has on rare occasions                               commenters suggested that affected                                    591 See supra note 62.
                                              provided such approvals to address extraordinary
                                              circumstances. See supra note 567.                                            parties could respond to the final rules                              592 See supra notes 230, 233, 242, and 254.
                                                 590 See Duffie Comment Letter.                                             by changing or curtailing their trading to                            593 See sections II.A.3.b, III.B.2.c.




                                         VerDate Sep<11>2014          17:22 Feb 28, 2024          Jkt 262001       PO 00000        Frm 00056        Fmt 4701        Sfmt 4700   E:\FR\FM\29FER2.SGM     29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                 Page 57 of 74 PageID 81
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                 14993

                                              limited number of affected funds under                  protection regulations that govern their              costs for amending its organizational
                                              the final rules, we discuss below                       relations with their broker-dealers.596               agreements to facilitate compliance with
                                              potential costs to those funds and their                Funds that register as dealers may incur              FINRA Rule 5310. To the extent they
                                              advisers and investors. Depending on                    costs to the extent that they need to                 face these costs, some affected persons
                                              the specific conflict between private                   revise their organizational documents                 may consider ceasing any behavior that
                                              funds’ business and the dealer rules and                and agreements with third parties                     constitutes dealing.
                                              regulations, a fund may respond by                      because certain customer protection
                                                                                                                                                               Another commenter said that FINRA
                                              revising its organizational documents                   regulations would no longer apply. And
                                                                                                                                                            rules may restrict investment advisers
                                              and agreements with third parties, such                 insofar as the applicability of these
                                                                                                                                                            who are also dealers from receiving
                                              as prime brokers and executing brokers;                 customer protections affect investors’
                                              modifying its investing strategies (which               decisions to invest, funds may also                   carried interest from their private fund
                                              can require investor consent and also                   incur costs from investors withdrawing                clients.602 The comment letter cited to
                                              trigger investors’ redemption rights) to                or choosing not to invest.                            FINRA Rule 2150, which contains
                                              avoid dealing; or accommodating                            One commenter suggested that the                   prohibitions against FINRA members
                                              investors that withdraw from the fund.                  proposed rules’ impact may be costly for              sharing in the profits of customers’
                                              Although these costs may be significant                 private funds because funds and broker-               accounts. The commenter said that the
                                              for individual funds, in aggregate we do                dealers are treated differently for tax               proposed rules’ aggregation provision,
                                              not expect that their combined impact                   purposes.597 This different treatment                 which would have combined advisers’
                                              will be significant because of the limited              may result in costs for some of the                   trading on behalf of their clients
                                              number of funds likely to be affected by                affected funds. But given the limited                 together with advisers’ proprietary
                                              the final rules.                                        number of affected funds, we do not                   trading, would also have meant that
                                                 One potential conflict is that private               believe that tax consequences for those               adviser-client relationships could be
                                              funds that register as dealers may face                 funds will harm market liquidity and                  treated like dealer-customer
                                              restrictions against participating in the               efficiency.                                           relationships for the purposes of FINRA
                                              IPO market.594 Hedge funds that buy                        One commenter said that ‘‘many                     Rule 2150. We have removed the
                                              IPO shares and also engage in dealing                   investment funds (e.g., pension plans)                aggregation standard from the definition
                                              strategies may have to withdraw from                    may not be permitted to register as a                 of ‘‘own account,’’ as discussed
                                              one set of activities when the final rules              dealer under their organizational                     previously, and these changes mean the
                                              go into effect. We expect that funds will               charters’’ and also that ‘‘many potential             final rules are not likely to prevent
                                              choose the activity that adds more value                fund investors may not be permitted to                advisers who are also dealers from
                                              to the fund and its investors; some may                 invest in the equity of a broker-                     receiving carried interest from their
                                              choose to register and stay out of the                  dealer.’’ 598 If any affected funds are               private fund clients.
                                              IPO market, while others may forgo                      prohibited from registering as dealers or
                                              dealing to be able to invest in IPOs.                   have investors that are prohibited from               d. Effects on Market Liquidity
                                              Because hedge funds are important                       investing in a dealer, then we agree that
                                              players in the IPO market,595 any large-                                                                         Studies on HFT are mixed on whether
                                                                                                      those affected funds may incur
                                              scale exit of hedge funds from this                     additional costs, including costs of                  affected firms’ activities may improve or
                                              market could impact the ability of                      revising organizational documents,                    worsen market liquidity.603 Recent
                                              issuers to raise new capital, as well as                splitting dealing and non-dealing                     experience is also mixed on the role of
                                              reduce efficient pricing in new issues.                 activities into separate legal entities, or           PTFs during market events. PTFs’ share
                                              Similarly, any large-scale exit from                    changing investment strategies and                    of market intermediation fell
                                              dealing could impact liquidity. The                     withdrawal of investors, whichever                    considerably more than did dealers’
                                              magnitude of these costs depends on the                 option is least costly.                               share did during 2020,604 but their share
                                              extent to which there are hedge funds                      A commenter suggested one scenario                 actually increased during the 2014 flash
                                              that engage in both activities                          in the context of all-to-all trading in               rally 605 and again during March
                                              simultaneously, as well as on hedge                     which a fund’s best execution obligation              2023.606 Many commenters said that the
                                              funds’ total share of aggregate IPO and                 as a dealer under FINRA Rule 5310 may                 final rules would reduce market
                                              dealing activity.                                       conflict with the fund adviser’s                      liquidity, especially in the market for
                                                 Several commenters stated that                       fiduciary duty to achieve best execution
                                              registering as dealers would cause funds                for its client, the fund.599 The adviser’s              602 See McIntyre Comment Letter II.

                                              to lose the benefit of various customer                 fiduciary duty to achieve best execution                 603 See section III.B.2.b for why we believe HFT

                                                                                                                                                            is the most likely private fund activity to fit the
                                                                                                      is informed by applicable legal                       final rules’ factors. See also 2015 Joint Staff Report,
                                                 594 A broker-dealer registered with FINRA is
                                                                                                      requirements,600 and, as stated above,                stating that low latency trading—i.e., HFT—is
                                              subject to Rule 5130, which prohibits member firms
                                              from selling new issues (e.g., IPOs) to restricted      we do not believe a conflict between                  ‘‘typically [a] key element of trading strategies’’ for
                                                                                                      these legal obligations will arise in the             PTFs. For a survey of the literature on HFT, see
                                              persons. Generally, a broker-dealer, along with the
                                                                                                                                                            Albert J., 2016, The Economics of High-Frequency
                                              owners that would be listed on Form BD (e.g., 5%        scenario raised by the commenter.601                  Trading: Taking Stock, Annual Review of Financial
                                              direct owners, 25% indirect owners) would be            The fund may nevertheless incur costs
                                              considered ‘‘restricted persons’’ and subject to the                                                          Economics (8), 1–24. See also Brogaard, Jonathan,
                                              new issue restrictions. FINRA member firms are          because of best execution obligations as              Allen Carrion, Thibaut Moyaert, Ryan Riordan,
                                              also prohibited from purchasing new issue               a newly registered dealer, including                  Andriy Shkilko, Konstantin Sokolov, 2018, High
                                              securities. See AIMA Comment Letter II; AIMA                                                                  Frequency Trading and Extreme Price Movements,
                                              Comment Letter III; Citadel Comment Letter;                                                                   Journal of Financial Economics 128(2), 253–265;
                                                                                                        596 See, e.g., Citadel Comment Letter; Lewis
                                              Committee on Capital Markets Comment Letter;                                                                  ‘‘Fast and Furious,’’ 11/20/2018, J.P. Morgan North
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                      Study.                                                America Fixed Income Strategy; ‘‘Revisiting the
                                              Element Comment Letter; Lewis Study; MFA                  597 See Two Sigma Comment Letter I.
                                              Comment Letter I.                                                                                             Ides of March, Part I: A Thousand Year Flood,’’
                                                                                                        598 See Blackrock Comment Letter.                   Council on Foreign Relations (July 20, 2020),
                                                 595 See Hong Qian and Zhaodong (Ken) Zhong,

                                              2017, ‘‘Do Hedge Funds Possess Private Information
                                                                                                        599 Id.                                             available at https://www.cfr.org/blog/revisiting-ides-
                                              about IPO Stocks? Evidence from Post-IPO                  600 See Commission Interpretation Regarding         march-part-i-thousand-year-flood; Better Markets
                                              Holdings,’’ Review of Asset Pricing Studies 8(1), p.    Standard of Conduct for Investment Advisers,          Comment Letter.
                                                                                                                                                               604 See supra notes 21 and 443.
                                              117–152. These authors observe that hedge funds         Investment Advisers Act Release No. 5248 (June 5,
                                              hold about 80% of the average IPO firm’s shares as      2019), 84 FR 33669, 33674–75 (July 12, 2019).            605 See 2015 Joint Staff report.

                                              of the first reporting date after the IPO.                601 See supra note 235 and accompanying text.          606 See supra note 447.




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00057   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                             Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                                Page 58 of 74 PageID 82
                                              14994                 Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              U.S. Government securities.607 These                                     investors in those entities may reduce                                    such failure may have on market
                                              commenters said that affected parties                                    their market participation as well.614 A                                  liquidity.
                                              would curtail or cease the trading                                       decrease in the activities of liquidity-                                     The following analysis of Form PF
                                              activities described in the final rule                                   providing entities and their investors                                    data sheds light on how the final rules’
                                              rather than submit to dealer                                             would harm market liquidity. Because                                      effect on private funds might, in turn,
                                              registration.608 Two commenters also                                     some PTFs have become especially                                          reduce market liquidity.618 Registered
                                              said that the costs of dealer registration,                              prominent intermediaries in the market                                    investment advisers report the monthly
                                              especially the Net Capital Rule, would                                   for U.S. Government securities, any                                       turnover 619 across all their funds, in
                                              lead affected parties to curtail their                                   harm to market liquidity may be more                                      each of 10 different asset classes. As
                                              trading even if they were to register as                                 pronounced in that market.615                                             discussed in section III.B.2.b, private
                                              dealers and continue dealing.609 Also, if                                   We conclude that any potential harm                                    fund activities reported as HFT are the
                                              affected parties experience rapid                                        to market liquidity is likely to be                                       most likely to be affected by the final
                                              changes in their amounts of liquid                                       smaller than commenters suggested                                         rules. Table 11 describes the turnover
                                              assets or unsubordinated liabilities, the                                because the final rules will likely affect                                for the advisers associated with funds
                                              requirement to maintain minimum net                                      fewer entities than the proposed rule,                                    that use HFT for the most recently
                                              capital could prevent them from                                          due to the elimination of the proposed                                    reported month between 2021–Q4 and
                                              providing liquidity even if it would be                                  first qualitative factor 616 and the                                      2022–Q3 (see also Table 3). The left
                                              profitable to do so.610 One commenter                                    elimination of aggregation.617 We also                                    column describes the advisers for the 40
                                              said that the costs of dealer registration                               believe that any harm to liquidity is                                     funds listed in Table 3 as using less than
                                              are a barrier to participation in the U.S.                               likely to be limited for the following                                    10% of NAV for HFT, and the right
                                              Treasury market.611 Another commenter                                    reasons. First, if affected persons reduce                                column describes the advisers for the 12
                                              said that the costs of the Net Capital                                   their trading and bid-ask spreads                                         funds listed as using more than 10%.
                                              Rule might make it more costly for firms                                 meaningfully widen, then other                                            The second row lists the total number
                                              to employ capital in trading U.S.                                        registered dealers may compete with                                       of funds with these advisers (including
                                              Government securities.612 For instance,                                  one another to trade on the wider                                         funds that do not have any reported
                                              when a ‘‘parent’’ firm has the option to                                 spreads. The additional buying and                                        HFT), and the third row lists the total
                                              contribute capital to any of its trading                                 selling by these other dealers would                                      NAV of all of these funds. As described
                                              businesses (‘‘subsidiaries’’), one                                       offset some of the liquidity lost as the                                  above in the context of Table 3, we use
                                              commenter added that the effects of                                      affected persons withdrew from dealing.                                   Form PF data to translate each fund’s
                                              applying the Net Capital Rule to these                                   Second, if significant liquidity providers                                HFT use (reported as a percentage of
                                              entities might directly harm liquidity in                                that are better capitalized are also less                                 NAV) into dollar amounts. The fourth
                                              government securities by making it                                       volatile during times of crisis, then the                                 row of Table 11 divides the total HFT
                                              more costly for the parent entity to                                     final rules may promote the stability                                     use across these advisers by the total
                                              ‘‘opportunistically’’ deploy capital                                     and resiliency of market liquidity by                                     NAV of all the advisers’ funds, to
                                              internally.613                                                           consistently applying the Net Capital                                     express an adviser-level percentage use
                                                 We acknowledge that the final rules                                   Rule. Third, section III.B.4 describes                                    of HFT. The remaining rows report the
                                              could have the effect of reducing                                        how the failure of a significant liquidity                                total turnover for these advisers during
                                              liquidity. Affected parties may respond                                  provider can harm market functioning.                                     the most recent month in their most
                                              by curtailing their liquidity-providing                                  These final rules will reduce the risk                                    recent filings between 2021–Q4 and
                                              activities. If the final rules reduce                                    that a significant liquidity provider fails,                              2022–Q3. No adviser appears in both
                                              affected parties’ profitability, then                                    and so they should also limit the harm                                    columns.

                                               TABLE 11—TURNOVER FOR ADVISERS OF FUNDS USING HFT STRATEGIES, FOR MOST RECENT MONTH BETWEEN 2021–
                                                                                        Q4 AND 2022–Q3
                                                                                                                                                                                                        Funds with HFT           Funds with HFT
                                                                                                                                                                                                         ≤10% of NAV              >10% of NAV

                                              Advisers over funds using HFT ...............................................................................................................                             21                     10
                                              Total funds with these advisers ...............................................................................................................                         178                      23
                                              Total NAV ($ billions) ...............................................................................................................................                $210.6                  $63.2
                                              HFT (as % of adviser total NAV) .............................................................................................................                       0%–6.1%            14.1%–64.0%
                                              Turnover ($ billions):
                                                  Listed equity .....................................................................................................................................             $1,511.3                   $193.8
                                                  Corp. bonds (other than convertible) ...............................................................................................                                66.3                      7.6
                                                  Convertible bonds .............................................................................................................................                      4.3                      1.3
                                                  U.S. Treasury securities ...................................................................................................................                       423.1                     78.6
                                                  Agency securities .............................................................................................................................                     11.0                      3.4

                                                607 See AIMA Comment Letter II; BlackRock                                610 Dealers that violate the Net Capital Rule by                        from increased central clearing. See section
                                              Comment Letter; Duffie Comment Letter, FIA–PTG                           having too few liquid assets relative to                                  III.C.1.b.
                                              Comment Letter; Hagerty-Hill Comment Letter;                             unsubordinated liabilities, at any moment, must                              616 See section II.A.1.a.
khammond on DSKJM1Z7X2PROD with RULES2




                                              IDTA Comment Letter; Lewis Study; MMI Comment                            immediately cease taking on new positions.                                   617 See section II.A.4.
                                              Letter; Morgan Lewis Comment Letter; Virtu                                 611 See Overdahl Comment Letter.                                           618 The Overdahl Comment Letter recommended
                                              Comment Letter. See also section III.C.2.b for a                           612 See Duffie Comment Letter.                                          that the Commission examine the liquidity
                                              discussion of the Duffie Comment Letter, including                                                                                                 contribution made by persons who would be
                                                                                                                         613 See Duffie Comment Letter.
                                              the Net Capital Rule’s potential impact on market                                                                                                  affected by the proposed rule (esp. see paragraph
                                                                                                                         614 See Two Sigma Comment Letter I.
                                              participants’ trading activity.                                                                                                                    43).
                                                608 See supra note 62.                                                   615 This potential reduction in liquidity may                              619 Question 27 of Form PF defines turnover as
                                                609 See MFA Comment Letter II; Citadel Comment                         occur despite the improvement to the liquidity of                         ‘‘the sum of the absolute values of transactions in
                                              Letter.                                                                  the U.S. Treasury securities market that may result                       the relevant asset class during the period.’’



                                         VerDate Sep<11>2014        17:22 Feb 28, 2024         Jkt 262001      PO 00000       Frm 00058       Fmt 4701       Sfmt 4700      E:\FR\FM\29FER2.SGM          29FER2
                                                            Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                                    Page 59 of 74 PageID 83
                                                                   Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                                                14995

                                               TABLE 11—TURNOVER FOR ADVISERS OF FUNDS USING HFT STRATEGIES, FOR MOST RECENT MONTH BETWEEN 2021–
                                                                                   Q4 AND 2022–Q3—Continued
                                                                                                                                                                                                             Funds with HFT        Funds with HFT
                                                                                                                                                                                                              ≤10% of NAV           >10% of NAV

                                                   GSE bonds .......................................................................................................................................                        15.7                9.6
                                                   Sov. bonds (non-U.S. G10) ..............................................................................................................                                119.6               41.6
                                                   Other sovereign bonds .....................................................................................................................                              50.6                2.4
                                                   U.S. state & local bonds ...................................................................................................................                              0.8                0.6
                                                   Futures ..............................................................................................................................................                2,709.3            1,366.1



                                                 As described in section III.B.2.c, the                                 activities to reduce trading volumes by                                         We also analyze entities’ trading
                                              advisers in the left column may be less                                   much less than these numbers. First, for                                     volumes in TRACE data to estimate how
                                              likely than those in the right column to                                  the advisers in the left column that may                                     much liquidity affected parties may
                                              have funds that meet the final rules’                                     be less likely to have any affected funds,                                   provide in the market for U.S.
                                              definition of dealing. To put the                                         only 0%–6% of the advisers’ total NAV                                        Government securities. For each
                                              turnover numbers in context, total                                        was used for HFT. Second, for the                                            government security CUSIP in TRACE
                                              equity trading volume across all U.S.                                     advisers in both columns, the final rules                                    in 2022, we calculate trading volume in
                                              exchanges averaged about $12 trillion                                     may not apply to all the activities that                                     the interdealer market 622 and calculate
                                              per month in 2022,620 and total U.S.                                      advisers report as HFT on Form PF.                                           the share of that volume attributable to
                                              Treasury market volume was
                                                                                                                        Third, affected private funds that do                                        identifiable 623 non-broker-dealers.
                                              approximately $17 trillion in October
                                                                                                                        cease certain HFT activities may                                             Figure 3 shows, for each CUSIP, what
                                              2023.621 Therefore, the advisers in the
                                              left column may account for                                               redeploy their capital to alternate                                          the interdealer volume was in 2022
                                              approximately 12.6% of equity market                                      trading strategies and thus keep the                                         along with the share of that volume
                                              volume and 1.6% of Treasury market                                        capital engaged in the markets. Fourth,                                      attributable to (i) all non-broker-dealers
                                              volume, and the advisers in the right                                     if falling trading volumes were to cause                                     and (ii) the subset of non-broker-dealers
                                              column may account for another 2.5%                                       bid-ask spreads to meaningfully widen,                                       identified in TRACE as PTFs. We do not
                                              of equity volume and 0.5% of Treasury                                     other registered dealers might increase                                      show the shares for firms identified as
                                              volume. For the following reasons, we                                     their own buying and selling and so                                          hedge funds because the shares are
                                              expect any curtailing of affected                                         replace some of the lost activity.                                           generally quite low.


                                                            Figure 3. CUSIP-level volumes in 2022 and volume shares attributable to non-broker-dealers




                                                                          0%+-~........
                                                                           $1k
                                                                                                           -4'-4--------.. .-
                                                                                                                            $1 mm                                             $1 bn                                     $1 tn
                                                                                                                            interdealer CUSIP volume (log scale)
khammond on DSKJM1Z7X2PROD with RULES2




                                                The values for ‘‘% interdealer                                          that trade on Treasury ATSs by                                               such trades to the broker-dealer and the
                                              volume’’ in Figure 3 may be biased                                        submitting orders through broker-                                            ultimate buyer or seller would remain
                                              downwards by any non-broker-dealers                                       dealers, because TRACE would attribute                                       anonymous. However, this bias will be

                                                620 See Cboe, Historical Market Volume Data,                              621 See FINRA, Treasury Monthly Aggregate                                     622 See supra note 430.

                                              available at https://www.cboe.com/us/equities/                            Statistics, available at https://www.finra.org/finra-                           623 See supra note 380.
                                                                                                                                                                                                                                                      ER29FE24.002</GPH>




                                              market_statistics/historical_market_volume/.                              data/browse-catalog/about-treasury/monthly-data.



                                         VerDate Sep<11>2014       17:22 Feb 28, 2024          Jkt 262001       PO 00000       Frm 00059        Fmt 4701       Sfmt 4700       E:\FR\FM\29FER2.SGM            29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 60 of 74 PageID 84
                                              14996            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              smaller for CUSIPs that PTFs are most                    Therefore, to the extent that the final               but not others.630 The final rules would
                                              likely to trade on the most active                       rules lead to better capitalization for               apply a similar regulatory treatment to
                                              Treasury ATSs—generally the higher-                      significant liquidity providers, the final            persons conducting similar activities in
                                              volume CUSIPs—because PTFs                               rules could also promote market                       securities markets, regardless of the
                                              involved in such trades are not                          efficiency.                                           persons’ legal organization or structure.
                                              anonymous in our data. Identifiable                                                                            The final rules may treat some private
                                              non-broker-dealer PTFs account for                       b. Effects on Competition
                                                                                                                                                             funds differently from others, but only
                                              more than 10% of interdealer volume in                      Section III.C.1.a describes how the                in cases where those private funds
                                              approximately 11% of CUSIPs and for                      final rules will promote competition                  engage in activities that have different
                                              more than 25% of volume in 1.6% of                       among entities that regularly provide                 characteristics than other funds’
                                              CUSIPs, but for no CUSIPs do they                        significant liquidity by applying                     activities.
                                              account for more than 40% of the                         consistent regulation to these entities,                 Another commenter said that the
                                              volume in 2022.                                          thus leveling the competitive playing                 proposed rules would not have leveled
                                                 The TRACE analysis is limited by the                  field between liquidity provision                     the playing field because too many non-
                                              large volume of trading where the                        conducted by entities that are currently              dealing entities would have been swept
                                              counterparty to the reporting broker-                    registered as dealers and government                  up by the proposed quantitative factor,
                                              dealer is anonymous.624 However, we                      securities dealers and by entities that               by ambiguity in the proposed qualitative
                                              understand that entities that regularly                  are not. The section also discusses how               factors (e.g., ‘‘the same or substantially
                                              provide liquidity in U.S. Government                     the final rules’ costs may be                         similar securities’’) and by the
                                              securities markets are likely to appear in               proportionally greater for smaller                    aggregation language.631 The
                                              our data, because they are likely to trade               affected parties, which may reduce the                Commission has responded to these
                                              on the ATSs that report to TRACE.                        overall benefits to competition.                      concerns by removing the proposed
                                                 Commenters said that the proposed                     Commenters also raised concerns that                  quantitative factor and the proposed
                                              rules would harm liquidity in markets                    the final rules could harm competition.               first qualitative factor and by removing
                                              for crypto assets.625 We acknowledge                     We respond to these concerns in the                   the aggregation provisions. With these
                                              that the final rules may affect PTFs in                  paragraphs below, but, in general, any                changes, the final rules are more
                                              crypto asset markets, but some                           negative effect on the competitiveness of             appropriately targeted to persons who
                                              significant liquidity providers in these                 liquidity provision in U.S. securities                are effectively dealers.
                                              markets may already be dealers under                     markets would likely be small because,                   Two commenters said that the
                                              the Exchange Act.626 If affected PTFs                    as discussed in section III.B.3 (including            proposed rules would harm competition
                                              curtail their crypto asset trading                       Table 4 for the U.S. Treasury market),                in crypto asset markets.632 The effect on
                                              activities, then trading volumes in                      liquidity provision in securities markets             competition in crypto asset markets
                                              crypto asset markets could fall, harming                 is not concentrated, even among                       would be similar to the effects on
                                              the liquidity and efficiency of these                    currently registered broker-dealers. The              competition already discussed for other
                                              markets.                                                 final rules may also affect some PTFs                 markets.633
                                              3. Effects on Efficiency, Competition,                   who conduct smaller trading volumes                      In addition, as stated above, some
                                              and Capital Formation                                    but nevertheless fit the final rules’                 commenters requested that the
                                              a. Effects on Efficiency                                 qualitative factor, and such PTFs may                 Commission consider interactions
                                                                                                       choose to cease their liquidity-providing             between the economic effects of the
                                                 The previous section explains why we                  activities. Because such PTFs would be                proposed rules and other recent
                                              believe the final rules could have a                     less significant liquidity providers on               Commission rules, as well as practical
                                              small negative effect on market                          account of their smaller volumes, and                 realities such as implementation
                                              liquidity. More liquid markets tend to                   because currently registered broker-                  timelines.634 As discussed above, the
                                              be more efficient markets since they                     dealers are not concentrated, we expect               Commission acknowledges that
                                              allow new information to influence                       that any exit of theirs from the market               overlapping compliance periods may in
                                              securities prices more quickly.                          would have a negligible effect on the                 some cases increase costs.635 This may
                                              Therefore, we also expect that the final                 competitiveness of liquidity provision                be particularly true for smaller entities
                                              rules could have a small negative effect                 in U.S. securities markets.                           with more limited compliance
                                              on market efficiency, especially in the                     One commenter said that the final                  resources.636 This effect can negatively
                                              market for U.S. Government                               rules could put U.S. liquidity providers              impact some competitors because these
                                              securities.627 However, as discussed in                  at a disadvantage versus foreign                      entities may be less able to absorb or
                                              section III.C.1.b, adequately capitalized                firms.629 However, other than central                 pass on these additional costs, making
                                              firms 628 may be less sensitive to market                banks, foreign sovereign entities, and                it more difficult for them to remain in
                                              disruptions that could otherwise reduce                  international financial institutions (as              business or compete. However, the final
                                              their capacity to provide liquidity.                     defined in the final rules), foreign firms            rules mitigate overall costs relative to
                                                624 See id.
                                                                                                       that deal in U.S. markets are not
                                                 625 See Blockchain Association Comment Letter;
                                                                                                       excluded from the final rules. Therefore,               630 See Citadel Comment Letter.

                                              American Blockchain PAC Comment Letter;                  we do not expect the final rules to create              631 See Virtu Comment Letter.

                                              Andreessen Horowitz Comment Letter; ADAM                 competitive disadvantages for U.S.                       632 See Andreessen Horowitz Comment Letter;

                                              Comment Letter; U.S. Reps. Comment Letter.               liquidity providers. Finally, any                     Consensys Comment Letter.
                                                 626 See section III.B.2.c.                                                                                     633 We believe that some primary liquidity
                                                                                                       competitive disadvantages that these
khammond on DSKJM1Z7X2PROD with RULES2




                                                 627 By ‘‘efficiency,’’ here we mean price                                                                   providers in crypto asset markets may already be
                                                                                                       final rules may create would already be               dealers under the Exchange Act. See section
                                              discovery, or the speed with which new
                                              information or developments impact the market            borne by currently registered dealers.                III.B.2.c and supra note 626 and accompanying text.
                                              price of a security.                                        One commenter said that the final                     634 See supra section III.C.2.a.v.
                                                                                                                                                                635 Id.
                                                 628 PTFs’ risk-taking is currently less constrained
                                                                                                       rules would harm competition by
                                              than that of registered broker-dealers (see section      requiring some private funds to register
                                                                                                                                                                636 But see infra section V (stating that the final

                                              III.B.2.a). For evidence that hedge funds may have                                                             rules will not have a significant economic impact
                                              less capital than the Net Capital Rule allows, see                                                             on a substantial number of small entities for
                                              supra notes 438 and 468 and accompanying text.             629 See Overdahl Comment Letter.                    purposes of the Regulatory Flexibility Act).



                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00060   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                             Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                                    Page 61 of 74 PageID 85
                                                                     Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                                              14997

                                              the proposal,637 and we do not believe                                     D. Reasonable Alternatives                                                  represent trading patterns in the dealer-
                                              these increased compliance costs will be                                      The Commission considered several                                        to-customer market. This conclusion
                                              significant for most affected parties                                      alternatives to the final rules: (1) retain                                 heightens the already high uncertainty
                                              subject to the final rules.638 We                                          the quantitative factor; (2) add a                                          around where to set the value of such
                                              therefore do not expect the risk of                                        quantitative threshold to the proposed                                      a threshold.
                                              negative competitive effects from                                          first qualitative factor; (3) remove the                                       Market participants who would meet
                                              increased compliance costs due to                                          exclusion for registered investment                                         the quantitative standard by regularly
                                              simultaneous compliance periods to be                                      companies; (4) exclude registered                                           conducting large volumes of securities
                                              significant.                                                               investment advisers and private funds;                                      trading activity would likely also meet
                                              c. Effects on Capital Formation                                            (5) require registered investment                                           the expressing trading interest and
                                                                                                                         advisers and private funds to report to                                     primary revenue factors. The overlap
                                                 We expect the final rules’ effect on                                    TRACE (rather than comply with the                                          may exist either because large trading
                                              capital formation to be mixed. As                                          full set of dealer rules and regulations);                                  volumes accompany expressions of
                                              described above in sections III.C.2.d and                                  and (6) revise the final rules to carve out                                 trading interest in line with the
                                              III.C.3.a, we agree with commenters 639                                    or narrow the application to crypto asset                                   expressing trading interest factor or
                                              that the final rules could have small                                      securities.                                                                 because significant liquidity-providers
                                              negative effects on market liquidity and                                   1. Retain the Quantitative Standard                                         that earn revenue from capturing bid-
                                              efficiency. Lower liquidity and                                                                                                                        ask spreads or from capturing any
                                                                                                                            Proposed Rule 3a44–2 would have
                                              efficiency would tend to harm capital                                                                                                                  incentives offered by trading venues
                                                                                                                         required dealer registration of persons
                                              formation by reducing security prices                                                                                                                  (primary revenue factor) also tend to
                                                                                                                         who purchased and/or sold a total of at
                                              and raising yields.                                                                                                                                    have large trading volumes.
                                                                                                                         least $25 billion in U.S. Government
                                                 The final rules will also promote                                       securities in each of 4 out of the last 6                                      Table 12 approximates the overlap
                                              market stability, resiliency, and investor                                 months. The Commission proposed the                                         between the proposed quantitative
                                              confidence by helping to ensure that                                       particular threshold value because                                          factor and the primary revenue factor by
                                              dealing activity is adequately                                             available data suggested that $25 billion                                   sorting identifiable firms based on their
                                              capitalized, subject to regulatory                                         would appear to strike a balance                                            average monthly Treasury-trading
                                              oversight, and accompanied by                                              between low values, which may affect                                        volume in 2022 and then showing how
                                              regulated internal controls and                                            many small-volume traders who are not                                       many firms in each volume bucket
                                              deterrents to deceptive behaviors. More                                    dealing, and high values, which may                                         appear to meet or not meet the primary
                                              stable markets and strengthened                                            miss entities whose activities provide                                      revenue factor (i.e., firms that appear in
                                              investor confidence in U.S. markets may                                    significant liquidity in the market.641                                     the left-most bar in Figure 2). This table
                                              promote capital formation by increasing                                    Some commenters said the analysis                                           counts firms based on their average
                                              demand for securities issued in U.S.                                       behind the proposed quantitative factor                                     monthly volume—which does not
                                              markets, raising security prices, and                                      was flawed due to the limitations of                                        precisely match the ‘‘4 out of the past
                                              lowering yields. One commenter agreed                                      TRACE data and the assumptions the                                          6 months’’ in the proposed quantitative
                                              that the ‘‘overall effects [on market                                      Commission used.642 In section                                              factor—but average monthly volume is
                                              participation, market liquidity, price                                     III.B.2.d, we discuss the limitations of                                    sufficient to indicate the extent to which
                                              efficiency, competition among liquidity                                    TRACE data. Based on comments                                               firms whose activities meet the primary
                                              providers, and capital formation] are                                      received, we acknowledge that                                               revenue factor also have large trading
                                              positive.’’ 640                                                            identifiable TRACE data may not                                             volumes.

                                                                          TABLE 12—OVERLAP BETWEEN QUANTITATIVE STANDARD AND PRIMARY REVENUE FACTOR
                                                                                                                                                                                                                # firms meeting     # firms not
                                                                                              Average monthly trading volume in 2022                                                                            primary revenue   meeting primary
                                                                                                                                                                                                                      factor      revenue factor

                                              <$10 billion ..................................................................................................................................................                 4                 174
                                              $10–25 billion ...............................................................................................................................................                  8                  18
                                              $25–50 billion ...............................................................................................................................................                  7                   6
                                              $50–100 billion .............................................................................................................................................                   2                   3
                                              $100 billion or higher ...................................................................................................................................                     10                   0



                                                The quantitative factor could support                                    self-evaluation costs of persons who do                                     potential to affect persons who are not
                                              the final rules in applying dealer                                         not regularly surpass the threshold                                         dealing, because it would not consider
                                              registration to entities that provide                                      because such persons would still have                                       any other facts and circumstances other
                                              significant liquidity, by specifically                                     to consider the expressing trading                                          than total transaction volume. For
                                              including the most active market                                           interest and primary revenue factors.                                       example, a hypothetical long-only
                                              participants (unless excluded). The                                          The quantitative factor would                                             investor that regularly purchased $25
                                              bright-line test in the quantitative factor                                potentially increase the costs of the final                                 billion Treasuries in a month and held
khammond on DSKJM1Z7X2PROD with RULES2




                                              also could reduce self-evaluation costs                                    rules because the quantitative standard                                     them to maturity, would be defined as
                                              for persons who regularly surpass the                                      may apply to a greater number of                                            a dealer under this alternative. Many
                                              threshold, but it would not reduce the                                     entities.643 This factor would have the                                     commenters said that the $25 billion
                                                637 See supra section II.A.3.                                               640 See Gretz Comment Letter.                                              642 See Citadel Comment Letter; MFA Comment

                                                638 See supra section III.C.2.a.v.                                          641 See Proposing Release at 23092–93.                                   Letter I; NAPFM Comment Letter; Overdahl
                                                639 See supra note 607.                                                                                                                              Comment Letter.
                                                                                                                                                                                                       643 See supra notes 203–204.




                                         VerDate Sep<11>2014         17:22 Feb 28, 2024         Jkt 262001       PO 00000       Frm 00061        Fmt 4701       Sfmt 4700      E:\FR\FM\29FER2.SGM              29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 62 of 74 PageID 86
                                              14998            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              quantitative factor had a threshold that                vague and that the factor could                         as discussed previously, the uneven
                                              was too low or was otherwise not                        potentially capture significant non-                    regulation potentially gives less-
                                              indicative of dealing.644 We agree that                 dealing activities.647 Commenters                       regulated entities an unfair advantage
                                              the $25 billion threshold could capture                 suggested that the Commission modify                    over registered dealers that engage in
                                              persons who are not dealing. This                       the factor, limit it with exclusions, or                similar activities. Specifically, this
                                              alternative would potentially burden                    eliminate it from the final rules.648 The               alternative would further standardize
                                              non-dealers with the costs of                           Commission considered changes to the                    regulatory treatment of significant
                                              registration and compliance, could harm                 rule, including revising the terms                      liquidity providers in terms of
                                              their investors by lowering returns, and                ‘‘routinely,’’ ‘‘roughly comparable,’’ or               capitalization, transaction reporting,
                                              could potentially harm market liquidity,                ‘‘in a day, or changing the factor to                   books and records requirements, and
                                              efficiency, competition, and capital                    require that dealing mean trading in the                anti-manipulation and anti-fraud
                                              formation if affected persons were to                   same security instead of in ‘‘the same or               provisions.650 However, the benefits of
                                              reduce their trading below the $25                      substantially similar’’ securities. Upon                registering investment companies that
                                              billion threshold to avoid becoming                     consideration, the Commission agrees                    are engaged in dealing activity as
                                              dealers.                                                with commenters’ that the proposed                      dealers would be less than the benefits
                                                 Given that the quantitative factor is                first qualitative factor could capture                  of registering PTFs that are engaged in
                                              unlikely to capture dealing activity that               more than dealing activity. The
                                                                                                                                                              dealing activity, because the existing
                                              is not also captured by the expressing                  Commission also does not believe that
                                                                                                                                                              regulation that applies to registered
                                              trading interest and primary revenue                    modifications to this factor could
                                                                                                                                                              investment companies under the
                                              factors, and given the additional costs of              appropriately limit its application to
                                                                                                      dealing activity, and dealing activity                  Investment Company Act overlaps with
                                              requiring entities who are not dealing to                                                                       the regulation that applies to dealers on
                                              register as dealers, the Commission has                 that would be captured by the factor
                                                                                                      would also likely be captured by at least               several points.651 For example,
                                              removed the quantitative standard from                                                                          registered investment companies are
                                              the final rules.645                                     one of the final rules’ qualitative
                                                                                                      factors—the trading interest factor and                 subject to rules that limit leverage
                                              2. Retain the First Qualitative Standard                the primary revenue factor.                             risk; 652 they must maintain certain
                                              (e.g., ‘‘Routinely Making Roughly                          Retaining the proposed first                         books and records; 653 and they must
                                              Comparable Purchases and Sales of the                   qualitative factor may improve                          report to the Commission on many
                                              Same or Substantially Similar Securities                regulators’ ability to analyze data on                  aspects of their operations and their
                                              [or Government Securities] in a Day’’)                  market activity,649 if persons who                      portfolio holdings.654 As discussed
                                                 The Commission has long                              would not otherwise be affected by the                  above and in the Proposing Release, the
                                              distinguished dealer activity from trader               final rules (including persons who may                  benefits of registering investment
                                              activity by focusing on, among other                    not be dealing) were to submit to dealer                companies engaged in the rules’ dealing
                                              things, a dealer’s frequent turnover of                 registration. However, retaining this                   activity as dealers would also be less
                                              positions—stating, for example, that the                factor may also substantially increase                  than the benefits of registering private
                                              dealer ‘‘sells securities . . . he has                  the final rules’ costs by capturing                     funds engaged in the rules’ dealing
                                              purchased or intends to purchase                        activities that are not dealing. To the                 activity, because private funds are not
                                              elsewhere or buys securities . . . with a               extent that this factor would capture                   subject to the extensive regulatory
                                              view to disposing of them                               non-dealing, retaining it would require
                                              elsewhere’’ 646 The proposed first                      persons who are not dealing to either                      650 See section III.B.4 for a discussion of the

                                              qualitative factor was intended to                      register as dealers and incur the costs                 market externalities that such rules seek to address;
                                                                                                      described in section III.C.2, or else to                see also section III.C.1 for a discussion on the
                                              describe activities that include such                                                                           benefits of such rules.
                                              frequent turnover, and also to separate                 cease certain non-dealing activities.                      651 See ICI Comment Letter.

                                              persons engaging in isolated or sporadic                3. Remove the Exclusion for Registered                     652 See 15 U.S.C. 80a–18 (Section 18 prohibits

                                              securities transactions from persons                    Investment Companies                                    closed-end funds from issuing or selling senior
                                              whose regularity of transacting                                                                                 securities that represent indebtedness unless it has
                                              demonstrates that they are acting as                       The final rules exclude registered                   at least 300% asset coverage, and open-end funds
                                                                                                      investment companies from the                           from issuing or selling a senior security other than
                                              dealers.                                                                                                        borrowing from a bank, which are also subject to
                                                 Commenters raised concerns about                     application of the rules, even if their                 300% asset coverage, and defines ‘‘senior security,’’
                                              the proposed first qualitative factor,                  activities meet the final rules’ definition             in part, as ‘‘any bond, debenture, note, or similar
                                              saying that the factor’s language was                   of dealing. The Commission could adopt                  obligation or instrument constituting a security and
                                                                                                      the final rules without this exclusion,                 evidencing indebtedness.’’); 17 CFR 270.18f–4
                                                                                                                                                              (‘‘Rule 18f–4’’) (generally requiring investment
                                                 644 See AIMA Comment Letter II; AIMA Comment         extending the rationale that all market                 companies that use derivatives to adopt a
                                              Letter III; Citadel Comment Letter; Committee on        participants engaged in activities that                 derivatives risk management program that includes
                                              Capital Markets Comment Letter; Element Comment         meet the final rules’ definition of                     a limitation on leverage risk based on VaR). See also
                                              Letter; FIA PTG Comment Letter I; Fried Frank           dealing, including registered investment                Use of Derivatives by Registered Investment
                                              Comment Letter; ICI Comment Letter; Lewis Study;                                                                Companies and Business Development Companies,
                                              MFA Comment Letter I; MFA Comment Letter II;            companies, ought to register as dealers.                Investment Company Act Release No. 34084 (Nov.
                                              NAPFM Comment Letter; Overdahl Comment                     Including investment companies in                    2, 2021), 85 FR 83162 (Dec. 21, 2020).
                                              Letter; SIFMA Comment Letter I; T. Rowe Price           the application of the rule would                          653 15 U.S.C. 80a–30.
                                              Comment Letter; Two Sigma Comment Letter I. A           provide additional benefits by applying                    654 Registered investment companies report
                                              few commenters calculated that $25 billion, as a                                                                certain census information annually to the
                                              fraction of average daily activity in the U.S.          dealer regulation to more significant
                                                                                                                                                              Commission on Form N–CEN. Registered
khammond on DSKJM1Z7X2PROD with RULES2




                                              Treasury market, may be as small as approximately       liquidity providers. First, we believe                  investment companies also are required to report
                                              0.2%.                                                   that standardizing the regulatory                       monthly portfolio-wide and position-level holdings
                                                 645 The MFA Comment Letter I said that the
                                                                                                      treatment of all significant liquidity                  data to the Commission on Form N–PORT. This
                                              quantitative factor would be redundant with the                                                                 includes information regarding repurchase
                                              qualitative factors.
                                                                                                      providers would be beneficial because,
                                                                                                                                                              agreements, securities lending activities, and
                                                 646 See U.S. Securities and Exchange                                                                         counterparty exposures, terms of derivatives
                                                                                                        647 See section II.A.1.a.
                                              Commission, Report on the Feasibility and                                                                       contracts, and discrete portfolio-level and position-
                                                                                                        648 See supra notes 74–76.
                                              Advisability of the Complete Segregation of the                                                                 level risk measures to better understand fund
                                              Functions of Dealer and Broker XIV (1936).                649 See section III.C.1.c.                            exposure to changes in market conditions.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00062   Fmt 4701     Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                      Page 63 of 74 PageID 87
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                       14999

                                              framework of the Investment Company                      companies,661 and did not suggest any                        This alternative would also reduce the
                                              Act.655                                                  changes to the final rules’ treatment of                  final rules’ benefit to competition, by
                                                 Removing the exclusion for registered                 investment companies.                                     failing to level the playing field between
                                              investment companies would increase                                                                                significant liquidity providers who are
                                                                                                       4. Exclude Registered Investment
                                              the costs of the final rules. Affected                                                                             registered as dealers and significant
                                                                                                       Advisers and Private Funds
                                              investment companies would bear the                                                                                liquidity providers who may be
                                              costs of registering with the Commission                    Registered investment advisers and                     investment advisers or private funds.
                                              as dealers, joining FINRA or another                     private funds may engage in activities                    However, if the final rules would have
                                              SRO, reporting to TRACE and CAT, and                     that meet the final rules’ definition of                  a net negative impact on competition by
                                              becoming a member of SIPC.656 They                       dealing. If so, the final rules would                     deterring private funds and advisers
                                              would also be required to comply with                    require them to register as dealers and                   from providing liquidity,665 then this
                                              dealer rules on financial responsibility                 comply with dealer regulations. Some                      alternative could reduce that negative
                                              and risk management, operational                         commenters said that the Commission                       impact by not deterring such liquidity
                                              integrity, and books and records.657                     should exclude registered investment                      provision.
                                              Complying with these rules may be                        advisers, along with any private funds                       Excluding registered investment
                                              inefficient in cases where elements of                   they may advise, from the final rules                     advisers and private funds would
                                              the Investment Company Act overlap                       because the advisers are already subject                  reduce the final rules’ costs. Advisers
                                              with dealer regulation—i.e., where                       to an extensive regulatory framework                      and private funds who would otherwise
                                              segments of the investment company                       under the Advisers Act and because                        be affected would not be required to
                                              rules and the dealer rules serve the same                elements of the dealer regime—e.g., the                   register with the Commission as dealers,
                                              purpose but may entail different                         Net Capital Rule, restrictions on                         join FINRA or another SRO, report to
                                              disclosure, recordkeeping, or other such                 participating in the IPO market—may be                    TRACE and CAT, and become a member
                                              actions.658 The regulatory regime that                   inappropriate or untenable for advisers                   of SIPC.666 They would also not be
                                              has evolved around dealers might also                    and adviser-led funds.662 However, as                     required to comply with dealer rules on
                                              be inadequate or inappropriate for                       stated in the Proposing Release, market                   financial responsibility and risk
                                              affected investment companies. For                       participants that are engaged in dealing                  management, operational integrity, and
                                              example, investment companies may be                     activity should be subject to dealer                      books and records.667 Since they would
                                              unable to comply with the Net Capital                    regulations. The Commission is mindful                    not be registered as dealers, they would
                                              Rule without substantially reducing                      of concerns raised by commenters                          not face dealer-specific restrictions
                                              their investors’ withdrawal rights.659                   regarding the application of the dealer                   against participating in the IPO market.
                                                 Instead of registering as dealers,                    regime to investment advisers and                         Since they would not be subject to the
                                              affected investment companies could                      private funds, and it has made                            Net Capital Rule, they would also not
                                              respond by curtailing or ceasing certain                 significant changes to the definition of                  need to consider restricting their
                                              trading activities.660 Such a response                   ‘‘own account’’ to remove the                             investors’ withdrawal rights in order to
                                              would reduce the number of investment                    aggregation standard in order to                          comply with that rule.668 If the costs of
                                              companies registering as dealers, and so                 appropriately tailor the scope of                         dealer registration and compliance
                                              would reduce or eliminate the benefits                   advisers and funds captured by the final                  would have lowered returns for
                                              discussed above on net capital,                          rules.663                                                 investors in private funds, then this
                                              transactions reporting, etc. The                            Excluding registered investment                        alternative would also reduce the harm
                                              curtailing of profitable trading activities              advisers and their private fund clients                   to investors.
                                              would also harm the affected                             could reduce many of the final rules’                        Excluding private funds would also
                                              investment companies and their                           benefits by applying dealer regulation to                 limit the final rules’ effects on market
                                              investors. The changes in aggregate                      fewer significant liquidity providers.664                 liquidity, efficiency, competition, and
                                              securities trading activity could also                   Advisers or private funds whose                           capital formation, since it would affect
                                              reduce market efficiency and liquidity,                  activities have the effect of providing                   fewer parties who could respond by
                                              thus harming investors of all sizes                      liquidity would not have to report                        curtailing their trading activities.
                                              throughout the markets. However, if the                  transactions to TRACE or comply with                      Section III.C.2.d describes how such a
                                              changes in market activity were to                       the Net Capital Rule or other dealer                      response could harm market liquidity
                                              increase the profitability of certain                    rules that govern internal controls and                   and efficiency as well as how reductions
                                              activities (such as by increasing certain                are designed to prevent fraud or                          in funds’ profitability could reduce
                                              bid-ask spreads), then other registered                  manipulation. Advisers would continue                     investor participation in the market. If
                                              dealers may increase their own trading                   to be subject to the adviser regulations                  advisers and private funds were
                                              activity and so offset at least some of the              described in the baseline, including                      excluded, then they would not respond
                                              harm to market efficiency and liquidity.                 conduct rules, books and records                          in this way, and so any potential
                                                 Commenters generally agreed with the                  requirements, reporting requirements,                     negative impact of such curtailing on
                                              exclusion for registered investment                      and examinations. If advisers and                         market functioning or investor
                                                                                                       private funds would have responded to                     participation could be less than under
                                                655 See supra notes 218–220 and accompanying           the final rules by curtailing their trading               the final rules.
                                              text.                                                    instead of registering as dealers, then                      Excluding advisers and private funds
                                                 656 See section III.C.2.a for a discussion of these
                                                                                                       excluding them from the rules may not                     may allow current or future significant
                                              costs.                                                   substantially reduce the benefits                         liquidity providers to avoid the dealer
khammond on DSKJM1Z7X2PROD with RULES2




                                                 657 See supra notes 24, 26, and 27.
                                                                                                       described in section III.C.1.                             regime by registering as advisers.
                                                 658 See supra note 218.
                                                 659 See supra notes 567 and 568 and
                                                                                                                                                                 Commenters argued that principal
                                                                                                         661 See supra note 222.
                                              accompanying text for a discussion of why the Net
                                                                                                         662 See supra notes 223–229.                              665 See section III.C.2.d.
                                              Capital Rule may necessarily restrict withdrawal
                                                                                                                                                                   666 See section III.C.2 for a discussion of these
                                              rights of investors in a registered dealer.                663 See discussion of registered investment
                                                 660 Commenters suggested that affected private        advisers and private funds in section II.A.3.b.           costs.
                                                                                                                                                                   667 See supra note 27.
                                              funds would respond to the final rules’ adoption in        664 In section III.B.2.c, we identify up to 12 hedge

                                              this way. See supra note 62.                             funds that may be dealing under the final rules.            668 See supra notes 567 and 570.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00063   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 64 of 74 PageID 88
                                              15000            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              trading firms are unlikely to attempt to                6. Carve Out or Narrow Application to                 believe that Rules 3a5–4 and 3a44–2
                                              avoid the dealer regime in this way.669                 Crypto Asset Securities                               apply to persons transacting in crypto
                                              Though firms would incur significant                       As described in section II.A.3 above,              assets that meet the definition of
                                              costs to reorganize their business and                  the Commission received comments                      ‘‘securities’’ or ‘‘government securities’’
                                              register as advisers, an exclusion would                regarding the application of the                      under the Exchange Act. As discussed
                                              nevertheless allow for the possibility.                 proposed rules to crypto asset securities.            above, certain persons engaging in
                                              The possibility concerns us because, as                 Commenters requested that if the                      crypto asset securities transactions may
                                              discussed above and in the Proposing                    Commission were to move forward with                  be operating as dealers as defined under
                                              Release, registered investment advisers                 adopting the proposed rules, the                      the Exchange Act.679 The dealer
                                              and private funds that are engaged in                   Commission revise the final rules to                  framework is a functional analysis based
                                              dealing activity should be subject to the               carve out or narrow the application to                on the securities trading activities
                                              dealer regulatory regime.670                            crypto asset securities.676 For example,              undertaken by a person, not the type of
                                                                                                      one commenter asserted that without an                security being traded.680 Regardless of
                                              5. Require Registered Investment
                                                                                                      exclusion for digital assets, the                     the technology used, if a person meets
                                              Advisers and Private Funds To Report
                                                                                                      proposed rules would hinder                           the expressing trading interest and
                                              to TRACE
                                                                                                      innovation, competition, and capital                  primary revenue factors in the final
                                                 As described above, private funds and                                                                      rules, the application of the dealer
                                                                                                      formation in the U.S.677 Another
                                              private fund advisers not registered as                                                                       regulatory regime to that person’s
                                                                                                      commenter stated that the Commission
                                              dealers are not subject to the                                                                                activities 681 will be beneficial and
                                                                                                      should limit the scope of the proposed
                                              requirement to report transactions to                   rules to persons transacting in the U.S.              critical to promoting the Commission’s
                                              TRACE. Rather than requiring liquidity-                 Treasury and listed equity markets, for               mission.
                                              providing investment advisers and                       which the Commission has adequate                        If the Commission were to revise the
                                              private funds to register as dealers, the               data, and that to the extent the                      final rules to carve out or narrow the
                                              Commission could instead require them                   Commission intends to address digital                 application to market participants who
                                              to report their transactions to TRACE as                assets, it should do so as part of a multi-           transact in crypto asset securities, that
                                              if they were members of FINRA, without                  agency approach and in consultation                   alternative would reduce costs for such
                                              submitting to the other requirements of                 with Congress.678 Consistent with the                 market participants who are not dealers
                                              the dealer regime.671 This alternative                  comments received, the Commission                     under current law and who, absent an
                                              would fall short of applying other                      has considered an alternative that                    exemption, would be required to
                                              important elements of the dealer regime                 would treat crypto asset securities                   register as dealers under the final rules.
                                              that mitigate the problems discussed in                 differently from other types of securities            The alternative would also reduce the
                                              sections III.B.3 and III.B.4. These                     under the final rules.                                benefits of the final rules, discussed in
                                              important elements of the dealer regime                    As noted in section II.A.3, the                    section III.C.1, since it would not apply
                                              include the Net Capital Rule,672                        definitions of ‘‘dealer’’ and ‘‘government            the dealer regime to market participants
                                              Exchange Act section 15(c),673 and SRO                  securities dealer’’ under sections 3(a)(5)            that provide liquidity in crypto asset
                                              membership.674 Therefore, this                          and 3(a)(44) of the Exchange Act, and                 securities markets.
                                              alternative would not adequately                        the requirement that dealers and                         The alternative could also have
                                              address the potential for negative                      government securities dealers register                negative competitive effects, since
                                              externalities discussed in section III.B.3              with the Commission pursuant to                       certain market participants that deal in
                                              in the baseline. However, the alternative               sections 15 and 15C of the Exchange                   crypto asset securities would be
                                              would eliminate, for affected registered                Act, apply to dealers in all securities or            exempted from registering as dealers,
                                              investment advisers and private funds,                  government securities, including crypto               while market participants that deal in
                                              the final rules’ registration and                       asset securities. Rules 3a5–4 and 3a44–               other types of securities would not
                                              compliance costs other than the costs of                2, as adopted, apply to any person                    enjoy such an exemption.
                                              self-evaluation and of reporting to                     transacting in securities or government               IV. Paperwork Reduction Act
                                              TRACE.675                                               securities, irrespective of where, or the
                                                                                                                                                               The new definitions adopted in this
                                                                                                      technology through which, the security
                                                669 See IAA Comment Letter I; AIMA Comment                                                                  document do not, in and of themselves,
                                              Letter II; MFA Comment Letter I; T. Rowe Price
                                                                                                      or government security trades.
                                                                                                         The Commission is not changing this                contain ‘‘collection of information’’
                                              Comment Letter.
                                                670 See sections II.A.3, III.B.3, and III.C.1;        longstanding historical application of                requirements within the meaning of the
                                              Proposing Release at 23078–79.                          the Federal securities laws to securities,            Paperwork Reduction Act of 1995
                                                671 See Overdahl Comment Letter (stating ‘‘To the
                                                                                                      including crypto assets that are                      (‘‘PRA’’).682 However, they may increase
                                              extent that the SEC does identify any material
                                                                                                      securities. After consideration of                    the number of respondents for
                                              informational gaps, the SEC could explore whether                                                             collection of information requirements
                                              additional recordkeeping requirements are               comments, the Commission continues to
                                              appropriate.’’).
                                                                                                                                                            in other Commission rules. Specifically,
                                                672 See section III.C.1.a.                            TRACE reporting and self-evaluation are               the rules may increase the number of
                                                673 See supra note 396 and surrounding text.          approximately $100,000. This ongoing cost estimate    respondents for fourteen Commission
                                                674 See sections III.C.1.a and III.C.1.d. See also    is the sum of the $100,000 annual expense estimate    rules with existing collections of
                                              FINRA Comment Letter.                                   for TRACE reporting and a $0 annual expense for       information. These are explained in
                                                675 See cost discussions in section III.C.2 for a     self-evaluation. The Commission expects few firms’
                                                                                                      trading operations to change sufficiently to merit    more detail below. An agency may not
                                              detailed discussion of TRACE, self-evaluation, and
                                              other costs. The Commission estimates the initial       ongoing self-evaluations because of the substantial   conduct or sponsor, and a person is not
khammond on DSKJM1Z7X2PROD with RULES2




                                              combined cost of self-evaluation and TRACE              investments in human-, technological-, and            required to respond to, a collection of
                                              reporting is at most approximately $600,000. This       financial capital necessary to start a trading        information unless the agency displays
                                              estimate is the sum of the initial cost estimate for    operation that satisfies the criteria necessary for
                                                                                                      registration as a dealer under the adopted rules.     a currently valid control number. The
                                              TRACE reporting, which is $2,000, and the initial
                                                                                                         676 See, e.g., Andreessen Horowitz Comment
                                              cost estimate for self-evaluation, which is up to                                                               679 See section II.A.3.
                                              $600,000. The combined initial costs’ sum is            Letter; DeFi Foundation Comment Letter; ADAM
                                              $602,000, which we round to $600,000 to reflect         Comment Letter; Gretz Comment Letter.                   680 Id.
                                                                                                         677 See ADAM Comment Letter.                         681 See section III.C.1.
                                              uncertainty in our estimate of these combined costs.
                                              The Commission estimates the ongoing costs for             678 See DeFi Fund Comment Letter.                    682 44 U.S.C. 3501 et seq.




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00064   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                           Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                                    Page 65 of 74 PageID 89
                                                                 Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                                             15001

                                              Commission has submitted change                                 and Budget (‘‘OMB’’) to update the                                   fourteen rules. The titles of these
                                              requests to the Office of Management                            number of respondents for these                                      existing collections of information are:

                                                                                                                                                                                                                                   OMB control
                                                                                    Rule                                                                                     Rule title                                               No.

                                              17 CFR 240.15b1–1 (‘‘Rule 15b1–1’’) and 17 CFR 249.501                                   Application for registration of brokers or dealers ........................                  3235–0012
                                                (‘‘Form BD’’).
                                              17 CFR 240.15Ca1–1 (‘‘Rule 15Ca1–1’’) and Form BD ..............                         Notice of government securities broker-dealer activities.
                                              17 CFR 240.15Ca2–1 (‘‘Rule 15Ca2–1’’) and Form BD ..............                         Application for registration of government securities brokers or
                                                                                                                                         government securities dealers.
                                              17 CFR 240.15b3–1 (‘‘Rule 15b3–1’’) and 17 CFR 400.5 (‘‘Rule                             Amendments to application.
                                                400.5’’).
                                              17 CFR 240.15b6–1 (‘‘Rule 15b6–1’’) and 17 CFR 249.501a                                  Withdrawal from registration ........................................................        3235–0018
                                                (‘‘Form BDW’’).
                                              17 CFR 240.15Cc1–1 (‘‘Rule 15Cc1–1’’) and Form BDW ...........                           Withdrawal from registration of government securities brokers
                                                                                                                                         or government securities dealers.
                                              17 CFR 240.15c2–7 (‘‘Rule 15c2–7’’) ...........................................          Identification of quotations ...........................................................     3235–0479
                                              17 CFR 240.15c3–1 (‘‘Rule 15c3–1’’) ...........................................          Net capital requirements for brokers and dealers .......................                     3235–0200
                                              17 CFR 240.15c3–5 (‘‘Rule 15c3–5’’) ...........................................          Risk management controls for brokers or dealers with market                                  3235–0673
                                                                                                                                         access.
                                              17 CFR 240.17a–3 (‘‘Rule 17a–3’’) ..............................................         Records to be made by certain exchange members, brokers,                                     3235–0033
                                                                                                                                         and dealers.
                                              17 CFR 240.17a–4 (‘‘Rule 17a–4’’) ..............................................         Records to be preserved by certain members, brokers, and                                     3235–0279
                                                                                                                                         dealers.
                                              17 CFR 240.17a–5 (‘‘Rule 17a–5’’) ..............................................         Reports to be made by certain exchange members, brokers                                      3235–0123
                                                                                                                                         and dealers.
                                              17 CFR 240.17a–11 (‘‘Rule 17a–11’’) ..........................................           Notification provisions for brokers and dealers ...........................                  3235–0085
                                              17 CFR 242.613 (‘‘Rule 613’’) ......................................................     Consolidated audit trail ................................................................    3235–0671



                                              A. Purpose and Use of the Collections of                        implement these provisions, the                                      the protection of investors, withdraw
                                              Information                                                     Commission adopted Rules 15b1–1,                                     from registration by filing a written
                                                As stated above, new definitions                              15Ca1–1, and 15Ca2–1 and Form BD. In                                 notice of withdrawal with the
                                              adopted in this document do not create                          addition, Rules 15b3–1 and 400.5                                     Commission. Similarly, section
                                              any new collections of information, but                         require that registered broker-dealers                               15C(c)(1)(B) of the Exchange Act
                                              we believe they will add respondents to                         and government securities broker-                                    provides that any registered government
                                              the 14 existing collections of                                  dealers submit an amended Form BD                                    securities broker or government
                                              information noted above. The                                    when information originally reported on                              securities dealer may, upon such terms
                                              collections of information applicable to                        Form BD changes or becomes                                           and conditions as the Commission may
                                              the additional respondents,683 and the                          inaccurate.                                                          deem necessary in the public interest or
                                              use of the information collected are                              The Commission uses the information
                                                                                                                                                                                   for the protection of investors, withdraw
                                              summarized below.                                               disclosed by applicants in Form BD: (1)
                                                                                                              to determine whether the applicant                                   from registration by filing a written
                                              1. Rules 15b1–1, 15Ca1–1, 15Ca2–1,                              meets the standards for registration set                             notice of withdrawal with the
                                              15b3–1, and 400.5 and Form BD                                   forth in the provisions of the Exchange                              Commission. To implement these
                                                 Section 15(a)(1) of the Exchange Act                         Act; (2) to develop a central information                            statutory provisions of the Exchange
                                              provides that it is unlawful for persons                        resource where members of the public                                 Act, the Commission promulgated Rules
                                              who meet the definition of the term                             may obtain relevant, up-to-date                                      15b6–1 and 15Cc1–1 and Form BDW
                                              ‘‘broker’’ or ‘‘dealer’’ to solicit or effect                   information about broker-dealers and                                 (the uniform request for broker-dealer
                                              transactions in most securities unless                          government securities broker-dealers,                                withdrawal).
                                              they are registered as broker-dealers                           and where the Commission, other                                         The Commission uses the information
                                              with the Commission pursuant to                                 regulators, and SROs may obtain                                      disclosed by applicants in Form BDW,
                                              section 15(b) of the Exchange Act.                              information for investigatory purposes                               as required by Rules 15b6–1, 15Bc3–1,
                                              Similarly, section 15C(a)(1) of the                             in connection with securities litigation;                            and 15Cc1–1 to: (1) determine whether
                                              Exchange Act provides that it is                                and (3) to develop statistical                                       it is in the public interest to permit
                                              unlawful for persons who meet the                               information about broker-dealers and                                 broker-dealers and notice-registered
                                              definition of the term government                               government securities broker-dealers. In                             broker-dealers to withdraw from
                                              securities broker or government                                 addition, all information collected on                               registration; (2) develop central
                                              securities dealer, other than persons                           Forms BD is public. The public may use
                                                                                                                                                                                   information resources where the
                                              registered with the Commission as                               this information to assist in determining
                                                                                                                                                                                   Commission and other government
                                              broker-dealers and certain financial                            whether to engage in business with a
                                                                                                              particular broker-dealer.                                            agencies and SROs may obtain
                                              institutions, to solicit or effect
                                                                                                                                                                                   information for investigatory purposes
khammond on DSKJM1Z7X2PROD with RULES2




                                              transactions in government securities                           2. Rules 15b6–1 and 15Cc1–1 and Form
                                              unless they are registered with the                                                                                                  in connection with securities litigation;
                                                                                                              BDW                                                                  and (3) develop statistical information
                                              Commission as government securities
                                              broker-dealers pursuant to section                                 Section 15(b)(5) of the Exchange Act                              about broker-dealers, notice-registered
                                              15C(a)(2) of the Exchange Act. To                               provides that any broker-dealer may,                                 broker-dealers, municipal securities
                                                                                                              upon such terms and conditions as the                                dealers, and government securities
                                                683 See section III.B above for a description of the          Commission deems necessary or                                        broker-dealers.
                                              categories of respondents.                                      appropriate in the public interest or for


                                         VerDate Sep<11>2014     17:22 Feb 28, 2024     Jkt 262001    PO 00000      Frm 00065        Fmt 4701    Sfmt 4700     E:\FR\FM\29FER2.SGM           29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 66 of 74 PageID 90
                                              15002            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              3. Rule 15c2–7                                          4. Rule 15c3–1                                        and supervisory procedures reasonably
                                                 The Commission adopted Rule 15c2–                       Rule 15c3–1 is designed to ensure that             designed to manage the financial,
                                              7 in 1964 to improve the reliability and                broker-dealers registered with the                    regulatory, and other risks of this
                                              transparency of the quotations broker-                  Commission at all times have sufficient               business activity. More specifically,
                                              dealers submit to inter-dealer quotation                liquid capital to protect the assets of               these broker-dealers must establish,
                                              systems. To ensure that an inter-dealer                 customers and to meet their                           document, and maintain certain risk
                                              quotation system clearly reveals where                  responsibilities to other broker-                     management controls and supervisory
                                              two or more quotations in different                     dealers.684 Rule 15c3–1 is an integral                procedures; regularly review those
                                              names for a particular security represent               part of the Commission’s financial                    controls and procedures and document
                                              a single quotation or where one broker-                 responsibility program for broker-                    the review; and remediate issues
                                              dealer appears as a correspondent of                    dealers. In particular, Rule 15c3–1                   discovered to assure overall
                                              another, Rule 15c2–7 sets forth certain                 facilitates the monitoring of the                     effectiveness of such controls and
                                              criteria that must be met for broker-                   financial condition of broker-dealers by              procedures. These broker-dealers also
                                              dealers to furnish, or submit directly or               the Commission and the broker-dealer’s                must preserve a copy of their
                                              indirectly, any quotation for a security                designated examining authority (or                    supervisory procedures and a written
                                              (other than a municipal security) to an                 ‘‘DEA’’).                                             description of their risk management
                                              inter-dealer quotation system. More                        Various provisions of Rule 15c3–1                  controls as part of their books and
                                              specifically, to furnish or submit any                  require that broker-dealers provide                   records. In addition, the Chief Executive
                                              such quotation Rule 15c2–7 requires                     written notification to the Commission                Officer (or equivalent officer) is required
                                              that:                                                   and/or their DEA under certain                        to certify annually that the broker or
                                                 • Broker-dealers that are                            circumstances. For example, no equity                 dealer’s risk management controls and
                                              correspondents for other broker-dealers                 capital of a broker-dealer may be                     supervisory procedures comply with
                                              for a particular security and enter                     withdrawn if the amount withdrawn                     Rule 15c3–5, and that the broker-dealer
                                              quotations inform the inter-dealer                      exceeds specified levels unless notice is             conducted the required review. These
                                              quotation system of both the existence                  provided to the broker-dealer’s DEA and               documents are required to be preserved
                                              of the arrangement and the identity of                  the Commission within prescribed                      by the broker-dealer as part of its books
                                              the correspondent;                                      timeframes.685 In addition, a broker-                 and records.
                                                 • Where two or more broker-dealers                   dealer carrying the account of an                        Rule 15c3–5 is generally designed to
                                              place quotations pursuant to any other                  options market maker must file a notice               ensure that broker-dealers (which,
                                              arrangement between or among other                      with the Commission and the DEA of                    under the current regulatory structure,
                                              broker-dealers, the identity of each                    both the carrying firm and the market                 are the only entities that may be
                                              broker-dealer participating in any such                 maker prior to effecting transactions in              members of exchanges or provide access
                                              arrangement(s), and the fact that an                    the account.686                                       to trading in securities on an ATS to
                                              arrangement exists, must be disclosed;                     There are also certain recordkeeping               non-broker-dealers) appropriately
                                                 • The inter-dealer quotation systems                 requirements under Rule 15c3–1. For                   control the risks associated with market
                                              to which the quotation is furnished or                  example, a broker-dealer must keep a                  access, so as not to jeopardize their own
                                              submitted must make it a general                        record of who is acting as an agent in                financial condition, that of other market
                                              practice to disclose, with each                         a securities loan transaction and records             participants, the integrity of trading on
                                              published quotation, these                              with respect to obtaining DEA approval                the securities markets, and the stability
                                              arrangements, along with the identities                 prior to withdrawing capital within one               of the financial system.
                                              of all other broker-dealers that were                   year of a contribution.687 The regulation             6. Rules 17a–3 and 17a–4
                                              disclosed to the inter-dealer quotation                 at 17 CFR 240.15c3–1c (‘‘appendix C to
                                              system; and                                             Rule 15c3–1’’) requires registered                       The Commission adopted Rules 17a–
                                                 • When a broker-dealer enters into                   broker-dealers that consolidate their                 3 and 17a–4 (‘‘Recordkeeping Rules’’) in
                                              any correspondent or other arrangement                  financial statements with a subsidiary or             1939 to standardize recordkeeping
                                              in which two or more broker-dealers                     affiliate to submit, under certain                    practices by establishing minimum
                                              furnish or submit quotations for a                      circumstances, an opinion of counsel to               standards with respect to business
                                              particular security, the broker-dealer                  their DEA.688                                         records that broker-dealers registered
                                              must inform all broker-dealers                             These recordkeeping and reporting                  with the Commission must create and
                                              furnishing or submitting such                           requirements are designed to inform the               maintain. Rule 17a–3 requires broker-
                                              quotations of the existence of such                     Commission and a broker-dealer’s DEA                  dealers to make and keep current certain
                                              correspondent or other arrangement and                  of certain financial situations involving             records relating to their financial
                                              the identity of the parties thereto.                    broker-dealers’ financial situations.                 condition, communications, customer
                                                 The information required by Rule                                                                           information, and employees. Rule 17a–
                                                                                                      5. Rule 15c3–5
                                              15c2–7 is designed to help the                                                                                4 requires broker-dealers to preserve, for
                                              Commission prevent fraud,                                  Rule 15c3–5 requires that broker-                  prescribed periods of time, the records
                                              manipulation, and deceptive acts and                    dealers with access to trading directly               required to be created under Rule 17a–
                                              practices. When Rule 15c2–7 was                         on an exchange or ATS, including those                3 and certain other Commission rules.
                                              adopted in 1964, the information it                     providing sponsored or direct market                  In addition, Rule 17a–4 requires broker-
                                              required was critical to the                            access to customers or other persons,                 dealers to preserve other records that
                                              Commission’s role in monitoring broker-                 implement risk management controls                    may be created or received by the
khammond on DSKJM1Z7X2PROD with RULES2




                                              dealers and protecting the integrity of                                                                       broker-dealer in the ordinary course of
                                                                                                        684 See Net Capital Rule, Exchange Act Release
                                              over-the-counter markets. The                                                                                 its business for prescribed periods of
                                                                                                      No. 39455 (Dec. 17, 1997), 62 FR 67996 (Dec. 30,
                                              disclosures required by Rule 15c2–7                     1997).
                                                                                                                                                            time. Rule 17a–4 also specifies the
                                              help assure that inter-dealer quotation                   685 See 17 CFR 240.15c3–1(e)(1).                    manner in which these records should
                                              systems reflect the demand for, and                       686 See 17 CFR 240.15c3–1(a)(6)(vi).                be maintained. The Commission has
                                              market activity related to, the securities                687 See 17 CFR 240.15c3–1(c)(2)(iv)(B).             periodically modified these rules to
                                              quoted on their systems.                                  688 See 17 CFR 240.15c3–1(c).                       include additional records and to


                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00066   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                  Page 67 of 74 PageID 91
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                  15003

                                              recognize new methods to maintain                       engaged in those activities, and how                  documenting the life of an order
                                              records.                                                economic events and government                        through the process of original receipt
                                                The records and the information                       policies might affect various segments of             or origination, routing, modification,
                                              created and maintained in accordance                    the securities industry.                              cancellation, and execution (in whole or
                                              with Rules 17a–3 and 17a–4 are used by                                                                        in part) for each NMS security.696
                                              examiners and other representatives of                  8. Rule 17a–11                                           This audit trail information is
                                              the Commission, State securities                           Rule 17a–11 requires broker-dealers                designed to allow regulators to
                                              regulatory authorities, and the self-                   that are experiencing financial or                    efficiently and accurately monitor and
                                              regulatory organizations (e.g., FINRA,                  operational difficulties to provide notice            surveil the securities markets and detect
                                              CBOE) (‘‘SROs’’) to determine whether                   to the Commission, the broker-dealer’s                and investigate activity in NMS
                                              broker-dealers are in compliance with                   DEA, and the CFTC (if the broker-dealer               securities throughout the U.S. markets,
                                              the Commission’s antifraud and anti-                    is registered with the CFTC as a futures              whether on one market or across
                                              manipulation rules, financial                           commission merchant). For example, if                 markets. The data collected and
                                              responsibility program, and other                       a registered broker-dealer determines                 reported to the central repository can
                                              Commission, SRO, and State laws, rules,                 that the net capital it has on hand has               also be used by regulators to evaluate
                                              and regulations.                                        fallen below the amount it must                       tips and complaints and for complex
                                                                                                      maintain (as calculated under Rule                    enforcement inquiries or investigations,
                                              7. Rule 17a–5                                           15c3–1), it must immediately notify the               as well as inspections and
                                                 Rule 17a–5 requires that broker-                     Commission and its DEA (and, if                       examinations. Further, regulators can
                                              dealers create, submit, and make                        applicable, the CFTC).693 Rule 17a–11 is              use the data collected and reported to
                                              available various reports. Paragraph                    an integral part of the Commission’s                  conduct more timely and accurate
                                              (a)(1) of Rule 17a–5 requires broker-                   financial responsibility program, which               analysis of market activity for
                                              dealers to file quarterly or monthly                    enables the Commission, a broker-                     reconstruction of broad-based market
                                              (depending on a broker-dealer’s                         dealer’s DEA, and the CFTC to increase                events in support of regulatory policy
                                              business) reports on Form X–17A–5, the                  surveillance of a broker-dealer                       decisions.
                                              Financial and Operational Combined                      experiencing difficulties and to obtain
                                                                                                                                                            B. Respondents
                                              Uniform Single Report (‘‘FOCUS                          any additional information necessary to
                                              Report’’).689 The FOCUS Report was                      gauge the broker-dealer’s financial or                   As discussed above, new Rules 3a5–
                                              designed to eliminate the overlapping                   operational condition. The real-time                  4 and 3a44–2 would further define
                                              regulatory reports required by various                  information contained in these notices                activities that would cause a person
                                              SROs and the Commission and to                          alerts the Commission, the DEA, and the               engaged in a regular business of buying
                                              reduce reporting burdens. Paragraph (c)                 CFTC of the need to increase                          and selling securities for its own
                                              of Rule 17a–5 requires that certain                     surveillance of the broker-dealer’s                   account within the meaning of the
                                              broker-dealers furnish specified                        financial and operational condition.                  Exchange Act. A person who satisfies
                                              financial information to their                                                                                the factors described in the amended
                                                                                                      9. Rule 613                                           definitions would be considered a
                                              customers.690 Paragraph (d) of Rule 17a–
                                              5 requires broker-dealers, subject to                      Rule 613 requires FINRA and the                    ‘‘dealer’’ or ‘‘government securities
                                              limited exceptions, to file annual                      national securities exchanges                         dealer,’’ and thus would be required to
                                              reports prepared by an accountant                       (‘‘Participants’’) to submit an NMS plan              register as such with the Commission,
                                              registered with the PCAOB.691 The                       to create, implement, and maintain the                absent an exception or exemption. As
                                              annual reports generally must be filed                  CAT to capture order event information                detailed in section III.B.2.c, the TRACE
                                              with the Commission, the SROs of                        for orders in NMS securities, across all              analysis identifies as potential
                                              which the broker-dealer is a member,                    markets, from the time of order                       significant liquidity providers a total of
                                              and SIPC. Rule 17a–5 also requires                      inception through routing, cancellation,              31 firms that are not currently registered
                                              additional notifications if an accountant               modification, or execution in a single,               as dealers; including 22 entities
                                              identifies a material weakness in a                     consolidated data source.694 The term                 classified as PTFs, 4 entities classified
                                              broker-dealer’s internal control over                   ‘‘NMS Security’’ is defined as ‘‘any                  as hedge funds, and another 5
                                              compliance during the most recent                       security or class of securities for which             entities.697 Further, the Form PF
                                              fiscal year.692                                         transaction reports are collected,                    analysis identifies 12 hedge funds that
                                                 Reports required to be filed under                   processed, and made available pursuant                are the most likely to meet the final
                                              Rule 17a–5 are used, among other                        to an effective transaction reporting                 rules’ factors due to their reported HFT
                                              things, to monitor the financial and                    plan, or an effective national market                 activities.698 For purposes of this PRA,
                                              operational condition of a broker-dealer                system plan for reporting transactions in             we will calculate the burdens based on
                                              by Commission staff and by the broker-                  listed options.’’ 695 In general, the term            an estimated 31 liquidity providers plus
                                              dealer’s DEA. The reports required                      ‘‘NMS Security’’ refers to exchange-                  12 hedge funds, or 43 respondents. This
                                              under Rule 17a–5 are one of the primary                 listed equity securities and standardized
                                                                                                                                                              696 See 17 CFR 242.613(a)(1) and (c)(1), (6), and
                                              means of ensuring compliance with the                   options, but does not include exchange-
                                                                                                                                                            (7).
                                              broker-dealer financial responsibility                  listed debt securities, securities futures,             697 See supra note 418.

                                              rules. In addition, FOCUS Report data                   or open-end mutual funds, which are                      698 Based on staff analysis (see section III.B.2.c),

                                              are used in preparation for broker-dealer               not currently reported pursuant to an                 the 12 entities were identified through Form PF
                                              examinations. The completed forms also                  effective transaction reporting plan.                 since we believe that any private funds employing
                                                                                                                                                            trading strategies that would fit the final rules’
khammond on DSKJM1Z7X2PROD with RULES2




                                              are used to determine which firms are                   Rule 613 requires that each Participant               qualitative standard, as adopted, would likely
                                              engaged in various securities-related                   and its member broker-dealers to record,              report them as HFT. However, since reported HFT
                                              activities, the extent to which they are                and electronically report to the central              may apply to a broader set of activities than the
                                                                                                      repository, details for each order                    final rules’ qualitative factors, the actual number of
                                                689 See 17 CFR 240.17a–5(a)(1).
                                                                                                                                                            affected funds may be less than 12. However, for
                                                                                                                                                            purposes of this PRA, we conservatively estimate
                                                690 See 17 CFR 240.17a–5(c).                            693 See 17 CFR 240.17a–11(g).
                                                                                                                                                            that up to 12 entities could be required to register
                                                691 See 17 CFR 240.17a–5(d).                            694 See 17 CFR 242.613(a)(1) and (c)(1) and (7).
                                                                                                                                                            as dealers and submit order information to CAT.
                                                692 See 17 CFR 240.17a–5(h).                            695 See 17 CFR 242.600(b)(54).                      See infra note 766 and accompanying text.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00067   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                          Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 68 of 74 PageID 92
                                              15004            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              estimate of 43 respondents differs from                  estimates an initial burden of 2.75 hours              Rule 15c2–7 notices.710 However,
                                              the estimate of 105 respondents used in                  for completing a Form BD and an                        because a respondent may be required
                                              the Proposing Release. As discussed                      annual burden of .90 hours per                         to submit such notices, to estimate this
                                              more fully in the Economic Analysis,                     respondent for amending Form BD,704                    paperwork burden the Commission
                                              changes made to the proposed rule text                   resulting in a total initial burden of                 posits that one filing, in the aggregate,
                                              to address commenters’ concerns                          approximately 118 hours 705 and a total                by one broker-dealer, is made annually
                                              (described in section I.B above), have                   annual burden of approximately 39                      pursuant to Rule 15c2–7.711 Based on
                                              decreased the number of persons that                     hours 706 associated with the                          prior industry estimates, the time
                                              will likely need to register under the                   amendments to the definitions.                         required to enter a notice pursuant to
                                              final rules.699 These respondents would                                                                         Rule 15c2–7 is 45 seconds, or .75
                                                                                                       2. Paperwork Burdens Associated With
                                              be subject to some or all of the following                                                                      minutes.712 The Commission believes
                                                                                                       Rules 15b6–1 and 15Cc1–1 and Form
                                              collections of information described                                                                            that none of the respondents that are
                                                                                                       BDW
                                              below.                                                                                                          required to register as a result of the
                                                                                                          The time necessary to complete and                  amended definitions will be required to
                                              C. Paperwork Reduction Act Burdens                       file Form BDW will vary depending on                   file a Rule 15c2–7 notice. Accordingly,
                                              1. Paperwork Burdens Associated With                     the nature and complexity of the                       the Commission estimates that there
                                              Rules 15b1–1, 15Ca1–1, 15Ca2–1, and                      applicant’s securities business. On                    will be no internal compliance cost
                                              15b3–1 and Form BD                                       average, the Commission estimates that                 associated with the burden hours for
                                                                                                       it would take a broker-dealer                          Rule 15c2–7.
                                                 As discussed above, section 15C of                    approximately one hour 707 per
                                              the Exchange Act requires that                           respondent to complete and file a Form                 4. Paperwork Burdens Associated With
                                              government securities dealers register                   BDW to withdraw from Commission                        Rule 15c3–1
                                              with the Commission.700 A government                     registration. For purposes of estimating                  The respondents that must register
                                              securities dealer has the flexibility to                 this paperwork burden, the Commission                  with the Commission as a result of the
                                              either register as a dealer pursuant to                  posits that at least one of the 43                     new final rules may incur a collection
                                              Rule 15b1–1 and file notice as a                         respondents may withdraw as a dealer                   of information burden to comply with
                                              government securities dealer under Rule                  each year, resulting in a total annual                 Rule 15c3–1. The Commission estimates
                                              15Ca1–1, or register as a government                     burden of one hour.708 It is not                       the hour burdens of the requirements
                                              securities dealer under Rule 15Ca2–1.701                 anticipated that respondents will have                 associated with Rule 15c3–1 as follows.
                                              In either case, the respondent is                        to incur any capital or start-up costs, nor               Notices: Based on the number of
                                              required to complete a Form BD.702 The                   any additional operational or                          notices filed under Rule 15c3–1
                                              Commission believes that new Rules                       maintenance costs, to comply with the                  between November 1, 2021, and October
                                              3a5–4 and 3a44–2 would impose the                        collection of information.709                          31, 2022, the Commission estimated that
                                              same burden on these respondents                                                                                broker-dealers annually file
                                              irrespective of whether the respondent                   3. Paperwork Burdens Associated With                   approximately 1,216 notices under Rule
                                              registers as a dealer or a government                    Rule 15c2–7                                            15c3–1.713 3,528 broker-dealers
                                              securities dealer. Once registered, a                       Any broker-dealer could be a                        submitted annual audit reports for the
                                              broker-dealer must file an amended                       potential respondent for Rule 15c2–7.                  year ending December 31, 2021.714
                                              Form BD when information it originally                   Only quotations entered into through an                Thus, approximately 35% of broker-
                                              reported on Form BD changes or                           inter-dealer quotation system, such as                 dealer respondents submitted a Rule
                                              becomes inaccurate.703 The Commission                    OTC Link and Global OTC, are covered                   15c3–1 notice during this timeframe.
                                                                                                       by Rule 15c2–7. According to                           Based on this percentage, the
                                                 699 Section III.B above includes a discussion of
                                                                                                       representatives of OTC Link and Global                 Commission estimates that at least
                                              commenters’ concerns.                                    OTC, none of those entities has recently
                                                 700 See 15 U.S.C. 78o–5(a).
                                                                                                                                                              approximately 15 of the 43 respondents
                                                 701 Compare section 15(a) with section 15C. A
                                                                                                       received, nor anticipates receiving, any               would likely file one notice under Rule
                                              government securities dealer that registers under                                                               15c3–1 annually.715 In addition, the
                                                                                                         704 For the previously approved estimates, see ICR
                                              section 15C(a)(l)(A) will be limited to conducting a                                                            Commission estimated that a broker-
                                              government securities business only.                     Reference No. 202306–3235–010 (conclusion date
                                                                                                       June 13, 2023), available at https://
                                                                                                                                                              dealer will spend approximately 30
                                                 702 Compare 17 CFR 240.15b1–1(a) (‘‘Rule 15b1–
                                                                                                       www.reginfo.gov/public/do/PRAViewDocument?
                                              1(a)’’) (‘‘An application for registration of a broker                                                             710 For the previously approved estimates, see ICR
                                                                                                       ref_nbr=202306-3235-010 (‘‘Form BD PRA
                                              or dealer that is filed pursuant to section 15(b) of
                                                                                                       Supporting Statement’’). The Commission’s              Reference No. 202008–3235–005 (conclusion date
                                              the Act (15 U.S.C. 78o(b)) shall be filed on Form
                                                                                                       currently approved burden associated with filing an    Feb. 1, 2021), available at https://www.reginfo.gov/
                                              BD (249.501 of this chapter) in accordance with the
                                                                                                       amendment to Form BD is .33 hours. From 2019           public/do/PRAViewDocument?ref_nbr=202008-
                                              instructions to the form’’) and 17 CFR 240.15Ca1–
                                                                                                       through 2021, the Commission received, on average,     3235-005 (‘‘Rule 15c2–7 PRA Supporting
                                              1(a) (‘‘Rule 15Ca1–1(a)’’) (‘‘Every government
                                                                                                       2.72 amendments per broker-dealer (see Form BD         Statement’’).
                                              securities broker or government securities dealer
                                                                                                       PRA Supporting Statement at 5). Thus, we                  711 Rule 15c2–7 PRA Supporting Statement at 3.
                                              that is a broker or dealer registered pursuant to
                                                                                                       extrapolate that each new broker-dealer would             712 Id.
                                              section 15 or 15B of the Act (other than a financial
                                                                                                       submit approximately 2.72 amendments. 2.72                713 For the previously approved estimates, see ICR
                                              institution as defined in section 3(a)(46) of the Act)
                                                                                                       amendments × .33 hours = .90 hours per                 Reference No. 202301–3235–012 (conclusion date
                                              shall file with the Commission written notice on
                                                                                                       respondent.                                            June 2, 2023), available at https://www.reginfo.gov/
                                              Form BD (249.501 of this chapter) in accordance            705 43 respondents multiplied by 2.75 hours per
                                              with the instructions contained therein that it is a                                                            public/do/PRAViewICR?ref_nbr=202301-3235-012
                                              government securities broker or government               respondent.                                            (‘‘Rule 15c3–1 PRA Supporting Statement’’) at 4.
                                                                                                         706 43 respondents multiplied by .90 hours per
                                              securities dealer.’’) with 17 CFR 240.15Ca2–1(a)                                                                This justification also describes other collections of
                                              (‘‘Rule 15Ca2–1(a)’’) (‘‘An application for              respondent.                                            information associated with Rule 15c3–1, however
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                         707 For the previously approved estimates, see ICR   the Commission determined that the business
                                              registration pursuant to section 15C(a)(1)(A) of the
                                              Act, of a government securities broker or                Reference No. 202306–3235–014 (conclusion date         model of the firms expected to register as broker-
                                              government securities dealer that is filed on or after   Aug. 11, 2023), available at https://www.reginfo       dealers as a result of these new definitions would
                                              January 25, 1993, shall be filed with the Central        .gov/public/do/PRAViewDocument?ref_nbr                 likely not require that they comply with those
                                              Registration Depository (operated by the Financial       =202306-3235-014 (‘‘Form BDW PRA Supporting            provisions (see supra section III.B (discussing types
                                              Industry Regulatory Authority, Inc.) on Form BD in       Statement’’).                                          of entities that could be captured by the final
                                              accordance with the instructions contained                 708 1 respondent multiplied by 1 hour per            rules)).
                                              therein.’’).                                             respondent.                                               714 Based on FOCUS data.
                                                 703 See Rule 15b3–1.                                    709 Form BDW PRA Supporting Statement at 5.             715 43 respondents × 35% = 15.05.




                                         VerDate Sep<11>2014    17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00068   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                 Page 69 of 74 PageID 93
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                  15005

                                              minutes preparing and filing these                      collection of information will include,                 3 will impose specific burdens on
                                              notices.716 Accordingly, the                            among other things, updating systems to                 respondents. Paragraphs (a)(12) and (19)
                                              Commission estimates a total additional                 address any issues detected, updating                   of Rule 17a–3 require that a broker-
                                              annual burden associated with                           risk management controls to reflect any                 dealer create certain records regarding
                                              submitting these Rule15c3–1 notices of                  change in its business model, and                       its associated persons.730 The
                                              approximately 7.5 hours.717                             documenting and preserving a broker-                    Commission estimates that each broker-
                                                 Capital Withdrawal Liability:                        dealer’s written description of its risk                dealer spends, on average,
                                              Paragraph (c)(2)(i)(G)(2) of Rule 15c3–1                management controls.724 In addition,                    approximately 30 minutes each year 731
                                              requires that a broker-dealer treat as a                the Commission estimates that a broker-                 to ensure that it is in compliance with
                                              liability any capital contribution that is              dealer’s legal and compliance burden of                 these requirements, resulting in a total
                                              intended to be withdrawn within one                     complying with Rule 15c3–5 will                         annual compliance burden of
                                              year of its contribution. The paragraph                 require approximately 45 hours per                      approximately 21.5 hours for the
                                              also includes the presumption that                      year.725 Accordingly, the Commission                    respondents.732
                                              capital withdrawn within one year of                    estimates the annual aggregate
                                              contribution was intended to be                                                                                 (iii) Rule 17a–3(a)(20) Through (22)
                                                                                                      information burden per respondent
                                              withdrawn within one year, unless the                   would be 160 hours,726 for a total                         Paragraphs (a)(20) through (22) of
                                              broker-dealer receives permission in                    annual burden of 6,880 hours.727                        Rule 17a–3 require broker-dealers to
                                              writing for the withdrawal from its DEA.                                                                        make, among other things, records
                                              For purposes of this PRA, the                           6. Paperwork Burdens Associated With                    documenting the broker-dealer’s
                                              Commission estimates that                               Rule 17a–3                                              compliance, or that the broker-dealer
                                              approximately three respondents would                      As discussed above, the respondents                  has adopted policies and procedures
                                              likely seek permission in writing to                    that must register as dealers or                        reasonably designed to establish
                                              withdraw capital 718 and that it will take              government securities as a result of                    compliance, with applicable Federal
                                              each of those firms approximately one                   these new definitions will incur a                      regulations and SRO rules that require
                                              hour to prepare and submit the request                  burden associated with the collections                  approval by a principal of the broker-
                                              to their DEAs.719 Accordingly, the                      of information necessary to comply with                 dealer of any advertisements, sales
                                              Commission estimates that the total                     Rule 17a–3.                                             literature, or other communications
                                              annual reporting burden will be                                                                                 with the public.733 Moreover, these
                                                                                                      (i) Rule 17a–3 Generally
                                              approximately three hours.720                                                                                   rules require broker-dealers to create a
                                                                                                         While recordkeeping requirements                     record of the personnel responsible for
                                              5. Paperwork Burdens Associated With                    will vary based on the size and                         establishing compliance policies and
                                              Rule 15c3–5                                             complexity of the broker-dealer, the                    procedures and of the personnel capable
                                                 To comply with Rule 15c3–5, a                        Commission estimates that one hour a                    of explaining the types of records the
                                              respondent must maintain its risk                       day 728 is the average amount of time                   broker-dealer must maintain and the
                                              management system by monitoring its                     needed by a broker-dealer to comply                     information contained in those
                                              effectiveness and updating its systems                  with the overall requirements of Rule                   records.734 The Commission estimates
                                              to address any issues detected.721 In                   17a–3, in addition to the separate                      that, on average, each broker-dealer will
                                              addition, a respondent is required to                   burdens described below. The number                     spend 10 minutes each year 735 to
                                              preserve a copy of its written                          of working days per year is 249, and as                 ensure compliance with these
                                              description of its risk management                      a result the total annual estimated                     requirements, resulting in a total annual
                                              controls as part of its books and records               burden for respondents with respect to                  burden for the respondents of about
                                              in a manner consistent with Rule 17a–                   Rule 17a–3 generally would be 10,707                    approximately 7.2 hours.736
                                              4(e)(7).722 The Commission estimates                    hours.729
                                              that the ongoing annualized burden for                                                                          7. Paperwork Burdens Associated With
                                                                                                      (ii) Rule 17a–3(a)(12) and (19)                         Rule 17a–4
                                              a respondent to maintain its risk
                                              management system will be                                  In addition to the hour burden                          The respondents that registered as
                                              approximately 115 burden hours.723 The                  estimate for Rule 17a–3 generally, the                  dealers or government securities would
                                              Commission believes the ongoing                         Commission also believes that                           incur a collection of information burden
                                              burden of complying with the rule’s                     paragraphs (a)(12) and (19) of Rule 17a–                to comply with Rule 17a–4. Rule 17a–
                                                                                                                                                              4 establishes the records that must be
                                                716 Rule 15c3–1 PRA Supporting Statement at 4.          724 Id.

                                                717 15 respondents multiplied by 0.5 hours per           725 Id. at 5. Specifically, compliance attorneys        730 These records that a broker-dealer is required

                                              respondent.                                             who review, document, and update written                to make regarding the broker-dealer’s associated
                                                 718 In its 2023 PRA, the Commission estimated        compliance policies and procedures are expected to      persons include: (1) all agreements pertaining to the
                                              that broker-dealers would submit approximately          require an estimated 20 hours per year; a               associated person’s relationship with the broker-
                                              238 notices annually. Rule 15c3–1 PRA Supporting        compliance manager who reviews, documents, and          dealer and a summary of each associated person’s
                                              Statement at 5. According to FOCUS data, 3,528          updates written compliance policies and                 compensation arrangement (17 CFR 240.17a–
                                              broker-dealers submitted annual audit reports for       procedures is expected to require 20 hours per year;    3(a)(19)(ii)), (2) a record delineating all
                                              the year ending Dec. 31, 2021. Thus, approximately      and the Chief Executive Officer, who certifies the      identification numbers relating to each associated
                                              7% of the active broker-dealers submitted a notice      policies and procedures, is expected to require         person (17 CFR 240.17a–3(a)(12)(ii)), (3) a record of
                                              annually as of 2021. 43 respondents × 7% = 3.01.        another 5 hours per year. Id.                           the office at which each associated person regularly
                                                 719 Rule 15c3–1 PRA Supporting Statement at 5.          726 115 hours for technology + 45 hours for legal    conducts business (17 CFR 240.17a–3(a)(12)(iii)),
                                                 720 3 respondents multiplied by 1 hour per           and compliance.                                         and (4) a record as to each associated person listing
                                              respondent.                                                727 43 respondents multiplied by 160 hours.          transactions for which that person will be
khammond on DSKJM1Z7X2PROD with RULES2




                                                 721 See 17 CFR 240.15c3–5.                              728 For the previously approved estimates, see ICR
                                                                                                                                                              compensated (17 CFR 240.17a3(a)(19)(i)).
                                                                                                                                                                 731 Rule 17a–3 PRA Supporting Statement at 6.
                                                 722 Id.                                              Reference No. 202107–3235–019 (conclusion date
                                                                                                                                                                 732 43 respondents multiplied by 0.5 hours per
                                                 723 For the previously approved estimates, see ICR   Dec. 1, 2021), available at https://www.reginfo.gov/
                                                                                                      public/do/PRAViewDocument?ref_nbr=202107-               respondent.
                                              Reference No. 201907–3235–022 (conclusion date                                                                     733 See 17 CFR 240.17a–3(a)(20).
                                              Dec. 10, 2019), available at https://                   3235-019 (‘‘Rule 17a–3 PRA Supporting
                                                                                                                                                                 734 See 17 CFR 240.17a–3(a)(21) and (22).
                                              www.reginfo.gov/public/do/                              Statement’’). Rule 17a–3 PRA Supporting Statement
                                              PRAViewDocument?ref_nbr=201907-3235-022                 at 6.                                                      735 Rule 17a–3 PRA Supporting Statement at 6.

                                              (‘‘Rule 15c3–5 PRA Supporting Statement’’). See            729 43 respondents multiplied by 249 hours per          736 (43 respondents multiplied by 10 minutes per

                                              Rule 15c3–5 PRA Supporting Statement at 4.              respondent a year.                                      respondent) divided by 60 minutes.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00069   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                 Page 70 of 74 PageID 94
                                              15006            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              preserved by broker-dealers.737 The                     standards.745 The Commission believes                  of about 215 hours for the
                                              Commission estimates that, on average,                  that each of the 43 respondents that                   respondents.756
                                              each broker-dealer spends 254 hours                     would be required to register with the                    Statement Regarding Independent
                                              each year 738 to ensure that it preserves               Commission would need to file an                       Public Accountant: Paragraph (f)(2) of
                                              the records Rule 17a–4 requires all                     annual report. The Commission                          Rule 17a–5 requires broker-dealers to
                                              broker-dealers to preserve. Accordingly,                estimates that each respondent is                      prepare a statement providing
                                              the Commission estimates that there                     estimated to have an annual reporting                  information regarding the broker-
                                              will be a total annual burden of 10,922                 burden of 12 hours under this provision                dealer’s independent public accountant
                                              hours to comply with the Rule 17a–4                     of Rule 17a–5,746 resulting in an annual               and to file it each year with the
                                              requirements applicable to the                          burden of 516 hours for the                            Commission and its DEA (except that if
                                              respondents.739                                         respondents.747                                        the engagement is of a continuing
                                              8. Paperwork Burdens Associated With                       Exemption Report: Paragraph                         nature, no further filing is required).757
                                              Rule 17a–5                                              (d)(1)(i)(B) of Rule 17a–5 requires a                  The Commission estimates that it takes
                                                                                                      broker-dealer that claims it was exempt                a broker-dealer that neither carries
                                                 This section summarizes the burdens                  from Rule 15c3–3 throughout the most                   customer accounts nor clears
                                              associated with Rule 17a–5.740                          recent fiscal year to file an exemption                transactions approximately 2 hours to
                                                 FOCUS Report for Broker-Dealers that                 report with the Commission on an                       file the Statement Regarding
                                              do not Clear Transactions or Carry                      annual basis.748 The Commission                        Independent Public Accountant with
                                              Customer Accounts: Paragraph (a)(2)(iii)                believes, based on their business models               the Commission.758 As a result, each
                                              of Rule 17a–5 requires that broker-                     (as PTFs and hedge funds), that the                    broker-dealer that neither carries nor
                                              dealers that do not clear transactions or               respondents generally would claim                      clears transactions is estimated to have
                                              carry customer accounts and do not use                  exemptions from Rule 15c3–3 and be                     an annual burden of 2 hours, resulting
                                              ANC models to calculate net capital are                 required to file an exemption report.                  in an annual burden of 86 hours for the
                                              required to file FOCUS Report Part IIA                  The Commission estimates that it takes                 respondents.759
                                              on a quarterly basis.741 The Commission                 a broker-dealer claiming an exemption
                                              believes that, based on their business                                                                         9. Paperwork Burdens Associated With
                                                                                                      from Rule 15c3–3 approximately 7                       Rule 17a–11 760
                                              models (as PTFs and hedge funds), the                   hours to complete the exemption
                                              43 respondents that would be required                   report,749 resulting in an annual burden                 In 2019, the Commission received 343
                                              to register with the Commission would                   of 301 hours.750                                       Rule 17a–11 notices from broker-
                                              need to comply with this provision of                                                                          dealers.761 Approximately 3,679 broker-
                                              Rule 17a–5. The Commission estimates                       SIPC Annual Reports: Paragraph (d)(6)
                                                                                                      of Rule 17a–5 requires that each SIPC                  dealers filed annual audited financial
                                              that each FOCUS Report Part IIA takes                                                                          statements for fiscal year 2019.762 Thus,
                                              approximately 12 hours to prepare and                   member broker-dealer file a copy of its
                                                                                                      annual report with SIPC.751 The                        approximately 9% of registered broker-
                                              file.742 As a result, each respondent is                                                                       dealers submitted Rule 17a–11 notices.
                                              estimated to have an annual reporting                   Commission estimates that it takes a
                                                                                                      broker-dealer approximately 30 minutes                 The Commission estimated that it will
                                              burden of 48 hours,743 resulting in an                                                                         take approximately one hour to prepare
                                              annual burden of 2,064 hours.744                        to file the annual report with SIPC.752
                                                                                                      As a result, each firm is estimated to                 and transmit each notice.763 Based on
                                                 Annual Reports: Paragraph (d)(1)(i)(A)
                                                                                                      have an annual burden of .5 hour,                      this, the Commission believes that 9%
                                              of Rule 17a–5 requires broker-dealers,
                                                                                                      resulting in an annual burden of 21.5                  of the respondents may need to submit
                                              subject to limited exception, to file
                                                                                                      hours for the respondents.753                          17a–11 notices, resulting in a burden of
                                              annual reports, including financial
                                                                                                                                                             four hours.764
                                              statements and supporting schedules                        SIPC Annual General Assessment
                                              that generally must be audited by a                     Reconciliation Report or Exclusion from                10. Paperwork Burdens Associated With
                                              PCAOB-registered independent public                     Membership Forms: Paragraph (e)(4) of                  Rule 613
                                              accountant in accordance with PCAOB                     Rule 17a–5 requires broker-dealers to
                                                                                                      file with SIPC a report on the SIPC                      Paragraph (c) of Rule 613 provides
                                                737 See 17 CFR 240.17a–4.                             annual general assessment                              that certain requirements are placed
                                                 738 For the previously approved estimates, see ICR
                                                                                                      reconciliation or exclusion from                       upon broker-dealers to record and report
                                              Reference No. 202107–3235–021 (conclusion date          membership forms.754 The Commission                    CAT information to the central
                                              Oct. 1, 2021), available at https://www.reginfo.gov/
                                                                                                      estimates that it takes a broker-dealer                repository in accordance with specified
                                              public/do/PRAViewDocument?ref_nbr=202107-
                                              3235-021 (‘‘Rule 17a–4 PRA Supporting                   approximately 5 hours to complete and
                                                                                                                                                               756 43 respondents multiplied by 5 hours per
                                              Statement’’). Rule 17a–4 PRA Supporting Statement       submit its SIPC annual assessment
                                              at 7.                                                                                                          respondent.
                                                 739 43 respondents multiplied by 254 hours per
                                                                                                      reconciliation form or certification of                  757 17 CFR 240.17a–5(f)(2).

                                              respondent.
                                                                                                      exclusion from membership form,755                       758 Rule 17a–5 PRA Supporting Statement at 9.

                                                 740 Registered government securities dealers are     resulting in an estimated annual burden                  759 43 respondents multiplied by 2 hours per

                                              required to comply with Rule 17a–5, subject to the                                                             respondent.
                                              modifications enumerated in 17 CFR 405.1 (‘‘Rule          745 See 17 CFR 240.17a–5(d)(1)(i)(A).                  760 Registered government securities dealers are

                                              405.1’’) and 405.2 (‘‘Rule 405.2’’). See 17 CFR 405.1     746 Rule 17a–5 PRA Supporting Statement at 7.        required to comply with Rule 17a–11, subject to the
                                              and 405.2.                                                747 43 respondents multiplied by 12 hours per        modifications enumerated in 17 CFR 405.3. See 17
                                                 741 See 17 CFR 240.17a–5(a)(2)(iii).                                                                        CFR 405.3.
                                                                                                      respondent.                                              761 For the previously approved estimates, see ICR
                                                 742 For the previously approved estimates, see ICR
                                                                                                        748 See 17 CFR 240.17a–5(d)(1)(i)(B).
                                              Reference No. 202107–3235–022 (conclusion date                                                                 Reference No. 202107–3235–023 (conclusion date
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                        749 Rule 17a–5 PRA Supporting Statement at 8.
                                              Oct. 1, 2021), available at https://www.reginfo.gov/                                                           Oct. 1, 2021), available at https://www.reginfo.gov/
                                                                                                        750 43 respondents multiplied by 7 hours per
                                              public/do/PRAViewDocument?ref_nbr=202107-                                                                      public/do/PRAViewDocument?ref_nbr=202107-
                                              3235-022 (‘‘Rule 17a–5 PRA Supporting                   respondent.                                            3235-023 (‘‘Rule 17a–11 PRA Supporting
                                                                                                        751 See 17 CFR 240.17a–5(d)(6).
                                              Statement’’). Rule 17a–5 PRA Supporting Statement                                                              Statement’’).
                                                                                                        752 Rule 17a–5 PRA Supporting Statement at 8.
                                              at 6.                                                                                                            762 Rule 17a–5 PRA Supporting Statement at 7.
                                                 743 These filings must be made quarterly. Rule         753 43 respondents multiplied by 0.5 hours per         763 Rule 17a–11 PRA Supporting Statement at 4.

                                              17a–5 PRA Supporting Statement at 6.                    respondent.                                              764 43 respondents multiplied by 9% =
                                                 744 43 respondents multiplied by 48 hours per          754 See 17 CFR 240.17a–5(e)(4).
                                                                                                                                                             approximately 4 respondents. 4 respondents
                                              respondent.                                               755 Rule 17a–5 PRA Supporting Statement at 9.        multiplied by 1 hour per respondent.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00070   Fmt 4701   Sfmt 4700    E:\FR\FM\29FER2.SGM   29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                 Page 71 of 74 PageID 95
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                                 15007

                                              timelines.765 The CAT is designed to                    hours,769 totaling an initial burden of                 2. Costs Associated With Rule 15c3–5
                                              capture customer and order event                        173,880 hours for these respondents.770                 Paperwork Burden
                                              information for orders in NMS                             After a respondent establishes the                       The Commission estimates that the
                                              securities, across all markets, from the                appropriate systems and processes                       average ongoing external hardware and
                                              time of order inception through routing,                required for collection and transmission                software expenses relating to the
                                              cancellation, modification, or execution                of the required information, the                        paperwork burden associated with Rule
                                              in a single, consolidated data source. If               Commission estimates that Rule 613                      15c3–5 would be approximately $20,500
                                              an affected party does not trade NMS                    imposes ongoing annual burdens                          per respondent,775 for a total annualized
                                              stocks, OTC equities, or listed options,                associated with, among other things,                    external cost for all respondents of
                                              then the affected party will not incur                  personnel time to monitor each                          $881,500.776
                                              CAT-related reporting costs because the                 respondent’s reporting of the required                  3. Costs Associated With Rule 17a–4
                                              affected party does not trade securities                data, maintenance of the systems to                     Paperwork Burden
                                              that must be reported to CAT. Based on                  report the required data, and
                                              staff analysis (see section III.B.2.c), the                                                                        The Commission estimates that the
                                                                                                      implementing changes to trading                         average broker-dealer spends
                                              12 entities were identified through Form                systems that might result in additional                 approximately $5,000 each year to store
                                              PF since we believe that any private                    reports.771 The Commission believes                     documents required to be retained
                                              funds employing trading strategies that                 that it would take each respondent                      under Rule 17a–4.777 Accordingly, the
                                              would fit the final rules’ qualitative                  approximately 13,338 burden hours per                   Commission estimates that the annual
                                              standard, as adopted, would likely                      year 772 to continue to comply with Rule                reporting and recordkeeping cost
                                              report them as HFT. However, since                      613, totaling an annual ongoing burden                  burden for the respondents to be
                                              reported HFT may apply to a broader set                 of 160,056 hours for the respondents.773                $215,000.778
                                              of activities than the final rules’
                                              qualitative factors, the actual number of               C. Paperwork Reduction Act Costs                        4. Costs Associated With Rule 17a–5
                                              affected funds may be less than 12.                                                                             Paperwork Burden
                                                                                                        In addition to the hour burdens
                                              However, for purposes of this PRA, we                                                                              The Commission estimates that Rule
                                                                                                      associated with these rules, there may
                                              conservatively estimate that up to 12                                                                           17a–5 causes a broker-dealer to incur an
                                                                                                      also be external costs associated with                  annual dollar cost to meet its reporting
                                              entities could be required to submit
                                                                                                      the paperwork burdens imposed by                        obligations. Those requirements that are
                                              order information to CAT.766
                                                                                                      these rules.                                            anticipated to impose an annual cost are
                                                The Commission recognizes that
                                                                                                      1. Costs Associated With Rule 15c3–1                    discussed below.
                                              broker-dealers may insource or                                                                                     Annual Reports: The Commission
                                              outsource CAT data reporting                            Paperwork Burden
                                                                                                                                                              estimates that postage costs to comply
                                              obligations.767 The Commission believes                    Broker-dealers that file consolidated                with paragraph (d) of Rule 17a–5,
                                              all 12 of the respondents that may be                   financial reports must obtain an opinion                impose on broker-dealers an annual
                                              required to submit order information to                 of counsel in accordance with appendix                  dollar cost of $7.75 per firm,779 resulting
                                              CAT would likely strategically decide to                C to Rule 15c3–1.774 The Commission                     in a total annual cost for the
                                              insource their data reporting functions                 indicated, when this rule was proposed,                 respondents of approximately $333.780
                                              as a result of their high level of trading              that it believed there will not be any                     Exemption Report: A broker-dealer
                                              activity.768 The Commission estimates                   respondents that are required to register               that claims it was exempt from Rule
                                              that the average initial burden                         as a result of the proposed rules that                  15c3–3 throughout the most recent
                                              associated with implementing                                                                                    fiscal year must file an exemption report
                                                                                                      will obtain an opinion of counsel to file
                                              regulatory data reporting to capture the                                                                        with the Commission on an annual
                                                                                                      the consolidated financial reports as
                                              required information and transmit it to                                                                         basis.781 The cost associated with an
                                                                                                      required under appendix C to Rule                       independent public accountant’s review
                                              the central repository in compliance                    15c3–1. We received no comment on
                                              with Rule 613 for each respondent to be                                                                         of the exemption report is estimated to
                                                                                                      this issue, and the Commission does not                 create an ongoing cost of $3,000 per
                                              approximately 14,490 initial burden                     anticipate that respondents will incur                  non-carrying broker-dealer per year,782
                                                                                                      any capital or start-up costs, nor any                  for a total annual reporting cost of
                                                                                                      additional operational or maintenance                   approximately $129,000.783
                                                                                                      costs, to comply with the collection of                    SIPC Annual Reports: The
                                                                                                      information under Rule 15c3–1.                          Commission estimates that postage costs
                                                                                                                                                              to comply with paragraph (d)(6) of Rule
                                                                                                        769 The 2023 CAT PRA Supporting Statement

                                                                                                      largely eliminated the initial burden estimate;           775 Rule 15c3–5 PRA Supporting Statement at 6.
                                                                                                      stating that as the CAT reporting obligations have        776 43 respondents multiplied by $20,500 per
                                                                                                      been in place for some time, the Commission             respondent.
                                                765 See 17 CFR 242.613(c).                            assumes that the initial one-time hour burdens            777 Rule 17a–4 PRA Supporting Statement at 13.

                                                 766 Additionally, we acknowledge that fewer
                                                                                                      associated with implementation of the system have       Costs include the cost of physical space, computer
                                                                                                      already been incurred. However, the 12 respondents      hardware and software, etc., which vary widely
                                              entities may actually need to report to CAT because     may incur these initial burdens. The prior burden       depending on the size of the broker-dealer and the
                                              some entities identified in the data as engaging in     estimates (which include a description of the initial   type of storage media employed. Id.
                                              equity strategies could be effecting transactions in    burdens) can be found at https://www.reginfo.gov/
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                                                                778 43 respondents multiplied by $5,000 per
                                              futures rather than transactions in NMS securities.     public/do/PRAViewDocument?ref_nbr=201911-               respondent.
                                                 767 For the previously approved estimates, see ICR   3235-003 (‘‘2020 CAT Supporting Statement’’).             779 Rule 17a–5 PRA Supporting Statement at 15.
                                              Reference No. 202306–3235–008 (Oct. 13, 2023),            770 12 respondents multiplied by 14,490 hours.          780 43 respondents multiplied by $7.75 per
                                              available at https://www.reginfo.gov/public/do/           771 See 2020 CAT PRA Supporting Statement at
                                                                                                                                                              respondent.
                                              PRAViewDocument?ref_nbr=202306-3235-008                 39.                                                       781 See 17 CFR 240.17a–5(d)(1)(i)(B).

                                              (‘‘2023 CAT PRA Supporting Statement’’).                  772 Id. at 39–40.                                       782 Rule 17a–5 PRA Supporting Statement at 16.
                                                 768 See 2023 CAT PRA Supporting Statement at           773 12 respondents multiplied by 13,338 hours.          783 43 respondents multiplied by $3,000 per

                                              37.                                                       774 Rule 15c3–1 PRA Supporting Statement at 11.       respondent.



                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00071   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM    29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                   Page 72 of 74 PageID 96
                                              15008            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              17a–5 impose an annual dollar cost of                   systems that might result in additional                   believe that there is a correlation
                                              50 cents per firm registered with SIPC                  reports to the central repository.792 The                 between the regulatory flexibility
                                              as a SIPC member broker-dealer 784                      Commission estimates costs for each                       analysis and the particular issue that the
                                              totaling, an estimated cost burden for                  respondent, on average, of                                commenter raised.
                                              the respondents of $21.50.785                           approximately $80,000 per year to                            As stated in the Proposing Release,
                                                 SIPC Annual General Assessment                       maintain systems connectivity to the                      the RFA defines ‘‘small entity’’ to mean
                                              Reconciliation Report or Exclusion from                 central repository and purchase any
                                              Membership Forms: The Commission                                                                                  ‘‘small business,’’ ‘‘small organization,’’
                                                                                                      necessary hardware, software, and other
                                              estimates that postage costs to comply                                                                            or ‘‘small governmental
                                                                                                      materials, an additional $1,300 per year
                                              with paragraph (e)(4) of Rule 17a–5                                                                               jurisdiction.’’ 801 The Commission’s
                                                                                                      in third party costs, and an additional
                                              impose an annual dollar cost of 50 cents                $29,167 per year to maintain the                          rules define ‘‘small business’’ and
                                              per firm.786 The Commission estimates                   modified allocation timestamp                             ‘‘small organization’’ for purposes of the
                                              that the respondents will file with SIPC                requirement,793 totaling an estimated a                   RFA for each of the types of entities
                                              a report on the SIPC annual general                     cumulative annual ongoing cost of                         regulated by the Commission.802 A
                                              assessment reconciliation or exclusion                  $1,325,604 for the respondents.794                        ‘‘small business’’ and ‘‘small
                                              from membership form, such that the                                                                               organization,’’ when used in reference
                                              estimated annual cost burden totals                     V. Regulatory Flexibility Act                             to a person other than an investment
                                              $21.50.787                                                 The Regulatory Flexibility Act                         company, generally means a person
                                                 Statement Regarding Independent                      (‘‘RFA’’) requires Federal agencies, in                   with total assets of $5 million or less on
                                              Public Accountant: The Commission                       promulgating rules, to consider the                       the last day of its most recent fiscal
                                              estimates that postage costs to comply                  impact of those rules on small entities.                  year.803
                                              with paragraphs (f)(2) and (3) of Rule                  Section 603(a) of the Administrative                         The final rules would not apply to
                                              17a–5, impose an annual dollar cost of                  Procedures Act (‘‘APA’’),795 as amended                   persons that have or control total assets
                                              50 cents per firm.788 Accordingly, the                  by the RFA, generally requires the                        of less than $50 million.804 Therefore,
                                              Commission estimates that a cumulative                  Commission to undertake a regulatory                      because small businesses and small
                                              total cost of $21.50 per year.789                       flexibility analysis of all proposed rules,               organizations with total assets of $50
                                              5. Costs Associated With Rule 613                       or proposed rule amendments, to                           million or less would not meet the
                                              Paperwork Burden                                        determine the impact of the rulemaking                    requirements of the final rules, the final
                                                                                                      on ‘‘small entities.’’ 796 Section 605(b) of              rules would not have a significant
                                                 The Commission estimates that each                   the RFA 797 states that this requirement
                                              of the 12 respondents that may engage                                                                             economic impact on a substantial
                                                                                                      shall not apply to any proposed rule or                   number of small entities.
                                              in effecting transactions in NMS                        proposed rule amendment which, if
                                              securities will, on average, incur                      adopted, would not have a significant                        For the foregoing reasons, the
                                              approximately $450,000 in initial costs                 economic impact on a substantial                          Commission certifies, pursuant to
                                              for hardware and software to implement                  number of small entities.798                              section 605(b), that the final rules will
                                              the systems changes needed to capture                      The Commission received one                            not have a significant economic impact
                                              the required information and transmit it                comment on this certification.799 The                     on a substantial number of small entities
                                              to the central repository, an additional                commenter stated that the Commission                      for purposes of the RFA.
                                              $9,500 in initial third party costs, and                should consider as part of its regulatory
                                              an additional $250,000 in costs to                                                                                VI. Other Matters
                                                                                                      flexibility analysis that requiring a new
                                              implement the modified allocation                       category of registrants (i.e., funds) to                    Pursuant to the Congressional Review
                                              timestamp requirement,790 totaling a                    register as dealers under the proposed                    Act,805 the Office of Information and
                                              cumulative initial cost of $8,514,000 for               rules would require FINRA to provide                      Regulatory Affairs has designated these
                                              the respondents.791                                     new registration categories.800 For the                   rules as a ‘‘major rule,’’ as defined by 5
                                                 After each respondent has established                reasons described below, the final rules                  U.S.C. 804(2).
                                              the appropriate systems and processes,                  will not have a significant economic
                                              the Commission believes that Rule 613                                                                               If any of the provisions of these final
                                                                                                      impact on a substantial number of small
                                              imposes ongoing annual burdens                                                                                    rules, or the application thereof to any
                                                                                                      entities; nor does the Commission
                                              associated with, among other things,                                                                              person or circumstance, is held to be
                                              personnel time to monitor each                            792 See 2020 CAT PRA Supporting Statement at            invalid, such invalidity shall not affect
                                              respondent’s reporting of the required                  66.                                                       other provisions or application of such
                                              data, maintenance of the systems to                       793 Id.                                                 provisions to other persons or
                                              report the required data, and                              794 12 respondents multiplied by (($80,000 in
                                                                                                                                                                circumstances that can be given effect
                                                                                                      external hardware and software costs) + ($29,167 to       without the invalid provision or
                                              implementing changes to trading                         maintain the modified allocation timestamp
                                                                                                      requirement) + ($1,300 ongoing external third             application.
                                                784 Rule 17a–5 PRA Supporting Statement at 16.
                                                                                                      party/outsourcing costs) = $110,467).
                                                785 43 respondents multiplied by $0.50 per               795 5 U.S.C. 603(a).                                   Statutory Authority
                                              respondent.                                                796 Although section 601(b) of the RFA defines
                                                786 Rule 17a–5 PRA Supporting Statement at 16.
                                                                                                      the term ‘‘small entity,’’ the statute permits agencies
                                                                                                                                                                  The Commission is adopting Rules
                                                787 43 respondents multiplied by $0.50 per            to formulate their own definitions. The Commission        3a5–4 and 3a44–2 pursuant to authority
                                              respondent.                                             has adopted definitions for the term ‘‘small entity’’     set forth in sections 3 and 23 of the
                                                788 Rule 17a–5 PRA Supporting Statement at 17.        for the purposes of Commission rulemaking in              Exchange Act (15 U.S.C. 78c and 78w).
khammond on DSKJM1Z7X2PROD with RULES2




                                                789 43 respondents multiplied by $0.50 per            accordance with the RFA. Those definitions, as
                                              respondent.                                             relevant to this rulemaking, are set forth in Rule 0–
                                                790 See 2020 CAT PRA Supporting Statement at          10 under the Exchange Act. See also Exchange Act            801 5 U.S.C. 601(6).

                                              63–64.                                                  Release No. 18451 (Jan. 28, 1982), 47 FR 5215 (Feb.         802 Exchange Act Rule 0–10 contains applicable

                                                791 12 respondents multiplied by (($450,000 in        4, 1982) (File No. AS–305).                               definitions.
                                                                                                         797 5 U.S.C. 605(b).                                     803 Id.
                                              external hardware and software costs) + ($250,000
                                                                                                         798 Id.                                                  804 See Rules 3a5–4(a)(2)(i) and 3a44–2(a)(2)(i).
                                              to implement the modified allocation timestamp
                                                                                                         799 See ABA Comment Letter.                            See also section II.B.3.
                                              requirement) + ($9,500 initial third party/
                                              outsourcing costs) = $709,500).                            800 See supra section II.B.3.                            805 5 U.S.C. 801 et seq.




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00072   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM      29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 73 of 74 PageID 97
                                                               Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations                                         15009

                                              Text of Final Rules                                (2) A person’s own account means                              (1) Engages in a regular pattern of
                                                                                              any account:                                                  buying and selling government
                                              List of Subjects in 17 CFR Part 240
                                                                                                 (i) Held in the name of that person; or                    securities that has the effect of
                                                 Securities dealers, Government                  (ii) Held for the benefit of that person.                  providing liquidity to other market
                                              securities dealers.                                (3) The term central bank means a                          participants by:
                                                 For the reasons set out in the               reserve bank or monetary authority of a                          (i) Regularly expressing trading
                                              preamble, the Commission is amending            central government (including the Board                       interest that is at or near the best
                                              title 17, chapter II, of the Code of            of Governors of the Federal Reserve                           available prices on both sides of the
                                              Federal Regulations as follows:                 System or any of the Federal Reserve                          market for the same security and that is
                                                                                              Banks) and the Bank for International                         communicated and represented in a way
                                              PART 240—GENERAL RULES AND                      Settlements.                                                  that makes it accessible to other market
                                              REGULATIONS, SECURITIES                            (4) The term international financial                       participants; or
                                              EXCHANGE ACT OF 1934                            institution means the African                                    (ii) Earning revenue primarily from
                                                                                              Development Bank; African                                     capturing bid-ask spreads, by buying at
                                              ■ 1. The general authority citation for
                                                                                              Development Fund; Asian Development                           the bid and selling at the offer, or from
                                              part 240 continues to read as follows:          Bank; Banco Centroamericano de                                capturing any incentives offered by
                                                 Authority: 15 U.S.C. 77c, 77d, 77g, 77j,     Integración Económica; Bank for                             trading venues to liquidity-supplying
                                              77s, 77z–2, 77z–3, 77eee, 77ggg, 77nnn,         Economic Cooperation and
                                              77sss, 77ttt, 78c, 78c–3, 78c–5, 78d, 78e, 78f,                                                               trading interest; and
                                                                                              Development in the Middle East and                               (2) Is not:
                                              78g, 78i, 78j, 78j–1, 78j–4, 78k, 78k–1, 78l,
                                              78m, 78n, 78n–1, 78o, 78o–4, 78o–10, 78p,       North Africa; Caribbean Development                              (i) A person that has or controls total
                                              78q, 78q–1, 78s, 78u–5, 78w, 78x, 78dd, 78ll, Bank; Corporación Andina de Fomento;                           assets of less than $50 million; or
                                              78mm, 80a–20, 80a–23, 80a–29, 80a–37, 80b– Council of Europe Development Bank;                                   (ii) An investment company registered
                                              3, 80b–4, 80b–11, 7201 et seq., and 8302; 7     European Bank for Reconstruction and                          under the Investment Company Act of
                                              U.S.C. 2(c)(2)(E); 12 U.S.C. 5221(e)(3); 18     Development; European Investment                              1940; or
                                              U.S.C. 1350; and Pub. L. 111–203, 939A, 124     Bank; European Investment Fund;
                                              Stat. 1376 (2010); and Pub. L. 112–106, sec.                                                                     (iii) A central bank, sovereign entity,
                                                                                              European Stability Mechanism; Inter-                          or international financial institution.
                                              503 and 602, 126 Stat. 326 (2012), unless
                                              otherwise noted.
                                                                                              American Development Bank; Inter-                                (b) For purposes of this section:
                                                                                              American Investment Corporation;                                 (1) The term person has the same
                                              *       *     *     *      *                    International Bank for Reconstruction
                                              ■ 2. Add § 240.3a5–4 to read as follows:                                                                      meaning as prescribed in section 3(a)(9)
                                                                                              and Development; International                                of the Act (15 U.S.C. 78c(a)(9)).
                                              § 240.3a5–4 Further definition of ‘‘as a part Development Association; International                             (2) A person’s own account means
                                              of a regular business’’ in connection with      Finance Corporation; International                            any account:
                                              certain liquidity providers.                    Monetary Fund; Islamic Development                               (i) Held in the name of that person; or
                                                 (a) A person that is engaged in buying Bank; Multilateral Investment Guarantee                                (ii) Held for the benefit of that person.
                                              and selling securities for its own              Agency; Nordic Investment Bank; North                            (3) The term central bank means a
                                              account is engaged in such activity ‘‘as        American Development Bank; and any                            reserve bank or monetary authority of a
                                              a part of a regular business’’ as the           other entity that provides financing for                      central government (including the Board
                                              phrase is used in section 3(a)(5)(B) of         national or regional development in                           of Governors of the Federal Reserve
                                              the Act (15 U.S.C. 78c(a)(5)(B)) if that        which the U.S. Government is a                                System or any of the Federal Reserve
                                              person:                                         shareholder or contributing member.                           Banks) and the Bank for International
                                                 (1) Engages in a regular pattern of             (5) The term sovereign entity means a
                                                                                                                                                            Settlements.
                                              buying and selling securities that has          central government (including the U.S.
                                                                                                                                                               (4) The term international financial
                                              the effect of providing liquidity to other Government), or an agency, department,                             institution means the African
                                              market participants by:                         or ministry of a central government.
                                                                                                 (c) No person shall evade the                              Development Bank; African
                                                 (i) Regularly expressing trading                                                                           Development Fund; Asian Development
                                              interest that is at or near the best            registration requirements of this section
                                                                                              by:                                                           Bank; Banco Centroamericano de
                                              available prices on both sides of the                                                                         Integración Económica; Bank for
                                              market for the same security and that is           (1) Engaging in activities indirectly
                                                                                                                                                            Economic Cooperation and
                                              communicated and represented in a way that would satisfy paragraph (a) of this                                Development in the Middle East and
                                              that makes it accessible to other market        section; or
                                                                                                 (2) Disaggregating accounts.                               North Africa; Caribbean Development
                                              participants; or                                                                                              Bank; Corporación Andina de Fomento;
                                                 (ii) Earning revenue primarily from             (d) No presumption shall arise that a
                                                                                              person is not a dealer within the                             Council of Europe Development Bank;
                                              capturing bid-ask spreads, by buying at
                                                                                              meaning of section 3(a)(5) of the Act                         European Bank for Reconstruction and
                                              the bid and selling at the offer, or from
                                                                                              solely because that person does not                           Development; European Investment
                                              capturing any incentives offered by
                                                                                              satisfy paragraph (a) of this section.                        Bank; European Investment Fund;
                                              trading venues to liquidity-supplying
                                                                                                                                                            European Stability Mechanism; Inter-
                                              trading interest; and                           ■ 3. Add § 240.3a44–2 to read as
                                                 (2) Is not:                                                                                                American Development Bank; Inter-
                                                                                              follows:
                                                 (i) A person that has or controls total                                                                    American Investment Corporation;
                                              assets of less than $50 million;                § 240.3a44–2 Further definition of ‘‘as a                     International Bank for Reconstruction
                                                 (ii) An investment company registered part of a regular business’’ in connection                           and Development; International
                                                                                              with certain liquidity providers.                             Development Association; International
khammond on DSKJM1Z7X2PROD with RULES2




                                              under the Investment Company Act of
                                              1940; or                                           (a) A person that is engaged in buying                     Finance Corporation; International
                                                 (iii) A central bank, sovereign entity,      and selling government securities for its                     Monetary Fund; Islamic Development
                                              or international financial institution.         own account is engaged in such activity                       Bank; Multilateral Investment Guarantee
                                                 (b) For purposes of this section:            ‘‘as a part of a regular business’’ as the                    Agency; Nordic Investment Bank; North
                                                 (1) The term person has the same             phrase is used in section 3(a)(44)(A) of                      American Development Bank; and any
                                              meaning as prescribed in section 3(a)(9) the Act (15 U.S.C. 78c(a)(44)(A)) if that                            other entity that provides financing for
                                              of the Act (15 U.S.C. 78c(a)(9)).               person:                                                       national or regional development in


                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00073   Fmt 4701   Sfmt 4700   E:\FR\FM\29FER2.SGM   29FER2
                                                         Case 4:24-cv-00250-O Document 1-1 Filed 03/18/24                                                Page 74 of 74 PageID 98
                                              15010            Federal Register / Vol. 89, No. 41 / Thursday, February 29, 2024 / Rules and Regulations

                                              which the U.S. Government is a                            (1) Engaging in activities indirectly               solely because that person does not
                                              shareholder or contributing member.                     that would satisfy paragraph (a) of this              satisfy paragraph (a) of this section.
                                                (5) The term sovereign entity means a                 section; or                                              By the Commission.
                                              central government (including the U.S.
                                                                                                        (2) Disaggregating accounts.                           Dated: February 6, 2024.
                                              Government), or an agency, department,
                                              or ministry of a central government.                      (d) No presumption shall arise that a               J. Matthew DeLesDernier,
                                                (c) No person shall evade the                         person is not a government securities                 Deputy Secretary.
                                              registration requirements of this section               dealer within the meaning of section                  [FR Doc. 2024–02837 Filed 2–28–24; 8:45 am]
                                              by:                                                     3(a)(44) of the Act (15 U.S.C. 78c(a)(44))            BILLING CODE 8011–01–P
khammond on DSKJM1Z7X2PROD with RULES2




                                         VerDate Sep<11>2014   17:22 Feb 28, 2024   Jkt 262001   PO 00000   Frm 00074   Fmt 4701   Sfmt 9990   E:\FR\FM\29FER2.SGM   29FER2
